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                         Exhibit 7
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                               Robert Cook, Ph.D.

                                                                       Page 1
                            IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF NEW JERSEY


            _______________________________________________________

            IN RE: JOHNSON & JOHNSON
            TALCUM POWDER PRODUCTS
            MARKETING, SALES PRACTICES,
            AND PRODUCTS LIABILITY
            LITIGATION
                                               Case No. 16-2738
            THIS DOCUMENT RELATES TO            (FLW)   (LHG)
            ALL CASES

            MDL Docket No. 2738
            _______________________________________________________


                                Wednesday, January 30, 2019

                                          - - - - -



                            The video deposition of ROBERT COOK, Ph.D.,

                            taken pursuant to notice, was held at the

                            Hilton Garden Inn, 2555 Hilton Garden Drive,

                            Auburn, Alabama, commencing at approximately

                            8:56 a.m., on the above date, before Lois Anne

                            Robinson, Registered Diplomate Reporter,

                            Certified Realtime Reporter, and

                            Notary Public for the State of Alabama.




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       4       Montgomery, Alabama 36104
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       5          Leigh.odell@beasleyallen.com
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       7       WILENTZ, GOLDMAN & SPITZER, P.A.
               90 Woodbridge Center Drive                          7   By Mr. Frost                            505
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               Woodbridge, New Jersey 07095-0958                   8                    ******
       9       BY: DANIEL R. LAPINSKI, ESQUIRE                     9   EXHIBITS
                  Dlapinski@wilentz.com
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                                                                  11   2 Amended Rule 26 Expert Report of Robert H. Cook, 11
                600 Campus Drive                                  12    Ph.D.
      13        Florham Park, New Jersey 07932-1047
                BY: JACK N. FROST, JR., ESQUIRE                   13   3 File folder of notes brought to depo, individually 12
      14           Jack.frost@dbr.com                             14    marked 3.1 to 3.24
      15        DRINKER BIDDLE & REATH
                One Logan Square, Suite 2000                      15   4 Invoices and checks paid to Dr. Cook             13
      16        Philadelphia, Pennsylvania 19103
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       2   34-2 BATES Documents IIMERYS210707 - 885;         507     2              We are now on the record.
       3     IMERYS427326 427415                                     3              My name is Julie Robinson. I'm a
       4   34-3 Bates Documents IMERYS430707 - JNJ000270588 507      4       videographer representing Golkow Litigation
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       7   34-6 Core Logs and Maps                      507          7       the time is 8:56 a.m.
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       9   34-8 Deposition of John Hopkins Part 2           507      9       Auburn, Alabama, in the matter of
      10   34-9 Deposition of John Hopkins Part 3 and        507    10       Johnson & Johnson Talcum Powder Product
      11      Julie Pier Part 1                                     11       Marketing, Sales Practices, and Products
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      13      (Ingham)                                              13              The deponent is Dr. Robert B. Cook.
      14   34-11 Literature - Blount (1991) - IARC (1987)     507   14              Will counsel please state appearances
      15      Supp. 7                                               15       for the record.
      16   34-12 Literature - IARC (2006) Preamble and IARC 507     16       MS. O'DELL:
      17      (2010)                                                17              Leigh O'Dell, Beasley Allen, for the
      18   34-13 Literature - IARC (2012) and Zeitz Memo (1974) 507 18       plaintiffs.
      19   35 William E. Longo, Ph.D./Mark W Rigler Ph.D. - 507     19       MS. EMMELL:
      20     State Court Reports                                    20              Jennifer Emmell, Beasley Allen, for the
      21   36 Longo Supplement Volume 1                    507      21       plaintiffs.
      22   37 Longo Supplement Volume 2                    507      22       MR. LAPINSKI:
      23                                                            23              Daniel Lapinski, the Wilentz Law Firm,
      24                                                            24       for the plaintiffs.
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      1   MR. FROST:                                        1   as Exhibits 1 and 2. And do you recognize these
      2          Jack Frost, Drinker Biddle & Reath, on     2   are the reports that you drafted in this matter?
      3   behalf of Johnson & Johnson.                      3   A       The cover pages are correct, and I
      4   MS. McBETH:                                       4   assume that the contents are.
      5          Catherine McBeth, Drinker Biddle &         5   Q       Okay. And other than these two
      6   Reath, on behalf of Johnson & Johnson.            6   reports, do you have any other reports, written
      7   MR. FERGUSON:                                     7   research, anything else that you've created for
      8          Ken Ferguson, Gordon & Rees, for           8   this matter that isn't reflected by those?
      9   Imerys.                                           9   A       I have a few handwritten notes that I
     10   MR. CARY:                                        10   brought in response to your request.
     11          Andrew Cary, Gordon & Rees, for Imerys.   11   Q       Okay. Could I see those?
     12   VIDEOGRAPHER:                                    12   A       (Witness complies.)
     13          The court reporter is Lois Robinson,      13   Q       We'll mark them now, and I'll take a
     14   who will now swear in the witness.               14   look at them during the break.
     15   THE COURT REPORTER:                              15   A       Yeah.
     16          We just had someone arrive.               16   MR. FROST:
     17          Do you want to state your appearances?    17          Could you mark this as Exhibit 3,
     18   MR. BILLINGS-KANG:                               18   please.
     19          Sure.                                     19         (DEPOSITION EXHIBIT NUMBER 3
     20          This is James Billings-Kang on behalf     20          WAS MARKED FOR IDENTIFICATION.)
     21   of Personal Care Products Council.               21   MR. FROST:
     22            ROBERT B. COOK, Ph.D.,                  22   Q       And then I also note counsel brought a
     23         the witness, after having first been       23   collection of invoices today. I'll mark those as
     24   duly sworn to tell the truth, the whole truth,   24   Exhibit 4.
                                               Page 11                                               Page 13
      1   and nothing but the truth, was examined and       1         (DEPOSITION EXHIBIT NUMBER 4
      2   testified as follows:                             2         WAS MARKED FOR IDENTIFICATION.)
      3                 EXAMINATION                         3   MR. FROST:
      4   BY MR. FROST:                                     4   Q       All right. So other than the two
      5   Q        All right. Good morning, Dr. Cook.       5   reports and your notes, is there anything else,
      6   A        Good morning.                            6   any other writings that you have that reflects
      7   Q        My name is Jack Frost, and I'll be       7   any of the work you've done in this case?
      8   asking the majority of the questions today.       8   A       Well, I brought a -- some photographs
      9   A        Okay.                                    9   of my personal library, which -- which I used to
     10   Q        Before we get started, have you ever    10   gather my -- my background information.
     11   been deposed before?                             11   Q       Okay.
     12   A        Yes.                                    12   A       And I brought photographs because I
     13   Q        Okay. So you generally know how this    13   donated my library to a museum that maintains a
     14   works. We've got to verbalize all our answers.   14   research library in Atlanta just a couple months
     15   A        Correct.                                15   ago.
     16   Q        Hand gestures, uh-huhs, huh-uhs don't   16   Q       That's okay.
     17   work. And, other than that, we need to be        17   A       If you'd like to see what I was using,
     18   careful not to speak over each other.            18   I brought pictures of it.
     19           All right. Can I please mark these       19   Q       Yeah.
     20   two?                                             20   MR. FROST:
     21          (DEPOSITION EXHIBITS 1 AND 2              21         I think what we'll do, Leigh, is at the
     22           WERE MARKED FOR IDENTIFICATION.)         22   end, we'll do like we did with -- for
     23   MR. FROST:                                       23   Dr. Crocker. We'll somehow figure out a way to
     24   Q        I'm gonna hand you what's been marked   24   mark everything that's been brought and, you
                                                                              4 (Pages 10 to 13)
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      1   know, we'll figure out during a break what the       1   sitting here today, you don't intend to offer any
      2   best way to -- to do that is. So we'll -- for        2   additional opinions that aren't otherwise set
      3   now we can refer to the stuff that's on the          3   forth in these reports?
      4   table.                                               4   A        That's correct.
      5   Q        It looks like you brought a collection      5   Q        And do you believe the reports to be
      6   of documents, literature, and, as you said, the      6   accurate and complete?
      7   picture of your library.                             7   A        When you say "the reports," you mean
      8   A        Yes. And a publication on amphiboles,       8   these two reports?
      9   if there were any questions about amphiboles.        9   Q        Yes.
     10   Q        Okay.                                      10   A        Yes.
     11   A        Just a good summary document.              11   Q        Yes. These, Exhibit 1 and Exhibit 2.
     12   Q        All right. And is that, the book on        12   A        Yes.
     13   amphiboles, is that in the materials relied upon?   13   Q        And is it fair to summarize the
     14   A        Well, I relied on it. I don't remember     14   opinions you're rendering in this case all relate
     15   whether we listed it or not. It's --                15   to geology, mineralogy, and sort of mining
     16   MS. O'DELL:                                         16   practices?
     17          I believe it to be.                          17   A        It's -- it goes beyond that in that I
     18   MR. FROST:                                          18   am offering opinions related to sampling and
     19          It is reflected?                             19   analytical techniques.
     20   MS. O'DELL:                                         20   Q        Okay. I'd loop that under the mining.
     21          I believe it to be reflected. But we         21   A        Yeah.
     22   can go through --                                   22   Q        Other than the geology, mineralogy,
     23   MR. FROST:                                          23   mining practices, and the sampling and
     24          I was going to say, we can always            24   compositing techniques, is there anything else
                                                 Page 15                                                 Page 17
      1   check --                                             1   you intend to offer opinions on here today?
      2   MS. O'DELL:                                          2   A       No.
      3          Yeah.                                         3   Q       And, in fact, you don't intend to offer
      4   MR. FROST:                                           4   any opinions on whether or not talc or talcum
      5          -- that during a break as well.               5   powder can cause ovarian cancer; correct?
      6   Q       All right. Excellent.                        6   A       No. No.
      7          So you understand that you've been            7   Q       And same with mesothelioma. You don't
      8   retained by plaintiffs to be an expert in this       8   intend to offer opinions that talc or talcum
      9   talc MDL; is that correct?                           9   powder can cause mesothelioma?
     10   A       Correct.                                    10   A       No.
     11   Q       And you understand that you're offering     11   MS. O'DELL:
     12   some opinions in this case; right?                  12          Dr. Cook, if you'd just wait till Jack
     13   A       Correct.                                    13   finishes.
     14   Q       All the opinions that you plan to offer     14   THE WITNESS:
     15   in this case, are they all reflected in the two     15          Uh-huh.
     16   reports that we've marked as Exhibits 1 and 2?      16   MS. O'DELL:
     17   A       Yes. Based on the reports as they           17          Can you just --
     18   stand, yes. I did reserve the right to -- to        18   THE WITNESS:
     19   supplement these reports if additional              19          Okay.
     20   information is supplied.                            20   MS. O'DELL:
     21   Q       Okay.                                       21          Another couple of seconds. That will
     22   A       But, yes, my opinions are pretty much       22   be helpful.
     23   everything that I -- I wanted to say.               23   MR. FROST:
     24   Q       All right. So is it fair to say that,       24   Q       Turning to Exhibit 2, this is captioned
                                                                                  5 (Pages 14 to 17)
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      1   as an amended report -- is that correct? --          1   MS. O'DELL:
      2   that -- the Exhibit 2, the second of the two         2          Excuse me. And just to any questions
      3   reports?                                             3   that would -- would require you to disclose
      4   A        Yes.                                        4   things that we've discussed, those would be
      5   Q        Okay. And why did you issue an amended      5   things that are protected by the work product
      6   report in this case?                                 6   privilege, and --
      7   A        Additional information came in, and in      7   THE WITNESS:
      8   editing my own original first version, I found       8          Right.
      9   grammatical errors and that type of thing, which,    9   MS. O'DELL:
     10   being a retired professor, I can't abide.           10          -- and I would ask you not to --
     11   Q        Do you recall what additional              11   THE WITNESS:
     12   information came in that you reviewed?              12          Right.
     13   A        There were depositions by several          13   MS. O'DELL:
     14   people. There was a McCarthy report related to      14          -- testify to those. And I -- I'll be
     15   beneficiation. There was information related --     15   careful to object to --
     16   additional information related to Italian talc.     16   THE WITNESS:
     17   There was a stack of documents that I received      17          Correct.
     18   primarily online in -- in a Dropbox.                18   MS. O'DELL:
     19   Q        The depositions by several people you      19          -- a specific question.
     20   received, do you recall what depositions those      20   MR. FROST:
     21   were?                                               21   Q       And your counsel is correct. I'm
     22   A        Two of them were by people that were       22   allowed to know data, documents, things like
     23   not really involved in this, but they -- they       23   that, and other things that they gave you or told
     24   offered information related to the -- the           24   you that influenced your opinion in this case,
                                                 Page 19                                                  Page 21
      1   mineralogy of talc and related amphiboles. One       1   but not communications, necessarily, between the
      2   was by Mickey Gunter. One was by a man named         2   two.
      3   Sanchez, who was one of Gunter's students. There     3   A         I understand.
      4   was a deposition by a man named Glassley, who        4           The -- the flow of documents has been
      5   once worked in Vermont. Those were the three         5   sort of a continual thing. It -- it's not that,
      6   that I remember.                                     6   "Okay" --
      7   Q        Do you recall the dates on those            7           I -- I finished writing my -- my report
      8   depositions?                                         8   in '08.
      9   A        No.                                         9           -- "we've got another big pile of
     10   Q        Do you recall if those depositions were    10   documents we want you to see."
     11   taken after you had drafted your initial report?    11           They would enter material into my
     12   A        I think that they were all before.         12   Dropbox routinely, I mean, maybe a couple times a
     13   Q        They were all before?                      13   week. Because, apparently, material was being
     14   A        Uh-huh.                                    14   supplied all along by Johnson & Johnson or Imerys
     15   Q        And those had not been made available      15   or someone. And as they would scan or screen the
     16   to you prior to your first report?                  16   material, if it was -- if they were things that
     17   A        No.                                        17   would relate to what I was looking at, then they
     18   Q        And I take it plaintiffs' counsel          18   would enter them into my Dropbox and alert me.
     19   provided those depositions to you?                  19           But there was no -- no instructions in
     20   A        Yes.                                       20   -- in terms of what I should be looking at or for
     21   Q        Did plaintiffs' counsel advise you as      21   or anything like that. It was just, "Here's more
     22   to why they were providing those depositions to     22   information."
     23   you?                                                23   Q         All right. When did plaintiffs --
     24   A        No.                                        24           And I take it, by "they," you're
                                                                                  6 (Pages 18 to 21)
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                                          Robert Cook, Ph.D.
                                                 Page 22                                                  Page 24
      1   referring to plaintiffs' counsel?                    1   Q        Did they mark the pages of interest for
      2   A         Correct.                                   2   you to look at before you wrote your report?
      3   Q         When did plaintiffs' counsel start         3   A        No. No.
      4   sending you documents for your review in this        4   Q        Okay. This was all done in preparation
      5   case?                                                5   for the deposition --
      6   A         Ms. O'Dell contacted me, I think, in       6   A        Oh, yes.
      7   April of 2017, and she supplied me -- you know,      7   Q        -- today?
      8   after discussing the -- the -- what she would        8   A        Just within the last day or so.
      9   like for me to do, I agreed, and she began to        9   Q        Okay. I'll rephrase my question.
     10   give me background information, including, you      10          So, in sending you documents, at any
     11   know, the documents that you see here, I think      11   time that you were being sent documents that you
     12   still in late April of 2017.                        12   were gonna rely on for your report, did they ever
     13   Q         And plaintiffs' counsel continued to      13   send documents that were already tabbed or
     14   supply you documents through --                     14   highlighted or had any annotations on them?
     15   A         Still going on.                           15   A        Highlighted, some of these look like
     16   Q         Still -- they're still --                 16   they had been highlighted years ago, because they
     17   A         Sure.                                     17   were xeroxed copies and you could see where there
     18   Q         -- continuing to supply you documents     18   was a -- a different shade of gray.
     19   now?                                                19   Q        Uh-huh.
     20   A         Sure.                                     20   A        And, so, yes, there were documents like
     21   Q         And it sounds like you have a -- a        21   that. And occasionally I would get something
     22   Dropbox that they're loading documents into?        22   that would have a yellow -- yellow highlighter on
     23   A         Yes.                                      23   it, and it may or may not have related to what I
     24   Q         Is that the only way that they're         24   was, you know, supposed to be looking at.
                                                 Page 23                                                  Page 25
      1   sending you documents?                               1   Q        Okay. Did you use these highlights and
      2   A        No. No. Sometimes they'll print them        2   things of that nature to help influence what you
      3   out for me. These were printed out in -- in          3   were looking at or writing in your report?
      4   Montgomery. I didn't print them out on my HP         4   A        No. But -- but I couldn't help but
      5   bottom-of-the-line printer.                          5   wonder why they were highlighted, so I, of
      6   Q        And looking over at the binders that        6   course, looked at them. And some of them were
      7   are on the table, I note that there are tabs and     7   of -- of value, and some weren't.
      8   sort of stickies and things like that --             8           I mean, you'll -- I mean, even though
      9   A        Sure.                                       9   this looks like a lot of material, this isn't --
     10   Q        -- throughout them. Are those things       10   it's not half of what they sent. And I -- I have
     11   that you put in, or did they come that way from     11   looked at every page. I won't -- won't say I've
     12   plaintiffs' counsel?                                12   read every page, but I've certainly looked at
     13   A        No. It's -- it's -- it's a little          13   every page that they sent.
     14   of -- of both. These are the actual documents       14           I mean, you know, you can't go through
     15   that I referred to in my report. And some of        15   the IARC stuff without falling asleep repeatedly.
     16   them are long --                                    16   So, you know, you just can't read all that. But
     17   Q        Uh-huh.                                    17   you can look at it, looking for, you know, key
     18   A        -- and there may be only one page that     18   words and things like that.
     19   I'm actually referencing. And, so, I've gone        19   Q        Okay. Regarding the Imerys and
     20   through, with their help, and marked that page so   20   Johnson & Johnson documents that you've been
     21   that if you ask me about a document, I -- we        21   provided in this case, I take it everything you
     22   don't spend two hours as I kind of try to figure    22   have has been provided to you by plaintiffs'
     23   out which page out of a hundred pages we need to    23   counsel?
     24   find a quote on.                                    24   A        Other -- other than the material in my
                                                                                  7 (Pages 22 to 25)
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      1   own library, which --                                1   already had copies of. Some they gave me a copy
      2   Q        Uh-huh.                                     2   of and I already had it.
      3   A        -- which, you know, some of it's            3   Q        Uh-huh.
      4   been -- been referenced in my report. And            4   A        So there's sort of a -- of an overlap
      5   there's a lot of other stuff that, you know,         5   there.
      6   there would be no need to reference but yet it       6   Q        Okay. Was there anything that they
      7   deals with talc.                                     7   supplied you that you'd never seen before that
      8   Q        Did plaintiffs' counsel provide you any     8   influenced or changed your opinions in this case?
      9   of the published literature you relied on in your    9   MS. O'DELL:
     10   reports?                                            10          Object to the form.
     11   A        They've supplied me with the IARC          11          Do you mean like in --
     12   stuff, if you want to consider that published,      12   MR. FROST:
     13   which I do. But in terms of copies of certain       13          I'm talking about literature.
     14   published papers that were in journals, yes, they   14   MS. O'DELL:
     15   supplied me with some full copies of things that    15          Okay. Was it --
     16   I only had abstracts of.                            16          I'm sorry.
     17           And -- and, in fact, there was one that     17   MR. FROST:
     18   I couldn't -- I had a -- I had a really good        18          Yeah, I was going to say --
     19   reference to it, but I couldn't come up with it,    19   MS. O'DELL:
     20   and it's from a field trip guide book in Italy.     20          That was my objection.
     21   And they supplied me with that.                     21   MR. FROST:
     22   Q        Did plaintiffs -- I guess, better way      22          You're correct. My question wasn't
     23   of asking this, did plaintiffs supply you with      23   clear.
     24   any published literature other than the two IARC    24   Q        Focusing on literature, was there any
                                                 Page 27                                                  Page 29
      1   publications on their own, or was it all stuff       1   literature that plaintiffs' counsel forwarded you
      2   that you had requested if they could get copies      2   that influenced -- influenced or changed the
      3   of for you?                                          3   opinions that you were gonna render in this case?
      4   A        No. I -- I'm sure that if we went back      4   MS. O'DELL:
      5   through everything I had, there would be copies      5          Object to the form.
      6   of publications. There were some Bureau of Mines     6   A        No. And there -- there's -- there's a
      7   publications. There was a USGS publication.          7   reason for that. I didn't have a lot of
      8   Um --                                                8   opinions. I hadn't thought about the -- the
      9   Q        And I don't mean to cut you off, but        9   talc-ovarian cancer issue at all until Ms. O'Dell
     10   were these publications that you asked to see or    10   called me. So I had -- I had very few opinions.
     11   were these publications that plaintiffs' counsel    11          I was familiar with the geology, and I
     12   sent you and told you --                            12   know a lot about mining, and, so, you know, my --
     13   A        It was a --                                13   my fundamental knowledge and ideas in those two
     14   Q        -- to look at?                             14   areas were already pretty well established.
     15   A        It was a little bit of both.               15          And, so, from the standpoint of -- of
     16   Q        Little bit --                              16   those, the mineralogy, there was nothing that --
     17   A        If you --                                  17   I mean, there's some errors in the mineralogy
     18   Q        -- of both?                                18   that, you know, that's floating around right now.
     19   A        If you look -- if you look at the back     19   But that was information I knew already.
     20   of my report, there's an enormous long listing      20          The -- a couple of the papers that I --
     21   of -- of materials that I -- I relied on. And       21   I found in dealing with the Italian talc deposits
     22   this is -- this is pretty much the list of things   22   enhanced what I knew. They were -- they were
     23   that -- that -- that I -- I have looked at. Some    23   interesting.
     24   of those were supplied by Beasley Allen. Some I     24   MR. FROST:
                                                                                  8 (Pages 26 to 29)
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                                                  Page 30                                                  Page 32
       1   Q        Okay. If -- if we were to go through        1   geology of the -- the relevant talc deposits.
       2   the -- the reference list at the back of your        2   Q       Do you recall what you asked for?
       3   report, would you be able to tell me what was        3   A       Well, just happen to have written it
       4   supplied to you by plaintiffs that you didn't        4   down.
       5   already have?                                        5          Yeah. There you go.
       6   A        Hmm.                                        6          That's a fairly comprehensive list of
       7   MS. O'DELL:                                          7   what I asked for.
       8          Are you limiting that to the                  8   MR. FROST:
       9   literature?                                          9          Mark this as Exhibit 5. I think we're
      10   MR. FROST:                                          10   on 5; right?
      11          I gotcha.                                    11   THE COURT REPORTER:
      12          Yeah, to the literature.                     12          Yes, uh-huh.
      13   THE WITNESS:                                        13   MR. FROST:
      14          Did we put all the IARC stuff in -- in       14          Thank you.
      15   literature?                                         15         (DEPOSITION EXHIBIT NUMBER 5
      16          I mean, some of it has Bates numbers.        16          WAS MARKED FOR IDENTIFICATION.)
      17   And if it was a Bates number, then they obviously   17   MR. FROST:
      18   supplied it to me. Doesn't mean I didn't already    18   Q       Okay. I'll hand this back to you.
      19   have a copy of it.                                  19   A       Okay.
      20          If it was a -- if it was a company           20   Q       So you believe that's a fairly
      21   document of some sort, obviously, I never had a     21   comprehensive list of all the documents you asked
      22   copy of it.                                         22   for from plaintiffs' counsel?
      23          But there -- I could sit down and maybe      23   A       It probably isn't, because this has
      24   go through the list with you and show you which     24   been going on -- we're pushing two years now.
                                                  Page 31                                                  Page 33
       1   things that -- that they may have given me, but      1   And I'm sure there were instances when -- when we
       2   it's not gonna be -- isn't anything consequential    2   were talking on the phone and I'd say, "Do we --
       3   relative to the materials I already had.             3   do we have anything related to froth flotation
       4   MR. FROST:                                           4   that was used at West Windsor?" I mean, I might
       5           Okay. I'm gonna ask maybe we'll do           5   have -- I might have, you know, couched a
       6   that during a break or something --                  6   question like that.
       7   THE WITNESS:                                         7          So I would say that, in all fairness, I
       8           Yeah.                                        8   probably did ask for other things.
       9   MR. FROST:                                           9   Q       Sitting here today, you couldn't come
      10           -- if we can highlight on the Exhibit       10   up with a -- a list --
      11   2, you know, what he believes was supplied by       11   A       No.
      12   plaintiffs' counsel. That might be helpful.         12   Q       -- of what those other things may be?
      13   A        It's -- it's mainly documents related      13   A       No.
      14   to governmental agencies, that type of thing,       14   Q       Do they all generally relate to the
      15   that I would not have had in my -- my library up    15   categories that are, you know, in there, which
      16   until this point.                                   16   appear to be kind of the geology, mineralogy of
      17   MR. FROST:                                          17   the three districts --
      18   Q        Okay. Turning to the company               18   A       Yes.
      19   documents, did you make a particular request for    19   Q       -- and then the mining practices of the
      20   documents or the type of documents that you would   20   two companies?
      21   want to see, or did plaintiffs' counsel just        21   A       Yes.
      22   provide you documents?                              22   Q       And did you ever ask for any documents
      23   A        No. I did. I made a request for a          23   that you weren't provided?
      24   long list of things related to the mining and       24   A       I don't think so.

                                                                                   9 (Pages 30 to 33)
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                                                  Page 34                                                  Page 36
       1   Q        Did you ever ask to conduct your own        1   A       I was told that -- that, relative to
       2   searches of all of the documents provided by the     2   this material here, that what I've got is what --
       3   two corporate defendants in this case?               3   is what they received after their request.
       4   A        I'm -- I'm not sure I understand what       4   MR. FROST:
       5   you're asking.                                       5   Q       All right. And you have no way of
       6   Q        Sure. Did you ever ask for access to        6   verifying whether or not what they sent you was
       7   all of the documents that have been produced in      7   just a collection of documents that they had
       8   this case by --                                      8   culled through that --
       9   A        No.                                         9   MS. O'DELL:
      10   Q        -- either Johnson & Johnson or Imerys?     10          Object --
      11   A        No.                                        11   MR. FROST:
      12   Q        Did you ever ask to be able to run any     12   Q       -- justifies their opinions and their
      13   searches yourself against a database, say, of all   13   positions in this case?
      14   of those documents?                                 14   MS. O'DELL:
      15   A        No.                                        15          Object to the form.
      16   Q        So you've relied on the set of             16   A       I would have -- I don't know how
      17   documents as put together by plaintiffs'            17   anybody would know the answer to that. I mean,
      18   counsel --                                          18   no.
      19   A        Yes.                                       19   MR. FROST:
      20   Q        -- for your opinions?                      20   Q       Okay.
      21   MS. O'DELL:                                         21   A       I mean, I've not had access to every
      22           Object -- object to the form.               22   document involved in this case, so I have no --
      23   MR. FROST:                                          23   no idea.
      24   Q        And you have no way of knowing --          24   Q       Okay. Do you think, as an expert
                                                  Page 35                                                  Page 37
       1   right? -- if you've received every document that     1   giving opinions regarding some of the mining and
       2   would be responsive to any of the requests you       2   sampling practices -- for example, of Imerys and
       3   made?                                                3   Johnson & Johnson -- that it would be important
       4   A        Based on the Bates numbers, I would say     4   to have a complete set of all data and
       5   that -- that -- that there's -- that I've -- I've    5   information before rendering those opinions?
       6   looked at maybe a few percent of the documents       6   MS. O'DELL:
       7   that are somehow entered into this. And, so, I       7          Object to the form.
       8   can't say that -- that Imerys 436182 wouldn't        8   A       My opinions are based on the material
       9   have something relevant.                             9   that was supplied to us after we asked.
      10   Q        Uh-huh.                                    10   MR. FROST:
      11   A        But I may not have seen it. It may not     11   Q       Okay. So if there were additional
      12   have been screened by the -- by the lawyers and     12   materials, you know, that either contradict or
      13   deemed something that they should send to me.       13   are different than some of the materials you've
      14   Q        Okay.                                      14   seen, would you look at and view those with an
      15   A        So I don't really know.                    15   open mind?
      16   Q        I was gonna say, that -- that's sort of    16   A       Absolutely. I mean, that's the way I
      17   what I'm getting at. What I'm getting at is         17   started this, and that's the way we're gonna end
      18   you -- you have no way of knowing one way or the    18   it.
      19   other whether or not what you were provided in      19   Q       And, again, if there were documents
      20   response to your request for documents is a         20   that potentially refuted some of your opinions,
      21   complete set of all documents on those topics;      21   yeah, you would look at those and be willing to
      22   correct?                                            22   either adjust or change your opinions based on
      23   MS. O'DELL:                                         23   those documents?
      24          Object to the form.                          24   A       Well, I -- I looked at this as a -- as
                                                                                 10 (Pages 34 to 37)
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       1   an exercise in the application of the scientific     1   today, have you reviewed any other depositions to
       2   method. And, so, that -- that requires you to        2   prepare for this case?
       3   continue to test what you have opinion on. But       3   MS. O'DELL:
       4   it looks like, based on everything that I've --      4          Object to the form. I don't think he's
       5   I've been given, that -- that there's pretty --      5   mentioned a Dr. -- there's not -- I'm not aware
       6   pretty solid support for the opinions I've made      6   of a Downey --
       7   so far. But -- but I would be more than willing      7   MR. FROST:
       8   to look at additional data, for sure.                8          Oh, is he not a doctor?
       9   Q       And, for example, you know, you note         9   MS. O'DELL:
      10   with respect to, say, sampling and testing that     10          -- witness in this case.
      11   there appears to be hundreds, if not thousands,     11   MR. FROST:
      12   of tests that are missing from the documents        12          Oh, okay.
      13   you've looked at. Is that correct?                  13   MS. O'DELL:
      14   MS. O'DELL:                                         14          I don't think -- he's a doctor, but I
      15          Object to the form.                          15   don't think he mentioned him.
      16   A       That -- that would be my -- that --         16   MR. FROST:
      17   that could be an opinion, yes. It -- because        17          Okay.
      18   there's description of samples that are taken       18   MS. O'DELL:
      19   here, there, and everywhere and in certain time     19          So you might ask an open-ended
      20   periods, and then -- but you look for the results   20   question.
      21   of the analyses, and they aren't there.             21          Or, if you understand it, please --
      22   MR. FROST:                                          22   A        I -- I understand what you're asking.
      23   Q       Okay.                                       23   MR. FROST:
      24   A       So, yeah, I'm sure.                         24   Q        Sure.
                                                  Page 39                                                  Page 41
       1   Q       So you agree with me it looks like,          1   A       There's a list of depositions that I --
       2   you know, you don't have the complete set of         2   I have looked at that's in this list of materials
       3   testing data, for example?                           3   considered.
       4   MS. O'DELL:                                          4         And there's Hopkins. It's footnoted in
       5          Object to the form.                           5   my report.
       6   A       I would say that -- that it may be that      6         Julie Pier, I've looked at hers.
       7   I have everything that's available. It may be        7         I've looked at Alice Blount's.
       8   that a lot of these results don't exist in           8         There's one that I looked at a long
       9   anybody's files anymore.                             9   time ago. I can't -- can't even remember the
      10   MR. FROST:                                          10   person's name, and it -- it had little relevance
      11   Q       But you can't tell me one way or the        11   to what we're doing.
      12   other, without speculating, as to whether or not    12         Hopkins, Downey, Blount, Glassley,
      13   any of those additional testing samples, testing    13   which I mentioned.
      14   documents, records, et cetera, exist in the         14         There may -- I think there's at least
      15   documents produced by the two companies in this     15   one more that's -- that's actually in my list of
      16   case and just weren't provided to you by counsel;   16   materials considered.
      17   correct?                                            17   Q       Okay. But it would be -- it would --
      18   A       I have no idea.                             18   it would be listed in the materials considered?
      19   Q       Okay. Now, you had talked about a           19   A       Yes.
      20   couple of the depositions. I also note in your      20   Q       It's just the three, the Gunter,
      21   report I think you -- you referenced the            21   Sanchez and Gassley, that --
      22   deposition of Mr. -- or Dr. Downey in your          22   A       Glassley.
      23   report. Other than what you've disclosed in --      23   Q       -- weren't listed?
      24   in the report and the three you've talked about     24         Glassley?
                                                                                 11 (Pages 38 to 41)
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                                                  Page 42                                                 Page 44
       1   MS. O'DELL:                                          1   Q        And you've reviewed these while they
       2          I think Glassley was listed.                  2   were in draft form?
       3   MR. FROST:                                           3   MS. O'DELL:
       4          Oh, was he?                                   4           Object to the form.
       5   MS. O'DELL:                                          5   A        I don't know whether they were draft
       6          Yeah.                                         6   form or not. They were -- they were in good
       7   MR. FROST:                                           7   shape in terms of grammar and punctuation. I
       8   Q        Have you reviewed any of the                8   would have -- I would have certainly thought they
       9   depositions of the other experts in this talc        9   were close to final.
      10   MDL?                                                10   MR. FROST:
      11   A        I don't know.                              11   Q        Did you review these prior to
      12          Oh, the depositions?                         12   finalizing your initial report?
      13   Q        Yes.                                       13   A        No.
      14   A        I'm not sure about who was --              14   Q        Have you reviewed these after the
      15          When you say the MDL --                      15   initial report?
      16   Q        In this particular case.                   16   A        Yes.
      17   A        Oh.                                        17   Q        Did you review these before the --
      18   Q        Any of the other experts from              18   issuing the second report?
      19   plaintiffs' counsel in this case?                   19   A        Yes.
      20   A        I think we've got them listed.             20   Q        The amended?
      21   Q        Have -- other than the --                  21           In reviewing the -- the Smith,
      22          I'll ask this a different way. We've         22   Zelikoff, Campion, and Krekeler reports, did that
      23   been taking depositions of various plaintiffs'      23   at all influence any of the opinions or any of
      24   experts for the past about month.                   24   the analysis you did in the amended report?
                                                  Page 43                                                 Page 45
       1   A       Uh-huh.                                      1   A        It did not. I -- I was a little bit
       2   Q       Have you seen or read any of those           2   intrigued with the Campion, the Campion report.
       3   transcripts?                                         3   It made me think that that was a field of
       4   A       No.                                          4   potential research. I didn't realize that --
       5   Q       Okay. And you're aware that plaintiffs       5   that the Raman approach could be as useful as it
       6   served other expert reports, like yours, in -- in    6   might be.
       7   November?                                            7   Q        Was this more a, you know, sort of
       8   A       Yes.                                         8   piqued your interest or personal curiosity --
       9   Q       And then some in January?                    9   A        Yeah. Right.
      10   A       Yes.                                        10   Q        -- as opposed to the opinions you're
      11   Q       Have you reviewed any of those reports?     11   rendering in this case?
      12   A       I looked at a -- a draft of Krekeler        12   A        Yes.
      13   and Campion. I'm assum- -- I don't know whether     13   Q        I take it you've done work with Raman's
      14   he's been deposed or not. And there were --         14   spectrograph?
      15   there were two others who were really related to    15   A        I have sort of steered clear of it. We
      16   generating summaries of published literature.       16   didn't have a machine on campus, and so I
      17   But Campion's was interesting since it was a        17   didn't -- I wasn't as familiar with it as I
      18   Raman spectra deposition or expert report.          18   probably should have been. And then I read his
      19   Q       Do you recall who the other two were?       19   report, and I -- and it's pretty interesting.
      20   A       No. Believe it or not, one of them's        20   Q        And you noted that you looked at a
      21   name was Smith, and the other one had a foreign     21   draft of Krekeler's report.
      22   name.                                               22   A        Correct.
      23   Q       Would that be Dr. Zelikoff?                 23   Q        Did you have any comments to that
      24   A       Yes.                                        24   draft?
                                                                                 12 (Pages 42 to 45)
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                                            Robert Cook, Ph.D.
                                                  Page 46                                                  Page 48
       1   A         There were two drafts that I looked at.    1   because I work closely with a man named
       2   I looked at an early one and a final one. The --     2   John Rakovan, who is probably his boss. He's
       3   the -- the parts that I thought were --              3   a -- John is also a professor at Miami of Ohio.
       4   MS. O'DELL:                                          4   And I had -- when they were considering Krekeler,
       5           Dr. Cook --                                  5   I -- you know, I checked -- checked with John
       6   THE WITNESS:                                         6   Rakovan about him, and he got a nice clean bill
       7           Yes.                                         7   of health. So I kind of knew who he was going
       8   MS. O'DELL:                                          8   into this.
       9           -- To the degree that you're -- that         9   Q        Did you offer any written comments --
      10   there were any discussions, those are not           10   A        No.
      11   something that I -- I would instruct you not to     11   Q        -- to either of the two drafts?
      12   testify to discussions --                           12   A        I don't think I did.
      13   THE WITNESS:                                        13   Q        Okay. Did you discuss any comments to
      14           I understand.                               14   the drafts with plaintiffs' counsel?
      15   MS. O'DELL:                                         15   A        I probably did.
      16           -- with plaintiffs' counsel.                16   Q        Do you remember what areas of his
      17   THE WITNESS:                                        17   report those comments would have been about?
      18           Understand.                                 18   A        They were -- I think that they weren't
      19           I felt that they were in depth and --       19   really about areas of his report. They were --
      20   and that -- that what he had to say was -- was      20   they were more about he's gone into great detail
      21   good in -- in a lot of areas.                       21   here. Probably it's, you know, irrelevant, he
      22   MR. FROST:                                          22   needs to shorten it, that type of thing.
      23   Q         Okay. Do you offer any comments to        23          I looked at his report as if I was
      24   Dr. Krekeler's report?                              24   looking at a student's report and what I would do
                                                  Page 47                                                  Page 49
       1   A        In -- like in writing?                      1   to, you know, to make it easier to read, more
       2   MS. O'DELL:                                          2   understandable. I mean, I thought that he --
       3           Same instruction.                            3   that his first draft was -- was probably way more
       4   THE WITNESS:                                         4   than was needed.
       5           Yeah.                                        5   Q       And other than grammatical things and
       6           Not really.                                  6   things that relate to length, did you have any
       7   MR. FROST:                                           7   substantive comments about the contents of his
       8   Q        Okay. By "not really," does that mean       8   report?
       9   that, you know, none as far as writing and           9   A       I liked -- I liked --
      10   content, or did you have some comments in the       10   MS. O'DELL:
      11   report that you then conveyed?                      11          Dr. Cook, to the degree that those
      12   A        Well, I mean, if you're gonna read         12   comments were discussions that you had with me --
      13   something, so -- you're gonna end up discussing     13   THE WITNESS:
      14   it in some way. You know, if you don't, then        14          Right.
      15   why -- why bother reading it if it's not gonna      15   MS. O'DELL:
      16   enter into the bigger picture?                      16          -- or plaintiffs' counsel, they're not
      17           But -- but, no. I mean, I wasn't -- I       17   entitled to ask you that question, and, so, I'm
      18   wasn't asked to sit down and carefully critique     18   instructing you not to convey those comments.
      19   either one of those reports. And I certainly        19   THE WITNESS:
      20   think that he -- he pointed out some important      20          Okay.
      21   things that -- that -- that should be considered.   21   MR. FROST:
      22   Q        Do you know why you were asked to          22          We disagree. And you can raise it, but
      23   review drafts of Dr. Krekeler's report?             23   we think, you know, any communications between
      24   A        No. But -- but I think that it may be      24   experts, including whether they're filtered

                                                                                 13 (Pages 46 to 49)
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       1   through counsel or not, are subject to               1   Q       So there's no reason to flip through
       2   disclosure. But we can deal with that at a later     2   Exhibit 1 at this point. Exhibit 2 --
       3   time if you're instructing him not to answer.        3   A       No.
       4   THE WITNESS:                                         4   Q       -- contains your opinions.
       5          Yeah.                                         5          Okay. If you could turn to page 38 of
       6   MS. O'DELL:                                          6   your amended report at the very bottom.
       7          And to the --                                 7   A       Okay. Okay. Got it.
       8          Excuse me.                                    8   Q       I take it this is the reference you're
       9          To the degree that there is a comment         9   talking about, the "normally expected failure or
      10   that you've made to me or -- or other plaintiffs'   10   rejection rates were not observed, as discussed
      11   counsel, then -- then that's something that I'm     11   in detail in the expert report of Krekeler
      12   instructing you not to testify to.                  12   (2018)?
      13   THE WITNESS:                                        13   A       That's correct.
      14          Right.                                       14   Q       Okay. And I take it, other than this
      15   MS. O'DELL:                                         15   reference, you know, you yourself have no
      16          So if there's -- so --                       16   opinions about the -- whether or not failure
      17   THE WITNESS:                                        17   rejection rates were correct? You're deferring
      18          You're not asking if I've had direct         18   to Krekeler for that?
      19   contact with Krekeler, are you?                     19   A       I'm deferring to him. I have an
      20   MR. FROST:                                          20   opinion, you know, but I don't -- I don't have
      21   Q       Asking that next, but --                    21   the strength of knowledge to support my opinion.
      22   A       Well, I haven't.                            22   Q       Okay.
      23   Q       Okay.                                       23   A       But I defer to him because I believe he
      24   A       And -- and I personally think that          24   does.
                                                  Page 51                                                  Page 53
       1   there was some -- some important things that he      1   Q        Yeah. So you haven't done any
       2   pointed out. And whether or not I mentioned them     2   independent statistical analysis or anything like
       3   to Miss O'Dell or not, I don't know. But I           3   that regarding rejection rates?
       4   certainly, in reading his final draft, I thought     4   A        No.
       5   there were some interesting things in there.         5   Q        Do you believe there's anything in your
       6   They weren't things that I had addressed myself,     6   report that you accidentally copied from a site
       7   and I thought they were good.                        7   that you didn't either put quotes around or put a
       8   Q        Is there anything in the Krekeler           8   proper citation to?
       9   drafts that you included in your report because      9   A        I hope not. I mean, there could be,
      10   you had read through his?                           10   but I would hope that there wouldn't be.
      11   A        I only mentioned and actually deferred     11   Q        If you turn to page 9 of your report.
      12   to him the concept of sampling frequency, the --    12   Specifically, I'll direct your attention to
      13   the expected failure rate of samples that --        13   Footnote 12.
      14          He had references to all of that and         14   A        Okay.
      15   pointed out that that seemed to be something        15   Q        Do you know where you got this
      16   that -- that was contrary to expectation. And,      16   information from?
      17   so, I pointed that out. But I refer completely      17   A        This was probably pulled out of perhaps
      18   to him.                                             18   AGI glossary or one of the -- one of the AIME
      19   Q        If you turn --                             19   references.
      20          Actually, this is a good point. I take       20   Q        Are you familiar with the website of a
      21   it by -- I take it your intention was that the      21   company called Rishabh Metals & Chemicals?
      22   amended report in Exhibit 2 would take the place    22   A        No.
      23   of the original report in Exhibit 1?                23   Q        I'll mark this as Exhibit 6.
      24   A        Yes.                                       24          I believe we're on 6; right?
                                                                                 14 (Pages 50 to 53)
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       1   THE COURT REPORTER:                                  1   the things in the table I described -- you know,
       2          Yes, we are.                                  2   every single reference I had described verbally.
       3         (DEPOSITION EXHIBIT NUMBER 6                   3   And then when I saw the table that was being
       4          WAS MARKED FOR IDENTIFICATION.)               4   prepared, I guess, in Hopkins, it was pretty
       5   MR. FROST:                                           5   clear that, oh, my God, this is -- you know, I
       6   Q       I'd like to turn your attention to what      6   need to do this with -- with every data set, go
       7   is on the printout -- 1, 2, 3, 4, 5, 6 -- page 7.    7   ahead and make tables.
       8   A       I'm not sure that I haven't seen this        8           And, so, Beasley Allen folks helped
       9   on the Internet.                                     9   construct the -- I guess it was an Excel table.
      10   Q       If you look under "or beneficiation."       10   Q         These are the tables that are --
      11   A       Sure.                                       11   A         Yeah. But that's it. Everything else
      12   Q       And do you agree with me that what's in     12   is -- is --
      13   the report appears to be a quote --                 13           And if -- I'm just thinking about the
      14   A       Sure.                                       14   Zelikoff thing. I did get a -- I did get a
      15   Q       -- from this website?                       15   reference out of hers. But that's all I
      16   A       It'd be nice to know where they got         16   remember.
      17   their definition. Seriously.                        17   Q         Okay. And by "the tables," you're
      18   Q       Okay. But do you believe that you saw       18   referring to the various tables that appear --
      19   this website while you were drafting your report?   19   you know, some start on page 13.
      20   A       You know, when you -- when you              20   A         The tables have replaced very long
      21   mentioned the name, it didn't ring a bell. But I    21   paragraphs that describe each one of these -- for
      22   believe I have seen this.                           22   the most part, each one. Some of them, the ones
      23   Q       Okay.                                       23   from the Hicks -- not Hicks -- the Hopkins depo,
      24   A       But I don't -- I don't know the             24   some of those I didn't have until I got his depo.
                                                 Page 55                                                   Page 57
       1   company.                                             1   Q        Okay. Did you put together the tables
       2   Q        All right. Mark this as Exhibit 7,          2   or was that something that Beasley Allen --
       3   please.                                              3   A        No. They helped.
       4         (DEPOSITION EXHIBIT NUMBER 7                   4   Q        -- put together for you?
       5          WAS MARKED FOR IDENTIFICATION.)               5   A        They helped.
       6   MR. FROST:                                           6   Q        And I take it, when they sent you the
       7   Q        Do you recognize this as the expert         7   tables, it sounds like there were additional
       8   report of Dr. Judith Zelikoff that you reviewed?     8   references in there that originally you didn't
       9   A        I only have it online.                      9   have or didn't review?
      10   Q        Okay.                                      10   A        There -- there were not.
      11   A        But I'm assuming it is the same.           11   Q        Okay.
      12   Q        Okay. If you could please turn to page     12   A        I don't think that there were. The
      13   31 of your report.                                  13   ones that -- that were related to the Hopkins
      14   A        Of my --                                   14   exhibits, I had them, but I think I got them
      15          I'm sorry. I'm going to hers.                15   after I had prepared my first draft, something
      16   Q        And I guess I'll start here. Did           16   like that. And so they are -- they were new, new
      17   anybody help you write your report?                 17   to the second edition.
      18   A        No.                                        18   Q        Were there any references when you
      19   Q        You wrote all of it yourself?              19   reviewed the tables that you hadn't seen prior to
      20   A        Every word. There was help with --         20   the tables being generated by Beasley Allen?
      21   with the tables. My report was table-less           21   A        I don't think so. I didn't -- I -- I
      22   initially.                                          22   didn't notice any. But there are like a
      23   Q        Okay.                                      23   hundred-and-something references just in the
      24   A        And it was extremely cumbersome because    24   table that deals with asbestos.
                                                                                 15 (Pages 54 to 57)
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                                           Robert Cook, Ph.D.
                                                  Page 58                                                  Page 60
       1   Q       And, so, I compared the -- you know,         1   A       I think so.
       2   the report in Exhibit 1 to the report in Exhibit     2   Q       -- report?
       3   2. It looks like a lot of the changes that were      3          Okay. So these weren't new lists that
       4   made were within the tables. Does that sound         4   were sent to you by Beasley Allen?
       5   correct?                                             5   A       No. No, no.
       6   A       It -- there could have been, sure.           6   Q       And have you reviewed all of the
       7   Q       What type of changes were made to            7   documents that are in each of the charts?
       8   Table --                                             8   A       I think I have.
       9          Well, strike that.                            9   Q       And I note that your charts are -- I'm
      10          Did -- were these changes that you made      10   not gonna say exactly the same, because,
      11   or were these changes that were made by Beasley     11   actually, your amended ones change some of the
      12   Allen?                                              12   language, but they're materially similar to those
      13   A       I went through the table in one and         13   showing up in the report of Dr. Krekeler. Have
      14   found a goodly number of things that I thought      14   you had a chance to review the charts in his
      15   were wrong, but they were -- some of them were      15   reports?
      16   spellings that were related to probably             16   A       I've seen a version. I don't know
      17   spellchecker, like the word "Cyprus" for Cyprus     17   whether it was his latest version. And, yeah,
      18   Corporation was misspelled a number of times.       18   he -- he had -- I mean, that was the whole idea.
      19          There were some incidences where I           19   We've got -- now we've got charts to replace long
      20   questioned whether the right terminology was used   20   paragraphs. And, so, they should be similar.
      21   for mineralogy, for a mineralogical citation.       21   Q       Okay. And this was the work done by
      22          And, you know, we keep going back            22   Beasley Allen?
      23   through these tables, and there's -- I think        23   A       In terms of --
      24   there may be one sample in the asbestos that may    24   MS. O'DELL:
                                                  Page 59                                                  Page 61
       1   not actually be a cosmetic -- or in the talc that    1           Object to the form.
       2   may not be a cosmetic talc.                          2   A        Right. In terms of the compilation of
       3   Q       Okay. Do you -- do you recall which          3   the charts, I mean, I'm pretty sure a secretary
       4   one that would be or --                              4   did it.
       5   A       No.                                          5   MR. FROST:
       6   Q       -- do you have the ability to identify?      6   Q        Okay. And then they sent it to you for
       7          Okay.                                         7   inclusion in the report?
       8   A       It was a -- it had a number. It was a        8   A        Yes.
       9   numerical sample number.                             9   MS. O'DELL:
      10   Q       And were these changes, then, that you      10           Object to the form.
      11   made to the --                                      11   MR. FROST:
      12   A       I don't think --                            12   Q        All right. So turning to page 31 of
      13   Q       -- charts that were prepared?               13   your report.
      14   A       I don't think -- they were intact, and      14   A        Yes.
      15   I didn't notice that until a day or two ago.        15   Q        See the paragraph at the top of 31, it
      16   Q       Okay. The other changes that were made      16   says -- it's starts with the "According to J&J's
      17   between the original report and the amended         17   corporate representative."
      18   report, were these changes that you made in going   18   A        Right.
      19   through the original report and correcting the      19   Q        Do you know where you got this
      20   spellings?                                          20   information from?
      21   A       Tried to, yes.                              21   A        Yes.
      22   Q       Okay. And are you the one who made all      22   MS. O'DELL:
      23   of the changes to the reports that show up now in   23           Which one are you --
      24   the amended --                                      24   MR. FROST:
                                                                                 16 (Pages 58 to 61)
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                                                 Page 62                                                   Page 64
       1         The top paragraph in 31, the "According        1   Q         -- or the one preceding it that we
       2   to J&J's corporate representative."                  2   talked about?
       3   A       I think that that's in a deposition.         3   A         No.
       4   Q       Can you turn to page 11 of                   4   Q         I'm gonna show you one more on page 34
       5   Dr. Zelikoff's report?                               5   of your report, please. Do you see the paragraph
       6   A       Okay.                                        6   that's above "Cobalt"?
       7   Q       Third paragraph down, starts "According      7   A         Yes.
       8   to Johnson & Johnson's corporate representative."    8   Q         Okay. And then the paragraph right
       9   A       Right.                                       9   above that, I think it's the second-to-last
      10   Q       And I'll just let you review the two.       10   sentence, starts "Interestingly, there is
      11   Do you agree with me that these two paragraphs      11   significant difference between."
      12   are almost exactly the same?                        12   A         Okay.
      13   MS. O'DELL:                                         13   MS. O'DELL:
      14         Object to the form.                           14           I'm sorry. Where -- where are you,
      15   A       Well, I can tell you that I wrote mine      15   Jack? Excuse me.
      16   before she wrote -- or before I ever saw hers.      16   MR. FROST:
      17   MR. FROST:                                          17           It's page 34, so it's the full
      18   Q       Okay.                                       18   paragraph above "Cobalt" and then the last two
      19   A       So, you know, if they're similar, okay.     19   sentences in the paragraph above that. It
      20   But, you know, I didn't receive hers until maybe    20   starts, "Interestingly, there is significant
      21   a month ago.                                        21   difference."
      22   Q       Okay. So you certainly would -- didn't      22   MS. O'DELL:
      23   read and rely on Dr. Zelikoff --                    23           Okay.
      24   A       No.                                         24   MR. FROST:
                                                 Page 63                                                   Page 65
       1   Q       -- in order to draft your -- your            1   Q        Okay. And looking back again at pages
       2   portion of the report?                               2   11 and 12 of Dr. Zelikoff's report --
       3   A       No.                                          3   A        That's interesting, because this is
       4   Q       If you can turn to page 32 of your           4   a -- something that was in my original report.
       5   report, the second paragraph that says -- starts     5   Q        Okay. Yeah. I was gonna say,
       6   "Talc mine in Vermont."                              6   actually, I -- I will say all of this information
       7   A       Okay.                                        7   was in your original report.
       8   Q       Okay. Again, if you can look at              8   A        Yeah. I mean, I -- maybe she got ahold
       9   Dr. Zelikoff's page 11.                              9   of it. I don't know.
      10   A       Okay.                                       10   Q        Okay.
      11   Q       And it's the fourth paragraph down. If      11   A        But I certainly didn't take anything
      12   you can read those two.                             12   out of hers.
      13         Do you agree with me that they're             13   Q        All right. And you'd agree with me, if
      14   almost exactly the same again?                      14   you look at page 11 to 12 --
      15   A       Yep.                                        15   A        Right.
      16   MS. O'DELL:                                         16   Q        -- again, the same language --
      17         Object to the form.                           17   A        Right.
      18   MR. FROST:                                          18   Q        -- shows up?
      19   Q       And, again, you weren't relying on          19   MS. O'DELL:
      20   Dr. Zelikoff to draft your report?                  20          Object to the form.
      21   A       No.                                         21   MR. FROST:
      22   Q       And plaintiffs' counsel didn't provide      22   Q        Okay. And --
      23   you this paragraph --                               23   MS. O'DELL:
      24   A       No.                                         24          Excuse me. Just give me a minute --
                                                                                 17 (Pages 62 to 65)
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       1   not a minute, actually -- a second to object if I    1   of -- of the Italian talc deposits.
       2   need to.                                             2   Q        Okay.
       3   THE WITNESS:                                         3   A        And -- and, you know, and that was an
       4         I'm sorry.                                     4   interesting search. There is new -- there is new
       5   MS. O'DELL:                                          5   data.
       6         No worries.                                    6   Q        Do you remember where you searched for
       7   MR. FROST:                                           7   the geology of the Italian deposit?
       8   Q       So you certainly didn't take                 8   A        It was just Google searches. Putting
       9   Dr. Zelikoff's report to draft yours; correct?       9   in Val Chisone or Val Germanasca talc, You -- you
      10   A       Certainly not.                              10   begin to get lots of hits. And there -- there
      11   Q       And the -- the language in these            11   are a couple of recent papers that are pretty
      12   various paragraphs I pointed out weren't provided   12   good.
      13   to you by plaintiffs' counsel?                      13   Q        And I believe -- I think you cite
      14   A       No.                                         14   Mindat.org?
      15   Q       Okay. And you don't know how they           15   A        Yes.
      16   ended up in Dr. Zelikoff's report?                  16   Q        And that's -- that's the types of
      17   A       I have no earthly idea.                     17   things you were searching through on the
      18   Q       Okay. Thank you. I'm done with              18   Internet?
      19   Dr. Zelikoff's. You can put that to the side.       19   A        Well, Mindat.org is -- that's sort of
      20         I will say, may as well keep your --          20   an interesting website. It -- it originated in
      21         As we go through today, I'm sort of           21   Poland, and the amount of work that's gone into
      22   going to reference your report.                     22   that is -- is unbelievable, because there's only
      23   A       Sure.                                       23   a couple of guys that did this.
      24   Q       So you may as well keep Exhibit 2 close     24          And the value of Mindat.org is that,
                                                  Page 67                                                 Page 69
       1   by --                                                1   for many of the localities where they'll
       2   A       Okay.                                        2   attribute a mineral to, they'll list the
       3   Q       -- as we'll be walking through that as       3   reference. So it's a darn good place to go find
       4   the day progresses.                                  4   references.
       5   A       Okay.                                        5   Q       It's a great place to start?
       6   Q       And we had already talked about it           6   A       Yeah. It's a really good place to
       7   before, but it seems like you did -- is it fair      7   start. And -- and they've won awards, worldwide
       8   to say that you did investigation of your own        8   awards, for that particular site and the amount
       9   library to find some of the reference material       9   of work they've had to put into it.
      10   you cite in your report?                            10   Q       And you've already told me nobody
      11   A       Yes.                                        11   helped you draft your report. Did anybody help
      12   Q       Other than looking through your             12   you do the research?
      13   physical library, did you do any other type of      13   A       No.
      14   research? Did you go to a research library,         14   Q       You didn't use any graduate students
      15   Internet, anything like that?                       15   or --
      16   A       For the most part, there was no reason      16   A       No. No. No, no, no.
      17   to. I've got a complete set of American             17   Q       Okay. All right. And we -- we've
      18   Mineralogist back to day one, complete set of       18   covered a little bit of this, but your
      19   Economic Geology to day one, complete set of        19   background, do you consider yourself a geologist,
      20   Bibliography of North American Geology. And         20   a mineralogist? What -- how do you define your
      21   everything that the USGS has done, I have a copy    21   expertise?
      22   of. I mean, I had 5,000 books.                      22   A       Well, you know, I started out as a
      23          And, so, the only thing I really -- I        23   mining engineer. So my original educational
      24   really did on the Internet was search for geology   24   background was in mining engineering. And then I

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                                                  Page 70                                                  Page 72
       1   was lucky enough to get to go on in graduate         1   fines, MSHA fines, I'm probably an expert.
       2   school at Georgia in geology. And, so, I'm           2   Q       Okay. Have you ever done any -- any
       3   really both. I'm a mining engineer. I'm not a        3   research or publication regarding mine
       4   registered engineer. I should have gone ahead        4   regulations?
       5   and done that, but I didn't. But I am, of            5   A       In terms of research, yes. But -- but
       6   course, a registered geologist in -- in a number     6   in a practical sense, I mean, I -- I have an
       7   of states.                                           7   interest in three operating mines, so -- so I
       8   Q       I was gonna say, I believe you're            8   have to try to stay on top of this.
       9   registered in Georgia, Florida, and Alabama?         9   Q       Okay. Have you ever participated in
      10   A       Right. Those are the -- the three good      10   the regulatory process either with, you know, the
      11   ones.                                               11   SEC, JORC, any of the other regulatory agencies?
      12   Q       All right. And you're not a medical         12   A       No. But I have tried to supply
      13   doctor; correct?                                    13   students to the regulatory agencies, and -- and I
      14   A       I'm -- I'm certainly hoping I'm not.        14   have a number that -- that are -- are pretty high
      15   Q       Right?                                      15   up. One of mine is very high up in EPA right
      16   A       No, I'm not.                                16   now. And I am kind of proud of them. I've got
      17   Q       And you're not a toxicologist?              17   three or four that are really doing well.
      18   A       No.                                         18   Q       Okay. But you yourself have never --
      19   Q       And you don't hold a degree in either,      19   A       Well --
      20   you know --                                         20   Q       -- been part of that process?
      21          Medical doctor is a terrible way, but        21   A       Well, they send me consulting work.
      22   you don't hold an M.D. or a degree as a             22   Q       Okay.
      23   toxicologist; correct?                              23   A       Why do you think I pointed them in that
      24   A       No. No.                                     24   direction?
                                                  Page 71                                                  Page 73
       1   Q        And you have no formal training in          1   Q        Well, sure.
       2   either what I'll call human medicine or              2           Other than sending you consulting work,
       3   toxicology?                                          3   you know, you've never testified before any of
       4   A        No.                                         4   the bodies or --
       5   Q        Do you consider yourself a regulatory       5   A        Well --
       6   expert?                                              6   Q        -- given any comments --
       7   A        40 CFR is -- I mean, I -- I understand      7   A        -- I've testified relative to,
       8   some of it, and I've certainly worked with it.       8   you know --
       9          When -- when the RCRA law first came          9           Yes, I've testified relative to
      10   out, I was -- I was into that very deep. And        10   litigation in terms of the mining impact on
      11   today, probably not, except in very specific        11   private properties.
      12   areas.                                              12   Q        Okay. Have you ever testified at any
      13   Q        Would one of -- do you consider your --    13   of the hearings regarding regulations or
      14   yourself an expert in the regulatory process of     14   commented on the regulatory process?
      15   talc mining or talc ore?                            15   A        The only one that I formally commented
      16   A        I'm not sure that -- that there really     16   on was the SOAP program, which was called the --
      17   is a regulatory issue related to talc mining that   17   the Small Operator Assistance Program, that was
      18   -- that's unique. There are certainly               18   put in place probably in the late '70s. And it
      19   regulations related to that type of mining, and I   19   may not even exist anymore. But it was a way
      20   -- I'm familiar with them.                          20   that small mining companies could get federal
      21   Q        Okay. Is it just a familiarity, or         21   assistance so that they -- they were able to
      22   would you consider yourself an expert in the --     22   comply with new environmental regulations. And I
      23   the regulations regarding that type of mining?      23   actually participated in that.
      24   A        In that I have had to suffer through       24   Q        Okay. Have you ever formally commented

                                                                                 19 (Pages 70 to 73)
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                                            Robert Cook, Ph.D.
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       1   on any regulations regarding, you know, for          1          So, from that standpoint, I have a
       2   example, requirements of drilling, requirements      2   pretty good background into the geology of that
       3   of sampling and compositing, anything of that        3   type of talc occurrence, keeping in mind that
       4   nature?                                              4   that isn't the only type.
       5   MS. O'DELL:                                          5   Q       Uh-huh.
       6           To regulatory agencies?                      6   A       But I have done work for companies that
       7   MR. FROST:                                           7   are exploring for talc.
       8   Q        To regulatory agencies.                     8          In fact, I just recently -- I -- I had
       9   A        I've had discussions with regulators.       9   to relog some drill core and redo some thin
      10   Q        But no formal comments?                    10   sections for a company that -- that had
      11   A        No, no.                                    11   undertaken a talc project as a consultant and
      12   Q        Have you ever worked with talc before?     12   then they were unable to do it. They -- they
      13   A        Yes.                                       13   weren't sure what they were doing.
      14   Q        When was that?                             14          You know, we -- I'm sure we'll mention
      15   A        Well, first thing I ever did with talc     15   Alice Blount. She -- she was interested in the
      16   was to get money to live on. I sold talc when I     16   talc deposits at Winterboro, Alabama, and I had
      17   was between my -- my graduation date at the         17   drilled them with a -- a company and had also
      18   School of Mines and when I started at Georgia.      18   designed an exploration program for additional
      19           There was a company that was trying to      19   talc deposits at Winterboro which were carried
      20   buy talc to put into kits that they were selling,   20   out.
      21   mineral kits. And, so, they -- they sent me a       21          But Dr. Blount wanted to look at the
      22   list of materials they wanted, and talc was right   22   drill core. And -- and I was actually the one
      23   at the top.                                         23   that pulled the boxes for her and showed her the
      24           So I knew some of the talc locations in     24   intervals that she wanted to show and -- and
                                                  Page 75                                                  Page 77
       1   Georgia, and so I went and began to pick through     1   would turn my back when she took a sample, that
       2   the mine dumps looking for lumps of talc that        2   kind of thing. So...
       3   made it onto the dumps. That was my first            3   Q        All right.
       4   experience with talc.                                4   A        So, anyway...
       5          But, since then, it -- it's gone a long       5          And -- and I've been working -- working
       6   way. I mean, I'm looking at ultra -- ultramafic      6   on talc projects all along since -- since I got
       7   rocks right now in a project that we actually key    7   out of school.
       8   in on talc and asbestos occurrences. But we're       8   Q        Okay. Have you ever published anything
       9   looking for nickel and -- and precious metals        9   other than this -- the USGS paper regarding talc?
      10   associated with them. And this has grew out of      10   A        Yes. The -- I wrote the mineralogies
      11   some work I did for the US Geological Survey.       11   for both Georgia and Alabama, and there are
      12   Six of us put together one of their professional    12   sections on talc in both of those.
      13   papers, number 1475, which was a paper that         13   Q        And other than the two books you
      14   discussed the -- the evolution of -- of the         14   published, is there anything else that you
      15   eastern part of the US, specifically Georgia and    15   published, peer-reviewed?
      16   Alabama.                                            16   A        I'm absolutely sure that there are.
      17          But what we came up with was a -- a          17   I'm -- I'm an executive editor for a magazine
      18   much broader picture that would allow a             18   that publishes Geographic Mineralogy, and I've
      19   connection all the way up the Eastern Seaboard,     19   edited many papers dealing, in part, with talc
      20   even into Vermont and on into Canada, that showed   20   for that journal. So...
      21   the relationship of ultramafic rocks to the         21          But in terms of have I -- have I
      22   development of the eastern part of the US. And      22   discussed talc in any other papers? I'm sure,
      23   that has -- you know, people are still citing it,   23   yes. I mean, you've got my -- my vita.
      24   cursing it and citing it.                           24   Q        Uh-huh.
                                                                                 20 (Pages 74 to 77)
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                                           Robert Cook, Ph.D.
                                                  Page 78                                                 Page 80
       1   A       And, I mean, there's a lot of pages in       1   Q        I think I've read that amphiboles make
       2   there. I'd have to go through them one by one        2   up a -- it's a creepy percentage. It's like 10
       3   and think back and, you know, "Did I mention         3   or --
       4   talc?"                                               4   A        I -- I saw that, and I questioned it.
       5          The problem with this is that I've done       5   MS. O'DELL:
       6   petrographic work for probably 25 or 30 quarries.    6           Let him finish, Doctor.
       7   And -- and this is done routinely.                   7   THE WITNESS:
       8          I mean, some of these quarries I've           8           Okay.
       9   done the work maybe four or five times because       9   MR. FROST:
      10   they do it ann- -- maybe not annually but maybe     10   Q        I was gonna say, have you ever read
      11   every couple of years, just to make sure that       11   anything about, you know, sort of how abundant
      12   their product does not contain asbestos.            12   amphiboles are?
      13   Q       Uh-huh.                                     13   MS. O'DELL:
      14   A       And, so, talc is not that rare of a         14           Object to the form.
      15   mineral. And, so, I'm sure that, in some of         15   A        Yes.
      16   those reports, I'm -- I'm mentioning, "Yep,         16   MR. FROST:
      17   you've got .03 percent talc in your product."       17   Q        Okay. Do you agree with me the --
      18   Q       I guess a better way to ask this            18   especially throughout the Eastern United States,
      19   question, have you ever published any literature    19   the Appalachian Belt, things like that,
      20   that expressly focuses on talc, as opposed to       20   amphiboles are extremely common?
      21   just mentioning it within the paper?                21   A        They are. They -- they occur generally
      22   MS. O'DELL:                                         22   in belts of rocks. You know, when -- when you
      23          So solely on talc.                           23   see the -- the number that you're referring to,
      24   MR. FROST:                                          24   I -- I read that, and I said, "Holy criminy,
                                                  Page 79                                                 Page 81
       1   Q       Yes, solely on talc or where talc is         1   this -- this just can't be right."
       2   one of the main -- it wouldn't be solely, but,       2           But, then, if -- if you begin to think
       3   you know, where talc is the main focus of the        3   about the shallow crust, a great -- a large
       4   paper or the research.                               4   percent of it is really oceanic crust. And
       5   A       I'm gonna say no, but -- but maybe I         5   amphiboles and related mafic minerals are very
       6   might think of one or two --                         6   common in the oceanic crust. And, of course,
       7   Q       Okay.                                        7   that underlies the continents, so...
       8   A       -- as we -- as we go along.                  8   Q        Have you ever done any testing of talc?
       9   Q       If you do, let me know.                      9   A        In terms of, like, brightness, density,
      10         Have you ever published anything              10   no.
      11   regarding amphiboles directly?                      11   Q        Okay.
      12   A       Yeah. The -- the same story is true         12   A        I -- I've certainly described talc,
      13   there because, I mean, amphiboles are -- are        13   you know, optically in thin section.
      14   exceedingly common, and I probably -- I probably    14   Q        What do you mean by "described" it?
      15   have 50 publications that deal with amphiboles.     15   A        You know, if it occurs in a rock, I
      16   Q       That deal with amphiboles specifically?     16   would describe grain size, relationship to
      17   A       Yeah. Yeah. They'll be -- well, the         17   adjacent mineral grains, that type of thing.
      18   problem with amphiboles is they're such a           18   Q        Okay. What about amphiboles? Have you
      19   common -- the family is so common that -- that if   19   ever done any specific testing on amphiboles?
      20   you're gonna go out in the crystalline rocks of     20   MS. O'DELL:
      21   the Eastern US, you're gonna find amphibolites or   21           Object to the form.
      22   rocks that contain amphiboles. And, then, if        22   A        Let me back up. I've x-rayed talc
      23   you're gonna write -- write the paper, you -- you   23   in -- in years past, and I've certainly x-rayed a
      24   describe them.                                      24   lot of amphiboles.
                                                                                 21 (Pages 78 to 81)
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                                            Robert Cook, Ph.D.
                                                  Page 82                                                  Page 84
       1   MR. FROST:                                           1   study for about six or eight of their quarries.
       2   Q       And by "x-ray," are you talking about        2   But they were -- you know, they were concerned,
       3   XRF or XRD?                                          3   like everybody is, is quarrying something out of
       4   A       XRD.                                         4   the ground that -- that, you know, when you're
       5   Q       And was this related to academics, or        5   producing a couple million tons a year out of a
       6   was this related to the work you were doing with     6   single hole in the ground in hard rock that's of
       7   some of the mining companies?                        7   a metamorphic grade that might have asbestos
       8   A       Academics.                                   8   minerals, you want to know whether or not you've
       9   Q       And was this for mineral identification      9   got something.
      10   purposes?                                           10   Q       Okay.
      11   A       Mainly.                                     11   A       And, so, I did the work for Oldcastle,
      12   Q       Did you ever publish any of your            12   and they have a whole series of reports that I
      13   mineral identification XRD work on either talc or   13   did for them that -- that outline the absence of
      14   amphiboles?                                         14   asbestos.
      15   A       A lot of it is published but without        15   Q       Okay. And Oldcastle, I looked them up.
      16   reference to the analytical technique.              16   I believe they're a gravel quarry? Is that -- is
      17          I mean, I -- when you're -- when you're      17   that fair?
      18   writing a paper, you can't describe how you         18   A       No.
      19   identified every single mineral grain in every      19   Q       Okay.
      20   single sample. I mean, it's just impossible.        20   A       They're one of the largest construction
      21          But it was very common to -- to run          21   materials company in the world. They own the
      22   confirmatory x-ray diffraction analyses on          22   Bank of Scotland. That's where the word
      23   samples that we thought we knew what we had.        23   Oldcastle comes from. They're a Scottish
      24   "Let's -- let's check and make sure."               24   company --
                                                  Page 83                                                  Page 85
       1   Q        Do you consider yourself an expert in       1   Q       Okay.
       2   XRD?                                                 2   A       -- that operate in the US under a lot
       3   A        I would say that I used to be. I could      3   of different names. But -- but the man I did
       4   just about make a diffractometer jump up and         4   this for was David Toolan, who's their general
       5   dance. Not -- not anymore. There's a whole new       5   counsel in Atlanta. And so I used the word
       6   generation of machines out there that are -- that    6   "Oldcastle" because he's the Oldcastle general
       7   are -- can do things that I never thought would      7   counsel.
       8   ever be done.                                        8   Q       What type of ores were you looking at
       9   Q        And it's just not something -- you          9   when you were doing these reviews?
      10   haven't kept up with the technology or the          10   A       What was that?
      11   research?                                           11   Q       What type of ores were you looking at
      12   A        No. Actually, they sold my -- I had        12   when you were doing these reviews?
      13   a -- I had my own x-ray machine, and the            13   A       Everything they had was being sold for
      14   university sold it when I retired because nobody    14   aggregate for one use or another. You know,
      15   knew how to run it. I'm serious. I -- they          15   there are different uses for aggregate.
      16   should have never done that.                        16   Q       Uh-huh.
      17   Q        All right. Have you ever done -- have      17   A       And, so, each one of the quarries was a
      18   you ever published anything regarding asbestos?     18   quarry that -- that was crushing and sizing stone
      19   A        Same -- same story. You know, in -- in     19   for either a concrete market, a surface materials
      20   the two state mineralogies, there's lots of         20   market.
      21   information I published on asbestos. And I've --    21          A lot of material gets -- gets sold to
      22   you know, I've testified relative to asbestos and   22   Florida because Florida doesn't have adequate
      23   for -- and I'm -- I'm sure that I can say this,     23   rock to surface their own highways. So
      24   but for Oldcastle, I did a complete asbestos        24   everything that is -- is a good surface material,
                                                                                 22 (Pages 82 to 85)
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                                           Robert Cook, Ph.D.
                                                  Page 86                                                  Page 88
       1   if it's asphalt in Florida, it's coming out of       1   Q       And you've never published anything
       2   Georgia or Alabama.                                  2   regarding talcum powder specifically; correct?
       3   Q         Okay. So --                                3   A       No.
       4   A         And that's -- that's the type of stuff.    4   Q       And did you have any opinions
       5   Q         All right. I apologize. I used the         5   regarding, you know, talcum powder and the
       6   word "gravel." I'm guessing gravel is probably       6   potential of asbestos or heavy metals in talcum
       7   not --                                               7   powder prior to being engaged in this litigation?
       8   A         No.                                        8   MS. O'DELL:
       9   Q         -- the right mining term.                  9         Object to the form.
      10   A         I'm very upset with that.                 10   A       No.
      11   Q         But I think we're talking about the       11   MR. FROST:
      12   same thing.                                         12   Q       Okay.
      13   A         Yeah.                                     13         All right. That's a good place to take
      14   Q         So aggregate seems to be the correct      14   a break.
      15   term.                                               15   VIDEOGRAPHER:
      16   A         Aggregate.                                16         Going off the record. The time is
      17   Q         And I apologize.                          17   10:06 a.m.
      18            And it seems like your job was to          18              (OFF THE RECORD.)
      19   determine -- locate asbestos within that ore, or    19   VIDEOGRAPHER:
      20   the absence of it?                                  20         We're back on the record. The time is
      21   A         Well, it was -- it was a little bit       21   10:25 a.m.
      22   more than that. They had -- I had to go and         22   MR. FROST:
      23   sample their stockpiles and select samples from     23   Q       All right. Let's turn to page 2 of
      24   the stockpiles to --                                24   your report. And under the section "Summary of
                                                  Page 87                                                  Page 89
       1          I use a lab in Salt Lake City or in           1   Opinions," you've set forth seven opinions. Does
       2   Lindon, Utah, which is south of Salt Lake, to        2   that sound right?
       3   make my -- my -- my thin sections. And, so --        3   A       Yes.
       4   and then I would do complete thin section            4   Q       Will you agree with me that, you know,
       5   analysis for each sample. And I would count more     5   these are the opinions -- these are the ultimate
       6   or less a thousand grains in each thin section       6   conclusions and the opinions that are supported
       7   and -- and report on the mineral composition of      7   by your report?
       8   their rock.                                          8   A       Yes.
       9   Q        Uh-huh.                                     9   Q       And I won't read them all, but I'll
      10   A        And if there was a --                      10   start by going over a couple of them. The first
      11          And some of them actually have               11   opinion states, "Talc deposits derived by the
      12   amphiboles. But, with one exception, I never saw    12   alteration of serpentinites contain chrysotile
      13   anything that I would have -- I would have, you     13   and amphibole species and fibrous asbestiform
      14   know, said this is a -- you know, you're looking    14   habits, all of which are known carcinogens."
      15   at some chrysotile or something like that. I did    15          Did I read that correctly?
      16   see some once.                                      16   A       I believe so.
      17   Q        Okay. Have you ever done any testing       17   Q       And you'll agree with me that the
      18   of finished talcum powder?                          18   question here is whether or not -- it's not
      19   A        No.                                        19   necessarily what's in the deposit; correct?
      20   MS. O'DELL:                                         20   We're concerned with what's in -- what ends up in
      21          Jack, are you at a stopping point?           21   the ore. Would you agree with that?
      22   MR. FROST:                                          22   MS. O'DELL:
      23          Yeah. I've got like one more question,       23          Object to the form.
      24   and then I'll be done with this topic.              24   A       I'm not sure you're not asking a -- a
                                                                                 23 (Pages 86 to 89)
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                                           Robert Cook, Ph.D.
                                                 Page 90                                                   Page 92
       1   redundant question of some sort, because what is     1   MR. FROST:
       2   in the ore is in the -- in the -- in the deposit     2   Q        Okay.
       3   as a whole, unless you want to refine that a         3   A        In --
       4   little bit.                                          4   Q        And, so, what I want to get at --
       5   MR. FROST:                                           5   MS. O'DELL:
       6   Q         I was gonna say, are you looking at        6          Let him finish.
       7   deposit more -- are you looking at deposit as        7          Were you finished, Dr. Cook?
       8   only the ore, or are you looking at deposit as       8   A        Well, I was gonna -- gonna just finish
       9   the entirety of --                                   9   with one more sentence.
      10           I'll -- I'll strike that.                   10   MR. FROST:
      11           You agree with me what is the -- the        11   Q        Sure. Go ahead.
      12   mineable deposit is different than the entirety     12   A        In -- in the ore deposit itself, the
      13   of the deposit when you're talking about talc;      13   talc ore, of course, is gonna be different from
      14   correct?                                            14   the serpentinite from which it was derived.
      15   A         Yeah. Yes and no. Don't -- I -- I         15          I mean, serpentinite and talc are not
      16   object to the use of the word "deposit."            16   the same thing, so, of course they're different.
      17   "Deposit," to an economic geologist, means the --   17   Q        Would you agree with me that, within
      18   the occurrence of the ore.                          18   the talc deposit, you can have areas of the talc
      19   Q         Okay.                                     19   that are less pure than other areas of the
      20   A         And so -- so you're -- what -- I think    20   deposit, say closer to or further from the -- the
      21   what you're saying is that the serpentinite as a    21   edges of the deposit?
      22   whole may be mineralogically at variance with the   22   A        Sure.
      23   ore deposit itself.                                 23   Q        And you'd agree with me that not the --
      24           Is that what you're asking?                 24   not all of that talc will end up getting mined
                                                 Page 91                                                   Page 93
       1   Q        That's correct. That's what I'm             1   and used as the ultimate ore; correct?
       2   talking to.                                          2   MS. O'DELL:
       3          You can have -- when you look at a -- I       3          Object to the form.
       4   was talking about deposit in more of a global        4   A       That may or may not occur. There are
       5   term, that when you have an area of talc, I was      5   companies who will get every single scrap of --
       6   looking at that as the deposit and then -- which     6   of ore they can, and that would -- that would
       7   is separate from the sort of smaller economic        7   cause them in some cases to incorporate some of
       8   deposit of ore that's mineable inside of it.         8   the wall rock in with the last bit of ore that
       9   MS. O'DELL:                                          9   they remove. And, so, that's -- that happens.
      10          Object to the form.                          10   That's not really very uncommon.
      11   MR. FROST:                                          11   MR. FROST:
      12   Q        So when you refer to "deposit," you're     12   Q       Okay. Focusing, though, on cosmetic
      13   just talking about the mined ore and not what       13   talc, which, you know, is what we're concerned
      14   surrounds it?                                       14   with here --
      15   MS. O'DELL:                                         15   A       Right.
      16          Object to the form.                          16   Q       -- you'd agree with me that if you have
      17   A        It may not be mined. It would be part      17   an area of the deposit that is, you know, only
      18   of the talc deposit per se. These things are        18   5 percent talc and an area of the deposit that is
      19   part of a -- a larger occurrence of -- of a rock    19   60 percent talc, that the -- what becomes the ore
      20   that's silica-deficient, rich in magnesium. It's    20   does not necessarily come from the -- they're not
      21   altered by the influx of warm waters at some        21   gonna use the entire deposit to create cosmetic
      22   point. And within or around or adjacent to maybe    22   ore; correct?
      23   in some cases a core of serpentinite, you will      23   MS. O'DELL:
      24   have a talc deposit.                                24          Object to the form.
                                                                                 24 (Pages 90 to 93)
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                                            Robert Cook, Ph.D.
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       1   A        I -- I think that that's -- that's a        1   know, that it's been determined to have similar
       2   fair statement. But you might also say you           2   health effects as asbestos, and you quote two
       3   wouldn't use the entire deposit to make -325 mesh    3   IARC papers.
       4   talc to put in paint. I mean, it -- you know,        4   A       Yes.
       5   you could say that with respect to a lot of the      5   Q       And I think we've -- we've already
       6   products.                                            6   determined you're not an expert. You know,
       7   MR. FROST:                                           7   you're not a doctor. You're not a toxicologist.
       8   Q        Sure.                                       8   A       No.
       9          So that's what I'm getting at is it's         9   Q       And are you aware, sitting here today,
      10   not necessarily the entire deposit that is of       10   of any scientific studies that have determined
      11   concern. It's really which part of that deposit     11   fibrous talc to be a human carcinogen?
      12   ends up becoming the talc ore. Correct?             12   A       I'm aware that IARC says it is.
      13   A        Correct.                                   13   Q       Okay. And, other than IARC, can you
      14   MS. O'DELL:                                         14   cite to me any other studies that show that
      15          Object to the form.                          15   fibrous talc is a human carcinogen?
      16   MR. FROST:                                          16   A       I cannot. But I'd like to say that
      17   Q        Okay.                                      17   IARC wouldn't have considered it carcinogenic if
      18   MS. O'DELL:                                         18   there weren't studies that supported that
      19          Give me just a second.                       19   conclusion.
      20   THE WITNESS:                                        20   Q       And you're not here to, you know, opine
      21          Yeah. Sorry about that.                      21   what may or may not cause human disease; right?
      22   MR. FROST:                                          22   A       No, absolutely not.
      23   Q        And the first opinion relates to the       23   Q       And do you consider yourself to be an
      24   alteration of serpentinites. That, for purposes     24   expert in reading, you know, IARC and
                                                  Page 95                                                  Page 97
       1   of this case, only relates to Vermont; right?        1   interpreting IARC monographs?
       2   A        Let me see the way I've worded that         2   A        No.
       3   again.                                               3   Q        Okay. And you agree with me that the
       4           For purposes of this case, yeah.             4   IARC monographs themselves aren't firsthand
       5   Q        Okay. You'll agree with me that in          5   research papers; correct?
       6   China and Italy are derivations of carbonates?       6   MS. O'DELL:
       7   A        That's what I'd say, yes.                   7           Object to the form.
       8   Q        Looking at the second opinion, which is     8   A        I think that there are people that
       9   B, the one that states -- talks about fibrous        9   would consider some of them research papers in
      10   talc --                                             10   that it is they are drawing conclusions based on
      11   A        Right.                                     11   research into the literature with a hypothesis
      12   Q        -- at the very end of that you state       12   that fibrous talc does cause cancer or they might
      13   that, "Fibrous talc fulfills the requirements for   13   use an alternate hypothesis, fibrous talc does
      14   inclusion with asbestiform minerals which are       14   not cause cancer. And then to support either one
      15   known to be human carcinogens."                     15   of those opinions, they're looking at the results
      16   A        Correct.                                   16   of research.
      17   Q        Okay. And you repeat this on page 9 of     17   Q        You --
      18   your report.                                        18   A        And, so, from that standpoint, maybe
      19   A        Okay.                                      19   the IARC documents are in a way a research paper.
      20   Q        It appears to be -- it's the last          20   Q        Well, you agree with me they're not
      21   sentence. Is it the last sentence? Sorry. It's      21   doing any independent lab work?
      22   the sentence before that. You talk -- generally,    22   A        I don't think they are.
      23   it's that last paragraph. Again, we're talking      23   Q        And they're not doing any independent
      24   about, you know, fibrous talc, and then, you        24   epidemiology studies on their own?

                                                                                 25 (Pages 94 to 97)
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                                           Robert Cook, Ph.D.
                                                 Page 98                                                Page 100
       1   A       I don't think so.                           1   A         No.
       2   Q       Okay.                                       2   Q         Do you intend to publish your opinions
       3   A       Let me back up. I don't know what           3   in this case?
       4   their budgeting is. There are organizations like    4   A         No.
       5   this that make grants for the study of things       5   Q         Is there a particular reason why you --
       6   that they're interested in gathering data on.       6   you do or don't intend to publish them?
       7   The World Health Organization as a whole I think    7   A         I don't think it's a -- I don't think
       8   does. National Institute of Health does here in     8   it's a good practice to do this. I know people
       9   the US. They're a very, very robust ranking         9   that do, and they're not looked upon well by
      10   agency.                                            10   their peers. I don't think it's good to publish
      11   Q       Okay. With respect to the IARC             11   data that's generated in litigation.
      12   monographs, you'd agree with me that they're       12   Q         And it's --
      13   reviewing work done by other scientists and        13   A         That's my personal opinion.
      14   drawing conclusions based on them?                 14   Q         No. That's a fair opinion.
      15   A       That's what I -- sure.                     15           So you believe there's a difference
      16   Q       And other than what the conclusions        16   between litigation-derived, you know, research
      17   that IARC has drawn, you can't point me to any     17   and opinions versus academic-derived research --
      18   peer-reviewed studies that support their           18   MS. O'DELL:
      19   research?                                          19           Object to the form.
      20   A       No. I'm -- I'm sure they're listed in      20   MR. FROST:
      21   the monographs.                                    21   Q         -- research and opinions?
      22   Q       And you'd also agree with me that IARC     22   MS. O'DELL:
      23   does not conclude that there's any link between    23           I'm sorry.
      24   fibrous talc and ovarian cancer; correct?          24   MR. FROST:
                                                 Page 99                                                Page 101
       1   MS. O'DELL:                                         1           I didn't -- I didn't think you were
       2         Object to the form.                           2   being rude in talking over me.
       3   A       I don't know the answer to that.            3   MS. O'DELL:
       4   MR. FROST:                                          4           Yes. Yeah. I was just trying to get
       5   Q       That's fine. "I don't know" is a            5   my objection in.
       6   perfectly acceptable answer.                        6           Objection.
       7   A       Yeah. I -- I think that they -- that        7   A        I'm not saying that there's a
       8   ovarian cancer is mentioned. But in the actual      8   difference. I think that it has to do with
       9   statement that it's a group 1 member, they          9   motivation behind research, has to do with who's
      10   probably don't mention ovarian cancer per se.      10   paying for it. I think it's more of a
      11   Q       Okay. And --                               11   philosophical issue with me than anything else.
      12   A       But -- but they might. I don't know        12   MR. FROST:
      13   that.                                              13   Q        Did you certainly --
      14   Q       All right. And you're not an expert on     14   A        I've been involved with litigation
      15   the subject, so you can't sit here and tell me     15   since probably the mid-1970s, and I've never
      16   what types of cancer fibers talc may or may not    16   thought about publishing the results that I
      17   be associated with?                                17   obtained during a litigation research project,
      18   A       No. No.                                    18   let's say.
      19   Q       Other than the seven opinions that we      19   Q        Okay. You'd agree with me that's
      20   have put forth here on pages 2 and 3 of your       20   because there are issues with potential bias
      21   report, do you have any other opinions that you    21   issues --
      22   plan to render --                                  22   A        Sure.
      23   A       No.                                        23   Q        -- with conflict of interest
      24   Q       -- in this case?                           24   disclosures?
                                                                              26 (Pages 98 to 101)
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                                           Robert Cook, Ph.D.
                                                Page 102                                                 Page 104
       1   MS. O'DELL:                                          1           So what are the characteristics that
       2          Excuse me. Give me a chance.                  2   these minerals have to have to be called
       3   A        Sorry.                                      3   asbestos? Well, fibrous. They've got to have an
       4   MS. O'DELL:                                          4   aspect ratio of -- some people want to say as low
       5          Object to the form.                           5   as 3-to-1. I don't agree with that. 5-to-1 is
       6          I don't think there's a question              6   what most people, I think, would use today.
       7   pending, Doctor.                                     7           They occur in groups of parallel
       8   MR. FROST:                                           8   fibers. Can be -- you can call them bundles.
       9   Q        Yeah. I was going to say, did you           9   Bundles can show -- if you look at the end of a
      10   answer?                                             10   bundle, you can see that they -- that there is --
      11          The second part of the question, so          11   they are composed of more than one particle. You
      12   you -- the second part of the question is, you      12   can begin to see a spray at the end of a bundle.
      13   know, one of the issues would be conflict of        13           These things are -- they're flexible.
      14   interest disclosures, sources of funding, things    14   In other words, you can bend them without
      15   like that would all, you know, go into the          15   breaking, for the most part, although that's a
      16   decision as to whether or not, you know, you        16   little bit questionable because the -- the
      17   would decide to publish?                            17   tendency to break perpendicular to the length in
      18   MS. O'DELL:                                         18   amphiboles is different from -- in chrysotile.
      19          Object to the form.                          19   So there can be a little bit of a difference
      20   A        The conflict of interest is -- is a        20   there.
      21   really important topic. And -- and I agree that     21           The tensile strength is usually pretty
      22   would be one of the reasons not to.                 22   high.
      23   MR. FROST:                                          23   Q        Okay.
      24   Q        Okay. Turn to page 4 of your report.       24   A        Resistance to electricity, resistance
                                                Page 103                                                 Page 105
       1   At the beginning of the second paragraph you note    1   to heat. I think that they need to be larger
       2   that talc deposits can attain -- can contain         2   than 5 microns in length to be of significance.
       3   asbestos.                                            3          So what we're really talking about are
       4   A       Uh-huh.                                      4   fibers, minerals that occur in fibers that have
       5   Q       How do you define asbestos?                  5   to belong to generally that group of minerals
       6   A       Well, fibrous mineral that is -- I'm         6   that were originally described.
       7   trying to decide how to describe mineralogically     7   Q       And do you recall what the five
       8   what they are, because the original six              8   amphibole minerals were?
       9   chrysotile and then the five amphiboles that are     9   A       Well, the problem with this is that
      10   mentioned, the five amphiboles, some of them are    10   some of them are called minerals and they're
      11   not even minerals anymore. And, so, somebody        11   actually trade names.
      12   somewhere has got to go in and actually redefine    12   Q       Okay.
      13   asbestos mineralogically.                           13   A       Like amosite is not a mineral at all.
      14          For example, anthophyllite is actually       14   You know, that's gonna be grunerite, for the most
      15   a solid solution series with anthophyllite at one   15   part.
      16   end and ferro-anthophyllite at the other. But       16          Crocidolite is actually a sodium
      17   ferro-anthophyllite is a mineral that forms         17   amphibole called riebeckite. And so there's
      18   asbestos, and yet it's not mentioned in the         18   actinolite, tremolite, then those two and
      19   original definition of asbestos. They just say      19   anthophyllite.
      20   anthophyllite.                                      20   Q       Okay. And are you familiar with the
      21          And, so, traditionally you've got --         21   term "asbestiform"?
      22   you've got chrysotile is your serpentine member     22   A       Yes.
      23   of the asbestos family, and then you've got the     23   Q       And the asbestiform habit?
      24   five amphiboles. Well, okay. That's great.          24   A       (Nods affirmatively.)
                                                                             27 (Pages 102 to 105)
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                                            Robert Cook, Ph.D.
                                                 Page 106                                                Page 108
       1   Q        Could you describe for me or can you        1   Doctor?
       2   define for me what asbestiform means?                2   THE WITNESS:
       3   A        We sort of talked about it in the           3          Yeah, I think so.
       4   definition of asbestos. But asbestiform, again,      4   MR. FROST:
       5   is related to a fibrous nature. And, from my         5   Q        And with respect to the five
       6   perspective, I've looked at a lot of asbestos in     6   amphiboles, you'd agree with me it's the
       7   rock samples.                                        7   asbestiform or the fibrous variant that's defined
       8           Now, granted, the -- what you see in a       8   as, quote, asbestos, closed quote; correct?
       9   rock sample is gonna be coarse-grained asbestos.     9   MS. O'DELL:
      10   And, so, if you see a little band of asbestos,      10          Object to the form.
      11   generally the fibers will be perpendicular to the   11   A        I'm sorry, Jack. Can you ask that --
      12   edges of that band, and if it -- if it's            12   MR. FROST:
      13   asbestos, the chances are you can rub your          13          Sure.
      14   fingernail across it and actually dislodge --       14   Q        And you'd agree with me, with respect
      15   dislodge fibers. There are minerals that form       15   to the five amphiboles, it's the fibrous or
      16   the same type of a band that you can't.             16   asbestiform version of those amphiboles that is
      17   Q        Uh-huh.                                    17   defined as, quote, asbestos, closed quote?
      18   A        And they will not dislodge. And            18   MS. O'DELL:
      19   usually that won't be -- that won't be asbestos.    19          Object to the form.
      20   But the two may look asbestiform. So the real       20   A        That is correct. But there is some --
      21   question is can you have an asbestiform mineral     21   the literature is inconsistent in that regard.
      22   that is not asbestos? And the answer is yes.        22   There should -- if you've got -- if you've got
      23   Q        Okay.                                      23   actinolite asbestos, it should always say
      24   VIDEOGRAPHER:                                       24   actinolite asbestos --
                                                 Page 107                                                Page 109
       1            Can I go off the record really quickly?     1   MR. FROST:
       2   MR. FROST:                                           2   Q        Okay.
       3            Sure.                                       3   A        -- or fibrous actinolite. There
       4   VIDEOGRAPHER:                                        4   should -- there should be a modifier if you're
       5            The time is 10:42 a.m.                      5   going to -- to go from the mineral species by
       6                (OFF THE RECORD.)                       6   itself into the realm of asbestos.
       7   VIDEOGRAPHER:                                        7   Q        And that's sort of the question I was
       8            We're back on the record. The time is       8   getting to. There's a difference between --
       9   10:42 a.m.                                           9           And we'll use actinolite, which you
      10   MR. FROST:                                          10   just used.
      11   Q         And, so, we're talking about the          11           There's actinolite, which isn't
      12   definition of asbestos. Chrysotile, I believe,      12   necessarily asbestos, and then there's
      13   is always asbestiform. That's the asbestiform       13   asbestiform or fibrous actinolite, which is.
      14   serpentine?                                         14   Correct?
      15   A         If you -- if you actually apply a         15   A        Correct.
      16   minimum length to the fiber to chrysotile, then     16   Q        And you can have one without the other;
      17   it isn't always asbestiform.                        17   right?
      18   Q         Oh, okay.                                 18   A        Correct.
      19   A         I mean, it can be below that 5 micron     19   MS. O'DELL:
      20   and then, you know, it's out the door as            20           Object to the form.
      21   asbestos.                                           21   MR. FROST:
      22   Q         And, then, with respect --                22   Q        And do you know what a cleavage
      23   MS. O'DELL:                                         23   fragment is? Is that a term you're familiar
      24            Are you finished -- were you finished,     24   with?
                                                                             28 (Pages 106 to 109)
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                                           Robert Cook, Ph.D.
                                                Page 110                                                 Page 112
       1   A       Correct. It is.                              1          Well...
       2   Q       Okay. Can you please explain to me           2   Q        So how would you go about determining
       3   what a cleavage fragment is?                         3   whether a population of particles are cleavage
       4   A       A cleavage fragment, according to the        4   fragments versus asbestiform fibers?
       5   American Geological Institute, their definition      5   MS. O'DELL:
       6   is wrong, and I can tell you why. But their          6          Object to the form.
       7   definition is that it's a crystal particle that      7   A        I -- I would hit it with the polarizing
       8   is bounded by cleavage surfaces. And since not       8   microscope first so -- because that allows you to
       9   all crystals have three directions of cleavage       9   look at a lot of -- a lot of grains.
      10   that would give you cleavage on every side, that    10          You know, one of the problems with this
      11   can't be right.                                     11   is that as you -- as you look at finer and finer
      12          But, in essence, it's a -- a broken          12   grain material, your ability to look at large
      13   crystal fragment that is bounded at least           13   numbers of grains diminishes. I like to pop a
      14   partially by planes of breakage rather than         14   sample, ground it up not too fine but grind it
      15   crystallization.                                    15   up, put it in an immersion oil and put it under a
      16   Q       Would you agree with me that the            16   petrographic microscope and see what I see.
      17   difference between a cleavage fragment and an       17          I would also like to have a thin
      18   asbestiform fiber is the habit in which it grew,    18   section of that same sample, because sometimes in
      19   the way in which it developed?                      19   a thin section you can see that there is no
      20   MS. O'DELL:                                         20   asbestiform thing there at all, and yet you may
      21          Object to the form.                          21   end up with a suspect sample. On the other hand,
      22   A       Let me answer that this way. The            22   just the opposite can happen.
      23   answer is yes and no. It's possible to have an      23          So I think that the idea is that you've
      24   amphibole that is truly an asbestos fiber. And      24   got to start large and -- and work down if
                                                Page 111                                                 Page 113
       1   because of the cleavage in amphiboles, you can       1   it's -- if it's required.
       2   take that original asbestos fiber and break it up    2   MR. FROST:
       3   into a cleavage fragment. And, so, therein is        3   Q         Okay. Is a good way to summarize that
       4   the problem.                                         4   that you have to look at the population of
       5           You can certainly have cleavage              5   particles as a whole? You can't just necessarily
       6   fragments that were derived from a large single      6   focus in on one or two individual particles to
       7   crystal that are prismatic, they look like           7   make a call?
       8   needles, and they're not related to an asbestos      8   MS. O'DELL:
       9   particle. But you can have something that looks      9            Objection, to the degree "particles" is
      10   exactly the same that is. And, so, that's a --      10   vague.
      11   it's a very tough call.                             11   A         Yeah. I -- I'm not saying that. I'm
      12   MR. FROST:                                          12   not saying that if you -- if you look at a small
      13   Q        Are there any properties that you would    13   population, see a chrysotile particle, that you
      14   use to identify the difference between a cleavage   14   need to then go back and look at a 5-ton rock
      15   fragment and an asbestiform fiber?                  15   sample just to make sure it was chrysotile. You
      16   A        With respect to chrysotile, yes, of        16   don't have to do that. But if you're worried
      17   course. With respect to amphiboles, your value      17   about the presence or absence, period, then you
      18   there is to look at lots and lots of material.      18   need to look at a lot of samples.
      19   And if -- if the material is -- is asbestiform,     19   MR. FROST:
      20   you're ultimately gonna see the pieces that are,    20   Q         Okay. You can't just look at one, you
      21   and then you begin to get the -- the concept that   21   know --
      22   these cleavage fragments, which are always gonna    22            Are you familiar with the term
      23   be smaller, are derived from a fiber. I mean, I     23   "elongated mineral particle"?
      24   think that you really are --                        24   A         Sure.
                                                                             29 (Pages 110 to 113)
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                                            Robert Cook, Ph.D.
                                                Page 114                                                  Page 116
       1   Q        So you can't just look at one EMP and       1   it would have a tendency to break. But, still,
       2   make a determination as to whether or not that's     2   it's not hard to find amphibole grains that are
       3   asbestos?                                            3   bent. And when they are, then, you know, then
       4   MS. O'DELL:                                          4   you're beginning to satisfy the definition.
       5           Object to the form.                          5   Q        If I were to show you pictures of, you
       6   A        One particle? You might be able to.         6   know, sort of isolated particles under TEM, is
       7   Depends on the particle.                             7   that the kind of thing that you could look at and
       8   MR. FROST:                                           8   go, yeah, that's cleavage fragment; yeah, that's
       9   Q        And what types of things would you have     9   asbestos?
      10   to look for in that particular particle?            10   A        Sometimes.
      11   A        Well, are we talking about amphibole or    11   Q        Sometimes?
      12   chrysotile?                                         12   A        Sure. Sometimes, yes; sometimes, no.
      13   Q        I was going to say, I understand           13   Q        Is that something that you routinely do
      14   amphibole is different because amphibole has a      14   in your job?
      15   lot of its own characteristics.                     15   A        No.
      16   A        All right.                                 16   Q        No.
      17   Q        Let me rephrase my question. We'll --      17          Okay. Is it something that you have
      18   let's focus on the amphiboles, because I think      18   any experience with doing?
      19   that's a little more difficult.                     19   MS. O'DELL:
      20   A        Yeah. It is. Yeah, the amphiboles are      20          Are you talking about TEM?
      21   tough.                                              21   MR. FROST:
      22           And your question had to do with an         22   Q        TEM or SEM images.
      23   elongated particle, is it asbestiform or not?       23   A        I mean, I've looked at some. But
      24   Q        That's correct.                            24   that's not -- that's not part and parcel of what
                                                Page 115                                                  Page 117
       1   A       The -- I'm not sure that without seeing      1   I normally do.
       2   the sample from which the particle came that you     2   Q       Okay. You're not an expert in
       3   can make a real good call there unless you -- you    3   reviewing TEM or SEM images?
       4   have an entire particle. Now, some of these          4   A       I wouldn't think I was.
       5   particles will not be broken at the ends and you     5   Q       Do you have any opinion as to whether
       6   can actually see the termination of the grain.       6   or not surface chemistries of asbestiform or
       7          If it is non-asbestiform, the                 7   non- -- and non-asbestiform particles are
       8   termination will normally be a single oblique        8   different?
       9   plane to the direction of elongation.                9   A       Surface chemistry?
      10          If it's -- if it's an asbestiform            10   Q       Yes.
      11   fragment, sometimes these fragments taper to a      11   A       I'm not sure I understand how the
      12   point. And that's pretty much of a giveaway that    12   surface chemistry's gonna be greatly different
      13   you're looking at a single crystallized fiber.      13   from the chemistry through the grain.
      14          Another thing you might do is see            14   Q       Okay. So that's -- that's not
      15   whether your population has bent fibers in it.      15   something you have an opinion about, about
      16   Okay? Many times that's a dead giveaway.            16   surface chemistry?
      17   Q       That has to go with -- I think you --       17   A       I think that -- I'm not sure -- I'm not
      18   flexibility or tensile strength are some of the     18   sure what you're really asking.
      19   aspects you had listed earlier?                     19          The -- if you're gonna do, like, EDAX,
      20   A       Right.                                      20   how far into the grain do you think you're really
      21          And with amphiboles, you have to be          21   analyzing? Is that what you're talking about
      22   careful because there is a cleavage plane           22   when you say "surface"? Because you may not be
      23   direction that is perpendicular to the              23   getting an analysis that's gonna be
      24   elongation. So if you try to bend an amphibole,     24   representative of the grain as a whole on --
                                                                             30 (Pages 114 to 117)
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                                            Robert Cook, Ph.D.
                                                Page 118                                                 Page 120
       1   on -- on a lot of these techniques. You're --        1   MR. FROST:
       2   you're -- the penetrating power may not be that      2   Q         So you'd agree with me that if you're
       3   great.                                               3   looking at a small population of fibers or you're
       4          But I don't think that -- I don't think       4   looking at -- well, not fibers, but if you're
       5   that I would be greatly concerned about surface      5   looking at a small population of particles or
       6   chemistry versus chemistry five -- five or six       6   looking at a single particle, a lot of times the
       7   microns into a grain. I'm not sure there should      7   call as to whether or not it's cleavage or,
       8   be any big difference unless you're -- there's a     8   you know, prismatic versus asbestiform fiber
       9   coating of some sort that -- that maybe is,          9   is -- is subjective unless you have a larger
      10   you know, has been applied.                         10   population to review?
      11          You know, you have to -- to coat some        11   MS. O'DELL:
      12   of these samples, anyway, if you're -- if you're    12           Excuse me. Object to the form.
      13   doing SEM work.                                     13   A         It can be. I think that -- that it's
      14          So, I mean, you know, you get carbon.        14   necessary to begin to go back and look at the
      15   In fact, I'm sure that you've looked at a lot of    15   original definitions and begin to try to apply
      16   these analyses. And if you look at the analyses,    16   them to that particular grain.
      17   you'll see that they'll have silica. They'll        17   MR. FROST:
      18   mark it, and they'll mark it SI. And they'll        18   Q         Uh-huh.
      19   have magnesium, and they'll mark it MG. And then    19   A         And -- and sometimes it's possible.
      20   about here, there'll be iron. And then just         20   Sometimes it may not be. And that's why it's
      21   beyond iron, there'll be a strong peak. And they    21   important to look at many, many, many, many, many
      22   never identify it, and yet it's there. It's part    22   samples, many grains.
      23   of their analysis. You know what it is? Copper.     23   Q         Okay. And I take it you have no
      24   That's the copper peak from the sample. So they     24   opinion regarding the potential health risks
                                                Page 119                                                 Page 121
       1   just ignore that.                                    1   associated with a cleavage fragment versus an
       2           And, so -- so you have to -- you have        2   asbestiform --
       3   to really take a look at the technique that's        3   A       No.
       4   being used if you want to talk about surface         4   Q       -- mineral?
       5   chemistry versus total chemistry.                    5   A       No.
       6   Q         And do you have an opinion as to           6   Q       Turn to page -- still on 4 of your
       7   whether or not -- I'll call it the cleavage          7   report. It's the -- the remainder of that
       8   fragments versus asbestiform fibers have             8   sentence, "Talc deposits can contain asbestos,
       9   different surface features and different surface     9   asbestiform minerals, or minerals containing
      10   identifiable markers?                               10   elevated levels of heavy metals and arsenic,
      11   MS. O'DELL:                                         11   making their ores potentially unsafe. The
      12           Object to form.                             12   distribution of asbestos and/or these undesirable
      13   A         I think that -- that it's possible to     13   elements can be quite irregular within individual
      14   identify cleavage surfaces under some situations,   14   talc deposits themselves or in the immediately
      15   because they don't have to be perfectly planar.     15   adjacent host rocks."
      16   You can have steps where -- where the cleavage      16          Did I read that right?
      17   fragment is actually peeling away from the          17   A       Sure.
      18   adjacent fragment that results when the two         18   Q       So you -- you'll agree with me that --
      19   separate.                                           19          Should I -- is it right to call the ore
      20           The problem with this is that that can      20   the economic mineral, you know, in a talc
      21   happen in a fiber. I mean, an amphibole fiber,      21   deposit?
      22   if you can come up with a hammer small enough and   22   MS. O'DELL:
      23   hit it, it's gonna break into cleavage fragments.   23          Object to the form.
      24   So...                                               24   A       Let -- let's call it the material that
                                                                             31 (Pages 118 to 121)
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                                           Robert Cook, Ph.D.
                                               Page 122                                                 Page 124
       1   you intend to extract and mill.                     1         Object to the form.
       2   MR. FROST:                                          2   A      I mean, you could have things that you
       3   Q       Okay. You'd agree with me that the          3   mentioned that don't even exist in some areas.
       4   shape, size, and distribution of that, you know,    4   MR. FROST:
       5   area of mineral you intend to extract as ore can    5   Q      Exactly.
       6   be different and irregular?                         6   A      So, of course.
       7   A       Very.                                       7   Q      Okay. And would you also generally
       8   Q       And they're different for every             8   agree with me that the -- the areas of talc that
       9   deposit; right?                                     9   are mined for use in cosmetic talcum powder,
      10   A       Very. Yes, sure.                           10   you know, are much purer than, you know, sort of
      11   Q       It's not always gonna be the same          11   the average deposit of talc you might find
      12   shape. It's not always gonna be the same size.     12   somewhere in the world?
      13   A       That's why they have mining engineers.     13   A      Are you --
      14   Q       And you'd agree with me that each          14   MS. O'DELL:
      15   mineral deposit is usually complex?                15         Object to the form.
      16   A       Yes.                                       16   A      Are you restricting this to the -- to
      17   MS. O'DELL:                                        17   the US?
      18          Object to the form.                         18   MR. FROST:
      19   MR. FROST:                                         19   Q      I don't have to. I can ask it --
      20   Q       You know, and they have complex and        20         Is -- is your answer different if it's
      21   different geological histories?                    21   US versus --
      22   MS. O'DELL:                                        22   A      It is.
      23          Do you mean that specific mineral           23   Q      -- somewhere else?
      24   deposits?                                          24   A      Yes.
                                               Page 123                                                 Page 125
       1   MR. FROST:                                          1   Q        Okay. So restricted it to the US. So
       2   Q       Just in -- just in general. Well,           2   what's your opinion there?
       3   we'll narrow it down to talc deposits.              3   A        Then with -- with respect to the US,
       4   MS. O'DELL:                                         4   yeah, it's a higher quality talc.
       5          With the world of talc or world of           5   Q        Okay. And why is that different when
       6   minerals.                                           6   you then add in worldwide talc deposits?
       7   MR. FROST:                                          7   A        I think that there are examples of
       8          No. I was going to say...                    8   impure talcs being used in -- in powders that
       9   Q       We'll narrow it down to the world of        9   have originated from deposits in other countries
      10   talc deposits.                                     10   that, you know, that never make it to the US.
      11          You'd agree with me that, you know,         11   But you see the product analyzed and, you know,
      12   talc deposits can have complex and different       12   my -- oh, my God, it's 99 percent asbestos, and
      13   geological history?                                13   it's on, you know, every newspaper in the world,
      14   MS. O'DELL:                                        14   but it isn't talc that was mined here and it
      15          Object to the form.                         15   isn't talc that was sold in the US.
      16   A       Sure. If you're looking at talc on a       16   Q        Okay. I see. And, then, actually,
      17   worldwide basis, of course.                        17   now, I really appreciate the difference.
      18   MR. FROST:                                         18           So with respect to the deposits that
      19   Q       Yeah. And, you know, you'll have           19   were used by Johnson & Johnson, you know, say, to
      20   folding and faulting and you'll have different     20   source the talc for its talcum powder products,
      21   geological circumstances that, you know, may       21   you know, you'd agree those come from deposits
      22   affect a localized area that wouldn't affect       22   that tend to be higher in purity and, you know,
      23   somewhere else?                                    23   more monomineralic than, say, other deposits that
      24   MS. O'DELL:                                        24   exist?

                                                                            32 (Pages 122 to 125)
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                                            Robert Cook, Ph.D.
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       1   MS. O'DELL:                                          1   accessory minerals in every deposit. Is that a
       2          Object to the form.                           2   fair statement?
       3   A       Yeah. You can't -- you can't say that,       3   MS. O'DELL:
       4   simply because the Vermont talc deposits are not     4          Are you talking about the same
       5   monomineralic. They actually mine ore that's         5   geographic area or different geographic area for
       6   talc plus carbonate.                                 6   the deposit?
       7   MR. FROST:                                           7   MR. FROST:
       8   Q       Okay.                                        8   Q        Just in -- in general, you know, for
       9   A       They do it on purpose.                       9   talc deposits. You know, we can limit it, let's
      10          So that's not monomineralic.                 10   say, for example, in the United States, along the
      11   Q       I see.                                      11   ultramafic belt.
      12          So I guess a better way to ask it,           12   MS. O'DELL:
      13   you know, the -- the talcum powder -- the           13          Object to the form.
      14   deposits that were used to source the talcum        14   A        In the ultramafic belt, you can expect
      15   powder for Johnson & Johnson, they tended to be     15   to find certain minerals just by virtue of -- of
      16   higher percentages of talc and sort of more pure    16   how the ultramafic bodies themselves got to where
      17   talc deposits than other talc deposits that exist   17   they are, how they were altered, what -- what
      18   throughout the United States, for example?          18   metamorphic grade they occur at.
      19   MS. O'DELL:                                         19          And, interestingly enough, the
      20          Object to the form.                          20   chemistry of the rocks that surround them
      21   A       No, that's not right.                       21   apparently have a little bit to do with what --
      22   MR. FROST:                                          22   what you're gonna see.
      23   Q       Okay. So you don't believe that,            23   MR. FROST:
      24   you know, companies try to find talc deposits       24   Q        Okay. You'd agree with me, just
                                                 Page 127                                                Page 129
       1   with a higher concentration of talc to use for       1   because you find actinolite in one deposit
       2   cosmetic talcum powder?                              2   doesn't mean actinolite is gonna be in every
       3   MS. O'DELL:                                          3   single talc deposit along the belt; correct?
       4          Object to the form.                           4   A        My guess is that, if you want to use
       5   A       Not necessarily. I think that -- that        5   actinolite as an example, you can pick a talc
       6   with respect to the Vermont talc deposits,           6   deposit at random, we can go and spend enough
       7   probably the best talc in them is the talc that      7   time to find an actinolite grain.
       8   is associated with magnesite. And, so --             8   Q        Okay.
       9          And, in fact, that's why the West             9   A        I mean, actinolite is so common. I
      10   Windsor mill was so important. It -- that mill      10   mean, it's -- it's everywhere.
      11   was built to handle talc magnesite ore. Because     11   Q        All right. How about tremolite or
      12   once you get the magnesite out, then you have a     12   anthophyllite?
      13   relatively nice talc product. But it doesn't        13   A        Well, tremolite -- here's -- here's the
      14   start out being pure talc.                          14   thing with tremolite. Tremolite has calcium in
      15   MR. FROST:                                          15   it, and talc doesn't. And, so, if -- if there's
      16   Q       Okay. Would you also agree with me          16   calcium in the -- the original rock that's being
      17   that when you're looking at sort of talc deposits   17   altered, the calcium has got to have somewhere to
      18   in general, just because you find some --           18   go. And tremolite is a very easy place to -- to
      19          Are you familiar with the term               19   store calcium. And, so, it's not -- it's not
      20   "accessory minerals"?                               20   unexpected to see tremolite.
      21   A       Sure.                                       21          You certainly see tremolite in the talc
      22   Q       Okay. Just because you find some            22   deposits that are formed from carbonate rocks
      23   accessory minerals in one deposit doesn't mean      23   because a lot of those carbonates are dolomites
      24   you're gonna find the same compilation of           24   plus calcium carbonate-rich limestone. So
                                                                             33 (Pages 126 to 129)
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       1   they're -- they're interbedded.                      1   instance, I think the Johnson mine has had
       2           And, so, you -- you do tend to see           2   cobaltite reported from it, and -- and we don't
       3   tremolite in those. But you've got to                3   see any evidence of cobaltite at any of the other
       4   accommodate calcium somehow, and that's -- that's    4   talc deposits.
       5   a common way.                                        5          And, so, from that standpoint, sure,
       6   Q         Okay. But, so you'd agree with me,         6   there -- there can be a difference in the suite
       7   then, that not every deposit of talc is gonna        7   of accessory minerals.
       8   have tremolite in it, because they're not all        8          But if you're gonna talk about the
       9   gonna be comprised of the same underlying            9   common rock-forming minerals, geez, you know,
      10   original materials before metamorphosis; right?     10   those things show up all over the place.
      11   MS. O'DELL:                                         11          I mean, if you look at the black wall,
      12           Object to the form.                         12   you know, most of these deposits have got a -- a
      13   A         I'm -- I'm not gonna say that they all    13   rind around them; and the black wall, by
      14   don't --                                            14   definition, has amphiboles in it. And based on
      15           Talc deposits can be -- you know,           15   the chemistry of these things, they're bound to
      16   they're pretty large. And if you found a            16   be actinolite.
      17   little -- you know, these are little, rootless      17   MR. FROST:
      18   ultramafic bodies. Some of them are no bigger       18   Q       Okay. You'd agree with me that,
      19   than this (indicating). And you might find a        19   depending at the pressures, temperature, and the
      20   little teeny one like that, and there won't be a    20   time in which they form, what you're gonna find
      21   tremolite grain within 50 feet of it.               21   associated with each, you know, mineable talc
      22           But in terms of an economic talc            22   deposit's gonna be different?
      23   deposit, I would be shocked if you couldn't go      23   MS. O'DELL:
      24   and station somebody at the mine the day it         24          Object to the form. Asked and
                                                Page 131                                                 Page 133
       1   opened and -- and have them do nothing but search    1   answered.
       2   for tremolite every day, and sometime during the     2   A       Yeah. I -- I -- the way -- the way
       3   operation of that mine they're gonna come in with    3   that you stated that, I -- I don't think I would
       4   a piece of tremolite. I'd be surprised if            4   exactly agree with you on that.
       5   that -- if that wouldn't happen.                     5   MR. FROST:
       6   MR. FROST:                                           6   Q       You wouldn't agree with me that you
       7   Q        So it's your position, sitting here as      7   have to look at the individual formation of each
       8   a scientist, that every single talc deposit in,      8   deposit to determine, you know, what is or is not
       9   say, the ultramafic belt will have the exact same    9   going to be in it?
      10   compilation of accessory minerals associated --     10   A       When you say "the formation," you're
      11   A        No.                                        11   talking about the -- the genesis, not the rock
      12   Q        -- with it?                                12   formation?
      13   A        No. I'm not saying that.                   13   Q       Yes. I'm talking about the genesis,
      14   MS. O'DELL:                                         14   the actual, you know --
      15          Excuse me. Object to the form.               15   A       Yeah.
      16   Misstates his testimony.                            16   Q       -- time, heat, pressure of
      17   MR. FROST:                                          17   metamorphism.
      18   Q        Okay. So you agree with me that each       18   A       The conditions of formation certainly
      19   particular deposit will have its own particular     19   control the mineralogy of any rock.
      20   set of potential accessory minerals; right?         20   Q       Okay. And the conditions of formation,
      21   MS. O'DELL:                                         21   you know, can be extremely localized, correct,
      22          Object to the form.                          22   depending on what the -- what the original rock
      23   A        If we're gonna be very broad in our        23   was?
      24   definition of "accessory minerals." For             24   MS. O'DELL:
                                                                             34 (Pages 130 to 133)
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                                            Robert Cook, Ph.D.
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       1          Object to the form.                           1   unit. The -- the most recent publications spell
       2   A       It certainly can. There seem to be           2   it out pretty clearly that -- that that is a -- a
       3   some -- some consistent threads that run through     3   sequence of rocks that contain carbonates, and
       4   these. But if you've looked at any of the mine       4   those carbonates are deformed and they're -- they
       5   maps, you've seen that some of these deposits are    5   have been originally metamorphosed at apparently
       6   certainly cut by faults, and -- and some of these    6   high grade, because they're garnets in the -- in
       7   faults actually control the disposition of some      7   the adjacent schists. And garnets are a mineral
       8   of these accessory minerals.                         8   that -- that actually signals the beginning of a
       9   MR. FROST:                                           9   certain level of regional metamorphism.
      10   Q       Uh-huh.                                     10          When you hit garnet grade metamorphism,
      11   A       So if it's not like faulting, then,         11   you open up -- it's not really a Pandora's box,
      12   you know, then you might not see a certain          12   but you have the opportunity for a lot of -- a
      13   mineral.                                            13   lot of more complicated mineralogy.
      14          Some of these also had lamprophyre           14          And -- and that was what I meant in
      15   dikes in them. And those dikes, they have their     15   that statement. If you -- if you go to the
      16   own mineral assemblage. But -- but since it's       16   literature and read about the accessory minerals
      17   almost impossible to mine some of the talc          17   there in the Italian talc deposits, you'll see
      18   without incorporating some of the lamprophyre,      18   some minerals mentioned that -- that you don't
      19   then -- then you've got to look at the              19   see attributed to some of the stuff in Vermont,
      20   lamprophyre.                                        20   for instance.
      21   Q       Okay. You'd agree with me, you know,        21   Q        Okay. So that's what you're talking --
      22   depending on what the surrounding rock was of the   22   that's what you're talking about is because it's
      23   serpentinite, when it was formed, the temperature   23   hosted from a different type of -- of rock?
      24   and pressure at which it was formed, you know,      24   A        It's a different type -- it's a --
                                                 Page 135                                                Page 137
       1   whether or not it went through multiple stages of    1   those are different type deposits.
       2   metamorphosis, all of this would, you know,          2   Q       Okay. And you'd agree with me that,
       3   change what might be in that particular localized    3   you know, the literature basically says that the
       4   deposit?                                             4   mineralogical composition was effectively stable
       5   MS. O'DELL:                                          5   through its formation in the Fontane area or the
       6           Object to the form.                          6   Val Chisone area?
       7   A        In terms of accessory minerals, it          7   MS. O'DELL:
       8   might.                                               8          Object to the form.
       9   MR. FROST:                                           9   MR. FROST:
      10   Q        Okay. Okay. Page 4, go to section 1,       10   Q       And remained stable throughout
      11   "Chronology of Talc Sources." In that first         11   subsequent metamorphism?
      12   paragraph, we're talking about the Italian mine     12   MS. O'DELL:
      13   in -- in this; correct? The Fontane mine?           13          Object to the form.
      14   A        Sure.                                      14   A       I think I know what you're asking.
      15   Q        Okay. And down towards the bottom of       15          Are you asking about the talc remaining
      16   that paragraph you state, "Deposits from this       16   stable?
      17   region are known to be mineralogically complex,     17   MR. FROST:
      18   particularly with respect to their host             18   Q       That's correct.
      19   metamorphics"?                                      19   A       That's probably right.
      20   A        Right.                                     20   Q       Okay. And, at the end of that
      21   Q        Can you explain to me how the              21   paragraph, you note, "The deposits were often
      22   particular deposit at the Fontane mine was          22   small and mined by underground methods."
      23   formed?                                             23   A       Yes.
      24   A        Yeah. That -- that is a carbonate          24   Q       What do you mean by "small"?
                                                                             35 (Pages 134 to 137)
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                                           Robert Cook, Ph.D.
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       1   A        The -- the -- some of the earlier           1   Valley.
       2   descriptions of the -- the Val Chisone district's    2   A        Yes.
       3   deposits show them to be lens-like within the        3   Q        Not necessarily the Fontane deposit.
       4   host carbonate-bearing strata. And, so, if           4   A        Right. Right.
       5   you've -- if you've ever seen a -- a                 5   Q        And have you ever read the work by
       6   cross-section of the Germanasca Valley, you've       6   Sandrone and Zuchetti?
       7   got a valley, and there are mines on both sides      7   A        I don't recognize the names. It
       8   of it.                                               8   doesn't mean I haven't read it.
       9   Q        Uh-huh.                                     9   Q        Okay. And --
      10   A        And at the Fontane mine, you've got --     10   A        Can I -- can I continue with my answer
      11   you've got openings on one side and the other,      11   to that last question?
      12   and they are all accumulated into material that's   12   Q        Sure.
      13   called Fontane mine. And, yet, they're not          13   A        The reason I mentioned the small mines,
      14   really a mine that's connected, and yet they're     14   there -- there is an issue with -- with -- with
      15   all in the same stratigraphic horizon.              15   talc mining as well as gold mining. If you have
      16           If you were to go up or down the            16   a mineral deposit that -- that has value on
      17   valley -- let's say up the valley -- you're         17   paper, you have got to convert that mineral
      18   following the stratigraphy. Okay? The valley        18   deposit into somebody giving you a check for the
      19   has actually cut through the band of rocks that     19   ore or the finished product.
      20   contain the talc. And Fontane is in -- is,          20          And, so, what happens if you're in the
      21   you know, in the sides of the valley.               21   Germanasca Valley and you've got a very small,
      22           If you go up the valley, you're still       22   very nice grade, very nice talc deposit? You've
      23   following that same bed of rock, and there are      23   got to have some way to mill that.
      24   lens-like occurrences of talc that have been        24          Well, suppose there's only one mill in
                                                Page 139                                                Page 141
       1   mined. And, so, those would be much smaller          1   the whole region? And, so, what do you do? You
       2   mines than the Fontane. The Fontane's a big          2   take some samples, you go to the guy that owns
       3   mine.                                                3   the mill and you say, "Um, I've got all this
       4   Q       Okay. That's what I was gonna get at.        4   really good talc I'd like to -- I've got to do
       5   That statement doesn't necessarily, you know --      5   something with it. Will you buy it?" And if
       6   you'd agree with me that the deposit at Fontane      6   they like it, they say, "Sure," and it just goes
       7   mine is actually considered to be a fairly large     7   right in with the product coming labeled Val
       8   talc deposit?                                        8   Chisone.
       9   A       It's big. Vertically, you're looking         9   Q        And --
      10   at multiple levels that -- I can't remember         10   A        Because it's the only mill in the
      11   exactly, but you're looking at least -- at least    11   region. This happens all over the world. People
      12   400 feet in terms of vertical extent in that        12   have smaller deposits, and they feed mills that
      13   mine. And I take that to mean that there are        13   are actually being run to process ore from the
      14   multiple ore horizons, which would be               14   district's main mine.
      15   interesting. I don't think you're gonna find a      15   Q        And, sitting here, you have no evidence
      16   talc deposit that's 400 feet thick. I mean, I       16   to show that that actually happened --
      17   don't think that's happening.                       17   A        No.
      18          So my interpretation of the                  18   Q        -- with respect to the Fontane?
      19   cross-section I've seen is that there are           19   A        I'm just pointing out that that is a
      20   multiple horizons within the rock unit that         20   very common characteristic --
      21   contains the -- the talc.                           21   Q        Okay.
      22   Q       Okay. So the statement you have, you        22   A        -- of mining in general.
      23   know, that the deposits were often small, that's    23   Q        But, without speculating, you can't
      24   really more a generalization for the Val Chisone    24   tell me that talc ore used for talcum powder
                                                                             36 (Pages 138 to 141)
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                                           Robert Cook, Ph.D.
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       1   sourced by Johnson & Johnson came from anywhere      1   A        I think that --
       2   other than the Fontane mine; correct?                2   MS. O'DELL:
       3   MS. O'DELL:                                          3          Object to the form.
       4          Object to the form.                           4   A        Right. I think today it's a family or
       5   A        I'm not sure that -- that all the           5   it was a family-operated enterprise.
       6   documents actually say that. I think that some       6   MR. FROST:
       7   of them are careful or, let's just say -- I think    7   Q        Uh-huh.
       8   some of them don't actually name the Fontane mine    8   A        And, so, they own the Fontane mine and,
       9   by name. They -- they just talk about the            9   so, what they sell is gonna be attributed to the
      10   district or the -- the -- the valley, the Chisone   10   Fontane mine.
      11   Valley. And I think that it's --                    11   Q        Okay. Turn to page 5. The first full
      12          This is sort of an interesting thing,        12   sentence on the page starts, "The first
      13   because it may be that -- that the ore that's       13   comprehensive overview of Vermont's talc deposits
      14   processed from the smaller occurrences might be     14   were given by Chidester, Billings, and Cady in
      15   very, very, very high grade or it wouldn't have     15   1951" --
      16   been accepted at the mill.                          16   A        Right.
      17   MR. FROST:                                          17   Q        -- "and a review of the ultramafic
      18   Q        But you have no evidence to show --        18   province of Vermont including its
      19   A        No.                                        19   serpentinite-associated talc and asbestos
      20   Q        -- one way or the other?                   20   deposits was published in Ratté in 1982."
      21   A        No, other -- other than they talk about    21          Did I read that right?
      22   small mines. And you don't -- you don't have a      22   A        I think you did. I'm not sure I worded
      23   small mine if there's nowhere to process the ore.   23   it right, but --
      24   Q        Who -- who talks about small mines?        24   Q        And then it continues, "The
                                                Page 143                                                 Page 145
       1   A        Well, it's in the literature.               1   consanguinity of talc and asbestos in such
       2   Q        The literature?                             2   deposits is further supported by the numerous
       3   A        Yeah.                                       3   descriptions of both talc and asbestos in
       4   Q        The literature talks about small mines?     4   deposits such as Bain (1934; 1942). The intimate
       5   A        Sure.                                       5   association of amphiboles, including those of
       6   Q        But not any of the documents from           6   asbestiform habit with talc deposits derived from
       7   Johnson & Johnson or Imerys; correct?                7   serpentinites and related rocks, is discussed by
       8   A        I think they may be mentioned in one of     8   Van Gosen (2004)."
       9   the published papers. But that's characteristic      9         Correct?
      10   of -- of any district. You're gonna have large      10   A       Right.
      11   mines and small mines. I mean, I can't think of     11   Q       All right. So the way the last
      12   anywhere where you've just got one huge mine and    12   sentence reads, you're not saying that every talc
      13   there never was anything else around it.            13   rock is guaranteed to have asbestos and
      14   Q        Okay. You'd agree with me the Fontane      14   amphiboles associated in it; correct?
      15   mine has been mined, I think, for at least a        15   A       No, I'm not saying that.
      16   hundred years?                                      16   Q       Okay. All right.
      17   A        Yes.                                       17         I'm gonna mark --
      18   Q        And it might even be longer?               18         What exhibit are we on?
      19   A        Yes.                                       19   THE COURT REPORTER:
      20   Q        And that's -- you know, any time that      20         Eight.
      21   evidence actually points to where the               21         (DEPOSITION EXHIBIT NUMBER 8
      22   Italian-sourced talc came from, it specifically     22         WAS MARKED FOR IDENTIFICATION.)
      23   talks about the company that operates the Fontane   23   MR. FROST:
      24   mine and the Fontane mine; correct?                 24   Q       Mark this as Exhibit 8. And I'll --
                                                                             37 (Pages 142 to 145)
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                                           Robert Cook, Ph.D.
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       1   specifically turning your attention to page 33.    1   A        Back to back.
       2   I believe it's 33, 34.                             2   Q        And if you look down at the section
       3   A       My page numbers are --                     3   called "Talc in Soapstones," you'll note on the
       4   MS. O'DELL:                                        4   second paragraph --
       5          Front and back, I believe.                  5   A        Right. Right.
       6   A       Yeah. I've got one with -- with one        6   Q        -- it says, "The talc-soapstone
       7   page number on it.                                 7   mineralization coincide with the described above
       8          Okay. I've got 33. Have you                 8   for asbestos and is included within the
       9   highlighted it in yellow?                          9   ultramafic process."
      10   MR. FROST:                                        10           Correct?
      11   Q       The copy I had was highlighted.           11   A        Right.
      12   A       Okay.                                     12   Q        So he's referencing specifically with
      13   Q       I didn't highlight it, but --             13   the talc-soapstone mineralization that, you know,
      14   A       Okay.                                     14   it relates to the asbestos discussed above.
      15   Q       -- it's the only copy I had.              15   Right?
      16          Is yours not highlighted?                  16   A        Right.
      17   MS. O'DELL:                                       17   Q        If you turn to the top of page 34,
      18          No.                                        18   Ratté states that the talc mines of Windsor
      19   MR. FROST:                                        19   Minerals, Inc., in Hammondsville and Ludlow, a
      20          On page 33?                                20   Vermont Talc Company mine in Andover, and the
      21   MS. O'DELL:                                       21   Vermont Soapstone Company Mine in Chester are
      22          No.                                        22   included in the southern talc mining district."
      23   MR. FROST:                                        23           Correct?
      24          Huh. All right. Do you want to             24   A        That's what he says, sure.
                                               Page 147                                                Page 149
       1   mark -- maybe we'll mark that one, then. It        1   Q       And he's distinguishing the
       2   doesn't really -- unless you care. I don't -- I    2   talc-soapstone mineralization that he coincides
       3   don't care.                                        3   with the asbestos from the southern -- what does
       4   MS. O'DELL:                                        4   he call it? -- talc mining district. Correct?
       5          If it's -- that's fine if you -- if         5   MS. O'DELL:
       6   you've marked that one.                            6          Object to the form.
       7   MR. FROST:                                         7   A       I'm not sure that that's what he's
       8          Yeah. I was going to say, I mean, it        8   saying. But I'll accept that.
       9   actually speeds things up --                       9   MR. FROST:
      10   MS. O'DELL:                                       10   Q       Yeah. Okay.
      11          My hope --                                 11   A       But -- but, before we go on, I'd like
      12   MR. FROST:                                        12   to point out what he says in the second full
      13          -- if I point him in the right place.      13   paragraph on that page.
      14   MS. O'DELL:                                       14   Q       Okay. On which page?
      15          Yeah. That's fine.                         15   A       34.
      16   MR. FROST:                                        16   Q       34? Okay.
      17   Q       Okay. So you'll agree with me that the    17   A       He warns about the -- the -- the
      18   top of the -- of the Ratté -- here on page 33,    18   consequences of the occurrence of these minerals
      19   you know, Ratté's talking about the asbestos      19   together.
      20   deposits, and that's what you mentioned in your   20   Q       Okay. These -- I don't understand
      21   paper; correct?                                   21   where he's warning. He says Vermont leads the
      22   A       Yeah. He does asbestos and talc in        22   nation in talc production.
      23   this paper.                                       23   A       No.
      24   Q       Okay.                                     24   Q       Products manufactured from Vermont are
                                                                           38 (Pages 146 to 149)
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       1   popular --                                          1   deal.
       2   A       No. It's the paragraph that starts          2          And probably the largest asbestos mine
       3   "because of the natural mineralogical               3   that ever was in Vermont was on a mountain called
       4   associations."                                      4   Belvidere Mountain. And there was an early talc
       5   Q       Okay. So not the second paragraph?          5   mine on Belvidere Mountain in the serpentinite.
       6   A       Second full paragraph. At least,            6          But if you -- if you ask somebody about
       7   that's what it is on mine.                          7   Belvidere Mountain, they're gonna say, "Oh, yeah,
       8          No. I'm sorry. Third. Go ahead.              8   that's a great old big asbestos mine." And, yet,
       9   MS. O'DELL:                                         9   there was talc there.
      10          Why don't you read the section you're       10          And I think Ratté, Ratté, I think, was
      11   referring to?                                      11   a pretty good state geologist, and I think he --
      12   A       All right.                                 12   he was a visionary and was clearly concerned
      13          "Because of the natural mineralogical       13   about the occurrence of these two minerals
      14   associations of serpentine asbestos and talc,      14   together. And that was why I point this out.
      15   similar environmental health concerns" --          15   Q        Okay. But you agree with me, as he's
      16   Q       Uh-huh.                                    16   talking about --
      17   A       Et cetera, et cetera.                      17   A        There's definitely a central and a
      18          So he's pointing out the fact that          18   southern district also.
      19   asbestos and talc occur in similar environments    19   Q        Okay. And these are different --
      20   and you'd better watch out.                        20   different districts in the talc --
      21   Q       Okay. But you agree with me he's           21          I mean, is it fair to say as you're
      22   specifically coinciding the deposits together,     22   moving south along the Appalachians --
      23   when he's talking about the talc-soapstone         23   A        They're geographically different.
      24   mineralization and the relationship to the         24   MS. O'DELL:
                                                Page 151                                                Page 153
       1   asbestos mines, he specifically is excepting out    1           Excuse me.
       2   of that talc mines of southern Vermont; correct?    2   MR. FROST:
       3   MS. O'DELL:                                         3   Q        Yes. The geo- -- the -- the two or
       4           Object to the form.                         4   three different talc and chrysotile deposits, you
       5   A        I'm not -- I'm not sure that's what        5   know, change as you move south; correct?
       6   he's doing.                                         6   MS. O'DELL:
       7   MR. FROST:                                          7           Object to the form.
       8   Q        Well, that's certainly how the document    8   MR. FROST:
       9   reads, isn't it?                                    9   Q        They change and they're different?
      10   MS. O'DELL:                                        10   MS. O'DELL:
      11           Object to the form.                        11           Object to the form.
      12   A        If you read it that way, okay. I read     12   A        I'm not --
      13   that last paragraph as being inclusive of the      13   MS. O'DELL:
      14   ultramafic belt because I think this whole         14           Would you mind --
      15   section is the Vermont ultramafic belt.            15           Excuse me.
      16   MR. FROST:                                         16           Could you -- would you repeat your
      17   Q        But you agree with me he's breaking it    17   question?
      18   into two different districts, the southern talc    18   MR. FROST:
      19   mining district --                                 19           Sure.
      20   A        Yeah. I think you can actually break      20   Q        And you'd agree with me, based on what
      21   it into three. And the reason he does that is      21   Ratté is saying here, you know, if there's a
      22   that in northern Vermont, you have a district      22   difference between, you know, the northern
      23   that is dominated by asbestos mining and with --   23   belt --
      24   with some talc mining, but not a -- not a great    24           Actually, I specifically think he talks
                                                                            39 (Pages 150 to 153)
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       1   about the Belvidere, you know, Mountain --          1   comment and not a peer-reviewed publication;
       2   A        Yeah. Sure.                                2   right?
       3   Q        -- versus the southern talc districts;     3   MS. O'DELL:
       4   right?                                              4           Object to the form.
       5   A        He does. But -- but he doesn't say         5   A        I can't say that. It isn't a
       6   that the geology is different.                      6   peer-reviewed publication, but you can't say that
       7   Q        Well, he defines them as separate          7   it wasn't peer-reviewed before they were willing
       8   geological districts, doesn't he?                   8   to publish it. But it isn't a publication. It's
       9   A        He does. But, I mean, you can go to        9   a response.
      10   the state of Nevada, and there's 150 different     10   MR. FROST:
      11   gold districts, but they're the same in terms of   11   Q        Yeah. I was gonna say you'd agree with
      12   geology. It's a geographic separation of the --    12   me it's a specific comment or response to
      13   the -- the -- the areas that tend to have gold     13   something --
      14   mineralization.                                    14   A        Yes.
      15   Q        Okay.                                     15   Q        -- else that's done; right?
      16   A        But the mineralization is the same.       16           Now, will you also agree with me
      17   Same type.                                         17   that -- it's fairly short, but it never
      18   Q        But you'd agree with me that Ratté is     18   specifically mentions any of the mines from
      19   very specifically stating that the talc mines of   19   Vermont that were used to source talcum powder
      20   southern Wind- -- of Windsor Minerals in the       20   for Johnson; right?
      21   southern mining district are different than what   21   A        I don't think there's a specific mine
      22   he talks about with the soapstone mineralization   22   mentioned in there.
      23   district and the asbestos mining district of the   23   Q        Okay.
      24   Upper Missisquoi River Valley.                     24           Mark this as Exhibit 10.
                                                Page 155                                                Page 157
       1   A      Yeah.                                        1         (DEPOSITION EXHIBIT NUMBER 10
       2   MS. O'DELL:                                         2          WAS MARKED FOR IDENTIFICATION.)
       3         Object to the form.                           3   MR. FROST:
       4   MR. FROST:                                          4   Q       And, again, do you recognize this to be
       5   Q      Okay.                                        5   the Bain 1942?
       6   A      I would be willing to say that he's          6   A       Sure.
       7   making a distinction between the two.               7   Q       And, again, you'd agree with me that
       8   Q      Okay.                                        8   this paper does not address any of the talc mines
       9         (DEPOSITION EXHIBIT NUMBER 9                  9   actual utilized by Johnson & Johnson to source
      10         WAS MARKED FOR IDENTIFICATION.)              10   talc for its talcum powder; correct?
      11   MR. FROST:                                         11   MS. O'DELL:
      12   Q      I'll mark as Exhibit 9 --                   12          Object to the form.
      13   A      He pronounces his name "rat-TAY."           13   A       I don't think it specifically names
      14   Q      It's "rat-TAY"?                             14   any. I think that the date of the article would
      15   A      Yeah.                                       15   kind of preclude most of that.
      16   Q      He's French, I guess?                       16   MR. FROST:
      17   A      Yeah.                                       17   Q       Turn to page 256.
      18   Q      Do you recognize this to be --              18   A       Okay.
      19         Do you have it yet? Here it is.              19   Q       Second column, the second paragraph
      20   A      No.                                         20   after the one above Belvidere Mountain Asbestos
      21   Q      Do you recognize Exhibit 9 to be the        21   district. Do you see where I am?
      22   Bain 1934?                                         22   MS. O'DELL:
      23   A      Yeah.                                       23          So you're on the right-hand side?
      24   Q      Okay. Do you agree that this is a           24   MR. FROST:
                                                                            40 (Pages 154 to 157)
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       1           Yeah, right-hand side.                     1   Q       Yeah.
       2   A        Right-hand side.                          2          Okay. So steatitized bodies at Chester
       3   MR. FROST:                                         3   in Windham; correct?
       4   Q        It's the last paragraph before            4   A       Correct.
       5   Belvidere Mountain asbestos district. It's         5   Q       So, effectively, what Bain is saying
       6   the -- if you're going up --                       6   here is that -- you know, he's not saying you
       7   A        Oh, I see it.                             7   find fibrous magnesium minerals in every talc
       8   Q        -- it's the second paragraph up.          8   deposit in Vermont; right?
       9   A        Okay. Right.                              9   A       That's right.
      10   Q        The second sentence reads, "Every        10   Q       And --
      11   ultrabasic intrusive has a talc deposit, and      11   A       I'm not sure to what degree he's
      12   about one-third have some fibrous magnesia        12   talking about that. Is he -- if he's talking --
      13   mineral."                                         13          See, this is an Economic Geology
      14   A        Okay.                                    14   publication.
      15   Q        It continues down below, "The            15   Q       Okay.
      16   occurrences illustrate progressively increased    16   A       It's on, you know, structural
      17   intensity of change from talc to asbestos in      17   relationship of ore bodies. And he may be
      18   proportionate amounts of Belvidere Mountain" --   18   referring to economic asbestos since that's what
      19           That's what we just talked about.         19   this whole publication is about. I don't see how
      20           -- "to completely" --                     20   he could say that there is not a single grain of
      21           How do you pronounce that word?           21   asbestos in -- in a -- in talc deposits once you
      22   MS. O'DELL:                                       22   get 15 miles south of Belvidere Mountain, let's
      23           Did you skip a sentence?                  23   say.
      24   MR. FROST:                                        24   Q       Okay.
                                               Page 159                                                Page 161
       1          I did. I skipped one. Because I -- we       1   A        That doesn't really make good sense.
       2   can -- I can read it if you want, but --           2   Q        You agree with me that I read it
       3   MS. O'DELL:                                        3   correctly.
       4          I just wanted to make sure we --            4   A        You --
       5   MR. FROST:                                         5   Q        What he's saying --
       6          No, no. We're reading it right.             6   A        Yeah. Yeah. You read it --
       7   MS. O'DELL:                                        7   Q        -- is that you'll get fibrous magnesium
       8          -- we're all staying together.              8   in about one-third of the talc deposits; correct?
       9   MR. FROST:                                         9   MS. O'DELL:
      10          Yeah.                                      10           Object to the form.
      11   A        I'm not sure which one you're talking    11   MR. FROST:
      12   about.                                            12   Q        That's what Bain says.
      13   MR. FROST:                                        13   A        Correct.
      14   Q        Straight as a S-T-E-A-T-I-T-I-Z-E-D.     14   Q        And then he also talks about the
      15   A        I can't see it. It's so fine.            15   fact --
      16   Q        I looked it up. I know it means talc,    16   A        Let me -- let me back up.
      17   but I think it's just an older word.              17           If he just says fibrous magnes- --
      18   A        Yeah.                                    18   magnesium?
      19   Q        "State-a-zide." Stat- -- statizized      19   Q        Yeah. Magnesian mineral.
      20   [sic] bodies?                                     20   A        Okay. How about those that aren't
      21   A        Oh. You're talking about steatitized.    21   magnesian only? Suppose -- they're calcium
      22   Q        Steatitized. There you go. Okay.         22   magnesian or --
      23   A        Yeah. That's just the conversion of      23   Q        Sir, we're just reading what Bain is
      24   something to talc.                                24   saying.
                                                                           41 (Pages 158 to 161)
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                                                Page 162                                                 Page 164
       1   A       I know. But that would -- what he's          1         (DEPOSITION EXHIBIT NUMBER 11
       2   saying specifically would be minerals that were      2          WAS MARKED FOR IDENTIFICATION.)
       3   magnesian, period.                                   3   MR. FROST:
       4   Q       Okay.                                        4   Q       You recognize this article?
       5   A       That would be chrysotile. And that may       5   A       Yes.
       6   be -- that may be what he's saying. He may be        6   Q       And, again, you'd agree with me that
       7   referring to chrysotile and not the amphiboles.      7   Van Gosen never talks specifically about any of
       8   Q       But, again, I'm reading what Bain is         8   the talc mines that have been utilized by
       9   saying correctly?                                    9   Johnson & Johnson for talcum powder; correct?
      10   A       Correct.                                    10   MS. O'DELL:
      11   Q       Okay. And then he also talks about          11          Object to the form.
      12   that there's a difference in the occurrence of --   12   A       I believe that he does not mention
      13   he specifically says talc and asbestos in           13   specific mines.
      14   proportionate amounts of Belvidere Mountain,        14   MR. FROST:
      15   which we know is the chrysotile mine, and then he   15          Okay. Mark this as Exhibit 12.
      16   talks about two completely steritized [sic]         16          And leave the 2010 IARC.
      17   bodies" --                                          17          To save space and so I could put it all
      18   A       Right.                                      18   in one box, I didn't bring an extra copy.
      19   Q       I'm sure I pronounced that incorrectly.     19   MS. O'DELL:
      20          -- "at Chester and Windham."                 20          Yeah, no problem. Just give me a
      21          Correct?                                     21   minute to get mine.
      22          So what he's saying is there's a             22   MR. FROST:
      23   difference between the deposit at Belvidere and     23          Yes.
      24   the deposits found south, which are completely --   24   MS. O'DELL:
                                                Page 163                                                 Page 165
       1   and I think we had defined steatitized as the        1           And that's Exhibit 12?
       2   conversion of talc.                                  2   MR. FROST:
       3   A       Well, it was only Windham.                   3           Yes.
       4   Q       Okay. And the -- and Windham is the          4          (DEPOSITION EXHIBIT NUMBER 12
       5   area we're talking about; correct?                   5           WAS MARKED FOR IDENTIFICATION.)
       6   A       Right.                                       6   MR. FROST:
       7   Q       Okay.                                        7   Q         I'll direct your attention to page 283,
       8   A       You know that if you go -- go back and       8   sir. I take it you recognize this as the IARC --
       9   read the publications on Belvidere Mountain,         9   A         Right.
      10   there were zones of pure talc six feet thick in     10   Q         -- 2010 document?
      11   the asbestos mountain. And had they -- had they     11   MS. O'DELL:
      12   wanted to, they could have probably built a mill    12           I'm sorry. You have 2010 or 2012?
      13   that would have -- would have recovered the talc.   13   MR. FROST:
      14   Q       Okay. But nobody ever --                    14           2010.
      15          Johnson & Johnson never sourced any          15   MS. O'DELL:
      16   talc from Belvidere; correct?                       16           Excuse me. Give me just one more
      17   A       Correct.                                    17   second.
      18   MR. FROST:                                          18   A         And which page did you say?
      19          And I'll mark the Van Gosen article.         19   MR. FROST:
      20   What are we on now? Ten?                            20   Q         283.
      21   THE COURT REPORTER:                                 21   A         283? Okay.
      22          Eleven.                                      22   MR. FROST:
      23   MR. FROST:                                          23           You there, Leigh?
      24          Eleven.                                      24   MS. O'DELL:
                                                                             42 (Pages 162 to 165)
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                                                Page 166                                                 Page 168
       1           Yeah.                                        1   there is one that -- that shows that there was a
       2   MR. FROST:                                           2   period when they did -- did use cosmetic grade
       3           You got it? All right.                       3   talc from the Johnson mine.
       4   Q        About halfway down, there's the -- the      4   Q        You'd agree with me that the Johnson
       5   sentence starts "Chlorite in amphiboles."            5   mine was an industrial talc mine; correct?
       6   A        Yes.                                        6   MS. O'DELL:
       7   Q        And it reads, "Chlorite in amphiboles       7           Object to the form.
       8   are usually associated with this type of talc        8           Repeat your question, please.
       9   deposit, although they are commonly separated in     9   MR. FROST:
      10   space from talc ore (Vermont). The amphiboles       10   Q        You'd agree with me that the Johnson
      11   may or may not be asbestiform, depending on the     11   mine was --
      12   local geological history."                          12   A        I think, primarily.
      13           Did I read that right?                      13   Q        Yeah. And you'd agree with me that
      14   A        Correct.                                   14   the -- the talc ore from the Johnson mine was
      15   Q        So what they're saying is you have to      15   actually sent to a different mill?
      16   look at the individual deposit; right?              16   MS. O'DELL:
      17   A        Correct.                                   17           Object to the form.
      18   Q        All right. So I guess the summary of       18   A        I'm not sure that that's correct.
      19   all of this is, you know, local geology is          19   They -- they -- the Johnson mill had a flotation
      20   important. You can look at the belt, but you        20   circuit in it that might could have been used to
      21   actually have to look at local geology, too;        21   come up with some cosmetic grade rock or product.
      22   right?                                              22   MR. FROST:
      23   A        Absolutely.                                23   Q        Okay. You can't point me, sitting here
      24   Q        Okay. The next paragraph on page 5 of      24   right now, to a single document --
                                                Page 167                                                 Page 169
       1   your report, the second paragraph of that            1   A        No. I think --
       2   page --                                              2   Q        -- to base that opinion on?
       3   A       We're done with IARC?                        3   A        I think that --
       4   Q       Yeah, we're done for now. I'd keep           4   MS. O'DELL:
       5   that close. I think that comes up --                 5          I'm sorry.
       6   A       Okay.                                        6   A        -- Ms. O'Dell may be looking for it.
       7   Q       -- a bunch of times, but...                  7   But there is -- there is such a document. I
       8   A       Okay. Which page did you say? Nine?          8   found it.
       9   Q       Page 5.                                      9   MR. FROST:
      10   A       Oh, 5.                                      10   Q        What document are you looking at?
      11          Okeydoke.                                    11   A        (Produces document.)
      12   Q       In the second paragraph you note at the     12   Q        Which one are you referring to it as?
      13   bottom that, "Talc was sourced from the following   13   This one, the J&J Exhibit 4.
      14   Vermont mines from 1965 to 2003," and the first     14   MS. O'DELL:
      15   one you include is Johnson.                         15          That's what I've -- I've seen it
      16   A       Right.                                      16   referred to as is Exhibit 4. I'm sure there are
      17   Q       Is that a mistake, sir, or do you have      17   other transcripts that have referred to it
      18   any evidence to show that talc ever was sourced     18   various ways.
      19   by Johnson & Johnson for talcum powder from the     19   MR. FROST:
      20   Johnson mine?                                       20          Okay. We'll call it the J&J Exhibit --
      21   A       I think that there's a document that        21   Exhibit J&J-4 for now.
      22   shows that.                                         22   Q        Do you mind if I read this, sir?
      23   Q       Do you know what document that is?          23   A        No. Please.
      24   A       I don't have the number in my head, but     24          Down at the bottom of one of the pages,
                                                                             43 (Pages 166 to 169)
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       1   there's actually the mention of the Johnson mine     1   A       Right.
       2   and the fact that there was some cosmetic talc       2   Q       -- or the numbers of talc that are
       3   production there.                                    3   coming from the Johnson mine.
       4   Q         Okay. I see what you're talking about      4   A       Right.
       5   here, sir.                                           5   Q       And it says Grade 500 and Grade 549.
       6   MS. O'DELL:                                          6   A       Right.
       7           I think he may be talking about another      7   Q       What evidence do you have to show that
       8   page, Jack. Take a look at the whole thing.          8   Grade 500 and Grade 549 were actually utilized by
       9   MR. FROST:                                           9   Johnson & Johnson in its cosmetic talcum powder
      10           We'll mark this as whatever exhibit         10   products at issue in this case?
      11   we're on. Thirteen?                                 11   MS. O'DELL:
      12           Just put it there. I was gonna say,         12          Object to the form.
      13   we'll -- we'll add another exhibit number to        13   A       I'm not saying that.
      14   this -- this document when --                       14   MR. FROST:
      15   MS. O'DELL:                                         15   Q       Okay. And, in fact, in most of the
      16           Might be worthwhile to put Cook 13 on       16   documents, and you refer to it in your report as
      17   it or something like that.                          17   Grade 66, is the Vermont ore that was used by
      18   MR. FROST:                                          18   Johnson & Johnson; correct?
      19           That's right. Oh, it says "Cook."           19   A       I think so.
      20   MS. O'DELL:                                         20   Q       Further down on page 5 of your
      21           Oh, it does?                                21   report -- it's the end of the fourth paragraph --
      22          (DEPOSITION EXHIBIT NUMBER 13                22   A       Okay.
      23           WAS MARKED FOR IDENTIFICATION.)             23   Q       -- you state, "There's ample evidence
      24   MR. FROST:                                          24   that the main and east Argonaut ore bodies are
                                                Page 171                                                 Page 173
       1   Q       Okay. I hand you this document.              1   segments of the same body" -- sorry - "same ore
       2   A       Okay. Thank you, sir.                        2   body swarm, making them and talc derived from
       3   Q       And, so, you're relying on, it looks         3   them essentially equivalent."
       4   like, the second page of it, if you want to open     4   A       Right.
       5   the document.                                        5   Q       What do you mean by -- what's the --
       6   MS. O'DELL:                                          6   what's the measure of equivalency you're using
       7          Why -- why don't you take a look,             7   here?
       8   Doctor, and --                                       8   A       The Argonaut ore body is actually a
       9   MR. FROST:                                           9   zone of talc that wraps around a -- a remaining
      10   Q       Yeah. I was gonna say.                      10   core of serpentinite. And, so, if you're mining
      11          Can you show me where -- what you're         11   on one side of the serpentinite, you've got one
      12   relying on to say that talc from the Johnson mine   12   pit, and you're mining the same rock on the other
      13   was utilized by Johnson & Johnson for its final     13   side of the serpentinite. And that's -- that's
      14   talcum powder products?                             14   all I was saying. You have one big ore body
      15   A       It's at the bottom of page 3.               15   there.
      16   Q       Let me see that, sir.                       16   Q       Okay. Do you have any -- any
      17   A       But I think that there's actually more.     17   geological surveys or any, you know, mine
      18   I think that there's another document that          18   drilling data you can point me at to show that
      19   actually puts a limit, a time limit on when they    19   the two bodies were, you know, identical, or
      20   were securing cosmetic talc there. It's a short     20   you're just saying they were part of the same
      21   period.                                             21   generalized formation?
      22   Q       If I can turn your attention to the         22   A       Well, you used the word "identical."
      23   second page of this document, it notes -- look      23   And I -- you know, we try not to use --
      24   right here -- it notes the grades of talc --        24   Q       I guess I should -
                                                                             44 (Pages 170 to 173)
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                                            Robert Cook, Ph.D.
                                                Page 174                                                  Page 176
       1   A        -- that word in geology.                    1   sure --
       2   Q        -- use -- use "equivalent"?                 2           Would you finish, Doctor, and then you
       3   A        Yeah.                                       3   can go, Jack? I'm sorry. It just --
       4   Q        So is the equivalency purely that they      4   MR. FROST:
       5   form from the same, you know, the general -- the     5           Yeah.
       6   same general formation deposit?                      6   MS. O'DELL:
       7   A        Right. I mean --                            7           -- seems like he wasn't finished
       8   MS. O'DELL:                                          8   trying --
       9          Object to the form.                           9   MR. FROST:
      10   A        Yeah. Your own documents indicate          10           Oh. I thought he finished.
      11   this. You know, there's the 2008 report on          11   MS. O'DELL:
      12   Argonaut that goes through the geology. But         12           -- to explain what he was saying.
      13   you've got -- you've got geologic data that goes    13   A        Yeah. Well, yeah, to sum it up, I
      14   back, I guess, to 1973 or '4 related to Argonaut    14   would say that Argonaut is -- is looking at one
      15   when it was even an underground mine. And it's      15   large ore deposit that's being mined in two pits
      16   pretty clear that, as mining progressed there,      16   that are separated, because part of the
      17   that there was one very large ore body there.       17   serpentinite was not altered to talc. And, so,
      18   And -- but it has a piece of serpentinite left,     18   it's in place and it kind of protrudes in, and
      19   as a -- as a lot of these things do.                19   you've got the two big pits on either side of it.
      20          Because the ore-forming process works        20   MR. FROST:
      21   in toward the -- toward the center of the           21   Q        And you're not necessarily saying that
      22   serpentinite, hoping to eat it up entirely.         22   the talc from one pit is, you know, exactly the
      23   You know, ideally, there wouldn't be any            23   same as the other. They don't have the same --
      24   serpentinite left. That doesn't happen often.       24   they don't necessarily have the same percentage
                                                Page 175                                                  Page 177
       1   MR. FROST:                                           1   of talc, the same percentage of other minerals,
       2   Q        Yeah. I -- I think we can both agree        2   you know, chlorite, for example, things like
       3   that --                                              3   that; right?
       4   A        Sure.                                       4   MS. O'DELL:
       5   Q        -- you tend to have a serpentinite          5           Object to the form.
       6   core --                                              6   A        I think you can go to any of the mines
       7   A        Sure.                                       7   and say that.
       8   Q        -- in a lot of these deposits.              8   MR. FROST:
       9   A        And, so, that's what it looks like when     9   Q        Yeah.
      10   you -- when you look at a map of the mine as it     10   A        You can go to the north end, it will be
      11   progressed. As it was developed, they came in       11   slightly different than the south end, or maybe
      12   and began to -- to mine in an open pit more or      12   it won't be, but --
      13   less where the old underground mine was. But        13   Q        That's -- that's what I'm getting at
      14   then if you -- if you keep looking, this open pit   14   is, you know, even within the mineral deposit,
      15   expands, and you've got a major working on one      15   you can have changes of talc composition.
      16   side of the serpentinite and then one on the        16   A        That is why it is so important to do
      17   other side.                                         17   your drilling and to analyze your core, analyze
      18   Q        All right. So that's the essential         18   your -- your blast hole drills --
      19   equivalence is that it's --                         19   Q        Okay.
      20   A        It's all one big deposit.                  20   A        -- and drill cuttings.
      21   Q        -- one geological deposit?                 21   Q        I agree.
      22           You're not necessarily --                   22   A        I mean, you really need to be doing
      23   MS. O'DELL:                                         23   that.
      24           Excuse me. Sorry, y'all. Just make          24   Q        All right. Next sentence on page 5,
                                                                             45 (Pages 174 to 177)
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                                           Robert Cook, Ph.D.
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       1   you talk about "The Johnson mine as well as the      1   A        And, so, the -- the loader operator has
       2   Hammondsville, Hamm, Rainbow, and Argonaut mines     2   got to make some -- some very important decisions
       3   exploited talc deposits that are closely             3   as -- as he's mining. And -- and in many mines
       4   associated with serpentinite bodies. Asbestos        4   it's up to the geologist or the mine
       5   minerals, including chrysotile, actinolite,          5   superintendent to make sure the loader operator
       6   tremolite and anthophyllite, occur in                6   knows where the ore is. And oftentimes they use
       7   talc-bearing serpentinites."                         7   spray paint, because the geologist may be -- may
       8          And you're saying that, as a                  8   be pretty good about knowing where you've got
       9   generalization, that, you know, serpentinite         9   chlorite-rich rock, or maybe he's seen some
      10   obviously is a serpentine mineral, but --           10   asbestos. And, so, he'll spray-paint a line and
      11          So you're not saying -- you're not           11   tell the operator, "Do not cross that line."
      12   saying that every deposit that has converted from   12   Q        And, then, that's what I was gonna say.
      13   serpentinite will always have each one of these     13   It's not the miner himself who's determining --
      14   particular minerals in it; correct?                 14   it's not the guy who's the load operator who is
      15   A       No, I'm not saying that.                    15   saying where to go. There's actually a geologist
      16   Q       And I think we just talked about you        16   or a mine planner or a supervisor?
      17   have to look at the local geology; right?           17   A        I said there should be.
      18   A       That's correct.                             18   Q        Okay.
      19   Q       Turning to page 6, under "Mining and        19   A        I didn't say there was. We can always
      20   Talc Composition" --                                20   hope that there is.
      21   A       Okay.                                       21   Q        So --
      22   Q       -- third paragraph down starts, "On a       22   A        But, in reality, it isn't always the
      23   daily basis."                                       23   case.
      24   A       Okay.                                       24   Q        But, in general mine theory, there
                                                Page 179                                                  Page 181
       1   Q        Okay. "On a daily basis, the boundary       1   should be a geologist, a supervisor, or somebody
       2   between ore and waste is often determined            2   who comes up with the daily shift plan or the
       3   visually by mining equipment operator based on       3   short-term mine plan; correct?
       4   his experience with that particular ore type. It     4   A        The -- yes, there should be someone
       5   is a common practice for some mines for the          5   that alerts the person doing the mining to what
       6   geologists to spray paint lines or otherwise mark    6   he should be mining and what he should be -- be
       7   the boundaries between ore and non-ore. Although     7   telling the train operator or whatever, take this
       8   the miner" -- I'm sorry -- "although, to the         8   load to the dump.
       9   miner, the rock may look the same on either side     9   Q        Yeah. And that geologist would be
      10   of that line, these marks guide him through his     10   looking at drill core samples, blast core
      11   shift."                                             11   samples, I'm sure geological models, things like
      12           Did I read that right?                      12   this to determine, you know, where they'll be
      13   A        Yes.                                       13   mining in that particular shift or where the ore
      14   Q        And you'll agree with me there was         14   will be? Is that -- that fair?
      15   actually more done than just, you know,             15   MS. O'DELL:
      16   visualization of the talc? You had just talked      16          Object to the form.
      17   before about drilling and --                        17   A        He -- he had better be using all the
      18   A        Well, I was really referring to the guy    18   data that's available to him for that part of the
      19   that's actually doing the mining. The -- the        19   mine.
      20   mining is done with a loader and a truck. And       20   MR. FROST:
      21   somehow the guy running the loader has got to       21   Q        Okay.
      22   know whether this load goes to the mill or goes     22   A        And it can be all or part of what you
      23   to the -- the waste dump.                           23   mentioned.
      24   Q        Yep.                                       24   Q        Yeah. And one of the ways that's --
                                                                             46 (Pages 178 to 181)
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                                           Robert Cook, Ph.D.
                                                Page 182                                                 Page 184
       1   you know, I think nowadays, I believe they use       1   you write, "In short, it is almost impossible to
       2   GPSs and things like that, and the buckets tell      2   operate a mine in commodities that occur in
       3   them exactly where to go; right?                     3   relatively small, irregular deposits such as
       4   MS. O'DELL:                                          4   high-quality talc without periodically
       5          Object to the form.                           5   incorporating host rock, low-grade ore, and/or
       6   A        There are places in the world where you     6   otherwise undesirable ore into the material being
       7   can do that. I'm not sure that that's -- that        7   removed from the mine and processed."
       8   that would be easy to do in a talc open-pit          8          Okay. So my question there is: On
       9   operation.                                           9   what basis are we defining the possibility? Are
      10   MR. FROST:                                          10   you talking about on an hourly basis, a shift, a
      11   Q        But, you know, that's just one of the      11   day, a month, over the life of the mine?
      12   ways, you know. Another visual cue is an            12   A       Well, you know, I'm tempted to say "All
      13   engineer is, you know, painting lines so that the   13   of the above," but that's not really -- that was
      14   operator knows generally which direction to go      14   not really the way I was saying that.
      15   and where to stop loading ore talc; correct?        15          That's a statement that says that when
      16   A        Correct. And -- and color is -- is         16   you've got an irregular ore body of variable
      17   used pretty much everywhere for talc. If you --     17   composition, it's not possible to mine one grade
      18          I mean, obviously, you -- you need high      18   of rock exclusively, day in and day out, without
      19   whiteness, high brightness. And talc, once you      19   having bits and pieces of adjacent wall rock.
      20   begin to get chlorite in it or accessory            20          I mean, in the underground mine, every
      21   dolomite, you can begin to make your talc gray,     21   time they shoot, you've got to go in with a steel
      22   and -- and suddenly you're -- you've got a          22   bar and tap the roof and listen for loose rocks
      23   product that, no matter what you do to it in the    23   or you're -- you're fixing to die.
      24   mill, you're not gonna get your color right.        24          And if you're mining over near the edge
                                                Page 183                                                 Page 185
       1   Q        Uh-huh.                                     1   of the ore body, that loose rock on the ceiling
       2   A        And, so, it may be simply a matter of       2   could be black wall. And -- and you've got to
       3   color. And if that's all it is, then a loader        3   scale it down. That rock is coming down into
       4   operator may -- may very well be able to handle      4   your ore. And the miner doesn't -- he's not
       5   it.                                                  5   gonna get it out.
       6   Q        Okay.                                       6            And, so, the point is that -- that
       7   A        But if it's something else                  7   in -- the reality of mining is such that you --
       8   mineralogically, he may be completely clueless       8   you don't go out with tweezers and pick the best
       9   and need someone, likely a geologist or the mine     9   stuff out. You know, mining is a -- is a -- a
      10   superintendent, to tell him what to do.             10   process where you -- you come out of a hole with
      11   Q        Okay. You'd agree with me it's,            11   hundreds of tons of rock a day. And -- and to
      12   you know, it's more than just the guy who's doing   12   think that -- that every pound that makes up that
      13   the -- the loader. There's a whole process in       13   hundreds of tons is gonna be the purest, best,
      14   place, typically, at mines to figure out how to     14   high-grade talc or whatever ore that there is
      15   follow the ore body and what to mine and what to    15   is -- it just doesn't work like that.
      16   waste; correct?                                     16   Q         Okay. And, in fact --
      17   A        There's -- there's --                      17            Sorry.
      18   MS. O'DELL:                                         18   A         Well, and I was -- I was gonna add that
      19           Object to the form.                         19   most mines have very specific quality control
      20   A        Yes.                                       20   programs that -- that try to make sure that they
      21   MR. FROST:                                          21   are getting the best they can get. But I don't
      22   Q        Okay.                                      22   know of -- of any mine I've ever been associated
      23   A        There is supposed to be.                   23   with that didn't have occasional issues with --
      24   Q        At the bottom of that page, on page 6,     24   with wall rock or -- or a big included xenolith
                                                                             47 (Pages 182 to 185)
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                                           Robert Cook, Ph.D.
                                                Page 186                                                 Page 188
       1   that they were unaware of getting blasted in with    1   MS. O'DELL:
       2   their product.                                       2          Object to the form.
       3           And in an open pit it's even worse           3   A       It depends on how your mill is set up.
       4   because, you know, you can try as much as you can    4   There are mills that might not -- might not
       5   to -- to stay in ore, but if you've got an           5   handle the chlorite-rich cinders. Because when
       6   irregular surface that marks the boundary between    6   you -- when you crush and grind chlorite, it will
       7   talc and schists, let's say, your -- your drill      7   tend to report with talc in a -- in a flotation
       8   cuttings may not tell you that unless you really     8   plant.
       9   have somebody looking at drill cuttings for your     9   Q       But, again, my question was more
      10   blast holes every single day.                       10   general than that.
      11           Now, in the quarries that I work on, we     11   A       Okay.
      12   blast about sometimes once a week, sometimes once   12   Q       It's when done properly, the point of
      13   every two weeks. We blast 40- or 50,000 tons at     13   sorting and beneficiation is to remove these
      14   a shot, which would be much larger than at the      14   excess rocks and things that end up in the ores;
      15   talc mine.                                          15   correct?
      16           But -- but when we blast, we always         16   MS. O'DELL:
      17   find material that we weren't anticipating, and     17          Object to the form.
      18   we've got to get rid of it.                         18   MR. FROST:
      19   Q        Sure. And --                               19   Q       That's -- that's why you do sorting and
      20   MS. O'DELL:                                         20   beneficiation?
      21           Jack, do you mind if we go off the          21   MS. O'DELL:
      22   record just for a second?                           22          Object to the form.
      23   MR. FROST:                                          23   A       The sorting, yes. And beneficiation in
      24           Sure.                                       24   general, you're -- you're correct. I wouldn't
                                                Page 187                                                 Page 189
       1   MS. O'DELL:                                          1   have worded it that way, but, yes. I mean, the
       2           And if you need to ask a couple -- I         2   object of beneficiation is to make what goes in
       3   don't mean to --                                     3   better when it comes out.
       4   MR. FROST:                                           4   MR. FROST:
       5           Yeah, I was going to say, do you mind        5   Q       Okay.
       6   if I ask two questions?                              6   A       So, from that standpoint, sure.
       7   MS. O'DELL:                                          7   Q       We can take a break.
       8           Sure.                                        8   VIDEOGRAPHER:
       9   MR. FROST:                                           9          Going off the record. The time is
      10           Then we can go off.                         10   11:52 a.m.
      11   Q        And, you know, in mining, that's sort      11              (OFF THE RECORD.)
      12   of expected, and that's why you have, on the back   12   VIDEOGRAPHER:
      13   end, you have sorting, beneficiation processes,     13          We're back on the record. The time is
      14   things like that; correct?                          14   12:11 p.m.
      15   MS. O'DELL:                                         15   MR. FROST:
      16           Object to the form.                         16   Q       Doctor, could you turn to page 7 of
      17   A        Correct.                                   17   your report?
      18   MR. FROST:                                          18   A       Okay.
      19   Q        And you'd also agree with me that,         19   Q       And it's the paragraph that starts
      20   you know, the point of sorting, beneficiation,      20   "Imerys encountered difficulties."
      21   et cetera, when done properly, is to remove that    21   A       Right.
      22   wall rock, host rock, things like that, you know,   22   Q       Look at the last sentence of that. It
      23   that we talked about that may end up in the ores;   23   says, "The need for careful, selective mining
      24   correct?                                            24   relative to the controlled potential
                                                                             48 (Pages 186 to 189)
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                                           Robert Cook, Ph.D.
                                               Page 190                                                 Page 192
       1   fiber-bearing zones in Vermont was emphasized in    1   there was a difference between the ore they
       2   a Cyprus interoffice correspondence."               2   wanted to send to the mill and the -- the fibrous
       3          I read that right?                           3   waste ore; right?
       4   A        Yes.                                       4   MS. O'DELL:
       5   Q        And, if you look down, I take it that's    5           Object to the form.
       6   the -- that's the quote from the correspondence     6   A        That is correct, obviously.
       7   we're talking about, the Imerys 219720 below        7   MR. FROST:
       8   that?                                               8   Q        Okay. And that it shows that they had,
       9   A        Right.                                     9   in fact, you know, put in a selective mining
      10   Q        Tremolite and use deposits as             10   program to make sure that they weren't capturing
      11   encountered?                                       11   these fiber zones within the ore sent to the
      12          The second sentence reads, "Cyprus          12   mills; right?
      13   maintains a selective mining program in Vermont    13   MS. O'DELL:
      14   that is directed towards exclusion of all these    14           Object to the form.
      15   potentially fiber-bearing zones when the ore is    15   A        The -- the implementation of the
      16   sent to the mills, and those suspect tonnages,     16   selective mining is -- is -- I think that that
      17   including the associated talc, are left in the     17   was part and parcel of -- of several agreements
      18   pit walls or sent to waste piles."                 18   that actually stated that in order to -- to -- to
      19          Right?                                      19   make these operations worthwhile and profitable,
      20   A        I see that.                               20   they had to have selective mining. And, so, from
      21   Q        So you agree with me that this            21   that -- from that standpoint, they have to --
      22   indicates that Imerys knew that they had to be     22   they have to do it. They have to -- they had
      23   selective of the mining in the --                  23   agreed to do it.
      24   MR. FROST:                                         24   MR. FROST:
                                               Page 191                                                 Page 193
       1         Yeah.                                         1   Q       Okay. And, in fact --
       2   MS. O'DELL:                                         2          Sorry.
       3         I'm just putting in front of him the          3   A       And, so, you know, the point that I
       4   documents.                                          4   would make is that -- that we asked for all the
       5   MR. FROST:                                          5   documents that would demonstrate this, and we did
       6         The documents? That's fine.                   6   not receive them.
       7   Q       You agree with me with that statement?      7   Q       Well --
       8   You know, that shows that Imerys knew that they     8   A       And -- and, so, if we -- if we don't
       9   had to -- they couldn't use all of the ore body;    9   have a way to verify the fact that they
      10   correct?                                           10   implemented a selective mining, then -- then
      11   MS. O'DELL:                                        11   we're left with -- with, you know, with a lot of
      12         Object to the form.                          12   data that -- that suggests that -- that maybe
      13   A       That's correct.                            13   they didn't. Maybe they just saw white rock and
      14   MR. FROST:                                         14   went for it.
      15   Q       And it also, you know, indicates that      15   Q       Okay. And, again, you're speculating
      16   they could tell the difference between what was,   16   on whether or not they implemented this or not
      17   you know, effectively the ore and the fibrous      17   because you haven't seen all of the data; right?
      18   waste; right?                                      18   MS. O'DELL:
      19   MS. O'DELL:                                        19          Object to the form.
      20         Object to the form.                          20   A       We asked for the data.
      21   A       Would you ask it again?                    21   MR. FROST:
      22   MR. FROST:                                         22   Q       Okay. And I want to unpack that a bit.
      23   Q       Sure.                                      23          By we -- by "We asked for the data,"
      24         And it also indicates that they knew         24   you mean you asked plaintiffs' counsel to give
                                                                            49 (Pages 190 to 193)
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                                            Robert Cook, Ph.D.
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       1   you all the documents?                               1   being done and how potentially effective it was
       2   A        I asked them to ask for them.               2   at all stages of the mine life; correct?
       3   Q        Okay. And you have no way to verify         3   MS. O'DELL:
       4   whether what -- the selective set of documents       4           Object to the form.
       5   they gave you contains all of the data that might    5   A        The data I have supports the opinion
       6   relate to selective mining; correct?                 6   that I have that -- that there may not have been
       7   MS. O'DELL:                                          7   sufficient selective mining to eliminate all of
       8          Object to the form.                           8   the -- the waste that should have been
       9   A        I have no way to know. But -- but it        9   eliminated.
      10   wouldn't make sense for them not to -- to give me   10   MR. FROST:
      11   everything they've got that I asked for.            11   Q        Okay. And you'd agree that that
      12   MR. FROST:                                          12   opinion is solely based on the data you had
      13   Q        Well, except for the fact that they're     13   available to you?
      14   pursuing theories in these cases, so maybe they     14   A        That's correct.
      15   selected the documents that specifically support    15   Q        And, again, I think we've established
      16   their theories; correct? That's a possibility.      16   you'd be open to reviewing other data, and if
      17   A        Well, I'm not sure that what they sent     17   it --
      18   me supports their theories.                         18   A        Absolutely.
      19   Q        Okay. But, again, without speculating,     19   Q        -- supported a different opinion, you'd
      20   you can't tell me one way or the other what the     20   be willing to change your opinion based on that
      21   full intent was of the selective mining program     21   data?
      22   at Imerys; right? You just don't know if there      22   MS. O'DELL:
      23   was more, if there's less. You know, you can't      23           Object to the form.
      24   tell because you don't know if you have all the     24   A        I'm -- I'm willing to look at -- at any
                                                Page 195                                                 Page 197
       1   documents. Is that fair?                             1   additional data that comes along.
       2   MS. O'DELL:                                          2   MR. FROST:
       3          Object to the form.                           3   Q        Turn to page 8 of your report, please,
       4   A       I don't -- I would think that I don't        4   last paragraph on the page.
       5   have all the documents. But in -- in a mining        5   A        Okay.
       6   scenario, it's -- it's common for documents to       6   Q        About halfway down, it's a sentence
       7   get destroyed once you're past where you are         7   that starts, "It is known that Rio Tinto" --
       8   mining.                                              8   A        Okay.
       9          And, so, it's possible that -- that           9   Q        -- "identified problems with long
      10   there were documents that don't exist anymore.      10   Guangxi talc ores in 1997 which resulted in the
      11   MR. FROST:                                          11   recommendation that a Luzenac representative be
      12   Q       Okay.                                       12   present at the mine during the mining and sorting
      13   A       But selective mining is gonna be tough      13   process."
      14   in some of these, especially underground. I         14   A        Correct.
      15   mean, it's pretty clear that it -- that it --       15   Q        Correct?
      16   that they needed to get -- get out of underground   16          And then you cite Imerys-A15758?
      17   as quickly as they could at Hammondsville and at    17   A        Right. Correct.
      18   Johnson.                                            18   MS. O'DELL:
      19   Q       Okay.                                       19          Are you gonna mark that, Jack?
      20   A       That -- that's a difficult thing to do      20          I'll take this one.
      21   selectively.                                        21          What's the number?
      22   Q       You'd agree with me, one way or the         22   MR. FROST:
      23   other, you don't have sufficient evidence to make   23          Fourteen?
      24   concrete opinions about what selective mining was   24   THE COURT REPORTER:
                                                                             50 (Pages 194 to 197)
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       1          Yes.                                         1   address it, they're talking about the Cimpact 10
       2   MS. O'DELL:                                         2   problems that --
       3          Thank you.                                   3   A       Yeah.
       4         (DEPOSITION EXHIBIT NUMBER 14                 4   Q       -- they had at Grand Island.
       5          WAS MARKED FOR IDENTIFICATION.)              5   MS. O'DELL:
       6   MR. FROST:                                          6         Excuse me. Object to the form.
       7   Q       And I'll turn your attention                7   A       Yeah.
       8   specifically under -- under "Introduction."         8         But if they weren't having quality
       9   A       Okay.                                       9   control problems at both places, why would they
      10   Q       Do you agree with me it talks about        10   mention both places? Doesn't make sense.
      11   quality control issues with Cimpact 10?            11   MR. FROST:
      12   A       Okay.                                      12   Q       What do you mean by "both places"?
      13   Q       And you can review the rest of it, but     13   A       In the summary. They're talking about
      14   will you also agree with me that the Cimpact 10    14   the Cim- --
      15   ore is different than the Guangxi number 1 and     15         Well, they're talking about Guangxi 1,
      16   the Guangxi number 2 ores?                         16   and, so, you've got two separate things you're
      17   A       I think it is.                             17   talking about, but they're talking about issues
      18   Q       So you agree that the problems             18   with both of them.
      19   identified that this document are specifically     19   Q       Where in this document does it point
      20   addressing are the Cimpact 10 quality control      20   out that they have problems with the testing of
      21   issues; correct?                                   21   the Guangxi 1 ore?
      22   A       Hang on a sec.                             22   A       In the -- in the summary of this
      23   MS. O'DELL:                                        23   document.
      24          If you need a minute to review the          24   Q       And you're talking about where it talks
                                               Page 199                                                Page 201
       1   document, Doctor, feel free to do that.             1   about, at the very beginning --
       2   A       In the introduction, they are fairly        2   A       Right.
       3   clear that they're worried about Guangxi, not       3   Q       -- where they say "New specifications
       4   Cimpact.                                            4   should go into," and they're talking about the
       5   MR. FROST:                                          5   Guangxi number 1 crew?
       6   Q       But they're talking about the quality       6   A       Why would they need any specifications
       7   control problems with Cimpact; correct?             7   if they weren't having problems?
       8   A       Well, it --                                 8   Q       But, again --
       9   MS. O'DELL:                                         9   A       That's the way I read it.
      10          Object to the form.                         10   Q       I was going to say, but -- that's how
      11   A       Well, it's not just them. It's -- and      11   you're reading it, but you agree with me the
      12   I'm reading up in the summary. It's indicated      12   document itself only talks about problems that
      13   the need for better technical and probably         13   have come up with the Cimpact 10 crew --
      14   mineralogical specifications for the Guangxi       14   A       Yeah, after the --
      15   number 1 crude. So they're including at least      15   MS. O'DELL:
      16   some Guangxi in this.                              16          Excuse me. Just let him finish and
      17   MR. FROST:                                         17   then give me a minute. Okay?
      18   Q       Well, they're talking about they want      18          Are you finished with your question?
      19   to implement a program for both Cimpact and        19   MR. FROST:
      20   Guangxi; correct?                                  20          Yes.
      21   A       Right.                                     21   MS. O'DELL:
      22   Q       And then when they specifically talk       22          Object to the form. Misstates the
      23   about the quality control problems, you'll agree   23   document.
      24   with me, down in the introduction, as they         24   MR. FROST:
                                                                            51 (Pages 198 to 201)
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                                                Page 202                                                 Page 204
       1   Q        You'd agree with me the only specific,      1          Object to the form.
       2   you know --                                          2   MR. FROST:
       3          When they actually talk about the             3   Q       Okay. And, again, if we look at
       4   problems that have come up, they're only talking     4   Grand Island, it talks about June 24 samples of
       5   about problems that have been identified in the      5   Cimpact 10 lot.
       6   Cimpact 10 or Cimpact 710 ore; correct?              6          That's on the bottom of page 2.
       7   MS. O'DELL:                                          7   MS. O'DELL:
       8          Object to the form.                           8          Where are you reading?
       9   A        Well, I -- I don't agree with that at       9   MR. FROST:
      10   all. If you go to the second page, about midway     10   Q       Right? I've read the document
      11   down, they start again about Guangxi number 1       11   correctly?
      12   crude.                                              12   MS. O'DELL:
      13   MR. FROST:                                          13          Okay. Were you on page 2, not page 1?
      14   Q        Okay.                                      14   MR. FROST:
      15   A        And, so, I mean, I'm not sure that --      15          Yes.
      16   why we're making -- why we're saying it's only      16   MS. O'DELL:
      17   Cimpact, because it's -- they're talking about      17          And, Dr. Cook, were you -- I mean,
      18   Guangxi crude here.                                 18   don't respond that he's read it correctly --
      19   Q        But where are they talking about           19   MR. FROST:
      20   quality control problems they've identified with    20          Yeah.
      21   Guangxi 1 crude?                                    21   MS. O'DELL:
      22   A        I -- I think that's what they're           22          No, I don't mean this pejoratively.
      23   addressing. You know, they're trying to             23   MR. FROST:
      24   respecify what they need.                           24          No. I think the witness and I were on
                                                Page 203                                                 Page 205
       1   Q       But you're speculating, based on new         1   the same page.
       2   specifications, that they have found some            2   MS. O'DELL:
       3   undocumented problem with the Guangxi number 1       3          I don't think you were, because he
       4   crude despite the fact that they only list issues    4   wasn't looking at that.
       5   with the Cimpact 710?                                5          So the -- I don't mean this in a
       6   A       I'm not sure --                              6   pejorative sense --
       7   MS. O'DELL:                                          7   MR. FROST:
       8          Object to the form.                           8          No.
       9   A       I'm not sure that's right. It looks to       9   MS. O'DELL:
      10   me like this document is addressing Guangxi         10          -- but --
      11   number 1 and the other.                             11          Let me finish.
      12   MR. FROST:                                          12          So if you -- there's a specific
      13   Q       As far as the specifications; right?        13   question that you asked about page 2, I wanted to
      14   A       Well, with the thought in mind that         14   make sure that the doctor understood where you
      15   these need to be changed for some reason.           15   were in the document.
      16   Q       Okay. And, again, it seems -- it's not      16   MR. FROST:
      17   "seems." It says -- the document itself says the    17          Sure.
      18   bases for the wanting to change are, quote,         18   A       You know, if you go beyond what you
      19   "after several episodes of quality control          19   just read, I mean, there's more to this document
      20   problems with the Cimpact 10 and product at the     20   than just that.
      21   Grand Island during the first quarter of 1997."     21          If you go to the next page, there they
      22   Correct?                                            22   are looking at Guangxi number 1 again --
      23   A       Right.                                      23   MR. FROST:
      24   MS. O'DELL:                                         24   Q       Uh-huh. And it shows --
                                                                             52 (Pages 202 to 205)
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                                               Page 206                                                  Page 208
       1   A       -- as if there's some issue there.          1           Object to -- object to the form.
       2   Q       Well, that's just showing the testing       2   A         That's not what it says. It says it in
       3   results, as it said. But the only place it ever     3   one sentence, but that one sentence is part of a
       4   shows quality control problems is on page 1,        4   larger document that, past that one sentence, has
       5   under the introduction; correct?                    5   some analytical data for Guangxi 1, and it shows
       6   MS. O'DELL:                                         6   something to be out of spec.
       7          Object to the form.                          7           And it -- it's a very simple thing.
       8   A       Hang on a second.                           8   All they're saying is, "We need to tighten up our
       9          You have to really wonder, because the       9   processes of quality control." They don't say
      10   table that they've got here on page 3 shows        10   this is asbestos. They don't say it's heavy
      11   silica out of spec for Guangxi 1.                  11   metals. And what it really amounts to is a
      12          So it seems to me that they -- that         12   little bit of chlorite in the talc.
      13   they realized that they may have an issue and      13   Q         Okay. And you agree with me it's not
      14   that this document is simply pointing it out,      14   saying quality control. They're talking about
      15   says, "Let's tighten things up."                   15   changing the specifications.
      16   MR. FROST:                                         16   MS. O'DELL:
      17   Q       Again, that's your interpretation of       17           Object to the form.
      18   this document. It's clearly not what the           18   A         If you don't want that to be quality
      19   document says; correct?                            19   control, okay.
      20   MS. O'DELL:                                        20   MR. FROST:
      21          Object to the form. Misstates the --        21   Q         Well, sure. I mean --
      22   A       I'm not -- I'm not sure it doesn't say     22   A         If that's what you say isn't quality
      23   that. I mean, you read this part here correctly,   23   control, I'm gonna -- I'll --
      24   but there's more to the document beyond what you   24   MS. O'DELL:
                                               Page 207                                                  Page 209
       1   read.                                               1           No, don't --
       2   MR. FROST:                                          2   THE WITNESS:
       3   Q       Okay. It shows the testing results.         3           Okay. I don't agree with it.
       4   Again --                                            4   MS. O'DELL:
       5   A       Right. And it shows something else --       5           Yeah. I mean, don't agree because --
       6   Q       Let's walk through it. You ready?           6   with -- with the definitions of counsel if you
       7   A       -- out of spec, I think.                    7   don't agree with them.
       8   Q       How do you know? Do you --                  8   THE WITNESS:
       9   A       Because they have the range that the        9           Sure.
      10   analyses have to fall within.                      10           I don't agree.
      11   Q       Okay. But does it say there are            11   MR. FROST:
      12   quality control issues with respect to --          12   Q        All right. That's fine.
      13   A       Well, I mean, what else is going on,       13           Move on to page 9.
      14   other than quality control?                        14   A        Okay.
      15   Q       But, again, that's your interpretation     15   Q        Third paragraph down, "A review of
      16   of this document. The actual document itself --    16   milling and beneficiation practices employed at
      17   A       It's my opinion that this -- that this     17   Imerys's Houston plant indicate that the
      18   has to do with quality control.                    18   flotation method utilized for decades in Vermont
      19   Q       Okay.                                      19   was not used but, rather, a series of grinding
      20   A       And they have included both types here.    20   and air classification processes."
      21   Q       But, again, the document itself only       21   A        Yeah.
      22   talks about quality control problems with the      22   Q        Okay. You agree with me that flotation
      23   Cimpact 10 product at Grand Island; correct?       23   isn't the only type of beneficiation that can be
      24   MS. O'DELL:                                        24   used on an ore; correct?
                                                                            53 (Pages 206 to 209)
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                                                Page 210                                                 Page 212
       1   A        I agree.                                    1   A        Yeah. It has to do with the type of
       2   Q        Okay. In fact, there are bunches of         2   mill. I mean, the mill was set up originally for
       3   different types of beneficiation?                    3   baryte, and -- and it uses a -- an interesting
       4   A        Correct.                                    4   air separation technique. And -- and I think
       5   Q        And the documents you cite here             5   it's probably very effective for talc.
       6   specifically talk about how Imerys determined        6           But there's -- there's nothing in that
       7   that flotation beneficiation was necessary for       7   type of a process that would address heavy metals
       8   the Vermont ores; correct?                           8   at all, unless the heavy metals were restricted
       9   A        Yeah. You use the flotation process if      9   to some extremely dense accessory mineral. And I
      10   you -- if you've got a talc carbonate ore.          10   don't think we've got evidence for that in the
      11   You've got to get rid of the carbonate.             11   Chinese talc.
      12   Q        Okay.                                      12   Q        Okay. And what are you relying on to
      13   A        And, so, that's why you float.             13   say --
      14   Q        So you agree with me the fact that they    14           Well, I guess strike that.
      15   weren't using flotation on the Chinese ore          15           So is this limited, when we're talking
      16   doesn't show that there was necessarily a           16   here, we're limiting it to the heavy metals?
      17   breakdown of the process. They were just using a    17   MS. O'DELL:
      18   different form of beneficiation?                    18           Object to the form.
      19   A        Right. Right. There's no carbonate in      19   A        No. I mean, the same is true if there
      20   the -- to speak of in the -- in the Chinese ores.   20   was asbestos in any of the crude that came in.
      21   Q        Okay. The next paragraph down, you         21   Probably it would pass on through with the talc.
      22   talk about quality control. Do you see where I      22   There's nothing set up there in Houston that
      23   am? "Quality control issues are discussed" --       23   would specifically cut the -- any asbestiform
      24   A        Okay.                                      24   mineral out.
                                                Page 211                                                 Page 213
       1   Q        -- below in the report?                     1   MR. FROST:
       2   A        Sure, uh-huh.                               2   Q        So you used the word "probably." Do
       3   Q        Sort of halfway through that sentence       3   you have any scientific study or research to show
       4   you said, you know -- it says, "makes it clear       4   that the various air beneficiation processes used
       5   non-talc material such as asbestos and high          5   at the Houston mill would be completely incapable
       6   concentrations of some heavy metals are included     6   of removing asbestos from the ore?
       7   in the finished products."                           7   A        Well, I didn't --
       8   A        Sure.                                       8   MS. O'DELL:
       9   Q        Are you talking about the ore or are        9           Object to the form.
      10   you talking about finished talcum product, like     10   A        Right. I didn't say it was completely
      11   finished talcum powder, in the sentence?            11   incapable. What I -- what I said was that I
      12   A        No. I'm talking about the finished         12   don't think there's anything in the -- in the
      13   product.                                            13   system there now that would cut a -- a
      14   Q        All right.                                 14   asbestiform mineral out of the -- out of the
      15   A        There's nothing in the Houston mill        15   airflow, you know, once the grinding process has
      16   that's gonna get out heavy metals. And if there     16   been done.
      17   happened to be some asbestos, I don't think that    17           And, you know, I'm sure there's lots
      18   that plant -- I mean, it's not set up to handle     18   of, you know, papers on physical metallurgy
      19   that. So...                                         19   that'll back that up.
      20   Q        And the basis of your opinion on that      20   MR. FROST:
      21   is --                                               21   Q        Can you cite me any right now that
      22          Have you looked at any sampling data?        22   would back up the fact that --
      23   Have you looked at any research or literature       23   A        I -- I had some --
      24   regarding that?                                     24   Q        -- this design --
                                                                             54 (Pages 210 to 213)
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                                                 Page 214                                                Page 216
       1   A        -- when I came in here, and I can't         1   MS. O'DELL:
       2   remember them.                                       2           Object to the form.
       3   Q        Okay.                                       3   A        Every spec sheet I've been given is out
       4   A        No, I can't remember them.                  4   of -- is out of compliance.
       5   Q        So, sitting here today, you can't tell      5   MR. FROST:
       6   me that?                                             6   Q        See, that's a very different answer,
       7   A        No.                                         7   now, isn't it, between every single sample is out
       8   Q        Okay. Can you agree with me you've          8   of compliance versus every single sample that was
       9   never actually yourself tested any --                9   given to you by plaintiffs' counsel? Do you
      10   A        No.                                        10   agree?
      11   Q        -- Johnson & Johnson talcum powder?        11   MS. O'DELL:
      12   MS. O'DELL:                                         12           Object to the form.
      13          Let him finish with the question, sir.       13   A        I'm not sure that they aren't the same
      14   THE WITNESS:                                        14   thing.
      15          I'm sorry.                                   15   MR. FROST:
      16   A        No, I have not.                            16   Q        You have no way to verify, so you
      17   MR. FROST:                                          17   believe you've been shown every single sample of
      18   Q        And your role here isn't to testify        18   Vermont 66 that exists?
      19   that any particular level of heavy metals made it   19   A        I think that --
      20   into any finished product, like any --              20   MS. O'DELL:
      21          I'll strike -- I'll -- I'll rephrase         21           Excuse me. Object to the form.
      22   that question.                                      22           Just note that's a very different
      23          You're not here to offer an opinion          23   question.
      24   that any particular bottle of Johnson's --          24   MR. FROST:
                                                 Page 215                                                Page 217
       1   Johnson & Johnson talcum powder had any              1          Okay. You can object to the form.
       2   particular level of heavy metals or asbestos in      2   MS. O'DELL:
       3   it; right?                                           3          I will object to the form, because
       4   MS. O'DELL:                                          4   that's a different --
       5           Object to the form.                          5   A        We asked for the results.
       6   A        I am.                                       6   MR. FROST:
       7   MR. FROST:                                           7   Q        Okay.
       8   Q        You're here to talk about individual        8   A        And we requested a set of data. And
       9   bottles that were used by consumers?                 9   the set of data we were given shows consistent
      10   A        I'm not gonna say an individual bottle,    10   high levels of those three metals.
      11   but I will say this. If you take every analysis     11   Q        Would you be surprised if I told you
      12   you've got of 66, every single one is out of spec   12   that there were hundreds and even thousands of
      13   for heavy metals.                                   13   additional sample sets that weren't included in
      14           And, so, if that's the case, then --        14   the materials that were given to you by
      15   then go pick a bottle off the shelf today and --    15   plaintiffs' counsel?
      16   oh, well, not today, but go back in time 20         16   MS. O'DELL:
      17   years, pick one off the shelf and analyze it, and   17          Object to the form.
      18   it's gonna have excessive amounts of nickel, for    18   A        Well, I think that I would like to
      19   sure, probably chromium and probably cobalt.        19   believe that and I think it would be great to see
      20   Q        So it's your test [sic] that every         20   them.
      21   single test of every single sample of Vermont 66    21   MR. FROST:
      22   that's ever been done was out of spec for heavy     22   Q        Okay. But you certainly don't have
      23   metals?                                             23   them and you haven't been given them.
      24   A        Every --                                   24   MS. O'DELL:
                                                                             55 (Pages 214 to 217)
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                                           Robert Cook, Ph.D.
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       1          Object to the form.                           1   for example, and you're basing this off of 19
       2   A       If there's thousands of --                   2   test results despite the fact the product has
       3   MS. O'DELL:                                          3   been on the market for over a hundred years?
       4          Excuse me. Excuse me.                         4   MS. O'DELL:
       5          Object to the form. Misstates the             5           Object to the form. Misstates his
       6   record.                                              6   testimony.
       7   A       If there are thousands of additional         7   A        Yeah. That -- that -- I don't see how
       8   ones, then that implies I haven't seen them,         8   that question is relative to -- to anything
       9   which is true.                                       9   because of the going-back-hundred-year idea. I
      10   MR. FROST:                                          10   mean, probably it's true if you could go back a
      11   Q       Okay. And would that change your            11   hundred years. But I know that the data that
      12   opinion? Because this -- this appears to be         12   we've got -- I mean, it's more than just the
      13   based on the fact that you're saying every single   13   19-year collection of annual composites.
      14   test you've seen is out of spec. Would it change    14           I mean, that's just a subset of a much
      15   your opinion if you were to see a significant       15   larger data set we've got. I can't tell you how
      16   collection of documents that showed a very          16   many analyses we've got, but it's many hundreds.
      17   different result?                                   17   And there isn't a single data set we've got
      18   MS. O'DELL:                                         18   that -- that puts nickel, cobalt, or chromium in
      19          Object to the form.                          19   spec. Not a single one.
      20   A       The -- the data that we've got for the      20   MR. FROST:
      21   annual composite samples, I think we've got         21   Q        Okay. And by "in spec," what are you
      22   annual composites for 19 years. And every one of    22   referring to?
      23   them's out of spec.                                 23   A        Ten parts per million.
      24          So if you -- if -- and, so, if you come      24   Q        And where are you getting the spec
                                                Page 219                                                 Page 221
       1   up with eight more years worth of annual             1   from?
       2   composites, I'm gonna bet you that they're gonna     2   A       It's my value.
       3   be out of spec, too. Because these 19 we've got      3   Q       I mean, what is the spec?
       4   are -- are staggered in time.                        4   A       That's what was given in testimony --
       5   MR. FROST:                                           5   in depositions, and it's in lots of documents
       6   Q        Okay. But, again, you're looking at 19      6   where the heavy metals are being reported as
       7   over, I think, a 115-year history of --              7   10 ppm lead max, and that was an old-time way of
       8   A        No. These are the annual --                 8   reporting a group of metals you reported as lead
       9          Well, no.                                     9   because there was a point in time when everybody
      10   Q        -- of the product.                         10   was terrified of lead. They were so worried
      11   A        That is not correct. No.                   11   about lead because of their -- their children.
      12          The -- we didn't start getting any           12   You know, it impacts the mental ability of
      13   analytical data for heavy metals before, say,       13   children.
      14   1970. And I don't think anybody cared, really,      14   Q       Okay. Can you -- you have no opinion
      15   prior to that.                                      15   as to what level of cobalt is required to cause
      16   Q        Okay. So, again, you're making             16   human disease, do you?
      17   generalizations --                                  17   A       I think cobalt is -- is a Group 2
      18   A        No generalization.                         18   element --
      19   Q        -- based on --                             19   Q       Listen to my question, though, sir.
      20   A        I'm telling you fact.                      20          Do you have an opinion as to what level
      21   Q        Again, you have to go back to my           21   --
      22   original question that was you can sit here and     22   MS. O'DELL:
      23   tell me that every single bottle, any particular    23          He was -- he was answering -- excuse
      24   bottle is out of spec for heavy metals, you know,   24   me, Jack. He was answering your question.
                                                                             56 (Pages 218 to 221)
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                                           Robert Cook, Ph.D.
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       1           You may answer.                              1   MS. O'DELL:
       2   A        Yeah. I was gonna -- I was gonna say        2           He's --
       3   that if you're thinking of cancer, there may be      3   MR. FROST:
       4   one level, but if you go -- if you go and try to     4           We're on my time.
       5   pull the acceptable levels from -- from various      5   MS. O'DELL:
       6   governmental agencies, you find some really          6           No. He's not --
       7   strange things because it depends on the medium      7   MR. FROST:
       8   that you're working with.                            8           No. My question is whether or not he
       9           Like if you were running a landfill,         9   believes he's an expert --
      10   then the --                                         10   MS. O'DELL:
      11   MR. FROST:                                          11           You cannot interrupt him.
      12   Q        I'll stop you here because I'm just        12   MR. FROST:
      13   very confused by this. You're not a                 13           Leigh, my question is whether or not --
      14   toxicologist; right?                                14   MS. O'DELL:
      15   A        Right.                                     15           He's trying to answer the question.
      16   Q        And you're not here to offer any           16   MR. FROST:
      17   opinions as to whether or not --                    17           -- he believes he's an expert.
      18   A        I'm trying to answer your question.        18   It's a "yes" or "no" question.
      19   Q        Well, no. That's why -- I was trying       19   A        I've answered that over and over. I
      20   to get at that, and that's --                       20   said no.
      21           You know, my question really is you're      21   MR. FROST:
      22   not here to offer any opinions that say a           22   Q        That's what I'm saying.
      23   particular level of cobalt or a particular level    23   A        Yes, I have. And I said "no."
      24   of nickel found in a product can cause human        24   Q        I know. And that's what I'm getting
                                                Page 223                                                Page 225
       1   disease; right?                                      1   at. But now you seem to be offering opinions
       2   MS. O'DELL:                                          2   about levels of heavy metals that could be in
       3          Object to the form. And I would just          3   talcum powder that can cause disease.
       4   ask if you'd let the witness finish before you       4          Are you here to offer an opinion about
       5   interrupt him, please.                               5   that today?
       6          If your answer --                             6   MS. O'DELL:
       7   A       Nickel and chromium and arsenic, I           7          Excuse me.
       8   think that there's plenty of evidence that the       8          He's trying to answer your question
       9   limits are way lower than what --                    9   regarding the specification, so let him answer.
      10          Well, maybe not arsenic. But -- but I        10   THE WITNESS:
      11   think with respect to cancer, nickel and chromium   11          Yeah.
      12   are pretty well established.                        12   MR. FROST:
      13          But -- but the point is that                 13          But, again, that's the question as
      14   Johnson & Johnson established its own limits.       14   you're framing it. It's not the actual question
      15   MR. FROST:                                          15   I asked.
      16   Q       Sir, can you please listen --               16   MS. O'DELL:
      17   MS. O'DELL:                                         17          I think he --
      18          Let's --                                     18   A        Well, I'm gonna answer it. I don't
      19   MR. FROST:                                          19   care whether you like it or not.
      20          No, no.                                      20          Johnson & Johnson set its specs. The
      21   MS. O'DELL:                                         21   specs have to be there for a reason. And the
      22          Excuse me.                                   22   specs are quite low, and the talcum powder
      23   MR. FROST:                                          23   product, it exceeds them. I mean, it's as simple
      24          He's not answering my question.              24   as that. I'm not saying it's causing --
                                                                             57 (Pages 222 to 225)
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       1          I mean, it could be causing gum               1   MS. O'DELL:
       2   disease. I don't know. But it's their specs I'm      2         Object to the form.
       3   referring to.                                        3   A       Absolutely.
       4   MR. FROST:                                           4   MR. FROST:
       5   Q        Okay. And that's my question.               5   Q       Okay. All right. Turning to the
       6   A        Their own specifications.                   6   "Mineralogy" section of your report that starts
       7   Q        And you can't tell me if out of spec        7   on page 9.
       8   has any -- you know, whether or not any              8   A       Okay.
       9   particular level, in spec or out of spec, has any    9   Q       Can you point me to a specific
      10   potential concern for causation of human disease;   10   geological report that you rely on that talks
      11   correct?                                            11   about the geological deposit of the Jhizhua talc
      12   A        I am gonna leave that to the experts       12   mine, in the Guangxi province of China?
      13   who I'm sure will have lots to say about that.      13   A       Yeah. There --
      14   Q        And that's what I was trying to get at,    14   MS. O'DELL:
      15   sir.                                                15         On page 9?
      16   A        Okay.                                      16   MR. FROST:
      17   Q        That's not your area of expertise.         17         It starts on the -- the section starts
      18   A        Well, I've answered that question over     18   on page 9. I'm talking about Section B,
      19   and over again. I'm not an expert in toxicology.    19   "Mineralogy," in general.
      20   Q        Okay. Then next time, don't explain        20   MS. O'DELL:
      21   something that you're not into.                     21         Okay. And you're directing him to the
      22   A        Well, you asked the question, and I        22   section on China beginning on page 12?
      23   tried to give you the knowledge that I had. But     23   MR. FROST:
      24   the basis for my statement is the fact that there   24         Yeah. I'm not directing him to any
                                                Page 227                                                 Page 229
       1   are set specifications that were made by             1   specific. It was a general question, and that
       2   Johnson & Johnson, and the analyses exceed that.     2   was, you know, what geological studies do you
       3   I mean, it's just as simple as that.                 3   have that relate to --
       4   Q        Okay.                                       4   A       I think the two that I've referenced
       5   A        I'm not trying to say anything more.        5   that are actually published reports.
       6   Q        I was gonna say, and that's -- that's       6   MR. FROST:
       7   what I'm trying to get at. That's all you're         7   Q       Do you recall which ones those are?
       8   saying --                                            8   A       I don't remember the authors. But
       9   A        Yeah.                                       9   they're modern reports. And, plus, just recently
      10   Q        -- is that you looked at a set of specs    10   we got a copy of the geologic map for the mine,
      11   and your opinion is that, based on the testing      11   which was helpful.
      12   results you've been given, they're outside of       12   Q       And for Vermont, do you rely on any
      13   those specs.                                        13   very -- you know, any of the specific geological
      14   MS. O'DELL:                                         14   reports that relate to Hammondsville, Hamm,
      15          Object to the form.                          15   Argonaut, or Rainbow specifically?
      16   A        It's not an opinion. They are outside      16   MS. O'DELL:
      17   of the specs.                                       17          Object to the form. Vague.
      18   MR. FROST:                                          18   A       The -- yeah. There are specific
      19   Q        Well, we call it an opinion --             19   reports like there's a U.S. Bureau of Mines
      20   A        It's just a fact. It's a fact.             20   report that's -- that's good on the Johnson mine,
      21          Okay. An opinion.                            21   and there's the Barry Seymour thesis that's
      22   Q        But that's -- that's the opinion you're    22   pretty good on Johnson. There are two reports on
      23   rendering is that, based on the testing results     23   Hammondsville that I looked at. One was by the
      24   that you reviewed, they were out of spec?           24   School of Mines, Colorado School of Mines. One
                                                                             58 (Pages 226 to 229)
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       1   was by Gregg. Then there's a whole series of         1   misidentification of platy talc lying on plane as
       2   documentation on -- on Argonaut, many reports on     2   potentially fibrous?
       3   Argonaut that --                                     3   MS. O'DELL:
       4   MR. FROST:                                           4          Object to the form.
       5   Q        Okay. You mentioned the Johnson mine.       5   A       I think that that's something that is
       6   Again, we established before, but for that one       6   fairly common. You turn a plate on edge, it
       7   reference that talks about --                        7   looks like fiber.
       8          I forget the ore numbers. I believe           8   MR. FROST:
       9   they're 500 -- 507.                                  9   Q       Yeah. And that's because most of the
      10          You have nothing else -- you certainly       10   microscopes are 2D as opposed to 3D image?
      11   have nothing to show that Grade 66 talc ever came   11   A       Correct.
      12   from the Johnson mine; correct?                     12   MS. O'DELL:
      13   MS. O'DELL:                                         13          Object to the form.
      14          Object to the form.                          14   A       I -- can you -- can you ask or make
      15   A        I'm not sure about Grade 66. I don't       15   that statement again about the 2D versus 3D?
      16   know what they called it when Johnson mine was      16   MR. FROST:
      17   operating.                                          17   Q       And that's because when you're looking
      18          I think that I have one other document       18   at a 2D image, it's hard to tell if you're
      19   that -- that would indicate that for a short        19   looking at something on plane or on edge?
      20   period of time cosmetic talc was produced at        20   A       That's kind of an -- that's an
      21   Johnson.                                            21   interesting comment, because when you're using a
      22   MR. FROST:                                          22   polarized light microscope, if you're just using
      23   Q        But you agree with me the only document    23   a ground-up talc sample, the way you do that, you
      24   we've been able to come up with thus far, I         24   put a little pinch of the talc on a glass slide
                                                Page 231                                                 Page 233
       1   believe, was Grade 500 and 549, according to my      1   and then you put a drop of refractive index oil
       2   notes --                                             2   on it. That does tend to make the plates lay
       3   MS. O'DELL:                                          3   down.
       4          Objection.                                    4   Q       Okay.
       5   MR. FROST:                                           5   A       And it would reduce the -- probably
       6   Q        -- for the grades that were coming out      6   reduce the number of those standing on edge.
       7   of the Johnson mine?                                 7   And, so, from the standpoint of are you always
       8   MS. O'DELL:                                          8   looking at two-dimensional materials, it's
       9          Object to the form. Misstates --              9   probably not right.
      10   A        That was -- that was what it said at       10          If you used a binocular scope, which
      11   the place that you pointed to.                      11   some people do, for the initial examination, that
      12   MR. FROST:                                          12   certainly gives you some depth of field, which
      13   Q        Okay. And you agree that Grade 500 or      13   then translates into 3D.
      14   Grade 49 [sic] would be different than Grade 66,    14   Q       Okay. I guess my comment was sort of a
      15   which was also listed --                            15   nonscientific way. And that's the images, it's,
      16   A        I would think so.                          16   you know, flat plane versus edge --
      17   Q        -- on that document?                       17   A       Right.
      18          Have you ever done any work identifying      18   Q       -- and the edge can be mistaken for
      19   talc as either platy or fibrous in your academic    19   fiber; correct?
      20   career?                                             20   A       Correct.
      21   A        I have not.                                21   Q       Okay.
      22   Q        Are you aware -- I'll call it the          22          All right. Page 10 of your report
      23   contour, but it's probably the wrong word for it.   23   under the section of "Italy."
      24   But are you aware that there's a problem with       24   A       Okay.
                                                                             59 (Pages 230 to 233)
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       1   Q        It reads, "Deposits derived from            1   Q        Okay. Do you have the marked document
       2   sedimentary carbonate rock, such as the Italian      2   in front of you?
       3   deposits, typically contain accessory minerals       3          Okay. If you look at the report, the
       4   that may include asbestos (actinolite and            4   first document you cite to is JNJ_00030983. And
       5   tremolite in asbestiform habits) and the chlorite    5   do you agree that's the document I've put in
       6   family minerals."                                    6   front of you?
       7          Right?                                        7   A        I don't know. It doesn't look like it.
       8   A        Correct.                                    8          Oh, wait a minute.
       9   Q        And then, you know, you continue on to      9   Q        Look at the very -- the very bottom
      10   talk about Pooley, and you cite, you know, the      10   right.
      11   various documents. I can read the whole thing if    11   A        Yeah. There's three different sets of
      12   you want. But at the end of that you say various    12   numbers on this thing. I'm not even sure this is
      13   different documents, right, that support that       13   the right document.
      14   position?                                           14   MS. O'DELL:
      15   A        Yeah.                                      15          That --
      16   Q        Okay.                                      16   MR. FROST:
      17          I'll mark -- what number are we at?          17   Q        Well, that's what I was gonna say is
      18   THE COURT REPORTER:                                 18   that I can tell you this is the document that was
      19          15.                                          19   produced as JNJ_00030983. And you agree with me
      20   MR. FROST:                                          20   this is -- appears to be an epidemiological
      21          I should be able to get through this         21   study, not a -- not a mining study; correct?
      22   pretty quickly, Leigh, and then we -- then we       22   A        Yeah. And this is -- this is my fear
      23   can -- we can break.                                23   all the way through here, you know. When I've
      24   MS. O'DELL:                                         24   gotten multiple Bates numbers on things, I have
                                                Page 235                                                 Page 237
       1          Yeah. If we could break at 2:50 --            1   to pick one. And this -- I don't think this is a
       2   MR. FROST:                                           2   document that I've looked at.
       3          Yeah.                                         3   Q        Okay.
       4   MS. O'DELL:                                          4   MS. O'DELL:
       5          -- that would be -- because I need            5          And, to be fair, it's -- it's -- this
       6   to --                                                6   is the -- what's been given to him is J&J, not J,
       7   MR. FROST:                                           7   capital N, J. So it's not identical to what's in
       8          Yeah. I think we can get through the          8   his report. So I would just point that out. I'm
       9   next set of documents in five minutes. Should --     9   not sure if that's --
      10   MS. O'DELL:                                         10   MR. FROST:
      11          Okay.                                        11          No, no. Look at the very bottom
      12   MR. FROST:                                          12   number, JNJ, bottom right hand.
      13          I should be able to do it.                   13   MS. O'DELL:
      14   MS. O'DELL:                                         14          Oh, I see. But still, I'm not sure
      15          I need -- we need a little bit of time       15   that -- that -- it's not underscore. So I -- I
      16   to get --                                           16   don't believe it's the same one. But if there's
      17   MR. FROST:                                          17   an error on the Bates number, we'll address that.
      18          Yeah. No. I get it.                          18   MR. FROST:
      19   MS. O'DELL:                                         19          I will say as production, this is the
      20          -- prepared for the call to the court.       20   one that matches the JNJ_, et cetera.
      21          Thank you.                                   21          I have marked this one as the next one.
      22         (DEPOSITION EXHIBIT NUMBER 15                 22         (DEPOSITION EXHIBIT NUMBER 16
      23          WAS MARKED FOR IDENTIFICATION.)              23          WAS MARKED FOR IDENTIFICATION.)
      24   MR. FROST:                                          24   MR. FROST:
                                                                             60 (Pages 234 to 237)
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       1   Q       I think you're gonna recognize this         1   quality, purity, uniformity and reliability of
       2   document. So this is the second document in the     2   supply, outstanding performance for many years
       3   series.                                             3   when compounded into Johnson's baby powder."
       4   A       I am gonna recognize it?                    4   A        Right.
       5   Q       JNJ000016791.                               5   Q        Okay. All right. This last one I'll
       6   A       Yeah.                                       6   mark, and then we can break.
       7   Q       Again, this is a --                         7          So this is the Pooley report, which is
       8   A       Something's screwed up.                     8   JNJ322351.
       9   Q       Seems to be a better copy of the same       9   A        Is this the long one or there's --
      10   document.                                          10   there's multiply Pooley reports.
      11   A       Yeah.                                      11   Q        Yeah, I believe this is the long one.
      12   Q       Okay. All right. Move on to the next       12   A        Okay.
      13   one which is cited, which is the JNJ60592.         13   Q        It's the one that deals with the
      14         (DEPOSITION EXHIBIT NUMBER 17                14   Italian mines.
      15          WAS MARKED FOR IDENTIFICATION.)             15   A        Yeah. Well, there are a number of
      16   A       Okay.                                      16   them.
      17   MR. FROST:                                         17   Q        Yeah. There's one that's extremely
      18   Q       Okay. You'll agree with me that this       18   short --
      19   document talks about the presence of quartz.       19   A        Yeah.
      20   Nowhere does it talk about the presence of         20   Q        -- and then there's the longer one.
      21   fibrous amphiboles.                                21   This is the longer of the two.
      22   A       Correct.                                   22         (DEPOSITION EXHIBIT NUMBER 19
      23   Q       Okay. Move on to the next one, tab --      23          WAS MARKED FOR IDENTIFICATION.)
      24   which is JNJ238194.                                24   MR. FROST:
                                               Page 239                                                 Page 241
       1           Sorry. What number are we on?               1   Q         And I'll first address your attention
       2   THE COURT REPORTER:                                 2   to page 6 of the report.
       3           18.                                         3   A         Okay.
       4   MR. FROST:                                          4   Q         The bottom paragraph, he sort of --
       5           18.                                         5   it's the summary of what he's doing.
       6          (DEPOSITION EXHIBIT NUMBER 18                6   A         Hang on. I may have the wrong page.
       7           WAS MARKED FOR IDENTIFICATION.)             7           All right. I've got it.
       8   MR. FROST:                                          8   Q         Okay. The second sentence is,
       9   Q        And, again, if you want, I can give you    9   "Numerous photomicrographs taken under PPL and XN
      10   time to look at it. But, specifically, we're       10   are provided with the descriptions to illustrate
      11   talking about Italy, which is on the first page.   11   the rock textures, which it is hoped will provide
      12           My question here is, again, this           12   information useful to the continuing" -- or --
      13   document nowhere mentions fibrous amphiboles or    13   A         I'm sorry, Jack. Show me the --
      14   fibrous serpentines with respect to the -- the     14   Q         Sure. It's --
      15   ore; correct?                                      15   A         You say it's page 6?
      16   A        Hang on a sec. Let me look that up. I     16   Q         Page 6.
      17   don't think that this is the document I was        17   A         Okay. All right. I've got it.
      18   referencing. Huh-uh. Hang on.                      18   MS. O'DELL:
      19           Yeah. I don't think that's the right       19           I'm on a different page 6, so give me
      20   document.                                          20   just a minute.
      21   Q        Okay. And, in fact, if we're looking      21   MR. FROST:
      22   at this document, under Category 1, "Maximum       22           Sure. It says "page 6" at the top.
      23   Confidence," which includes the Italian ore, it    23   Q         Must be more full page sixes.
      24   states, quote, "Long experience of established     24   A         Yeah, I think there may be.

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                                          Robert Cook, Ph.D.
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       1   Q       One, two, three, four, five --            1   MR. FROST:
       2   MS. O'DELL:                                       2          Yeah, the entire exhibit.
       3         The page 6 I have, it's -- it's got a       3   Q       Look at the bottom paragraph. On --
       4   picture on it. So it's not what you're --         4          Sorry. On the page on the left.
       5   MR. FROST:                                        5          Okay. The second sentence down says,
       6         So it's the ninth page in.                  6   "The only asbestos-type mineral to be detected in
       7   MS. O'DELL:                                       7   the Hamm samples was tremolite, which was found
       8         And I'm sorry. It's right before our        8   in three of the specimens. The tremolite was
       9   call with the Court.                              9   associated" --
      10   MR. FROST:                                       10          Under our conclusion.
      11         Yeah, that's fine. We can pause here.      11          -- "with carbonate minerals, mainly
      12   VIDEOGRAPHER:                                    12   magnesite and calcite. No tremolite was detected
      13         Going off the record. The time is          13   in the talc-typed specimens."
      14   12:53 p.m.                                       14   A       Okay.
      15              (OFF THE RECORD.)                     15   Q       And, then, if you go to the
      16   VIDEOGRAPHER:                                    16   second-to-last paragraph of the paper --
      17         We're back on the record. The time is      17   A       Okay.
      18   1:48 p.m.                                        18   Q       -- towards the bottom of that paragraph
      19   MR. FROST:                                       19   it reads, "Particles formed of the amphibole
      20   Q       Okay. Welcome back from lunch, sir.      20   mineral found at the mine were hardly fibrous in
      21         So we were on page 6 of the Pooley         21   character, the majority of the tremolite breaking
      22   report.                                          22   in -- breaking to give compact particles."
      23   A       Okay. Right.                             23   A       Uh-huh.
      24   Q       I believe you're on the correct page.    24   Q       I read it poorly, but did I read it
                                              Page 243                                                Page 245
       1   A       Uh-huh.                                   1   right?
       2   Q       Okay. The bottom paragraph?               2   MS. O'DELL:
       3   A       Right.                                    3          Object to the form.
       4   Q       Okay. It's talking about the report,      4   A        Right. I've read it.
       5   and it says, "Numerous photomicrographs taken     5   MR. FROST:
       6   under PPL and XN are provided with the            6   Q        Okay. So do you agree with me that the
       7   description to mainly illustrate the rock         7   Pooley report does not mention finding any
       8   textures, which it is hoped will provide          8   fibrous materials at the -- the Italian mine?
       9   information useful in the" --                     9   MS. O'DELL:
      10          That's a tough one.                       10          Object to the form.
      11          -- "continuation" --                      11   A        Yeah.
      12   A       Right.                                   12          This isn't the only Pooley report.
      13   Q       -- "of particular -- of particularly     13   MR. FROST:
      14   the talc ore samples and also displays the       14   Q        This is the one that's cited in your
      15   nonoccurrence of asbestiform amphiboles in the   15   report on --
      16   talc ore."                                       16   A        Right. There's more --
      17          Did I read that correctly?                17   Q        -- page 10; correct?
      18   A       Yes.                                     18   A        There's more than one. But I think
      19   Q       And if you turn to the last two          19   that in the material that you read, he doesn't --
      20   pages --                                         20   does not mention fibrous tremolite.
      21   A       The last two?                            21   Q        You'd agree this is the document that
      22   Q       Yeah, the last two.                      22   starts JNJ000322351 that you cite in your report
      23   MS. O'DELL:                                      23   on page 10?
      24          Of the entire exhibit?                    24   A        Right. That's that one.
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                                           Robert Cook, Ph.D.
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       1   Q        Okay.                                       1          Object to the form.
       2          Great. Sorry. I've got to reorient            2   MR. FROST:
       3   myself where I am in your report. If you'll give     3   Q       Because it continues, "And the minerals
       4   me a second.                                         4   we'll show in the valley are."
       5   A        It's all right.                             5   MS. O'DELL:
       6   VIDEOGRAPHER:                                        6          Object to the form.
       7          Jack, do you have your mic on?                7   A       Well, the valley is where the mine is.
       8   MR. FROST:                                           8   MR. FROST:
       9          I do not.                                     9   Q       Okay. But he's not saying that he has
      10   Q        Page 10, we're under "Italy." So about     10   found talc, pyrite, magnesite, calcite, dolomite,
      11   halfway through your paragraph, you have a          11   apatite, clinochlore, chrysotile, tourmaline,
      12   sentence that reads, "Chrysotile is also reported   12   tremolite, actinolite, aluminite, and albite all
      13   in the Val Chisone mineral suite in 1971 by         13   in the Fontane mine ore; correct?
      14   Ashton."                                            14   MS. O'DELL:
      15   A        Right.                                     15          Object to the form.
      16   Q        And you cite JNJAZ55-6103.                 16   A       Well, I'm -- I'm not sure that he even
      17          I've got that document.                      17   relates Fontane in that paragraph at all.
      18   A        And he's got a list of minerals kind of    18   MR. FROST:
      19   in the middle of -- in the middle of the page       19   Q       Exactly. He's just talking about the
      20   there, and chrysotile, I think, is mentioned.       20   mineralization of the valley --
      21          Right.                                       21   A       That's right.
      22         (DEPOSITION EXHIBIT NUMBER 20                 22   Q       -- correct?
      23          WAS MARKED FOR IDENTIFICATION.)              23   A       But Fontane's in the valley.
      24   MR. FROST:                                          24   Q       Yes. But there are lots of other
                                                Page 247                                                 Page 249
       1   Q        Yeah, it's -- you're talking about          1   places in the valley that aren't the Fontane
       2   where the -- the arrow is on the paper?              2   mass; correct?
       3   A        Correct.                                    3   MS. O'DELL:
       4   Q        And you'd also agree with me that           4           Object to the form.
       5   he's -- he's talking about the valley, what --       5   A        That's right. But I don't know why
       6   mineralizations in the valley. He's not talking      6   he'd be interested in them.
       7   about the Fontane ore or mine specifically;          7   MR. FROST:
       8   correct?                                             8   Q        So you're telling me, by reading this,
       9   A        He might have been.                         9   you couldn't relate to the fact that he's found
      10   Q        But there's no way to tell by this         10   all of these and they're associated with the
      11   document; correct?                                  11   Fontane mine because that mine is located in that
      12   MS. O'DELL:                                         12   valley?
      13          Object to the form.                          13   A        I think if you read what's been
      14   A        Well, this is a general comment about      14   published about this, what you find is that the
      15   the location.                                       15   host rocks that contain the carbonate sequence
      16   MR. FROST:                                          16   with the talc in it is rich in some of these.
      17   Q        Okay. And he's talking about, "I have      17   Q        Okay. And, again, you're --
      18   checked into the mineralization of the part of      18   A        So he's probably --
      19   the territory"; correct?                            19           And I'm, once again, I'm making an
      20   MS. O'DELL:                                         20   assumption. I don't think he'd go out and decide
      21          Object to the form.                          21   that he'd go up to the rim of the valley and
      22   MR. FROST:                                          22   collect a bunch of rocks that have nothing to do
      23   Q        He's talking about the valley?             23   with -- with J&J or who he was working for.
      24   MS. O'DELL:                                         24           But, you know, I think that the list of
                                                                             63 (Pages 246 to 249)
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                                           Robert Cook, Ph.D.
                                                Page 250                                                    Page 252
       1   minerals here could be extended out to the edges     1   any talc from the Italian mines; correct?
       2   of -- of the ore body. And if you went to the        2   A        There is a document that says that they
       3   Fontane mine, went underground, you could            3   were considering using it again.
       4   probably find these minerals in the ore body but     4   Q        Okay.
       5   next to the host rocks because --                    5   A        And it's in that time period.
       6   Q        Okay.                                       6   Q        But, again, they weren't using it.
       7   A        Well, anyway, this is a pretty              7   They were considering using it.
       8   extensive suite. And -- and the reason I say         8   A        To my knowledge, they weren't.
       9   that is tourmaline is not a mineral that you         9   Q        Okay. And, to this day, you're
      10   would see in a -- in a talc ore body, but it        10   aware -- I think you say in your report from '03
      11   would occur next to one.                            11   to today they used Chinese talc. Correct?
      12   Q        So I've heard in your answer a lot of      12   A        That's my -- my understanding.
      13   "I guess, I suppose." I mean, you can't sit here    13   Q        Skipping down, next couple sentences,
      14   and tell me that, "Yeah, this shows the             14   it says, "A paper describing asbestos in Italian
      15   chrysotile is associated with the Fontane ore       15   talc deposits was published by Marconi and Verdel
      16   body"; correct?                                     16   in 1990."
      17   MS. O'DELL:                                         17   A        Okay.
      18          Object to the form.                          18   Q        Do you recall that?
      19   A        Well, it has to be associated with         19   A        Yeah, I recall the reference, sure.
      20   whatever processes took place that would form       20   Q        Do you recall whether or not they say
      21   chrysotile. And it wouldn't be in the enclosing     21   that there's any asbestos found in the Fontane
      22   schists. I mean, that -- that's just not the        22   mine deposit?
      23   right locale.                                       23   A        I'm not sure they say that
      24   MR. FROST:                                          24   specifically.
                                                Page 251                                                    Page 253
       1   Q        So, again, my -- my question is just        1   Q      Okay. I'll mark it. I'll show it to
       2   because it says "chrysotile" in this document        2   you.
       3   doesn't mean there's chrysotile in the ore at        3           (Technical difficulties)
       4   Fontane; correct?                                    4   THE COURT REPORTER:
       5   MS. O'DELL:                                          5         Do you want to go off the record?
       6          Object to the form.                           6   MR. FROST:
       7   A        Yeah. He doesn't say --                     7         Yeah, I was gonna say, let's go off the
       8   MR. FROST:                                           8   record.
       9   Q        Okay.                                       9   VIDEOGRAPHER:
      10   A        He doesn't specifically say the Fontane    10         Going off the record. The time is
      11   mine.                                               11   1:57 p.m.
      12   Q        Okay. And, again, I think you --           12            (OFF THE RECORD.)
      13   tourmaline, you pointed out, wouldn't even be       13   VIDEOGRAPHER:
      14   associated with the talc.                           14         We're back on the record. The time is
      15   A        You wouldn't -- you wouldn't think so.     15   1:58 p.m.
      16   Q        Okay. Moving on, on page 10 you note       16   MR. FROST:
      17   that "Fibrous tremolite" --                         17   Q       Okay. We are marking the Marconi and
      18          Do you see where I am? It's another          18   Verdel Exhibit 21.
      19   sentence down.                                      19        (DEPOSITION EXHIBIT NUMBER 21
      20          "Fibrous tremolite was reported from         20         WAS MARKED FOR IDENTIFICATION.)
      21   Italian talc as late as 2009."                      21   MR. FROST:
      22   A        Correct.                                   22   Q       And I'll -- I'm specifically looking at
      23   Q        Okay. And you agree with me that, by       23   pages 109, 110.
      24   2009, Johnson & Johnson certainly wasn't sourcing   24   A       Okay.
                                                                             64 (Pages 250 to 253)
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                                           Robert Cook, Ph.D.
                                                Page 254                                                 Page 256
       1   Q        At the very bottom of 109 -- of 109,        1   MS. O'DELL:
       2   the section called "Results and Discussion."         2          Object.
       3   A        Right.                                      3   MR. FROST:
       4   Q        And it says, "Sample still in               4   Q        And, again, I can --
       5   production does not show the presence of             5   A        Wow.
       6   serpentine or tremolite amphibole minerals."         6   Q        I can mark it if you want.
       7          Did I read that correctly?                    7   A        That's a long thesis.
       8   A        Yes.                                        8   Q        It's a very long paper.
       9   Q        If you turn over to 110, if you look at     9   A        I'm not saying that somewhere in there
      10   Table 1, which is the mean mineralogy composition   10   he doesn't say Hammondsville, but he doesn't --
      11   of talcs from active Italian mines, the first one   11   he doesn't present any significant information
      12   is the Fontane mine in Piedmont; right?             12   about Hammondsville.
      13   A        Right.                                     13   Q        Okay. Well, it's a happy medium. I
      14   Q        Okay. On page 11 of your report, in        14   can tell you that the word "Hammondsville" is not
      15   that first paragraph we're now -- we've moved on    15   there --
      16   to the Vermont deposits.                            16   A        Okay.
      17   A        Okay.                                      17   Q        -- but you agree with me he's certainly
      18   Q        And, at the end of that -- that first      18   not talking specifically about the Hammondsville
      19   paragraph, there's a sentence that says, "These     19   geology?
      20   include the Carlton talc mine in Chester, Windsor   20   A        No.
      21   County, and other Vermont serpentinite-related      21   MS. O'DELL:
      22   actinolite or tremolite occurrences as documented   22          Object to the form.
      23   by Seymour" -- you have (J&J 53200) -- "at          23   A        Yeah. He -- he's not talking about
      24   Hammondsville, the Barton steatite quarry, Holden   24   geology at the Hammondsville mine. The geology
                                                Page 255                                                 Page 257
       1   talc quarry, Rochester verde antique quarry, and     1   may be quite similar.
       2   Mad River mine."                                     2   MR. FROST:
       3           I've read it, again, poorly, but did I       3   Q        Okay.
       4   read it correctly?                                   4   A        But he's not --
       5   A         Right. Well, and, in all fairness,         5   Q        He's not focusing on the geology of
       6   this is a paragraph that I began to take material    6   Hammondsville.
       7   out of to add to tables.                             7   A        Right.
       8   Q         Okay.                                      8   Q        Do you know whether or not commercial
       9   A         So it may read herky-jerky because of      9   asbestos was ever mined from either
      10   that. You know, it doesn't -- it doesn't flow as    10   Hammondsville, Hamm, Argonaut, or the Rainbow
      11   brilliantly as it did when I first wrote it.        11   mines?
      12   Q         Okay. I'm not gonna -- I won't            12   A        I don't think it was ever mined from
      13   question you on that.                               13   that north-south trend at Ludlow.
      14   A         Okay.                                     14   Q        Okay.
      15   Q         Do you agree with me that the Seymour     15   A        I'm not sure about Hammondsville.
      16   report only relates to the East Johnson mine in     16   The -- the Hammondsville deposit is pretty large,
      17   particular? I can mark it if you want me to.        17   and it -- you know, it was mined underground, and
      18   A         He actually mentions some other mines     18   I don't have a reference that says that it was.
      19   in it, but just giving them as examples of other    19   Q        Okay. That was my next question.
      20   locations. And he mentions little mineralogy.       20   Sitting here, you certainly can't point me to
      21   But his thesis is the Johnson mine.                 21   anything that ever says Hammondsville was used as
      22   Q         Okay. And you agree with me that the      22   an asbestos mine; right?
      23   paper nowhere -- the paper nowhere mentions the     23   A        I don't have a reference to that.
      24   Hammondsville mine; correct?                        24          On the other hand, it would be

                                                                             65 (Pages 254 to 257)
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                                            Robert Cook, Ph.D.
                                                 Page 258                                                Page 260
       1   interesting to -- to actually do an asbestos         1           Yep.
       2   study for the same areas that we've done a talc      2          (DEPOSITION EXHIBIT NUMBER 22
       3   study for. And I actually have not done that.        3           WAS MARKED FOR IDENTIFICATION.)
       4          In fact, I was surprised when I found         4   MR. FROST:
       5   that talc had been mined on Belvidere Mountain.      5   Q        I don't believe this report is on your
       6   I was surprised.                                     6   literature list. Is that correct?
       7          So, you know, it's not impossible that        7   A        I certainly have it. I'm not sure
       8   at some point in time there was asbestos mined       8   whether I used it or not. I don't believe I did,
       9   somewhere near Hammondsville in the same rock        9   but -- but I could have.
      10   unit.                                               10           If I had used it, I would have probably
      11   Q        You don't know one way or the other --     11   been referencing maybe some of the other similar
      12   A        No.                                        12   deposits elsewhere than -- or elsewhere than
      13   Q        -- sitting here today?                     13   Vermont.
      14          All right. Still on page 11 of your          14   Q        Okay. Quickly, if you turn to page 49
      15   report, you note -- it's the paragraph that         15   of this document.
      16   starts "A literature review for Vermont talc."      16   A        Okay.
      17   A        Okay.                                      17   MS. O'DELL:
      18   MS. O'DELL:                                         18           And if you need a minute to take a look
      19          Still on page 11?                            19   at it, Dr. Cook, feel free to do that.
      20   MR. FROST:                                          20   MR. FROST:
      21          Yes, still on page 11.                       21   Q        Although I promise you the question is
      22   Q        Sorry.                                     22   really easy.
      23   A        It's all right.                            23   MS. O'DELL:
      24   Q        Trying to orient myself. I apologize.      24           Well, but --
                                                 Page 259                                                Page 261
       1          I can't find where it is in your              1   MR. FROST:
       2   report -- bear with me -- but one of the             2   Q       No. No, but I agree. If you need time
       3   publications you rely on in your report is the       3   to read it, please take your time.
       4   Chidester 1951 USGS survey. Does that ring a         4   A       Yeah. Go ahead.
       5   bell? I'm sure I'm saying it wrong.                  5   Q       So if you look at the Table 22, if you
       6   A        Chidester, Billings and Cady?               6   look below --
       7   Q        Yes. I've got it.                           7   A       Right.
       8   A        Okay.                                       8   Q       -- you agree with me that 40A, 40B, and
       9   Q        And do you agree with me that the           9   40C are all testing of products that have come
      10   Hammondsville mine in particular is called out in   10   from the Hammondsville quarry; correct?
      11   his report? Correct?                                11   A       Looks that way.
      12   A        He mentions it very briefly.               12   Q       Okay.
      13   Q        And you agree with me that nowhere does    13   A       These are chemical analyses. I think
      14   Chidester mention the occurrence of asbestos        14   that I'm looking at the right table.
      15   associated with the Hammondsville mine; correct?    15   Q       Yes, you're looking at the right table.
      16   MS. O'DELL:                                         16   A       Okay.
      17          Object to the form.                          17   Q       But I'm just noting that, you know,
      18   A        That's correct.                            18   here's another Chidester article where USGS is
      19   MR. FROST:                                          19   specifically looking at the Hammondsville quarry.
      20   Q        And, then, I believe the Chidester 64      20   You agree with me on that one; right?
      21   document is also on --                              21   A       Yes.
      22          I'm gonna mark this document. I              22   Q       If you look -- I think you mentioned
      23   believe we're on 22.                                23   NIOSH earlier this morning; correct? You're at
      24   THE COURT REPORTER:                                 24   least aware who NIOSH is?
                                                                             66 (Pages 258 to 261)
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                                           Robert Cook, Ph.D.
                                                Page 262                                                 Page 264
       1   MS. O'DELL:                                          1   A        This is -- it's kind of interesting
       2          I don't think he's mentioned NIOSH,           2   that they would write this paper.
       3   but --                                               3   MR. FROST:
       4   MR. FROST:                                           4   Q        Why is that?
       5   Q        I thought you had. But do you know who      5   A        Well, the title, it -- it suggests that
       6   NIOSH is?                                            6   they're willing to accept the fact that
       7   A        Right.                                      7   asbestiform talc exists.
       8   Q        And are you aware that NIOSH did an         8   Q        Okay. But if you turn to page 377,
       9   epidemiological study of talc miners working at      9   under "Conclusions" --
      10   the various Vermont talc plants?                    10   A        Uh-huh.
      11   A        I know it exists. I don't know the         11   Q        Do you see where I am?
      12   results.                                            12   A        Yep.
      13   Q        Okay. And are you aware the reason         13           Hang on a sec. I can't make the pages
      14   that NIOSH specifically chose the Vermont talc      14   turn for me. Hang on a sec.
      15   mines for purposes of the study?                    15   MS. O'DELL:
      16   A        No.                                        16           Yeah. Take a minute if you -- since
      17   Q        Were you ever aware that NIOSH chose       17   you haven't seen it, Doctor, if you need to look
      18   them because they believed those talc mines to be   18   at it, feel free to take a look at it.
      19   asbestos-free?                                      19   A        Have you noticed that half the
      20   MS. O'DELL:                                         20   documents we've got don't have dates on them?
      21          Objection to form.                           21   MR. FROST:
      22   MR. FROST:                                          22   Q        I have, actually.
      23   Q        And if you haven't, okay.                  23   A        Have you noticed that? It's the most
      24   A        No, I didn't know that.                    24   irritating thing.
                                                Page 263                                                 Page 265
       1   MR. FROST:                                           1   Q        I have noticed that.
       2           I'm gonna mark another exhibit.              2   A        See, this is a 1979 document.
       3   MS. O'DELL:                                          3   Q        That's correct.
       4           23?                                          4   A        And yet their -- the title is
       5   MR. FROST:                                           5   forward-looking.
       6           No. That's 22. No, 23. You're right.         6   Q        So, again, once you're done looking at
       7          (DEPOSITION EXHIBIT NUMBER 23                 7   it, I'm on page 377.
       8           WAS MARKED FOR IDENTIFICATION.)              8   A        Yeah, I'm there. I'm --
       9   MR. FROST:                                           9   Q        Okay. You see under the first sentence
      10   Q         So on the fourth piece of paper, which    10   it says, "The Vermont talc industry was selected
      11   is probably the eighth page into -- I guess the     11   by NIOSH for both epidemiological and
      12   seventh page, it shows a paper or a study called    12   environmental surveys to distinguish a TWA dust
      13   "Occupational exposures to non-asbestiform talc     13   exposure because this talc is believed to contain
      14   in Vermont" by Boundy.                              14   minimal amounts of quartz and asbestos."
      15   A         Right.                                    15           And then if you look at the bottom
      16   Q         Have you ever seen this paper before?     16   sentence, that paragraph, "Petrographic
      17   A         I don't think so.                         17   microscopy analysis, analytical transmission
      18           I don't think I referenced it, did I?       18   electron microscopy, and x-ray diffraction with
      19   Q         No. It's not in a reference.              19   step scanning revealed no asbestos in the bulk
      20   A         Huh-uh. I don't think I've seen it.       20   samples."
      21   Q         Okay.                                     21           Correct?
      22   MS. O'DELL:                                         22   MS. O'DELL:
      23           If you need to take a minute and look       23           That's what it states.
      24   at it, Doctor, feel free to.                        24   MR. FROST:
                                                                             67 (Pages 262 to 265)
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                                            Robert Cook, Ph.D.
                                                Page 266                                                Page 268
       1   Q        That's what it states?                      1   mentioned in those mines in the mineral index of
       2   A        That's what it states. But in the           2   Vermont, which, you know, it isn't complete, but
       3   first thing that you read, it says minimum --        3   I think that it's a useful thing to cite.
       4   minimal amounts.                                     4           So, no, I can't think of any in the
       5   Q        Of, quotes, in asbestos.                    5   published literature. They may exist. I'm just
       6   A        Right. I would question, you know,          6   drawing a blank right now.
       7   whether some of those analytical techniques are      7   Q        Okay. All right. So turn to page 11,
       8   sufficient to say there's no asbestos.               8   sir, of your report.
       9   Q        So you believe that TEM is                  9   A        Okay.
      10   insufficient?                                       10   Q        You state, about halfway through,
      11   A        TEM, I think, is -- is okay.               11   "Amphibole in amounts less than .1 percent were
      12   Q        Okay.                                      12   found in float feed in Hamm mine ore as reported
      13   A        But I don't think XRD is.                  13   in a product certification report in 1992."
      14   Q        Okay. But, again, analytical               14           And then you cite Imerys 151337.
      15   transmission electron microscopy, that's TEM;       15   A        Hopefully, that's the right report.
      16   right?                                              16   MR. FROST:
      17   A        It is. But, now, that's gonna tell you     17           Mark this as 24.
      18   the -- the mineralogy of a specific particle.       18          (DEPOSITION EXHIBIT NUMBER 24
      19   Q        Okay.                                      19           WAS MARKED FOR IDENTIFICATION.)
      20   A        One particle. Okay?                        20   MR. FROST:
      21   Q        Sure. But you agree that TEM is a          21           Here you are.
      22   proper --                                           22   Q        And, again, you'll agree with me this
      23   A        Well, the point is that they can't have    23   is not a product certification?
      24   analyzed a lot of -- a lot of samples because       24   A        No. This is a -- not something I've
                                                Page 267                                                Page 269
       1   it's too time-consuming and too expensive. So        1   seen before.
       2   the fact that they didn't find any asbestos with     2   Q       Okay. And this certainly doesn't talk
       3   TEM is, you know, that's interesting.                3   about amphibole found in float feeder in the
       4   Q        And, again, that's just speculating         4   mine?
       5   because I'm looking at this sentence, how much       5   A       No.
       6   they looked at and what they looked at.              6   Q       Okay. Turn to page 12. The top
       7   A        Right.                                      7   paragraph, it says, "Concern with incorporating
       8   Q        Okay. Okay. Can you point me to any         8   serpentine and lampr- --"
       9   specific geology studies or reports in the           9   A       Lamprophyre.
      10   published literature that show there's any          10   Q       -- "lamprophyre" --
      11   asbestos at the Hammondsville, Hamm, Argonaut, or   11   A       Uh-huh.
      12   Rainbow mines?                                      12   Q       -- "from dikes in processed Vermont ore
      13   A        In the published literature?               13   was expressed in 2006" --
      14   Q        Yes, in the published literature.          14   A       Right.
      15   A        No.                                        15   Q       -- "suggesting a maximum of 2 percent
      16   Q        Okay. Turn to page 11 of your report.      16   for serpentine."
      17   A        Let me -- I'm still thinking about my      17          Do you also agree with me that by '06
      18   very rapid "no" response. We were mine-specific.    18   Johnson & Johnson was no longer using Vermont
      19   I'm thinking about -- back about the US             19   talc? Correct?
      20   Geological Survey's database. I don't think         20   A       Right. They were using it but not for
      21   there -- that they have pointed out asbestos in     21   cosmetic talc.
      22   those mines. I don't think they have. They have     22   Q       Not for cosmetic talcum powder.
      23   in some, but I don't think those were -- were       23   A       It was industrial.
      24   mentioned. I don't think that asbestos was          24   Q       Right.
                                                                             68 (Pages 266 to 269)
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                                           Robert Cook, Ph.D.
                                                Page 270                                                 Page 272
       1   A        You know, the reason I had that in my       1   mineral. Every mineral's got multiple peaks.
       2   report was --                                        2           And, so, if you've got a sample that's
       3   MS. O'DELL:                                          3   got, let's say, talc, magnesite, and some
       4          Go ahead.                                     4   chlorite, you can have a very complicated x-ray
       5   THE WITNESS:                                         5   diffractogram and, unfortunately, there is
       6          He's not listening.                           6   interference with some of the characteristic
       7   MR. FROST:                                           7   peaks, particularly for chrysotile. I mean, you
       8   Q        I'm listening, sir.                         8   just -- you can't do chrysotile by XRD because
       9   A        Are you?                                    9   there are two or three things that interfere with
      10   Q        Okay. Yes.                                 10   the very peak that you need to look at.
      11   A        -- was that there's no indication that     11           And, so, it's hard -- it's hard to get
      12   there was a dramatic change in geology at           12   to .1, I would say. But I'm willing to accept
      13   Argonaut and, so, we know that the lamprophyre      13   that. But I've, in my experience, I have never
      14   dikes are -- are pretty prevalent there. So I'm     14   been able to get there.
      15   just pointing out once again that there, you        15   Q        Okay. You agree the published
      16   know, there are things that are there that could    16   literature says .1, give or take --
      17   have been in the ore from the start.                17   A        Yeah.
      18   Q        Okay. But, again, you know, we're          18   Q        -- is the accepted level or the -- the
      19   using "could have." We're just sort of guessing     19   level of sensitivity of the instrument?
      20   at this point.                                      20   A        It's there. That's mentioned.
      21   A        Right.                                     21   Q        And are you aware that the FDA
      22   MS. O'DELL:                                         22   regulates talcum powder?
      23          Object to the form.                          23   MS. O'DELL:
      24   MR. FROST:                                          24           Object to the form.
                                                Page 271                                                 Page 273
       1   Q        All right. Further down on page 12 --       1   A         I've read that.
       2   it's the next paragraph -- you write (as read:)      2   MR. FROST:
       3   "Screening talc ore samples for trace to small       3   Q         Okay. And you're aware that, under the
       4   amounts of specific amphibole series by X-ray        4   FDA agreed-upon testing, that XRD testing of bulk
       5   diffraction is not adequate because of its was       5   talcum powder is the first step?
       6   [sic] high detection limit."                         6   A         Yes. Yes. That's been the first step
       7           Do you see that?                             7   for decades.
       8   A        Uh-huh. Yes.                                8   Q         Okay. And we've already talked about
       9   Q        And what's your basis for the               9   this, but you don't have an opinion or you're not
      10   statement?                                          10   qualified to give an opinion as to whether or not
      11   A        Well, I have done I don't know how many    11   any amphibole materials that might exist in talc
      12   years of analytical work with x-ray diffraction,    12   below .1 percent detection level could be capable
      13   and for my clients, I'm not willing to give it      13   of causing human disease; right?
      14   below 1 percent. But there you -- they do use       14   MS. O'DELL:
      15   step scanning, which is a repetitive process that   15           Object to the form.
      16   exaggerates the presence of a peak. I'm willing     16   A         No.
      17   to buy .1, but that's it. I mean, I don't think     17   MR. FROST:
      18   you could possibly do it below that.                18   Q         Okay. Further down on that page, you
      19           And it depends on the peaks that you're     19   start talking about chlorite.
      20   using, because some of these -- some of these       20           It's over on page 12, Leigh, third
      21   rock units have got minerals --                     21   paragraph down.
      22           I mean, all of them have multiple           22           You note, "Chlorite family species can
      23   peaks. Okay? You're not just dealing with an        23   contain specific heavy metals such as chromium
      24   x-ray pattern that has a single peak for one        24   and are consistently reported in core logs from
                                                                             69 (Pages 270 to 273)
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                                                Page 274                                                 Page 276
       1   the Argonaut mine."                                  1   A       Whatever.
       2          Then you have a cite and the example of       2   Q       Still on page 12, but --
       3   "chlorite content of 4.1 percent is reported for     3   A       Yep. Yep.
       4   its ores in a reserve study produced in '08.         4   Q       -- we'll move into China.
       5          Okay? And just because a level of             5   A       Thanks.
       6   chlorite shows up in the drilling core logs          6   Q       You note at the second paragraph under
       7   doesn't necessarily mean that it's in the talc       7   the heading "China," quote, "There was a report
       8   that's used to produce the ore; correct?             8   of asbestos in Chinese talc in late 2009 (Imerys
       9   A       Well, let me answer it in an                 9   309326)." And then you state, "In 2016
      10   interesting way. When you look at the analyses      10   chrysotile particles were found in talc mined in
      11   that we had --                                      11   China (JNJ52161)."
      12          And, by the way, earlier when I said I       12          All right. So let's look at those in
      13   hadn't seen a set of analyses that were in spec     13   turn. Let's start with the Imerys 309326.
      14   for the metals, I was referring to Vermont.         14         (DEPOSITION EXHIBIT NUMBER 25
      15   Q       Okay.                                       15          WAS MARKED FOR IDENTIFICATION.)
      16   A       I mean, you know, China's usually in        16   MR. FROST:
      17   spec completely for metals.                         17   Q       And I'll direct your attention to the
      18          But if you look at the -- the analyses       18   last page.
      19   for Grade 66 talcum, if you have 99 percent talc,   19   A       Yeah. Got it.
      20   which is wonderful, there's still 1 percent         20   Q       Okay. And I take it you're relying on
      21   something else. And that something else is          21   the sentence about halfway through. It says,
      22   probably a chlorite family mineral. That's          22   "Chinese authorities have informed J&J" --
      23   probably the way you have got to explain that,      23   A       Right.
      24   that other 1 percent.                               24   Q       -- "that its internal testing contained
                                                Page 275                                                 Page 277
       1          If it is a chlorite family mineral,           1   asbestos in several talc body powers marketed in
       2   then it's possible that these high metal numbers     2   China, including two products from J&J."
       3   that you have may be related to the chlorite, at     3   A       Correct.
       4   least in part. And that was -- that was the          4   Q       Okay. Do you agree with me that it
       5   reason for my comment.                               5   continues to read, "However, four independent
       6   Q        Okay.                                       6   Chinese laboratories using similar test method to
       7   A        I'm -- I'm trying to explain some of        7   the Chinese authorities did not find any
       8   the numbers.                                         8   asbestos. J&J approached RTM" --
       9   Q        I understand.                               9         Which is Rio Tinto Minerals.
      10          So it's more of a scientific                 10   A       Yeah.
      11   analysis --                                         11   Q       -- "for help in the issue. RTM
      12   A        Right, exactly.                            12   provided initial support in identifying potential
      13   Q        -- of here's how you could explain some    13   drawback of the test method used by the Chinese
      14   of the higher levels because they'd be associated   14   authorities. Chinese authorities invited J&J and
      15   with chlorite?                                      15   others concerned -- J&J, the other concerned talc
      16   A        Right.                                     16   body powder companies and the four independent
      17   Q        Okay.                                      17   Chinese laboratories whose asbestos test results
      18   MS. O'DELL:                                         18   were negative, to discuss and resolve the test
      19          This is the document I think that he         19   method discrepancies."
      20   was asking you about.                               20         I read that right?
      21   THE WITNESS:                                        21   A       Yeah. Sure.
      22          Okay.                                        22   Q       Okay. So, again, you're not noting in
      23   MR. FROST:                                          23   here that there's a question as to whether or not
      24   Q        All right. Gonna move on to China now.     24   the Chinese talc findings of chrysotile are
                                                                             70 (Pages 274 to 277)
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       1   correct; right?                                      1           Excuse me. Just give me a second,
       2   MS. O'DELL:                                          2   Jack.
       3          Object to the form.                           3   MR. FROST:
       4   A        Well, sure. I mean, it's a report           4           Sure.
       5   of -- of asbestos in a particular sample. And it     5   MS. O'DELL:
       6   doesn't mean you can't take more samples that are    6           Were you finished? I apologize. I was
       7   asbestos-free.                                       7   trying to get --
       8   MR. FROST:                                           8   MR. FROST:
       9   Q        Okay. And, again, do you know -- do         9           Yeah. You can object.
      10   you know if the Chinese authorities ever had the    10   MS. O'DELL:
      11   conversation with the various labs that tested      11           Object to the form. Misstates the
      12   whether or not they ever came to the                12   record.
      13   determination that there truly was chrysotile?      13   MR. FROST:
      14   A        I think --                                 14   Q        Okay.
      15   MS. O'DELL:                                         15   A        Yeah. I don't remember exactly what
      16          Excuse me.                                   16   the -- the resolution was, but I don't think
      17          Object to the form. Misstates the            17   everybody quit -- quit using the Chinese talc
      18   record.                                             18   because of the -- the results of that -- of that
      19   MR. FROST:                                          19   test.
      20   Q        You can answer.                            20   Q        All right.
      21   A        I think that there is a whole series of    21   A        But it doesn't -- to me, it doesn't
      22   memoranda and reports that relate to, you know,     22   mean there was no asbestos.
      23   it was the bee in the bonnet here. And I don't      23   Q        Okay. I'm gonna mark JNJ52616.
      24   remember the exact details of who did what to       24           (DEPOSITION EXHIBIT NUMBER 26
                                                Page 279                                                Page 281
       1   whom, but I think in the end they decided that it    1          WAS MARKED FOR IDENTIFICATION.)
       2   must have been a mistake.                            2   A       For -- you know, let me just give you
       3   Q        Okay.                                       3   an example. If these people determined asbestos
       4   A        They didn't prove it was a mistake, but     4   with XRD, it's a pretty good chance that it was
       5   I think that that was the consensus.                 5   certainly higher than .1. I would guess that
       6   Q        That was the ultimate determination?        6   their equipment wouldn't -- wouldn't get it down
       7   Okay.                                                7   that low. So they must have -- they must have
       8   A        You know, I'm experienced with the          8   seen something.
       9   Chinese, and -- and, in the first place, they        9   MR. FROST:
      10   would never report talc if it would damage their    10   Q       But, again, you're only guessing at
      11   competitive market for a product. They would        11   this point; correct?
      12   have never reported asbestos in talc. So it         12   A       Yeah, I'm guessing.
      13   seemed to me kind of odd that they -- that they     13   MS. O'DELL:
      14   did it in the first place if there was any          14          Object to the form.
      15   question about it.                                  15   MR. FROST:
      16           The -- the analytical equipment             16   Q       All right. Let's look at the document
      17   available in China is, you know, some's good and    17   that's marked 26. And if you turn to the second
      18   some's bad.                                         18   page under Section 3, "Observation," about
      19   Q        Okay. But, again, you agree -- you         19   halfway down the last full paragraph in that --
      20   know, your recollection is the ultimate             20   that box, it states, "The samples were reprepped
      21   determination was that it was a mistake --          21   and analyzed on 2-22-2016. It indicated the
      22   A        It kind of --                              22   sample and ID number 3138494 had multiple
      23   Q        -- it ---                                  23   chrysotile particles. Reproduction could not
      24   MS. O'DELL:                                         24   duplicate the original results."
                                                                             71 (Pages 278 to 281)
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                                                Page 282                                                  Page 284
       1          I take it that's the section of this          1   I mean, it isn't gonna work.
       2   document you're relying on --                        2   MR. FROST:
       3   A        Yes.                                        3   Q       Okay. You agree that's what the
       4   Q        -- to say that chrysotile was found in      4   document says; right?
       5   2016?                                                5   A       Yeah. You read it -- you read it the
       6   A        Yes.                                        6   way it's written, but...
       7   Q        Okay. If you turn over to the next          7   Q       All right. I'm gonna turn to some more
       8   page.                                                8   general questions now.
       9   A        Can I make a comment about that?            9          Now, you're generally aware that there
      10   Q        Sure.                                      10   are various regulations regarding ore reserve
      11   A        It's amazing how many reanalyses end up    11   reporting, models of deposits, mine plans, things
      12   with nothing in them. And unless you know how       12   like that that miners have to abide by; correct?
      13   they're re- -- resampling and reanalyzing, you're   13   MS. O'DELL:
      14   really not sure what's going on here. If they       14          Object --
      15   had a split of the original sample and came up      15   A       You said regulations?
      16   with nothing when the first split had something,    16   MR. FROST:
      17   they should have run it a third time.               17   Q       Yeah, regulations.
      18   Q        Okay. Well, let's look over to the --      18   MS. O'DELL:
      19   to page 4, or the fourth page of this. I don't      19          Object to the form.
      20   believe it has page numbers.                        20   MR. FROST:
      21   A        Okay.                                      21   Q       Or laws and regulations.
      22   Q        About halfway through that paragraph it    22   MS. O'DELL:
      23   states, "Retest samples were reanalyzed using       23          Object to the form as vague as to time
      24   specific talc parameters on the XRF which should    24   and location.
                                                Page 283                                                  Page 285
       1   have been applied when the original samples were     1   A       Yeah. The -- this -- you must be
       2   analyzed."                                           2   talking about state-specific things.
       3   A        With XRF?                                   3   MR. FROST:
       4   Q        XRF. I'm just reading from the              4   Q       Let me -- the SEC, for example, has
       5   document.                                            5   mining regulations. Are you aware of those?
       6   A        Uh-huh.                                     6   A       Did you say SEC?
       7   Q        "They were not applied because the          7   Q       I said SEC.
       8   analyst who typically runs the XRF was out of the    8   A       Like Southeastern Conference?
       9   office and her backup did not apply the              9   Q       No. Like the Securities Exchange
      10   talc-specific settings."                            10   Commission.
      11           Did I read that correctly?                  11   A       Yeah. I think that in the sense that
      12   MS. O'DELL:                                         12   if you're a publicly traded company, there's
      13           Object to the form.                         13   certain data that has to be made available.
      14   A        Yeah. I --                                 14   Q       Okay. And there are also -- you know,
      15   MR. FROST:                                          15   there's also JORC? Have you ever heard of JORC,
      16   Q        Do you agree with me that what they're     16   the Joint --
      17   saying there is that the first tested was because   17   A       I've heard of it. I don't know what it
      18   of poor lab procedure?                              18   is.
      19   MS. O'DELL:                                         19   Q       Okay. And there's other bodies. EPA
      20           Object to the form.                         20   has regulations. State regulators have
      21   A        I'm not sure that's what it says, but      21   regulations. So you agree there's a body of law
      22   I'm -- and I'm puzzled about the use of XRF.        22   in regulation, right, that relates to mining?
      23   I -- I would think that they would -- they had to   23   A       There are --
      24   have been XRD. You can't do XRF with asbestos.      24   MS. O'DELL:
                                                                             72 (Pages 282 to 285)
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                                                Page 286                                                Page 288
       1          Object to the form. Vague. It's               1   would, you know, cover, for example, the Windsor
       2   unclear what you're asking.                          2   Minerals operations in Vermont?
       3          But if you understand the question --         3   A        I don't see how it would be that
       4   but don't speculate as to what it means.             4   different from anything else, any other
       5   A       I -- I -- I think I understand it.           5   operation.
       6          The states, when you're gonna open up a       6   Q        Okay. But, sitting here today, can you
       7   mine, require certain information to be presented    7   tell me that -- what the regulations are that
       8   in support of, really, your reclamation plan.        8   they're required to follow?
       9   But in order to present a good reclamation plan,     9   A        Well --
      10   you have to give them information about the         10   MS. O'DELL:
      11   mining, the length of the mining operation, its     11          Object- -- objection as to 1965 to
      12   life, and some details about what you're doing.     12   2000 --
      13          So each state can have slightly varying      13   MR. FROST:
      14   requirements for that. But the whole idea is        14          Sure. I'm just asking generally if
      15   they want your money. They want you to put up a     15   he's aware of any of the -- the regulations that
      16   reclamation bond. And in order to figure out        16   are required, and then we can sort of focus in
      17   exactly how hard to squeeze, they need some         17   from there.
      18   information.                                        18   MS. O'DELL:
      19   MR. FROST:                                          19          Well, you asked a question that relates
      20   Q       Okay. I'll ask it a different way           20   to today at Windsor Minerals. And I don't think
      21   because I'm not just focusing in on reclamation.    21   Windsor Minerals is operating --
      22          But are you aware that there are             22   MR. FROST:
      23   regulations and standards out there that mines      23          It -- it doesn't --
      24   have to follow regarding things like, you know,     24   MS. O'DELL:
                                                Page 287                                                Page 289
       1   for example, model -- you know, how to model a --    1          -- in Virginia -- Virginia -- Vermont
       2   how -- how to model a deposit, mine plan, things     2   today.
       3   of that nature?                                      3   MR. FROST:
       4   MS. O'DELL:                                          4   Q       I'm not limiting my question today.
       5          Object to the form.                           5   I'm just saying in general.
       6   A        I have never been required to turn in a     6          So I'll put it this way. I think we
       7   mine plan to a regulatory agency. But what I         7   established at the beginning you're not a
       8   have had to turn in were the data necessary for      8   regulatory expert, nor do you hold yourself out
       9   them to issue water permits and air permits.         9   to be a regulatory expert. Correct?
      10   And -- and those require some modeling.             10   MS. O'DELL:
      11          I have an interest in three operating        11          Object to the form.
      12   mines right now. We've never been asked to          12   A       I know a lot about it.
      13   submit our detailed mining plans.                   13   MR. FROST:
      14   MR. FROST:                                          14   Q       Okay.
      15   Q        Okay. So you're getting very focused       15   A       I don't know that I'm an expert. But
      16   in on -- on examples. So I guess is it fair to      16   I've had to comply with regulatory rules and
      17   say you're not an expert in nor are you             17   regulations. And if I was going to go and get a
      18   particularly familiar with, like, the JORC          18   mine permit right now --
      19   specifications that require talc mines?             19          Let's just use Alabama, because I know
      20   A        Like I said, I've heard of JORC and        20   enough about Alabama.
      21   I -- but I don't know anything about it.            21          -- there's three permits required in
      22   Q        Okay. And you also couldn't tell me,       22   Alabama. There is an air permit. You've got to
      23   you know, other than a couple examples, you're      23   prove that the operation that you're gonna open
      24   not an expert in the regulatory requirements that   24   up is not going to exceed a certain level of
                                                                             73 (Pages 286 to 289)
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       1   particulate matter in the air, food, your            1   Q        No. Its yearly ongoing operations.
       2   operation.                                           2   A        Yeah. Okay. This is all totally
       3          If you're gonna discharge water, you've       3   different, then. Yeah. That's when MSHA gets
       4   got to have a water permit. If you --                4   involved with you.
       5          You have to have what we call bugs and        5   Q        Okay. And MSHA's one, and there are
       6   bunnies study. You've got to prove there's no        6   lots of regulatory agencies; correct?
       7   endangered species.                                  7   A        Yeah. Well, around here, MSHA's the
       8          You've got to have an anthropological         8   one that you fear. Because when they show up,
       9   study that proves that you're not impacting a        9   you're gonna get fined. I mean, they pay for
      10   site of, you know, Indians.                         10   their visit here to your property.
      11          And then the final thing is you've got       11          And, so, there's a list of things that
      12   to get a state mining permit. And in Alabama,       12   they look at that's as long as your arm. And if
      13   the state mining permit is virtually a rubber       13   they can't find one of them out of compliance,
      14   stamp. It may not be in other states. But in        14   they'll generate one.
      15   Alabama, that's -- that's what you've got to do.    15   Q        Okay. So other than the MSHA
      16   And, I mean, I've done that three or four times     16   requirements, which are health and safety, can
      17   in the last ten years.                              17   you tell me any of the other --
      18   Q        All right.                                 18          You know, I've mentioned JORC. It
      19   A        And, so, I would assume -- I would         19   seems like you're not familiar with the JORC
      20   assume -- and, of course, there is -- once you      20   requirements. Correct?
      21   say you're gonna -- gonna operate, you need to      21   A        If I am, it's under another name or
      22   post your reclamation bond. And that then           22   another agency applies their -- whatever their
      23   requires you to present certain information. In     23   regs are.
      24   our -- in Alabama, it's to a State Department.      24   Q        Okay. But, sitting here, you know, you
                                                Page 291                                                 Page 293
       1   Q       Okay. I'll ask it a different way.           1   certainly can't say --
       2          Sitting here today, you can't tell me         2          For example, we don't need to go --
       3   what rules, laws, and regulations specifically       3          A lot of the mine reports from -- from
       4   oversaw and that Windsor Myer -- Windsor Minerals    4   the various miners talk about, you know,
       5   was required to abide by from the period of 1965     5   complying with JORC specifications. You couldn't
       6   to the late 1990s when they were supplying talc      6   tell me what those specifications --
       7   to Johnson & Johnson. Is that a fair statement?      7   A       What does JORC stand for?
       8   A       In the late 1990s, I think I gave you        8   Q       Joint Ore Reserve Commission.
       9   some just now that they would have had to comply     9   A       No.
      10   with.                                               10   Q       Okay. And you certainly don't list any
      11   Q       Okay. I'm not talking about some. I'm       11   of the laws, regulations, and requirements within
      12   talking about can you tell me the regulatory        12   your report, right, that --
      13   requirements that Windsor Minerals would have       13   A       No.
      14   been required to follow with respect to their       14   Q       -- mining companies --
      15   mine and their mining practices?                    15   A       I bet you there's some mining companies
      16   MS. O'DELL:                                         16   out west that would love to know about this.
      17          Object to the form.                          17   Q       Okay. But, again, focusing on your
      18   A       Is this once the mine is in operation?      18   report, you certainly don't list any of the laws,
      19   MR. FROST:                                          19   regulations, requirements.
      20   Q       When the mine is operating.                 20   A       No.
      21   A       Oh, okay. I'm sorry. I thought you          21   Q       And you're not intending to offer any
      22   were talking --                                     22   opinions --
      23   Q       No. I'm talking about --                    23   A       No.
      24   A       -- about trying to open up the mine.        24   Q       -- about compliance with laws,

                                                                             74 (Pages 290 to 293)
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       1   regulations, and requirements in this case.          1   MS. O'DELL:
       2   A        No. But you're gonna make me go and         2           Object to the form.
       3   look some stuff up.                                  3   A         I have -- I have not. It's -- it's
       4   Q        Sure.                                       4   insufficient to -- to work with.
       5          And would you agree with me that              5   MR. FROST:
       6   compliance with laws, requirements, regulations      6   Q         And, again, you know, you've -- you've
       7   is one of the things --                              7   run no analysis to determine --
       8          Strike that. I'll ask it differently.         8           Well, we'll turn to the specifics when
       9          You talk quite a bit in your report           9   we get to them.
      10   about sampling methodologies. And do you agree      10           But don't you agree that it's important
      11   with me there are probably thousands of papers      11   as a scientist, when you're making a
      12   that have been published about sampling             12   determination that something is complete or not,
      13   methodologies, you know, how to determine whether   13   that it's based on the theories of peer-reviewed
      14   or not a sample is representative of a greater      14   literature?
      15   group of ore and things like that; right?           15   MS. O'DELL:
      16   MS. O'DELL:                                         16           Object to the form.
      17          Object to the form.                          17   A         Is complete or not?
      18   A        I'm sure there's --                        18   MR. FROST:
      19          Pardon me.                                   19   Q         Yes. Like here, such as -- you know,
      20          I'm sure there -- I don't know that          20   your overall opinion that the sampling, for
      21   there's thousands, but I know there's a lot.        21   example, done by the mining company is a
      22   MR. FROST:                                          22   representative. As a scientist, don't you agree
      23   Q        Okay. And there are a bunch of             23   with me that it's important to base those
      24   competing theories or different theories, anyway,   24   opinions on empirical data?
                                                Page 295                                                 Page 297
       1   about how to do sampling, how to calculate,          1   MS. O'DELL:
       2   things of that nature; correct?                      2          Object to the form.
       3   A        I don't know how competing they are. I      3   A        It needs to be based on data. It sure
       4   know that they evolve with time. If you took a       4   does. I mean, and I think I've based my opinion
       5   good paper that tried to hammer all this out that    5   on data and the lack thereof.
       6   was published in 2015 and compared it to one that    6   MR. FROST:
       7   was written in 1985 --                               7   Q        But you didn't run or attempt to run
       8   Q        There'd be some differences.                8   any type of statistical analysis to determine
       9   A        Right. There might be competitive           9   whether or not the sample was truly
      10   ideas in there.                                     10   representative, the sample was --
      11   Q        But you do agree with me sort of the       11   MS. O'DELL:
      12   underlying principle under most of the different    12          Object to the form.
      13   theories is that you have to use geostatistics to   13   A        No. And my point was that there's --
      14   determine whether or not what you're sampling is    14   there's -- they're missing -- there are intervals
      15   itself representative of the ore body; correct?     15   in time where there's missing data.
      16   MS. O'DELL:                                         16   MR. FROST:
      17           Object to the form.                         17   Q        Okay.
      18   A        You -- yeah. You would hope that that      18   A        When you have that, you can't do much.
      19   would happen.                                       19   Q        And you also agree with me, then, that
      20   MR. FROST:                                          20   your opinions regarding the adequacy of the
      21   Q        Okay. And am I also correct that you       21   sampling is based on an incomplete data set?
      22   have not done any geostatistical analysis of any    22   MS. O'DELL:
      23   of the sampling data from either                    23          Object to the form.
      24   Johnson & Johnson or Imerys in this case?           24   A        It's -- it's worse than that. The
                                                                             75 (Pages 294 to 297)
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       1   sampling mechanisms are not described. There'll      1   well know.
       2   be a place where it'll describe or will mention      2   A       They have not suggested to me that
       3   mechanical sampling, but it doesn't say when the     3   they've withheld anything. Whenever I've asked
       4   mechanical sampler was put in place to take the      4   for something, if they got it, they give it to
       5   place of, say, a grab sample. Doesn't say what       5   me. If they don't, I never see it.
       6   type of mechanical sampler it was. Is it             6   MR. FROST:
       7   something that's sampling continuously or once an    7   Q       But you're guessing that they're giving
       8   hour an arm sweeps across a conveyor belt and        8   you everything. You have no way of telling me
       9   grabs a sample? There are all kind of samplers.      9   whether or not --
      10          And when you've got some- -- something       10   A       I don't know --
      11   as critical as -- as your cosmetic talc that        11   Q       -- they are --
      12   really requires, you know, careful attention, I     12   MS. O'DELL:
      13   would like to have seen exactly where in the        13         Excuse me. Are you finished with your
      14   various process this sampling was taking place.     14   question?
      15          And there -- there are references to         15   MR. FROST:
      16   sampling at the mine itself, and we can't -- we     16         Yeah. I'm finished.
      17   haven't seen the data. And yet there should be      17   MS. O'DELL:
      18   hundreds and hundreds and hundreds of analyses of   18         Object to the form.
      19   drill hole cuttings that are being put in as        19         You may answer.
      20   blast holes. You know, I'm sure that if you're      20   A       I don't know that that's a guess.
      21   gonna do selective mining, you don't use a drill    21   MR. FROST:
      22   hole spacing that's 10 feet on a -- on a side.      22   Q       Well, you certainly have done nothing
      23   That's what we use in the quarry. And we get        23   independently, nor have you been able to, to
      24   huge amounts of rock.                               24   verify that; correct?
                                                Page 299                                                 Page 301
       1           If I was gonna be selectively mining         1   A        I've tried to break into their offices
       2   talc, I would have smaller faces, tighter holes.     2   at night and see -- see if they had a big pile of
       3   I would be -- I wouldn't be having more than a       3   data they should have sent to me.
       4   few thousand tons per blast. But I would know        4   Q        Well, did you ever ask if you could
       5   exactly what I was fixing to blast and -- and        5   have access to the full database --
       6   that data, there are documents to indicate that      6   A        I'm --
       7   the data sufficient to move in that direction        7   Q        -- of documents?
       8   exists. But we never got it.                         8          I'm not -- I know you're being
       9   Q        Okay.                                       9   facetious.
      10   A        We've asked for it.                        10   A        Yeah.
      11   Q        And that's -- that's very important.       11   Q        But have you ever asked to have full
      12   Because one I think we've already established,      12   access to the document database of the
      13   you have no way of telling whether or not you       13   documents --
      14   actually have all the documents that are            14   A        If they're --
      15   relative -- are relevant to these points;           15   Q        -- provided by Johnson & Johnson and
      16   correct?                                            16   Imerys?
      17   MS. O'DELL:                                         17   MS. O'DELL:
      18           Object.                                     18          Object.
      19   MR. FROST:                                          19   A        Pardon me.
      20   Q        You have only what plaintiffs' counsel     20          No, certainly not, because of the
      21   has deemed to give you.                             21   number involved. What would I do with 800,000
      22   MS. O'DELL:                                         22   documents?
      23           Object to the form. Based on what was       23   MR. FROST:
      24   disclosed and produced in the litigation, as you    24   Q        And you've never run any searches
                                                                             76 (Pages 298 to 301)
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                                           Robert Cook, Ph.D.
                                                Page 302                                                 Page 304
       1   yourself against the database?                       1   MS. O'DELL:
       2   A       No.                                          2           Objection to form.
       3   Q       So, again, you're just relying on what       3   A        I'm not saying that at all. I am not
       4   plaintiffs have given to you.                        4   saying that. I'm saying that we have asked for
       5   MS. O'DELL:                                          5   all of the data. And if what I've been given is
       6          Object to the form.                           6   all you've got, then fine. That's fine with me.
       7   A       I have absolutely no reason to doubt         7   But I'm not saying that I've got -- that there's
       8   the honesty of Miss O'Dell and company.              8   a data set out there that you guys have held back
       9   MR. FROST:                                           9   and not bothered to send in. I'm not gonna say
      10   Q       Well, I can tell you you don't have the     10   that.
      11   complete copy -- complete compilation of all of     11   MS. O'DELL:
      12   the --                                              12           We've been going about an hour. Let's
      13   A       Well, one might ask why not since we've     13   take a short break.
      14   asked for them over and over again.                 14   MR. FROST:
      15   Q       I'm talking about the documents you         15           That's fine.
      16   have, sir. I can tell you there are testing         16   VIDEOGRAPHER:
      17   results, for example, that aren't provided --       17           Going off the record. The time is 2:44
      18   A       Well --                                     18   p.m.
      19   MS. O'DELL:                                         19               (OFF THE RECORD.)
      20          Object to --                                 20   VIDEOGRAPHER:
      21   MR. FROST:                                          21           We're back on the record. The time is
      22   Q       We'll go over some of them later.           22   3:01 p.m.
      23   MS. O'DELL:                                         23   MR. FROST:
      24          Object to the form.                          24   Q        I've sort of come up with another
                                                Page 303                                                 Page 305
       1   MR. FROST:                                           1   general question I forgot to ask. But would you
       2   Q        And we'll go over some of those later.      2   agree with me that compliance with legal
       3   But, again --                                        3   standards is an important consideration in
       4          So what we heard a lot of is you're not       4   determining whether or not a mine is being
       5   saying I've reviewed all the documents and I know    5   properly operated?
       6   they're not using the correct equipment. It          6   A       Yes.
       7   sounds like your opinion more is "I can't tell       7   Q       All right. Turn to page 37 of your
       8   what they're using and there's incomplete data       8   report.
       9   here," and that's sort of the basis for your         9   A       Okay.
      10   opinion. Is that -- is that a fair observation?     10   Q       Okay. The second full sentence on that
      11   MS. O'DELL:                                         11   page, it says, "Ore sampling techniques do not
      12          Object to the form.                          12   suggest representativeness and were questioned in
      13   A        Not -- not really. I mean, it's part       13   a 2009 Intertek audit." And you cite Imerys
      14   of it. It's part of what I see, and the total       14   031712.
      15   document set that I've got is a suggestion that     15   A       I think that's with respect to Chinese
      16   there's sampling going on. But even -- even if      16   talc.
      17   the sampling is taking place, we don't have         17   Q       Okay.
      18   analytical results for samples that should have     18   A       Okay.
      19   been taken. And, so, it's very difficult to use     19   Q       Let's -- let's take a look at that
      20   anything other than what we've got to draw          20   document real quick.
      21   conclusions from.                                   21   MS. O'DELL:
      22   MR. FROST:                                          22         031712?
      23   Q        Okay. You agree with me you're drawing     23   MR. FROST:
      24   conclusions based on an incomplete record.          24         031712, yes.
                                                                             77 (Pages 302 to 305)
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                                           Robert Cook, Ph.D.
                                                Page 306                                                 Page 308
       1           What number are we at?                       1   A       That's true.
       2   THE COURT REPORTER:                                  2   Q       Okay. We'll turn to 631362.
       3           27.                                          3         (DEPOSITION EXHIBIT NUMBER 28
       4          (DEPOSITION EXHIBIT NUMBER 27                 4          WAS MARKED FOR IDENTIFICATION.)
       5           WAS MARKED FOR IDENTIFICATION.)              5   MR. FROST:
       6   MR. FROST:                                           6   Q       And I'll direct your attention to page
       7   Q         I'll call your attention to page 5.        7   364, which is the callout from the report.
       8   A         Okay.                                      8   MS. O'DELL:
       9   Q         The first audit area, I take it that's     9          Bates number 364 at the end?
      10   what you're referencing --                          10   MR. FROST:
      11   A         Yes.                                      11          That's correct. So it's 631364.
      12   Q         -- in the sample.                         12   A       Got it.
      13   A         Uh-huh.                                   13   MR. FROST:
      14   Q         Okay. And, again, you'd agree with me     14   Q       Okay. And if you look down at number
      15   that Intertek rates this audit area as minor;       15   14 --
      16   correct?                                            16          Well, first off, do you agree that this
      17   A         I'm looking for a level 5 on here. I'm    17   is a Certificate of Analysis from the mining
      18   not seeing -- I'm not seeing the level.             18   company, the Chinese mining company?
      19   Q         It's under the box that goes audit        19   A       Yes.
      20   area, finding, recommendation, and then rating.     20   Q       Okay. And if you look down at 14, the
      21   Is -- is the bottom.                                21   document's been translated and it says: In the
      22   A         Oh, the rating. I see it. Yeah.           22   absence of asbestos, China SFDA method, none
      23   Q         Then it says "minor."                     23   detected by X-Ray Diffraction, none detected as
      24   A         Right. Right. Sure.                       24   fibrous amphibole by Polarized Light Microscopy,
                                                Page 307                                                 Page 309
       1   Q        Okay.                                       1   performed only if detected by X-ray diffraction,
       2   A        Excuse me. I was looking for the            2   et cetera.
       3   letter -- the number 5.                              3          So do you agree with me that this is
       4   Q        Oh. The number. Oh, okay. Sorry. It         4   the mine owner certifying that they've tested the
       5   was page 5. I apologize if I caused confusion.       5   talc and it's come up as asbestos-free?
       6   A        Well, 5 is the rating for minor.            6   MS. O'DELL:
       7   That's their minor rating.                           7          Object to the form.
       8   Q        Oh, I see.                                  8   A       It does not say that. It says they
       9           So you'd agree with me that whatever         9   were unable to detect it with those techniques.
      10   concerns they may have addressed, they rated this   10   And the limit of detection's like .1. So that's
      11   as a minor concern?                                 11   not what this says.
      12   A        To them?                                   12   MR. FROST:
      13   Q        Yes.                                       13   Q       Well, it says "Absence of asbestos,
      14   A        Yes.                                       14   none detected."
      15   Q        Okay. Further down on page 37 of your      15          Do you agree with me there?
      16   report, next paragraph, sort of in the middle,      16   A       That is -- that is the problem. They
      17   you note that "As recently as 2016, Chinese         17   use this word "absence of asbestos" in their --
      18   testing for asbestos is implied in a Guilin         18   their Certificates of Analyses, and yet the
      19   Guiguang talc development company document,         19   technique they're using can't justify that.
      20   JNJ631362 at 364."                                  20   Q       So the reason you use the word
      21           And then, further down, the next            21   "implied" is because they're using a nondetect
      22   sentence, you wrote, "I have not seen any data      22   standard as opposed to saying what? Non -- no
      23   confirming this."                                   23   asbestos?
      24           Did I read that correctly?                  24   A       Correct.
                                                                             78 (Pages 306 to 309)
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                                            Robert Cook, Ph.D.
                                                 Page 310                                                Page 312
       1   Q       But, again, they're testing it by, you       1   not gonna know.
       2   know, China SFDA method; correct?                    2          And, so, it's improper for them to say
       3   MS. O'DELL:                                          3   that there's no asbestos there. They should say
       4          Object to the form.                           4   no asbestos was detected. It's very simple.
       5   A       Their FDA method isn't necessarily           5   MR. FROST:
       6   consistent with what J&J would like.                 6   Q       Again, isn't that what they're saying,
       7   MR. FROST:                                           7   absence of asbestos showing the Chinese method
       8   Q       Okay. But, again, we have testing            8   and saying none detected?
       9   here. They're doing it by x-ray diffraction, and     9   A       No.
      10   then polarized light microscopy is what the --      10   Q       I don't -- I don't understand. The
      11   the notation says.                                  11   words they're using on this paper are exactly
      12   A       Right.                                      12   what you're explaining to me.
      13   Q       Correct?                                    13   A       No, they're not.
      14   A       Correct.                                    14   Q       I'm confused. All right. So it says
      15   Q       And you have no reason to doubt that --     15   absence of asbestos.
      16   or to say that the Chinese mine owner is lying on   16   A       Stop.
      17   their Certificate of Analysis; right?               17   Q       Right?
      18   MS. O'DELL:                                         18   A       Stop right there. Absence of asbestos
      19          Object to the form.                          19   means there is none there. Correct?
      20   A       When he says "free from asbestos," he       20   Q       Well, that's -- under the test items,
      21   may be lying.                                       21   that's why --
      22   MR. FROST:                                          22          So if you look up, test items, it says,
      23   Q       And why --                                  23   "Test, absence of asbestos." Right? Then it
      24   A       I mean, they do it all the time.            24   says, "Test method: China, SFDA method." And
                                                 Page 311                                                Page 313
       1   Believe me. I mean, that's not unusual. But --       1   then, under acceptance of criteria, it says "none
       2   but I'm not accusing them of lying. I'm saying       2   detected."
       3   that there is a confusion of terminology is all.     3   MS. O'DELL:
       4   Q       Okay. And you believe the confusion of       4          Object to the form.
       5   the terminology is that absence of asbestos, none    5   A       That does not mean absence. I mean,
       6   detected --                                          6   the two do not mean the same thing. That's --
       7   A       They don't mean the same thing.              7   that's my point.
       8   Q       -- implies --                                8   MR. FROST:
       9   A       They do not mean the same thing.             9   Q       So --
      10   Q       Okay. And you don't believe that they       10   A       When you --
      11   are certifying here that, pursuant to the Chinese   11          Listen, this isn't that difficult.
      12   FSDA method, that this is, you know, certified as   12   When you say that you can't detect something, it
      13   absent of asbestos?                                 13   doesn't mean it isn't there. It may be there but
      14   A       If they're certi- --                        14   in a level lower than your detection limit. So
      15   MS. O'DELL:                                         15   when they're using those two techniques, there is
      16          Object to the form.                          16   a lower detection limit that -- that is really
      17   A       If they're certifying it as                 17   inadequate, I think, for Johnson & Johnson's
      18   asbestos-free, then if I were Johnson & Johnson,    18   purposes. Because you can't say that something
      19   I wouldn't -- I wouldn't be accepting that,         19   is absent if you can only detect down to a tenth
      20   because we've known all along that .1 is the        20   of a percent. And that's what's going on here.
      21   lower detection limit using that -- that            21   Q       Okay. And that's --
      22   technique. So you could have .05 percent            22   A       This is very simple.
      23   chrysotile in the sample, and their nondetect       23   Q       And that's just your opinion; right?
      24   wouldn't ever say that. I mean, they just are       24   A       No. No. That's not my opinion, no,
                                                                             79 (Pages 310 to 313)
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                                           Robert Cook, Ph.D.
                                               Page 314                                                 Page 316
       1   sir.                                                1   Q        That's the test. You agree with me
       2   Q       Let me ask my question. That's just         2   that's the test, and then the results are
       3   your opinion, but we've already established the     3   truthfully reporting as you're requiring, because
       4   FDA J4-1 method that they're required to test       4   it says "none detected."
       5   requires XRD; correct?                              5   A        Correct.
       6   A       Absolutely.                                 6   MS. O'DELL:
       7   Q       And we've already established that          7           Objection. Objection to form.
       8   you're not an expert and can sit here and say       8           Just give me a moment.
       9   that asbestos below a level of .1 percent is        9   MR. FROST:
      10   capable of causing human disease; correct?         10   Q        And, again, and you're saying that this
      11   MS. O'DELL:                                        11   is only an implication that there's not asbestos
      12          Object to the form.                         12   in this product because you disagree completely
      13   A       Human disease I'm not an expert in.        13   with the --
      14   MR. FROST:                                         14   A        I'm not --
      15   Q       Yeah. Exactly.                             15   Q        -- required testing method.
      16   A       So that has nothing to do with this.       16   MS. O'DELL:
      17   Q       And, again, they're saying free --         17           Let him finish, please.
      18   they're not saying there's no asbestos in here.    18   THE WITNESS:
      19   They're saying --                                  19           Sure. I'm sorry.
      20   A       Yes, they are.                             20   MS. O'DELL:
      21   Q       No.                                        21           And then let me do the object- --
      22   A       They say an absence of asbestos.           22           Object to the form.
      23   Q       That's the test name, if you look at       23   A        I don't think that there's an
      24   the column. They're saying none detected.          24   implication here at all. I think that this is
                                               Page 315                                                 Page 317
       1   A        If they say "none detected," that's        1   the crux of a large issue, and that is that J&J
       2   fine.                                               2   would like for their talc product to be
       3   Q        And that's -- isn't that exactly what      3   asbestos-free. And that's great.
       4   it says here?                                       4          But to say something is not detected
       5   A        It doesn't mean asbestos-free. So if       5   when your lower detection limit is actually quite
       6   they're putting this in the asbestos-free column    6   high, that doesn't show that something is absent
       7   and they're using that statement to show that       7   from your product. It doesn't show that it's
       8   it's asbestos-free, that's not right.               8   asbestos-free.
       9   Q        So, again, where in this document does     9          And "absent of" and "free of," if
      10   it say asbestos-free?                              10   you -- I mean, we can get out Webster's
      11   A        I thought that you said that's what the   11   dictionary if you want to and argue this. But I
      12   column was labeled.                                12   would say that -- that most people would say that
      13   Q        The test is absence of asbestos.          13   those two things mean the same.
      14   A        That's asbestos-free.                     14   MR. FROST:
      15   Q        And the -- no. It says absence of         15   Q        Okay. And, again, you'd agree with me
      16   asbestos. You are changing the words. Look at      16   that Johnson & Johnson requires that a particular
      17   the document.                                      17   test be run on its talc; correct?
      18   MS. O'DELL:                                        18   A        I think so.
      19           Object to the form.                        19   MS. O'DELL:
      20   MR. FROST:                                         20          Object to the form.
      21   Q        It says absence of asbestos.              21   MR. FROST:
      22   A        I'm not changing the words.               22   Q        Okay. And --
      23   Q        Well, where does it say asbestos-free?    23   MS. O'DELL:
      24   A        Isn't "absence of" mean free of?          24          As to asbestos or as to what?
                                                                            80 (Pages 314 to 317)
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                                            Robert Cook, Ph.D.
                                                Page 318                                                 Page 320
       1   MR. FROST:                                           1   problem.
       2           As to asbestos. Talking about                2   Q       Okay. Don't you agree with me that
       3   asbestos.                                            3   every method of testing has a lower limit of
       4   MS. O'DELL:                                          4   detection?
       5           Over time or --                              5   MS. O'DELL:
       6   MR. FROST:                                           6          Object to the form.
       7           We're talking -- you know, right now         7   A       That's -- that's tough. But I think,
       8   we're talking J4-1, right, that testing method,      8   in general, that's probably a pretty good
       9   the XRD testing method.                              9   statement.
      10   Q        You agree that that's the testing          10   MR. FROST:
      11   method that Johnson & Johnson and Imerys used;      11   Q       Okay.
      12   correct?                                            12   A       I think the day is gonna come when --
      13   A        That's right.                              13   when there will be equipment that's good enough
      14   Q        You also agree that that's the method      14   to say, you know, under any circumstances,
      15   that the FDA, you know, requires that talcum        15   there's none there.
      16   powder be tested for asbestos; correct?             16   Q       Okay.
      17   MS. O'DELL:                                         17   A       But I don't think we're quite there
      18           Object to the form.                         18   yet.
      19   A        I agree with all of that --                19   Q       Okay. And, going to your scenario, if
      20   MR. FROST:                                          20   you told your student to go test that sample
      21   Q        Yeah. That's what I'm saying.              21   using XRD --
      22   A        -- except that that doesn't prove that     22   A       Right.
      23   a product is free of asbestos. It only proves       23   Q       -- and he tested it and came back and
      24   that --                                             24   said no asbestos --
                                                Page 319                                                 Page 321
       1   Q       I'm not asking that, sir.                    1   A        Right.
       2   A       Well, but that's what it said over and       2   Q        -- you wouldn't fail him for that
       3   over again in the COAs is "free of." And they        3   because he was following the test; correct?
       4   need to say it's free of down to a detection         4   MS. O'DELL:
       5   level of .1 percent.                                 5           Object to the form.
       6   Q       So your opinion is you just don't like       6   A        No. I would. He should come back and
       7   the terminology they're using, but you have no       7   say, "Why did you tell me to go to the x-ray
       8   opinion that anything below a .1 would cause         8   machine to do this?"
       9   disease or be dangerous to human health?             9   MR. FROST:
      10   MS. O'DELL:                                         10   Q        So even though you told him to go --
      11          Object to the form.                          11   A        Yeah.
      12   A       No. You keep adding human health in         12   Q        So if you told somebody to go test
      13   there. I'm not -- I'm not trying to opine about     13   something using this test method, you would still
      14   human health. I'm just saying that if I had a       14   fail them when they came back and said "I used
      15   student and I handed him a sample and I said "Is    15   the test method you told me and it" --
      16   there any asbestos in this or not," and he goes     16   A        Well, it depends on what he comes back
      17   to the x-ray machine and comes back and says,       17   with. If he comes back and says, you know, "I
      18   "No, I couldn't find any by x-ray," I'll probably   18   know that there's a lower limit on the ability of
      19   give him an F.                                      19   this equipment to detect asbestos and, based on
      20   Q       Okay.                                       20   that, I can't find any in here," he gets an A.
      21   A       Because it doesn't mean that there's no     21   That's an A.
      22   asbestos in that sample. It means that he           22           If he comes back and he says, "Oh, I
      23   couldn't detect it down to the lower detection      23   went up there and kicked the machine two or three
      24   limit of that machine. And -- and therein is a      24   times, you know, it wouldn't spit out an asbestos
                                                                             81 (Pages 318 to 321)
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                                           Robert Cook, Ph.D.
                                                Page 322                                                 Page 324
       1   determination, so I don't think there is any,"       1   types 30 and 40) and talc/carbonate schist (ore
       2   well, I'd be irritated. That's not -- you know,      2   types 10 and 20.)"
       3   that's not a good -- a good answer to come back      3   A       Right.
       4   to the teacher.                                      4   Q       Okay. You agree with me that nowhere
       5   Q        Okay. And you'd agree with me that the      5   in here are they talking about ore type 66 which
       6   FDA knows that .1 percent is the lower detection     6   was used in Johnson & Johnson in its talcum
       7   limit on XRD? I mean, everybody sort of knows        7   powder?
       8   that.                                                8   MS. O'DELL:
       9   A        I think so, sure.                           9         Object to the form.
      10   Q        Okay. And still that's the test method     10   A       They don't mention it.
      11   that they've required; correct?                     11   MR. FROST:
      12   MS. O'DELL:                                         12   Q       Okay. And, then, also on page 2, if
      13          Object to the form. Misstates the law.       13   you look down to the next paragraph, second
      14   A        As far as I know today, it -- it is. I     14   sentence states, "Blast holes are analyzed for
      15   know that there are modifications being             15   brightness, talc, and arsenic content and the
      16   considered for sure.                                16   presence of amphiboles."
      17   MR. FROST:                                          17   MS. O'DELL:
      18   Q        Okay. But, as of today, you agree with     18         Where are you reading, Jack?
      19   me that that's --                                   19   MR. FROST:
      20   A        I think so.                                20         It's third paragraph, second sentence.
      21   MS. O'DELL:                                         21   MS. O'DELL:
      22          Object to the form.                          22         Okay. Thank you.
      23   MR. FROST:                                          23   MR. FROST:
      24   Q        Turn to page 37. Which I think we were     24   Q       Did I read that correctly?
                                                Page 323                                                 Page 325
       1   on page 37, weren't we?                              1   A       Right.
       2   A       Yeah.                                        2   Q       Okay. You'd agree with me that drill
       3   Q       So I'm gonna turn to the bottom              3   holes are production drill data; correct? That
       4   paragraph.                                           4   blast holes are part of the production drill data
       5   A       Okay.                                        5   a mine would produce?
       6   Q       The second sentence starts:                  6   MS. O'DELL:
       7   "Production drill data do not seem to include        7          Object to the form.
       8   asbestos (chrysotile or amphibole) testing, and      8   A       If you use them as such, yes. There --
       9   in relation to drill cores taken from the Hamm       9   there are plenty of companies that don't use them
      10   mine, for example, Imerys did not sample talc ore   10   other than just for blast holes.
      11   intervals containing visible fibrous amphibole."    11   MR. FROST:
      12   Then you say Imerys 238270.                         12   Q       Okay. But here it seems like they are,
      13          Did I read that correctly?                   13   because it says they're testing it.
      14   A       I think you did.                            14   A       Yes, correct. And that's -- you know,
      15   Q       Let's look at 238270.                       15   that's one of the reasons I cited this.
      16         (DEPOSITION EXHIBIT NUMBER 29                 16   Q       Okay. But, again, like you said, they
      17          WAS MARKED FOR IDENTIFICATION.)              17   do not seem to include asbestos, chrysotile, or
      18   MR. FROST:                                          18   amphibole. Don't they say directly here that
      19   Q       Do you recognize this document?             19   they're testing for the presence of amphibole?
      20   A       I do.                                       20   A       They do.
      21   Q       First I'll call your attention to the       21   Q       Okay.
      22   second paragraph on page 2. And it states,          22   A       My issue was we didn't have any test
      23   quote, "Generally speaking, there are two types     23   results for amphibole.
      24   of Hamm ore: Massive talc/carbonate "grit" (ore     24   Q       Okay. But, again, this document -- you
                                                                             82 (Pages 322 to 325)
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                                           Robert Cook, Ph.D.
                                               Page 326                                                  Page 328
       1   know, the statement you attribute to this           1   A        No, no. They're rejecting the analysis
       2   document is that production drill data does not     2   of it. They don't say they're rejecting the --
       3   seem to include asbestos, but it shows here         3   the ore. I mean, that -- that would be a
       4   they're specifically testing for it; correct?       4   completely different thing.
       5   MS. O'DELL:                                         5          If I -- if I was drilling at, say, Hamm
       6          Object to the form. That's not what          6   and pulled out a piece of drill core that had a
       7   his statement is in his report.                     7   foot of cross-fiber asbestos in it, I'd sure want
       8   MR. FROST:                                          8   to know everything about it, where it was, where
       9   Q        Okay. Well, I thought I read it            9   it went, is it truly asbestos, what's the
      10   correctly.                                         10   mineralogy, what's it associated with. I
      11          I'll also turn your attention to page       11   wouldn't remove it from the core and throw it
      12   4.                                                 12   away.
      13   A        Okay.                                     13   Q        So, based on this one single sentence
      14   Q        And the last sentence says, "Talc ore     14   in this one document, you are assuming that
      15   observed to contain fibrous amphibole was not      15   because they're not testing what they already
      16   included in a sample interval."                    16   have identified as fibrous amphiboles, that
      17          And that's what you note in your            17   they're including it in the ore?
      18   report; correct?                                   18   MS. O'DELL:
      19   A        Right.                                    19          Object to form.
      20   Q        Okay.                                     20   A        No, no. I didn't say that at all.
      21   A        Yeah, that would -- that -- I can't       21   MR. FROST:
      22   understand why they wouldn't have pulled it out,   22   Q        But -- so the whole point of testing's
      23   looked at it to see if it is truly asbestos or     23   to figure out where, for example, asbestos would
      24   not.                                               24   be and where it wouldn't be in the deposit;
                                               Page 327                                                  Page 329
       1   Q        Well, that -- that kind of becomes my      1   correct?
       2   question.                                           2   A        It's -- it's that and to determine
       3          Sorry. I didn't mean to interrupt him.       3   the -- the characteristics of the fibrous
       4   If you're not done -- sorry.                        4   amphibole.
       5   MS. O'DELL:                                         5   Q        And, again, if you're trying to come up
       6          You may finish.                              6   with a mine plan, you're trying to figure out
       7   A        Yeah. That was one of the reasons that     7   where you should take ore from and where you
       8   I mentioned this. And there -- there are other      8   shouldn't. Correct?
       9   places where it's pretty clear that they -- they    9   A        Correct. And this is -- I mean, this
      10   actually rejected core from analysis, and yet      10   is part of my point. I mean, what happens if the
      11   they mention amphiboles. And it was like, "Okay.   11   geologist that logged this core leaves and takes
      12   There's some amphibole. We're not analyzing this   12   another job and you hire somebody else? He has
      13   stuff." You got that feeling from looking at       13   to come in and pick up where the other guy left
      14   some of this material.                             14   off, and he's charged with helping to devise the
      15   MR. FROST:                                         15   mine plan, and that interval's gone.
      16   Q        Well, what would be the purpose of        16   Q        Let me -- that's a great question, too.
      17   testing something you already know contains        17   A        I mean --
      18   fibrous amphibole? Don't they already know         18   Q        No, no. Hold on.
      19   there's asbestos in that?                          19           Where in the sentence does it say
      20   A        To determine whether or not it really     20   they've left it out of the mine plan?
      21   is asbestos.                                       21   A        The mine plan isn't -- isn't mentioned
      22   Q        Well, if they're rejecting it because     22   here. I'm just using that as an example of
      23   it has fibrous amphibole, who cares if it is       23   how --
      24   actually --                                        24   Q        Well, I was gonna say --
                                                                            83 (Pages 326 to 329)
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                                           Robert Cook, Ph.D.
                                                Page 330                                                Page 332
       1   A       -- this could be very, very bad.             1   A       The concern is that they didn't pull it
       2   MS. O'DELL:                                          2   out and test it. And there are other -- there
       3          Let him finish.                               3   are other statements, maybe not in this
       4   MR. FROST:                                           4   particular document, where they actually talk
       5   Q       So you're speculating that because they      5   about removing the intervals and throwing them
       6   weren't specifically testing something they've       6   away.
       7   already identified as asbestos, that they're         7   Q       Okay. So, again, your whole basis is
       8   leaving it out of the mine plan?                     8   they've identified it's asbestos, but they
       9   A       Did they call that asbestos?                 9   haven't tested to see exactly what type of
      10   Q       They called it fibrous amphibole.           10   asbestos it is?
      11   A       Right.                                      11   A       Fibrous amphibole.
      12   Q       So --                                       12   MS. O'DELL:
      13          But you're saying the whole theory is        13          Excuse me.
      14   that somebody might come later and might not know   14   MR. FROST:
      15   what it is. But that means that this wasn't         15   Q       Okay.
      16   included on a mine plan.                            16   MS. O'DELL:
      17   A       That's not what I said.                     17          Excuse me. Just let me object.
      18   Q       So you're drawing a --                      18   MR. FROST:
      19          No, no?                                      19          Okay.
      20          You're drawing a lot of conclusions          20   MS. O'DELL:
      21   that aren't supported by this document. Do you      21          Give me a minute.
      22   agree with me?                                      22   THE WITNESS:
      23   A       That is not --                              23          Sure.
      24   MS. O'DELL:                                         24   MS. O'DELL:
                                                Page 331                                                Page 333
       1          Excuse me.                                    1          Don't interrupt him.
       2   A        That is not what I said.                    2   MR. FROST:
       3   MR. FROST:                                           3   Q       Okay. Can you turn to page 1, please.
       4   Q        Okay. Let's turn to page --                 4   MS. O'DELL:
       5   A        I did not say that.                         5          Object to the form.
       6   MS. O'DELL:                                          6          Have you finished your answer, Doctor?
       7          He's not finished yet.                        7   If you have, fine.
       8   A        This is very simple. When you're            8   MR. FROST:
       9   logging drill core, if you see something that's      9          Yeah. I was actually in the middle of
      10   suspect, you don't ignore it. You pull it out,      10   a question. You interrupted me, Leigh.
      11   you test it, you make notes about it, and, if       11   Q       So can we turn back to page 1, please?
      12   you're having to use it in a mine plan, you make    12   MS. O'DELL:
      13   damn sure that the people that come behind you      13          My apologies. It's hard to tell
      14   know that you saw fibrous amphibole at this step    14   because --
      15   in this particular drill hole.                      15   MR. FROST:
      16   MR. FROST:                                          16          That's okay.
      17   Q        And where does it say they're not          17   MS. O'DELL:
      18   logging it? That's my confusion.                    18          -- you keep getting cut off.
      19   A        No, no. They have it --                    19          So what's your question?
      20   Q        Where in this sentence does it say         20   MR. FROST:
      21   they're not logging it?                             21   Q       Turning to page 1, second paragraph
      22   A        I'm not saying that they didn't log it.    22   down, it says, quote, "Fibrous amphiboles
      23   Q        But you're saying that's the whole         23   (actinolite) were observed only within
      24   concern.                                            24   chloritized mafic dikes, extending, in places, a
                                                                             84 (Pages 330 to 333)
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                                           Robert Cook, Ph.D.
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       1   couple of inches into the contacting talc ore."      1   information.
       2            So they certainly documented where it       2   A       No. If there was only one drill hole
       3   was they found the fibrous amphiboles.               3   and if the ore deposit was bounded by a flat
       4   A         Sure.                                      4   plane or surface and you have a drill hole that
       5   Q         And they've identified what type of        5   goes through it and you know that the ore body
       6   fibrous amphibole it is. So it's clearly part of     6   margin is a flat plane, then you can design
       7   the mine knowledge. They've identified that it's     7   your -- your -- your -- your mine to stay away
       8   actinolite and that it's fibrous, and they've        8   from that one point.
       9   also identified that it only extends a couple        9          The problem with this is that the ore
      10   inches into the ore body. Is that correct?          10   bodies are irregular in shape. So you have a
      11   A         That's correct.                           11   drill hole. Yep, we found a little bit of
      12   Q         And you also -- you note somewhere else   12   asbestos, but you don't know five feet away
      13   in your report in the beginning that, as a rule     13   whether or not you've got asbestos. You don't
      14   of thumb, they used, you know, exclusion zones.     14   know whether it will be a foot thick or
      15   And that's --                                       15   millimeter thick or if it's gonna be there at
      16   A         Selective mining.                         16   all.
      17   Q         Yeah.                                     17   Q       Okay. But, again, that's, one,
      18            So, again, if they know where it is,       18   different than what you said here in the report,
      19   they know how far it extends into the dike and      19   but, two, what I'm getting at, isn't interpreting
      20   it's -- they're using exclusion zone, don't they    20   the drill holes and interpreting, you know,
      21   know where this fibrous amphibole is and aren't     21   what's coming in and out of the mine what the
      22   they avoiding it?                                   22   mine engineer does? Isn't what they
      23   MS. O'DELL:                                         23   extrapolate -- extrapolate based on their
      24            Object to the form.                        24   experience within the ore and they extrapolate
                                                Page 335                                                 Page 337
       1   A        In that one point where that one drill      1   based on their production drill holes, based on
       2   hole goes through the zone that has fibrous          2   the exploratory drill holes, what they expect the
       3   amphibole, we're gonna assume it's asbestos.         3   talc body to look like?
       4          But you're looking really at a                4   A        Absolutely.
       5   one-dimensional point in a three-dimensional         5   MS. O'DELL:
       6   space. So how do you design your mine around         6          Object to --
       7   that point?                                          7          Excuse me. I object to the form of the
       8          I mean, if -- if the ore body was             8   question. I object to the commentary. Misstates
       9   bounded by absolutely vertical straight walls        9   the report.
      10   that extend in all directions to infinity, then     10   MR. FROST:
      11   that one drill hole is really all you need, and     11          I don't believe there was any
      12   you -- you can design a mine around that one        12   commentary, but --
      13   hole.                                               13   MS. O'DELL:
      14          But that's not -- that's not the shape,      14          There was commentary leading up.
      15   size of the ore bodies out here.                    15   A        I understand your question. The -- the
      16   MR. FROST:                                          16   mining superintendent, which at Argonaut was one
      17   Q        Okay. You're confusing me again.           17   of my former students for four years, they are
      18   Where does it say that it's only one ore sample     18   charged with taking all the data that we're
      19   they ever found fibrous amphibole in?               19   talking about and designing a mine plan that
      20   A        I didn't say that.                         20   insures that J&J is not gonna receive a product
      21   Q        Well, that's what your answer you just     21   coming out of the West Windsor mill that's got
      22   gave me implied, that --                            22   asbestos in it. And that -- that is a very --
      23   A        No. I said --                              23   that's a tough order. I mean, you've got to be
      24   Q        -- it -- that they wouldn't have           24   on your toes and --
                                                                             85 (Pages 334 to 337)
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                                           Robert Cook, Ph.D.
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       1          And, in my experience, it's not -- it's       1   that all fibrous amphibole is asbestos? It's
       2   not a good idea to -- to ignore something that       2   fine with me if we do.
       3   you see in drill core that may be deleterious        3   MR. FROST:
       4   without -- without testing it, maybe even            4   Q        Well, they called it here fibrous
       5   drilling a second hole.                              5   amphibole actinolite.
       6          There's a process known as hole               6   A        I know. They don't use the word
       7   twinning, and a person might have wanted to --       7   "asbestos."
       8   it's almost like the duplicate analysis. It          8   Q        Okay.
       9   doesn't find anything the second time. Sometimes     9   A        Okay. So -- so let's call it asbestos.
      10   you drill a second hole five feet away and          10   To know whether or not something's actinolite,
      11   there's nothing there. Hey, good.                   11   you've got to know the chemistry, and you can't
      12   MR. FROST:                                          12   do that by logging drill core.
      13   Q       So this is why I'm confused. I mean,        13          If it's -- if it's a green fibrous
      14   again, this document doesn't talk about twinning.   14   amphibole, then if I was logging it, I'd assume
      15   It doesn't talk about ---                           15   it was actinolite. Okay. Go with it. I --
      16   A       No, no.                                     16          The point of all this is that --
      17   Q       They may have been doing all these          17   that -- that a fibrous amphibole in a drill hole,
      18   things. You're talking now in sort of               18   even if it's at the ore body margin, is an
      19   generalities as far as mining goes.                 19   important thing.
      20   A       I'm trying to be as specific as I can.      20   Q        Okay.
      21   MS. O'DELL:                                         21   A        And I would have done more than just --
      22          Object to the form.                          22   than just pass it off, which is the feeling that
      23   MR. FROST:                                          23   I got when I read that, that they didn't do
      24   Q       But what I'm saying is --                   24   anything with it but record it. So, okay.
                                                Page 339                                                 Page 341
       1          Let's see. What do we have here?              1   Q        And can you give me --
       2          So you have, "Imerys did not sample           2          Because you say here, you know, that
       3   talc ore intervals containing visible fibrous        3   this is contrary to all accepted sampling
       4   amphiboles. This is contrary to all accepted         4   practices.
       5   sampling practices."                                 5   A        Yes.
       6          But, again, if they know that this            6   Q        What are you relying on for that? What
       7   particular section of the drill core contained       7   published literature, what regulation, what law?
       8   asbestos, we know they've identified where it is     8   A        There's --
       9   on the mine plan because they say that on, one,      9          Oh, this isn't a legal issue at all.
      10   fibrous amphibole was observed only within the      10   But if you --
      11   chloritized mafic dikes, extending in places a      11          There are many books that have been
      12   couple inches into the containing [sic] talc ore.   12   written about the evaluation and sampling of a
      13   We know they've already identified it as            13   mine. And when you -- when you hit a critical
      14   actinolite asbestos.                                14   interval, if it's a channel sample underground
      15   A       Well, they describe --                      15   that you're cutting with your rock hammer, if
      16   Q       What are they leaving out of the            16   you're digging a trench at the surface, if you're
      17   analysis? Just that they're confirming that what    17   drilling a drill hole, when -- when you -- when
      18   they believe is fibrous amphibole actinolite        18   you hit something that's significant relative to
      19   actually is fibrous amphibole actinolite?           19   the commodity you're looking at, you normally do
      20   MS. O'DELL:                                         20   more with it than just make a note, "Oh, there it
      21          Object to the form. Misstates the            21   is," and move on.
      22   document.                                           22   Q        Okay. And what from this document
      23   A       Well, to start with, they call it           23   implicates to you that they just moved on from it
      24   fibrous amphibole. Okay? Are we gonna assume        24   and they didn't put it in the mine plan?
                                                                             86 (Pages 338 to 341)
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                                           Robert Cook, Ph.D.
                                                Page 342                                                 Page 344
       1   A       We have no mine plan.                        1          And a lot of times you blame that on
       2   Q       So --                                        2   the driller, but -- but it may simply be because
       3   A       We've asked for the mine plan.               3   of a characteristic of the rock itself.
       4   Q       So you're basing everything off the          4          And, so, there -- when you -- when you
       5   fact that you haven't seen a mine plan? So           5   look at all the drill core data, what you find is
       6   you've read that in conjunction with this            6   that there -- there are drill holes that -- that
       7   document to say that they are just ignoring the      7   we have missing -- we have missing core, and it's
       8   fibrous amphibole that they're finding and moving    8   not the fault of anybody. Probably it's just the
       9   on, which is contrary to standard --                 9   rock.
      10   MS. O'DELL:                                         10          Then we have areas where there's
      11          Excuse me --                                 11   actually notations that the drill core has been
      12   A       That's absolutely not what I said.          12   discarded, removed from the core box, and thrown
      13   MS. O'DELL:                                         13   away. And that's suspicious.
      14          Excuse me. Object to the form.               14   Q       Okay.
      15   A       Did not say that.                           15   A       And that's, you know, part of the big
      16   MS. O'DELL:                                         16   picture here.
      17          Object to the form. Misstates his            17   Q       But, again, the only document you're
      18   testimony.                                          18   showing for reliance to the statement that this
      19   A       Really. I didn't say that.                  19   is contrary to all accepted sampling practices is
      20   MR. FROST:                                          20   Imerys 238270, which shows that they have
      21   Q       So, again, what -- what is it that          21   identified there's a potential problem in the
      22   they're doing here that is contrary to standard?    22   body. They've also identified where it is, and
      23   Is it purely that they're not testing to see        23   they've identified that they're avoiding it;
      24   exactly what the fibrous actinolite or the --       24   correct?
                                                Page 343                                                 Page 345
       1           What do they call it?                        1   MS. O'DELL:
       2           -- fibrous amphibole actinolite is? Is       2          Object to the form. He just stated
       3   that -- is that your --                              3   that there are numerous other references. You're
       4           Your main gripe is that they haven't         4   misstating his testimony.
       5   confirmed whether or not it's asbestiform or not     5   A       This -- this document doesn't say that
       6   asbestiform?                                         6   they're avoiding it. I don't think it does.
       7   A        That would be --                            7   MR. FROST:
       8   MS. O'DELL:                                          8   Q       Well, this document says where it is in
       9           Object to the form.                          9   the ore body; correct?
      10   A        That would be a complaint.                 10   A       Absolutely.
      11   MR. FROST:                                          11   Q       And we know from your report, even, you
      12   Q        Okay.                                      12   state that there's a margin of exclusion. So
      13   A        But -- but this is part of a larger        13   anything extending --
      14   picture. You know, as I mentioned, I think that     14          What do they say?
      15   there -- there are other instances where the        15          -- quote, a couple of inches into the
      16   logging of drill core ended up with a couple of     16   contacting talc ore we know would be outside of
      17   issues, one. And this is typical of diamond         17   the exclusion area, which you said was at least
      18   drilling. You don't have a hundred percent core     18   one bucket.
      19   recovery anyway.                                    19   MS. O'DELL:
      20           And, so, it's difficult to make mine        20          Object to the form. Misstates his
      21   plans when you've got -- when you're pulling core   21   report.
      22   intervals where you've drilled 10 feet, you've      22   A       No. I -- I don't agree with that at
      23   got 3 feet of core. So you go, "Wait a minute,      23   all. I mean, that was why I gave the example.
      24   you know, "What have I missed?"                     24          If the margin of the ore body is a
                                                                             87 (Pages 342 to 345)
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                                           Robert Cook, Ph.D.
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       1   straight, flat plane, that's one thing. You         1   types of mining, that you are relying on the
       2   can -- if you've got something going two inches     2   quality of the mine supervisor and the data in
       3   into it, by George, stay five feet away.            3   order to define where the ore body is. Is that a
       4           But that's not what the margins of          4   fair statement?
       5   these ore bodies are like. They're irregular.       5   MS. O'DELL:
       6   MR. FROST:                                          6           Object to the form.
       7   Q        Okay.                                      7   A         I think that that's, you know, that
       8   A        And, so, if you're gonna produce a mine    8   could be the opening sentence on a paragraph on
       9   plan that assumes that you've got two inches of     9   ore reserve estimation.
      10   an asbestiform mineral here and so you -- you      10   MR. FROST:
      11   plan your scope or your bench based on that but    11   Q         Okay.
      12   your bench may be 15 feet this way and you're      12   A         I mean, it's just standard -- you know,
      13   assuming that it's here, well, this thing could    13   standard protocol in mining. You take all your
      14   be irregular, and the margin of the ore body may   14   data and figure out where the ore is.
      15   be over here and you don't know it because your    15   Q         Then later, turning back to 37, next
      16   next drill hole is way up here.                    16   sentence down, you wrote, "By 2006, all Imerys
      17   Q        Okay.                                     17   Vermont talc production was from a single open
      18   A        That's what I'm trying to say.            18   pit in the Argonaut mine that produced 150,000
      19   Q        And it sounds like your opinion is a      19   tons of talc per year," and you note "none used
      20   problem with all mining, because that's true of    20   for cosmetic purposes in the United States
      21   every ore body that's gonna be irregular;          21   (Imerys 499538)."
      22   correct?                                           22           Correct?
      23   MS. O'DELL:                                        23   MS. O'DELL:
      24           Object to the form.                        24           I'm sorry. Where are you?
                                               Page 347                                                  Page 349
       1   MR. FROST:                                          1   A       I think that's right.
       2   Q       And it's not specific to what's going       2   MR. FROST:
       3   on here. I believe this is the Hamm mine.           3          37 to 38.
       4   A       It --                                       4   MS. O'DELL:
       5   MS. O'DELL:                                         5          Oh, at the bottom. Okay.
       6          Object to the form.                          6   MR. FROST:
       7   A       It can be better or worse. But -- but       7          The bottom.
       8   the idea is, yes, ore bodies are, you know --       8   Q       Next sentence is, "Serpentine and
       9   with some exceptions, they can be irregular         9   arsenic occurred near the edges of the ore zone,
      10   things. And it's very common to have wall rock     10   and ore quality control by segregation of the
      11   mixed in with ore when you're over near the side   11   mine was inadequate."
      12   of an ore body. And -- and in these, it's pretty   12          Okay. You'll agree with me now, by
      13   tough to know, particularly underground. It's      13   2006, again, Johnson & Johnson was no longer
      14   rough.                                             14   using Vermont talc for its cosmetic talcum
      15   MR. FROST:                                         15   powder?
      16   Q       Okay. But, again, that's what the mine     16   A       Correct.
      17   supervisor's for. That's why you have these        17   Q       Okay. And you'll also agree with me
      18   drilling campaigns; correct?                       18   that, by this point, the mine itself was
      19   A       That's right.                              19   producing industrial talcs. Correct?
      20   MS. O'DELL:                                        20   A       I think that's correct.
      21          Object to the form.                         21   Q       Okay. Staying on 38 --
      22   MR. FROST:                                         22          Bear with me a second here. I guess
      23   Q       And, you know, so what you're saying is    23   more of a general question than specific
      24   a basic statement that applies to, you know, all   24   question, but you'd agree with me, based on the
                                                                            88 (Pages 346 to 349)
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                                           Robert Cook, Ph.D.
                                               Page 350                                                 Page 352
       1   documents that you have, that you can't make a      1   composite on the back end. Correct?
       2   full map of sampling frequency, where exactly       2   MS. O'DELL:
       3   samples were coming from, you know, how they        3           Object to the form.
       4   were -- how they were being taken. I think we       4   A         The --
       5   covered this earlier. Is that correct?              5           I think that -- that your statement is
       6   MS. O'DELL:                                         6   correct, based on what your own documents say.
       7          Object to the form. What type of --          7   MR. FROST:
       8   MR. FROST:                                          8   Q         Uh-huh.
       9   Q       You know, there are -- there are holes      9   A         You know, they say, you know, sampling
      10   in the documents about frequency of testing,       10   intervals will be such and so, at what points
      11   frequency of sampling, things of that nature.      11   they're gonna be.
      12   Correct?                                           12           We know that we don't have all the data
      13   A       Are you talking about in the mine or in    13   for -- for the mines. Because if they're gonna
      14   the mill of --                                     14   analyze the cutting from blast holes, there's got
      15   Q       In general in the mines. Exactly.          15   to be just tons of analyses out there.
      16   MS. O'DELL:                                        16   Q         Okay.
      17          Excuse me. Object to the form.              17   A         And -- and -- and, in the mill, it's
      18          What specific types of --                   18   very difficult to know because, you know, when
      19   MR. FROST:                                         19   you're looking at -- at compositing samples that
      20          Well, that's what we were trying to         20   are taken, you know, that -- that becomes a
      21   define.                                            21   different issue in itself.
      22   Q       You know, we're talking about in           22   Q         Okay. All right. We're in agreement
      23   general. You know, we'll start with there          23   that you certainly -- whether or not it was
      24   appears to be -- you know, you don't have a        24   produced, not produced, you know, you don't have
                                               Page 351                                                 Page 353
       1   complete -- you don't have a complete set of all    1   a complete set of all the sampling that was done
       2   drill core sampling; correct?                       2   at the mines, mills, and on the composite back
       3   MS. O'DELL:                                         3   end. Is that a fair summary?
       4          Object to the form.                          4   MS. O'DELL:
       5   MR. FROST:                                          5          Object to the form.
       6   Q        In your documents.                         6   A       Yeah.
       7   A        I don't know that.                         7   MS. O'DELL:
       8   Q        Okay. But you cert- -- there certainly     8          "Composite back end," I'm not sure what
       9   doesn't appear that you have -- and I think         9   you're referring to.
      10   you've identified earlier that you appear to be    10   MR. FROST:
      11   missing years and missing drill core area;         11   Q       Yeah. The composite back end testing
      12   correct?                                           12   of the --
      13   MS. O'DELL:                                        13   A       Yeah. I think the word --
      14          Object to the form. He didn't say that      14   Q       -- the ground product.
      15   in his testimony. Not in regard to drill core.     15   A       -- isn't "sampling," but we don't have
      16   A        We -- we have maps that show the          16   a complete set of analytical data. We know about
      17   location of drill holes. We do not have logs for   17   the sampling, but it's -- it's the data and more
      18   all of those drill holes.                          18   information related to the data that we don't
      19   MR. FROST:                                         19   have.
      20   Q        Okay. And the same thing with             20   Q       Okay. That's a more precise way of
      21   sampling. It does not appear that you have a       21   saying it.
      22   complete set of the sampling records; correct?     22   A       Yeah. Sure.
      23   A        For the mines?                            23   Q       Okay. Turn to page 39.
      24   Q        For the mines, the mill, and for the      24   A       Okay.
                                                                            89 (Pages 350 to 353)
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                                           Robert Cook, Ph.D.
                                                Page 354                                                 Page 356
       1   Q        You say, quote, "It is inadequate -- it     1   sample was taken.
       2   is inadequate to collect a single daily or hourly    2   A       Right. You may have a day that it is,
       3   hand or grab sample from an ore stockpile in         3   but the problem is you may have a day when it
       4   front of a crusher, or from a conveyor belt          4   really isn't and something slips by that you
       5   leaving a grinding circuit, and assume that this     5   don't want to slip by.
       6   one sample or a composite, perhaps a kilogram in     6   Q       But what I'm getting at is the only way
       7   size, is representative of a day's production of     7   to truly derive if something is representative is
       8   several hundred tons."                               8   to run the --
       9           Did I read that correctly?                   9          You know, all of the literature agrees
      10   A        Yep.                                       10   that the only way to truly determine something is
      11   Q        Don't you agree with me the only way to    11   representative or not is to run a statistical
      12   determine whether or not a sample is actually       12   analysis of it; correct?
      13   representative of the whole is to conduct a         13   MS. O'DELL:
      14   geostatistical analysis of that sample versus the   14          Object to the form.
      15   size?                                               15   A       You -- you determine the -- the
      16   MS. O'DELL:                                         16   confidence interval of the process that you're
      17           Object to the form.                         17   proposing. And if you wanted to have something
      18   A        Well, I think that it's much more than     18   that you were 95 percent confident was correct,
      19   that. I would -- I would say that -- that, if I     19   then, you know, you begin to work backwards and
      20   was designing a sampling program for, let's say,    20   take a look at how you're sampling.
      21   the West Windsor mill, I would want to have a       21   MR. FROST:
      22   person that was in charge of sampling and           22   Q       Okay.
      23   analyses.                                           23   A       I mean, that's a process -- a technique
      24           We have somebody like that at one of        24   that's been around for a long time.
                                                Page 355                                                 Page 357
       1   our mines up the road here. It adds a nickel a       1           But it's very difficult to apply that
       2   ton to the cost of our production, and -- and yet    2   to feed coming into a plant. And that was my
       3   we are able to sample daily multiple times and       3   point. You know, if you don't -- if you don't
       4   run all the samples that day, and at the end of      4   have a formal sampling, you know, analysis
       5   the day, we know what's gone in the railcar.         5   program set up where ore enters the mill or,
       6   There is no ambiguity at all.                        6   let's say, enters a stockpile that's gonna feed
       7           And that's not what -- what's been           7   the mill from, then -- then I think that you've
       8   done.                                                8   got an issue right from the very start. Because
       9   MR. FROST:                                           9   no matter what you feed your statistical
      10   Q        Okay.                                      10   analysis, if you're not collecting your samples
      11   A        I mean, you can't just grab a few          11   properly, it's not -- not gonna matter what the
      12   pieces of rock and analyze them and say, "Oh,       12   mass says.
      13   that's -- that's representative of what we mined    13           And believe me, we've -- we've been
      14   today."                                             14   gigged on this. We have had railcars --
      15           "Well, how many tons did you mine?"         15           We ship out in 60-car lots, and we have
      16           "Oh, it was three or four hundred           16   had whole trainloads rejected because of
      17   tons."                                              17   out-of-spec ore in one car. And when you're
      18           That doesn't work.                          18   losing 60 -- 59 other cars that are probably
      19   Q        Well, let's see. Even you say, the         19   good, I mean, this -- this is an important point.
      20   next sentence down, that -- you say -- you          20   Q        Okay. You'd agree with me the reason
      21   yourself say it may or may not be representative;   21   you say you may or may not be representative is
      22   correct? You say it may or may not be               22   because you haven't done any calculations as to
      23   representative of the material processed on the     23   the confidence interval; correct?
      24   individual sample -- on the day the individual      24   MS. O'DELL:
                                                                             90 (Pages 354 to 357)
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                                           Robert Cook, Ph.D.
                                               Page 358                                                Page 360
       1           Object to the form. Misstates his           1   Q       You'll -- we will agree that TEM is an
       2   testimony.                                          2   appropriate instrument to use to test to see if
       3   A        No. Like I said, I haven't done any        3   there is asbestos in talc; right?
       4   mathematical analysis of anything. But I've         4   A       Yes.
       5   certainly been involved with exactly what we're     5   Q       And I take it your issue with this
       6   talking about forever more. I mean, it's a --       6   parameter is the five-fiber detection limit?
       7   it's a serious point with me.                       7   A       Well, I can explain it maybe a little
       8   MR. FROST:                                          8   bit better than I stated it.
       9   Q        But, again, your conclusion here isn't     9          If you have a background that is one
      10   that it absolutely is or it absolutely is not.     10   and you find three fibers and, yet, to be
      11   You say it may or may not be. That's your --       11   quantifiable you need five, then why aren't the
      12   that's your ultimate conclusion. That's correct?   12   three fibers reportable since they are over the
      13   A        Any --                                    13   background?
      14   MS. O'DELL:                                        14          That's -- that was the concept in what
      15           Excuse me.                                 15   I wrote there. And it almost seems like the use
      16   THE WITNESS:                                       16   of quantifiability is evading the issue of tiny
      17           Yeah. Sure.                                17   amounts of material that may be there but in a
      18   MS. O'DELL:                                        18   small increment over the -- the background.
      19           Object to form.                            19   Q       Have you calculated what you determine
      20   A        Any given example may or may not be in    20   to be the proper detection quantitifield --
      21   that.                                              21   quanti- --
      22   MR. FROST:                                         22   A       I know.
      23   Q        All right. Page 40. It's technically      23   Q       You know the word I'm trying to say?
      24   the second full paragraph there, third paragraph   24   A       Right.
                                               Page 359                                                Page 361
       1   on the page, bottom two sentences:                  1   Q        Have you run a calculation to detect
       2           Five particles of the same asbestiform      2   what the appropriate level should be?
       3   mineral were required for asbestos to be            3   MS. O'DELL:
       4   considered quantifiable. Amounts less than this     4          Object to the form.
       5   were considered background or below detection       5   A        Well, like I said, I'm not a -- I'm not
       6   limits. This suggests that something may [sic]      6   a statistician. But I have -- I have done some
       7   be quantifiable if present, and this is not the     7   back-of-the-envelope, and -- and this is -- this
       8   case.                                               8   is what I see.
       9           Did I read that correctly?                  9          If you take a hundred analyses, 95 of
      10   MS. O'DELL:                                        10   them show nothing, five of them show one fiber,
      11           "Must be"?                                 11   and those hundred analyses are of blanks, then
      12   MR. FROST:                                         12   what are you gonna call your background if 95 of
      13           Yes.                                       13   them show nothing? I would say that background
      14   Q        Must be quantifiable if present, and      14   is zero.
      15   this is not the case.                              15          If background is zero, then if you find
      16   A        Yeah.                                     16   four fibers, there's something in that sample,
      17   Q        Okay.                                     17   and yet it's not quantifiable. And, so, from the
      18   A        That -- that's -- that's right.           18   standpoint of that kind of math, yeah. I mean,
      19   Q        All right. Are you an expert in           19   but anybody can do that.
      20   designing TEM test methodologies?                  20   Q        Do you know who Walter McCrone is?
      21   A        No.                                       21   A        Sure.
      22   Q        Have you ever designed test               22   Q        And do you know who James Millette are?
      23   methodologies for testing asbestos in talc?        23   A        Well, we've been talking about
      24   A        No.                                       24   Millette. I don't think that I know James
                                                                            91 (Pages 358 to 361)
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                                           Robert Cook, Ph.D.
                                                Page 362                                                 Page 364
       1   Millette.                                            1   it down at the bottom, and I can't read it. It's
       2   Q      Okay.                                         2   minuscule.
       3   A      We know some Millettes but not him.           3   Q       I believe it's 1990, by the -- the
       4   Q      All right. Would you agree with me            4   journal.
       5   that Walter McCrone is generally considered to be    5   A       Okay.
       6   a leader in the field of TEM testing and             6   Q       If you look to the first page on the
       7   technologies?                                        7   journal, Volume 38, Fourth Quarter, 1990.
       8   MS. O'DELL:                                          8   A       Oh. Okay. I've got it. Sure.
       9         Object to the form.                            9   MS. O'DELL:
      10   A      He is certainly a leader in polarized        10         Yeah. And Kremer, K-R-E-M-E-R.
      11   light microscopy. And I think that -- that, as      11   MR. FROST:
      12   time went on, he became a real expert in TEM        12         Yeah, K-R-E-M-E-R. "Creamer," maybe.
      13   analysis.                                           13   Q       Turn to page 463. Under number 6,
      14   MR. FROST:                                          14   Limit of Quantifiable Detection.
      15   Q      And because it seems like you know a         15   A       Okay.
      16   bunch of Millettes but not the James Millette,      16   Q       Do you see here that they note "The
      17   you can't tell me whether or not he's a leader --   17   detection limit of five or more asbestiform
      18   A      Well, there's a Millette that was a          18   minerals of one variety in an analysis
      19   mining engineer, mining geologist here in           19   constitutes a quantifiable level of detection"?
      20   Alabama. And we were wondering if this Millette     20   A       Right.
      21   was related to him, and we found out he wasn't.     21   Q       And you agree with me that that's the
      22   Q      I was gonna say, you know, I actually        22   same level of quantification in the J&J
      23   know the answer.                                    23   specifications?
      24         All right. I'd like to mark this              24   MS. O'DELL:
                                                Page 363                                                 Page 365
       1   article as 31.                                       1          Object to form.
       2   THE COURT REPORTER:                                  2   A        That's the number that's in -- in
       3           30. It's gonna be 30.                        3   most --
       4   MR. FROST:                                           4          I've seen four a couple of times, but I
       5           30. Sorry. I was looking at your             5   think five is -- is the one I see the most.
       6   stickers to try to figure out.                       6   MR. FROST:
       7          (DEPOSITION EXHIBIT NUMBER 30                 7   Q        Okay. So you agree with me, anyway,
       8           WAS MARKED FOR IDENTIFICATION.)              8   that the five, you know --
       9   MR. FROST:                                           9   A        Right.
      10   Q        Have you ever heard the publication        10   Q        -- is in line with the limit of
      11   Microscope?                                         11   quantifiable detection published in the
      12   A        I have. But I don't get it.                12   Microscope --
      13   Q        It's not one you subscribe to or read?     13   A        Right.
      14   A        No.                                        14   Q        -- in fourth quarter of 1990?
      15   Q        But -- and you at least do recognize       15   A        Correct.
      16   that it is a peer-reviewed publication that's out   16   Q        Okay. Turn to page 41.
      17   there?                                              17   A        Okay.
      18   A        It's out there.                            18   Q        And I'm not gonna belabor the point
      19   Q        And, looking at page 457, do you see       19   because I think we talked about this pretty
      20   that the name of this article is "A Standard TEM    20   significantly when we were looking at the Chinese
      21   Procedure for Identification and Quantification     21   document. But the second paragraph after Testing
      22   of Asbestiform Minerals in Talc"? Then it lists     22   Methodologies, halfway through, you write that,
      23   Kremer, James Millette.                             23   "Finally" -- in the sentence that starts
      24   A        Yeah. I'm trying to read the date on       24   "Finally, an Imerys talc letter in 2013 states,"
                                                                             92 (Pages 362 to 365)
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                                            Robert Cook, Ph.D.
                                                 Page 366                                                Page 368
       1   and it goes on.                                      1   Exhibit 31.
       2          And at the very bottom of this, "This,        2          (DEPOSITION EXHIBIT NUMBER 31
       3   of course, suggests an asbestos content of less      3           WAS MARKED FOR IDENTIFICATION.)
       4   than .1 is acceptable, which is contrary to          4   MR. FROST:
       5   Defendants' policy that its products be              5   Q        We're gonna turn gears a little bit
       6   asbestos-free."                                      6   here. Just to make it easier, I've put a
       7          This is the same opinion you had as to        7   collection of documents together in one binder so
       8   the Chinese test; right? Correct?                    8   we don't have to worry about --
       9   A       No. No. This is different. I -- I            9   A        Oh, wonderful.
      10   was surprised to even see that because it looked    10   Q        -- running everything around.
      11   like that suddenly we're gonna accept an asbestos   11   A        Okay.
      12   content up to .1. I mean, to me, it read very       12   Q        So looking at page 13 of your report,
      13   strangely. I wasn't sure that it was even           13   running through page 21, this is the chart we
      14   written the way it was meant to sound.              14   talked about, you know, earlier --
      15   Q       Oh. I see.                                  15   A        Right, right.
      16   A       Yeah. I mean, if you -- if you go back      16   Q        -- that has the various asbestos.
      17   and look at the document, it almost sounds like     17   A        Right.
      18   they're saying, "Well, you know, we've done the     18   Q        And you've looked at each of these
      19   best we can, but if it's got .09 percent            19   documents, you testified, that relates to the
      20   asbestos, well, that's below the .1 accepted        20   various entries on this chart?
      21   standard, so" --                                    21   A        Yes.
      22          You know, it seemed like a very              22   Q        And, sitting here today, can you tell
      23   peculiar statement.                                 23   me confidently that every one of the positive
      24   Q       I see. So the -- it's -- the notation       24   test results on this chart, you know, relates to
                                                 Page 367                                                Page 369
       1   here is more the peculiarness of the statement       1   asbestos that made its way to a final bottle of
       2   and the document --                                  2   talcum powder sold by Johnson & Johnson?
       3   A        Well, if it's -- if it's accurate,          3   A       No.
       4   then -- then -- then it means that everything has    4   Q       Okay.
       5   changed suddenly, that we're not -- we're not        5   A       I think that there may be a mistake or
       6   talc -- we're not asbestos-free and, in fact,        6   two on here.
       7   we're gonna accept it up to .1.                      7   Q       Okay. And we're gonna walk through a
       8   Q        You'd agree with me -- this is what we      8   couple.
       9   covered before -- the test specification for         9   A       Okay.
      10   Johnson & Johnson's talc is utilizing the FDA       10   Q       I'm not gonna call out every mistake
      11   J4-1, which is the XRD testing method, followed     11   because we'll be here -- you know, I'm not gonna
      12   by PLM; correct?                                    12   look at every document and call out every
      13   A        Correct.                                   13   mistake, but I do want to go through a few.
      14   MS. O'DELL:                                         14   MS. O'DELL:
      15           Object to the form.                         15          Object to the form.
      16   MR. FROST:                                          16   MR. FROST:
      17   Q        And we've also seen that there's TEM       17   Q       So if we could look at what's been
      18   testing requirement, too, in the J&J talc           18   marked as Tab 1 in the binder of 31.
      19   specification; correct?                             19   A       Right.
      20   MS. O'DELL:                                         20   Q       This relates to an 8-2-22 --
      21           Object to the form.                         21          Well, first, if you look at page 18 of
      22   A        Correct.                                   22   your report, sort of halfway down, for the test
      23   MR. FROST:                                          23   result for 8-22-1985.
      24   Q        All right. I'm gonna mark this as          24   A       Okay.
                                                                             93 (Pages 366 to 369)
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                                           Robert Cook, Ph.D.
                                                Page 370                                                Page 372
       1   Q        All right. Do you see that references       1   that samples TC-700 were actually talc mined at
       2   document JNJMX68 --                                  2   San Andreas, California; correct?
       3   A        Yes.                                        3   A       It would seem to say that, yeah.
       4   Q        -- 13019?                                   4   Q       Okay. All right. Looking back at your
       5   A        Right.                                      5   report, the next entry down, 4-29-1986, it's on
       6   Q        And that's talking about McCrone            6   page 18.
       7   project number ME-1862 and specifically samples      7   A       Okay. Tab 4?
       8   WMI85-28 and WMI85-30?                               8   Q       Yeah. If you turn to Tab 4 here.
       9   A        Right.                                      9   You're ahead of me already.
      10   Q        Okay. If you'd turn to Tab 1 of the        10   A       Okay.
      11   exhibit blinder, you'll agree that this is the      11   Q       But on the chart you identify J&J182 as
      12   corresponding document, and we see WMI85-28 --      12   the source document. Do you agree with me that
      13   A        Yes.                                       13   Tab 4 is Exhibit J&J182?
      14   Q        -- and 85-30 listed?                       14   A       Yes.
      15   A        Yes.                                       15   Q       And, again, on your chart, you just
      16   Q        Okay. And, from this document, you         16   have talc samples, but here the talc samples
      17   can't tell where the samples WMI85-28 and           17   listed are WMI85-53, WMI85-55, and WMI85-57;
      18   WMI85-30 were mined; correct?                       18   correct?
      19   MS. O'DELL:                                         19   A       Right.
      20          Object to the form.                          20   Q       Okay.
      21   A        I don't think I can.                       21          All right. If you'll look back at Tab
      22   MR. FROST:                                          22   3. I'm sorry. Turn to page 5. I apologize.
      23   Q        If you turn to --                          23   Third page.
      24   A        I think that they actually -- the          24   VIDEOGRAPHER:
                                                Page 371                                                Page 373
       1   sample numbers relate to the mill, not the mine.     1          Jack, did you put your mic on?
       2   Q       Well, we'll -- why don't we turn to Tab      2   MR. FROST:
       3   2. This is a document Bates numbered JNJ65646.       3          Oh, did it fall off? No. I took it
       4   And I'll turn your attention to the second page.     4   off.
       5   A       Okay.                                        5   Q        So look at the page that ends 890.
       6   Q       Then we see here it says WMI85-28 and        6   A        Okay.
       7   it describes as grade TC-7- --                       7   Q        And if you'll look up there, we see
       8   A       Right. I'm aware of those two. I             8   WMI85-53. And, again, that's Grade TC-700?
       9   spotted them.                                        9   A        Right.
      10   Q       Okay. The grade TC-700?                     10   Q        85-55, also Grade TC-700.
      11   A       Right. I see that.                          11   A        Okay.
      12   Q       So if we turn to the tab marked 3,          12   Q        And then the 85-57 is also grade
      13   which is a document that starts with Bates Imerys   13   TC-700.
      14   013723, and if you can turn to the fourth page of   14   A        Okay.
      15   that. It's the one that's 13725.                    15   Q        Okay. And, you know, as we saw last
      16   A       Okay.                                       16   time, the Grade TC-700 comes from San Andreas,
      17   Q       Under Production Location, the second       17   California; correct?
      18   one, San Andreas, California.                       18   A        Yeah. I'd have to go back and look,
      19   A       Correct.                                    19   but I -- I think it is.
      20   Q       And then if you go over, it says            20   Q        Okay. You can look if you want, but I
      21   "Grade," and then it has "TC-700, light and         21   take it you believe me on that one?
      22   dark."                                              22   A        Okay.
      23   A       Right.                                      23   Q        Okay. Look at page 17 of your report.
      24   Q       So, by this document, it's indicating       24   Right in about the middle, there's a 10-10-1974
                                                                             94 (Pages 370 to 373)
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                                           Robert Cook, Ph.D.
                                                Page 374                                                Page 376
       1   entry on the -- on the chart.                        1   that D-GI is an industrial product? It's not a
       2   A       I see it.                                    2   cosmetic talcum powder?
       3   Q       Okay. And it accounts for J&J-74 as          3   A        Right.
       4   the source document.                                 4   Q        All right. If you turn to page 15.
       5   A       Hang on. What was the date again?            5   Oh, sorry. 14. About halfway down 14, there's a
       6   Q       10-10-1974. It's about the middle of         6   document or there's an entry on the chart,
       7   page 17.                                             7   7-7-1971. And the what was tested column shows
       8   A       Right. Right. I'm looking at the             8   that it was talc product 344-L?
       9   other one.                                           9   A        Right.
      10          Huh. Page 17?                                10   Q        Okay. If you look at Tab 8, there's a
      11   Q       Yeah. Here. I've highlighted it on          11   document JNJAZ55-6089 that appears to be -- you
      12   this one. I'll just let you look. Looks like        12   know, it's the July 7, '71, letter that talks
      13   the second entry on page 17.                        13   about 344-L testing. Do you agree?
      14   A       Okay. I've got it. Sure.                    14   MS. O'DELL:
      15   Q       And the source document for that entry      15           Jack, can you give us a moment?
      16   is J&J-74.                                          16   MR. FROST:
      17   A       Right.                                      17           Sure.
      18   Q       Okay. If you look at Tab 8, do you          18   MS. O'DELL:
      19   agree with me that that's the source document?      19           Because we have it as a different --
      20   MS. O'DELL:                                         20   MR. FROST:
      21          Tab 8?                                       21           Yeah. I was gonna say, you have the --
      22   MR. FROST:                                          22   that's fine. If you can find the one you have,
      23          Tab 8, yes. Oh, sorry. Tab 6. Looked         23   that's great.
      24   like an 8 as I was glancing at it.                  24   MS. O'DELL:
                                                Page 375                                                Page 377
       1   Q       Tab 6.                                       1          Yeah. Just -- and it may be the same
       2   A       Okay.                                        2   document, but we identified it differently, so
       3   Q       And if you look at the highlighted           3   just give us just a minute --
       4   portion of that document, which is highlighted on    4   MR. FROST:
       5   the original, it notes that the sample is DG --      5          Yeah. That's fine.
       6   D-GI; correct?                                       6   MS. O'DELL:
       7   A       Yes.                                         7          -- to check the Bates number.
       8   Q       In which they found the fibrous              8   MR. FROST:
       9   asbestiform materials.                               9          Of course, the sticker's over the Bates
      10          If you look at Tab 7, this is a              10   number; right?
      11   document that's Bates stamped JNJMX682659.          11   MS. O'DELL:
      12   A       Okay.                                       12          Never helpful.
      13   Q       Third paragraph down, it states, "The       13          I believe that to be the same one.
      14   samples represented both the industrial minerals    14   MR. FROST:
      15   produced at the Gassetts," and it says "GI" in      15          Okay.
      16   parentheses.                                        16   MS. O'DELL:
      17   A       Right.                                      17          Thank you.
      18   Q       Okay. And then if you skip down --          18   MR. FROST:
      19   A       Yeah. I, incidentally, I picked this        19   Q       Okay. And this is a report from
      20   one up.                                             20   Colorado Schools of Mines regarding this sample
      21   Q       This is the one you picked up?              21   344-L?
      22   A       I -- well, it's one of the ones I           22   A       Right.
      23   picked up.                                          23   Q       Are you aware that the Colorado School
      24   Q       All right. Do you agree with me, then,      24   of Mines issued a subsequent report on retesting
                                                                             95 (Pages 374 to 377)
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                                           Robert Cook, Ph.D.
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       1   of these same samples?                              1   contamination from the standard asbestos
       2   A        No.                                        2   samples."
       3   Q        Turn to Tab 9.                             3   A       Right.
       4   A        I say I'm not. I -- I don't                4   Q       So, based on this, obviously, you know,
       5   remember -- I don't remember seeing it. If it --    5   we can't determine whether or not the sample
       6   if it contradicted this one, then I would have      6   344-L on the chart, you know, is an actual
       7   likely removed it from the table. So --             7   finding of asbestos in the talcum powder. Would
       8   Q        Okay.                                      8   you -- would you agree with that statement?
       9   A        -- I either don't remember it or didn't    9   MS. O'DELL:
      10   see it.                                            10          Object to form.
      11   Q        Okay. That's fair.                        11   A       Hang on. I'm reading that third
      12           Go on and turn to Tab 9. It's a            12   paragraph.
      13   document Bates-stamped JNJAZ55-3828.               13   MR. FROST:
      14   A        Where was that in the table?              14   Q       Sure.
      15   Q        This particular document?                 15   A       Yeah.
      16   A        Yeah. Are you referring to an entry in    16   Q       Okay.
      17   the table?                                         17   A       Okay.
      18   Q        It's not. I'm gonna -- this document      18   Q       Page 15, the second notation, 9-6-1972,
      19   refers -- this is the retest that I was talking    19   J&J-31.
      20   about from Colorado School of Mines.               20   A       Right.
      21   A        Oh, okay. Sure.                           21   Q       And the source document is noted as
      22   MS. O'DELL:                                        22   J&J -- yeah, J&J-31.
      23           And if you haven't seen the document,      23   A       Right.
      24   take your time --                                  24   Q       Turn to Tab 12. You'll agree with me
                                                Page 379                                                Page 381
       1   MR. FROST:                                          1   that appears to be the source document, that
       2   Q        I was gonna say take your time to read     2   J&J-31?
       3   it. I believe it's pretty short.                    3   A       Right.
       4   A        Yeah.                                      4   Q       If you turn to page 4 of 7.
       5   Q        Actually, very short.                      5   A       Okay.
       6   A        There they go again, "within our limits    6   Q       So the sample numbers that have
       7   of detectability."                                  7   chrysotile findings you agree are 133, 134, 137,
       8          Right. Okay.                                 8   138, and then, if you turn to the next page, 84?
       9   Q        You're reading from the middle of          9   A       Read those numbers again.
      10   paragraph 1?                                       10   Q       Sure. 133, 134 --
      11   A        I'm reading --                            11   A       Okay.
      12   Q        The numbered paragraph 1?                 12   Q       -- then 137 and 138 and 84.
      13   A        I'm reading the last sentence of the      13   A       Right.
      14   second full paragraph.                             14   Q       Turn back -- or turn to Tab 11, which
      15   Q        Yeah.                                     15   is a document dated January 7th, 1976. You can
      16          So, before that, it states "Subsequent      16   read the letter. But, effectively, this is a
      17   x-ray work" --                                     17   retest of some of the various samples by
      18   A        Right.                                    18   Dr. Lewin; correct?
      19   Q        -- "on the 6-month product samples on     19   A       Correct.
      20   the 344-L product sample shows no definite         20   Q       If you turn to -- one, two, three --
      21   indications of any asbestos-type minerals within   21   the fourth page. So if you see -- if you look at
      22   our limits of detectability."                      22   84 under chrysotile, there's a question mark.
      23   A        Right.                                    23   Then if you look at 133, 134, 137 and 138 under
      24   Q        "The trace amounts I saw were evidently   24   chrysotile, it's now marked "nondetect."
                                                                            96 (Pages 378 to 381)
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                                           Robert Cook, Ph.D.
                                                Page 382                                                Page 384
       1   A        Right. I see that. Uh-huh.                 1   me before, you know, sitting here today, you
       2   Q        So, again, just like the other             2   can't tell me that every single one of these --
       3   document, based on the retesting, you know, we      3   you know, any one of the ones that are left
       4   can't say one way or the other whether there was    4   would, you know, also be indicative of something
       5   actually asbestos in that sample; correct?          5   that actually ended up in talcum powder; correct?
       6   MS. O'DELL:                                         6   MS. O'DELL:
       7          Object to the form.                          7          Object to the form.
       8   A        Correct.                                   8   A        Well, it depends on what's being
       9   MR. FROST:                                          9   analyzed. If some of it is the finished product,
      10   Q        Now, I know we've said this lots of       10   then it's the finished product.
      11   times, and I apologize, but not a doctor, not a    11   MR. FROST:
      12   toxicologist; correct?                             12   Q        Okay.
      13   A        Correct.                                  13   A        If not, then, you know, it depends on
      14   Q        And, because of that, you can't testify   14   where the sample was collected. If it was
      15   to a reasonable degree of scientific certainty     15   collected at the mine, then that's one thing. If
      16   that any individual container of talcum powder     16   it was collected coming out of the flotation
      17   has sufficient asbestos in it to cause ovarian     17   circuit, well, you know, maybe it did get --
      18   cancer; correct?                                   18   probably it got in.
      19   A        Correct.                                  19   Q        Okay.
      20   MS. O'DELL:                                        20   A        I'm not in the business of throwing --
      21          Object to the form.                         21   throwing good product away.
      22   MR. FROST:                                         22   Q        And you also -- you can't tell me,
      23   Q        Okay. And same thing. You can't           23   sitting here, that there aren't other documents
      24   testify that any particular container of talcum    24   that may call into question or contradict some of
                                                Page 383                                                Page 385
       1   powder has sufficient asbestos in it to cause       1   the other testing results here; correct?
       2   mesothelioma; correct?                              2   MS. O'DELL:
       3   MS. O'DELL:                                         3          Object.
       4           Object to the form.                         4   MR. FROST:
       5   A         That's correct. You know, you -- the      5   Q       The -- the testing results listed here
       6   term "sufficient" is -- is an interesting one in    6   were based on, you know, your best efforts and
       7   your question. I don't know that anybody on         7   reviewing the documents you had available at the
       8   earth knows that answer.                            8   time; correct?
       9   MR. FROST:                                          9   MS. O'DELL:
      10   Q         Okay.                                    10          Objection. Object to the form.
      11   A         Can -- can say that.                     11   A       Yeah. The table is my best effort at
      12   Q         But that's certainly not an area         12   putting together information from the documents
      13   that -- it's not an area you've studied --         13   that I had. That -- that statement's accurate.
      14   A         Right.                                   14   MR. FROST:
      15   Q         -- or are qualified in.                  15   Q       Okay. Now, have you reviewed
      16           And, again, I think I've now pointed       16   Dr. Longo's reports that have been issued in this
      17   out five, I believe --                             17   case?
      18   A         Yes.                                     18   A       I'm not sure I've seen all of them.
      19   Q         -- examples of, you know, sort of --     19   Q       You've reviewed some of the Longo
      20   I'll call them inaccuracies, you know, but --      20   reports, at least?
      21   A         Glitches.                                21   A       Yes.
      22   Q         -- notations on the chart, you know,     22   Q       Okay. And are you -- are you relying
      23   that we can't say whether or not are actually      23   on the Longo test results as part of the basis
      24   asbestos in the product. And I believe you told    24   for your opinions in these cases?
                                                                            97 (Pages 382 to 385)
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                                           Robert Cook, Ph.D.
                                                Page 386                                                Page 388
       1   A        Not really. I mentioned him a couple        1   subject.
       2   of times. But I got -- I got his report, his --      2   VIDEOGRAPHER:
       3   I mean, the great big huge report -- just a few      3         Going off the record. The time is 4:13
       4   days ago.                                            4   p.m.
       5   Q        Oh, okay. So it's --                        5               (OFF THE RECORD.)
       6   A        I'd seen the introductory materials and     6   VIDEOGRAPHER:
       7   some of the earlier reports he had.                  7         We're back on the record. The time is
       8   Q        But you're not specifically relying on      8   4:40 p.m.
       9   Longo's testing and his testing methodologies and    9   MR. FROST:
      10   things like that for the basis of your opinions     10   Q       Okay. I believe we were turning to
      11   in this case?                                       11   page 22 of your report. No. Page 23.
      12   MS. O'DELL:                                         12         Did your report get lost somewhere?
      13          Object to the form.                          13   A       Yeah. I'm looking for yours with the
      14   A        It is certainly part of the big            14   tabs on it.
      15   picture.                                            15   Q       Oh. That's the binder on the bottom.
      16   MR. FROST:                                          16   MS. O'DELL:
      17   Q        You're not here to offer any opinions      17         Do you need it?
      18   that his testing methodologies were inadequate or   18   MR. FROST:
      19   that, you know, his preparation procedures and      19         We're gonna turn to it next, so it's a
      20   things like that, they -- that's -- that's not      20   good thing you have it.
      21   part of the opinions you're offering in this        21   Q       Okay. So you see the 5-25-1972
      22   case, are they?                                     22   notation under the chart regarding fibrous talc?
      23   A        No.                                        23   And it notes the source document is JNJ238826,
      24   Q        Okay.                                      24   248023?
                                                Page 387                                                Page 389
       1   A       I did read -- I did read his methods.        1   A       Right.
       2   They seem to be up to snuff.                         2   Q       Turn to Tab 13.
       3   Q       Okay. You didn't do any, for example,        3   MS. O'DELL:
       4   calculations of BSAED dispersion patterns --         4          You said 5-25-1972?
       5   A       No.                                          5   MR. FROST:
       6   Q       -- or you didn't try to verify any of        6          Yes. It's on page 23 of his report.
       7   his test results?                                    7   MS. O'DELL:
       8   A       No. No, no, no. I'm not sure how I           8          Okay. So you're not talking about the
       9   would have.                                          9   asbestos table. You're talking about the fibrous
      10   Q       That's -- that's not your area of           10   talc table.
      11   expertise; correct?                                 11   MR. FROST:
      12   A       Nor do I have the equipment.                12          Yeah, the fibrous talc table.
      13   Q       Well, that's a fair point, too.             13   MS. O'DELL:
      14   A       Yeah.                                       14          Okay. All right.
      15   Q       Turning to page 20 --                       15   MR. FROST:
      16          Are these chronological? They are.           16   Q       Okay. Do you agree with me these are
      17   Okay.                                               17   the two source documents?
      18   MS. O'DELL:                                         18   A       I think so.
      19          Hey, Jack. We've been going a                19   Q       And they're both referring to sample
      20   hundred -- hour and 15 minutes. Can we take a       20   FD-14?
      21   short break?                                        21   A       I think that they are. Sure.
      22   MR. FROST:                                          22   Q       All right.
      23          Yeah. We can take a break now. This          23   A       I mean, I've looked at the first one of
      24   works well. I was moving on to a different          24   these.
                                                                             98 (Pages 386 to 389)
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                                            Robert Cook, Ph.D.
                                                Page 390                                                 Page 392
       1          Are both documents behind the same tab?       1   Drs. Gamble and Gibbs --
       2   Q       They are. There's a blue page                2   A       Correct.
       3   separating the two.                                  3   Q       -- entitled "An evaluation of the risks
       4   A       Oh, okay. Thank you. Gotcha. Okay.           4   of lung cancer and mesothelioma from exposure to
       5   Q       And you'll also agree with me that           5   amphibole cleavage fragments"?
       6   they're talking -- the FD-14 seems to have been      6   A       Correct.
       7   tested by a Dr. W. Smith at Fairleigh Dickinson      7   Q       You can feel free to read the paper,
       8   University?                                          8   but I'm gonna direct your attention to page 23 of
       9   A       Correct.                                     9   33.
      10   Q       Okay. Turn to --                            10   A       Oh, great. Okay. All right.
      11   A       Wait a minute.                              11   Q       Okay. Second column, looks like the
      12   MS. O'DELL:                                         12   second paragraph down, the paragraph starts,
      13          Dr. Smith? Is that what you were --          13   "Samples used in experimental studies."
      14   MR. FROST:                                          14   A       Page 23 of 33?
      15   Q       Dr. W. Smith, Fairleigh Dickinson           15   Q       Yep. On the second column.
      16   University.                                         16   A       Second column being the right-hand
      17          Both of these are Johnson & Johnson          17   column?
      18   documents, but they're talking about the            18   Q       Yeah. Then it starts right there. It
      19   Dr. W. Smith testing of the tremolite talc,         19   says "Samples."
      20   FD-14.                                              20   A       Okay.
      21          Do you agree with that statement?            21   Q       About halfway down in that paragraph --
      22   A       Okay. I was looking for Smith's name.       22   A       Right.
      23   I remember seeing Rolle and Goudie and --           23   Q       -- the sentence reads, "On the other
      24   Q       If you look at the first document, the      24   hand, there are several studies of tremolitic
                                                Page 391                                                 Page 393
       1   238826 --                                            1   talc samples from the Gouverneur mine in New York
       2   A        Right.                                      2   State." And the second one listed is FD-14 used
       3   Q        -- at the top, it says, "Subject,           3   by Dr. Smith, 1979. Is that correct?
       4   Characterization of Tremolite Talc, FD-14,           4   MS. O'DELL:
       5   Dr. W. Smith --                                      5          That's what it states.
       6   A        Oh. Oh, yeah.                               6   MR. FROST:
       7   Q        -- Fairleigh Dickinson University.          7   Q       Or did I -- did I read that correctly?
       8   A        Right. I've got him. Yep. Yep. Yep.         8   A       I think you did.
       9   Sure.                                                9   Q       Okay. And, by this, it indicates that
      10   Q        All right. Turn to Tab 14.                 10   the tremolitic talc tested by Dr. Smith that's
      11   A        Okay.                                      11   FD-14 is actually a Gouverneur mine sample;
      12   Q        It's a letter dated March 15th, 1972,      12   correct?
      13   Bates stamped JNJ346879.                            13   MS. O'DELL:
      14   A        Okay.                                      14          Object to the form.
      15   Q        And, again, it's from -- you know,         15   A       Unless there's a peculiar duplication
      16   second sentence down says, "As you may remember     16   of numbers.
      17   from my brief conversation with you, we are         17   MR. FROST:
      18   presently analyzing a talc used by                  18   Q       It certainly seems to indicate that;
      19   Dr. W. E. Smith in his animal testing. Could you    19   correct?
      20   please have the EM work done on this talc labeled   20   A       It would suggest that.
      21   FD-14?"                                             21   Q       Okay. If you turn to page 25 of your
      22   A        Sure.                                      22   report, again on the fiber -- fibrous talc chart,
      23   Q        Okay. If you turn to Tab number 15,        23   an entry for 7-29-1975. And it indicates
      24   this is a paper published on October 22, 2007, by   24   document JNJL6127053.

                                                                             99 (Pages 390 to 393)
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                                            Robert Cook, Ph.D.
                                                Page 394                                                 Page 396
       1          Do you see where I am?                        1   still fibrous talc.
       2   A       Yeah, I've got it.                           2   Q        Okay. But that's different than the
       3   Q       Okay. And if you turn to Tab 16 in the       3   talc that was sourced for Johnson & Johnson
       4   binder that's Exhibit 31.                            4   talcum powder; correct?
       5   A       Okay.                                        5   A        It may --
       6   Q       You agree with me that this is the           6   MS. O'DELL:
       7   source document for the entry on the chart;          7           Object to the form.
       8   correct?                                             8   A        It may or may not be. I mean, if
       9   A       I believe it's the right number.             9   they're coming from --
      10   Q       Okay. Do you see up in the upper            10           They list the mines, and they're the
      11   left-hand corner it says "W. Minerals, Ludlow       11   same mines that were producing the cosmetic talc,
      12   36"?                                                12   and there's no reason to think that -- that even
      13   A       Yes.                                        13   though we've got lots of analyses that show
      14   Q       Okay. And if you turn to Tab 17, which      14   fibrous talc in cosmetic talc that there
      15   is a document Bates-stamped Imerys 013723.          15   shouldn't be any fibrous talc in industrial talc.
      16   A       Uh-huh.                                     16   It...
      17   Q       And if you turn to the second page,         17   MR. FROST:
      18   fourth entry down, it says "Ludlow, Vermont."       18   Q        Okay. But, based on this, this
      19   A       Got it.                                     19   certainly isn't evidence that there was fibrous
      20   Q       Okay. And it notes Grade 36 here.           20   talc that ended up in a bottle of Johnson's -- in
      21   A       I see Grade 36.                             21   Johnson & Johnson's talcum powder; correct?
      22   Q       Okay. And if you look down --               22   MS. O'DELL:
      23          So the production location of this is        23           Object to the form.
      24   Ludlow, Vermont; correct? And then it says          24   A        That way, no.
                                                Page 395                                                 Page 397
       1   "Grade 36."                                          1   MR. FROST:
       2   A        Correct.                                    2   Q       Okay. And, again, you know, we've
       3   Q        Okay. And if you look on the next           3   already covered this before, but you can't tell
       4   page, that is different than the production          4   me to a reasonable degree of scientific certainty
       5   location being Windsor, Vermont -- right? --         5   that any individual container of talcum powder
       6   which has the Grade 65 talc, which we know is the    6   may have contained a sufficient number of -- or a
       7   cosmetic talc?                                       7   sufficient amount of fibrous talc to cause any
       8   A        Okay.                                       8   human disease; correct?
       9   Q        And we know that the cosmetic talc came     9   MS. O'DELL:
      10   from the Windsor, Vermont, mill; correct?           10          Object to the form.
      11   A        It should have, yes.                       11   A       I've never seen a paper that said how
      12   Q        All right. And that's separate,            12   much you needed to cause any kind of a problem.
      13   according to this document, from the Ludlow,        13   MR. FROST:
      14   Vermont, mill; correct?                             14   Q       Okay. And that's outside of your area
      15   MS. O'DELL:                                         15   of expertise, anyway.
      16          Object to the form.                          16   A       Correct.
      17   A        Yes.                                       17   Q       Okay. Now, again, you know, you've
      18   MR. FROST:                                          18   also noted on here, we've seen at various points
      19   Q        Okay.                                      19   nickel, chromium, cobalt and arsenic, I believe,
      20   A        I think that the point of all this is      20   as well. And you'd agree with me that not all of
      21   that the -- the mill feed at Ludlow had fibrous     21   the entries on the charts for these various
      22   talc in it.                                         22   different chemicals are, in fact, finished talcum
      23   Q        Exactly.                                   23   powder; correct?
      24   A        Whether it was cosmetic or not, it was     24   MS. O'DELL:
                                                                           100 (Pages 394 to 397)
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                                            Robert Cook, Ph.D.
                                                Page 398                                                 Page 400
       1         Object to the form.                            1   any Vermont talc with any other Vermont talc is
       2   A       Some are. Some are not.                      2   gonna do nothing to lower potential heavy metal
       3   MR. FROST:                                           3   values found in the finished product?
       4   Q       Okay. And a lot of them, you know, are       4   A        It depends on whether you're including
       5   ore samples, things of that nature?                  5   arsenic in there as a -- as a heavy metal. I
       6   MS. O'DELL:                                          6   don't -- I don't include arsenic as a heavy
       7         Object to the form. Object to the              7   metal. But if you want to include it in there,
       8   form, "a lot." What does that mean?                  8   blending can reduce the arsenic level.
       9   MR. FROST:                                           9   Q        Okay. And arsenic's the only one that
      10   Q       Many of them? You know, a certain           10   you believe that blending can reduce?
      11   number of them come from ore samples; correct?      11   A        Haven't seen any indication that
      12   MS. O'DELL:                                         12   blending with anything else would -- would reduce
      13         Object to the form.                           13   those numbers.
      14   A       I would say that -- that ore is             14   Q        You also believe that there's no way to
      15   converted to finished product, and there's no       15   use beneficiation to, say, remove chlorite from
      16   indication that there's been any attempt to get     16   talc?
      17   those metals out. So that's my answer.              17   A        I think that that could probably be
      18   MR. FROST:                                          18   done. And, in fact, my guess is that some of
      19   Q       You'd agreed with me, if done properly,     19   that is done. I think it's tough, because in
      20   beneficiation could be used to lower the amounts    20   a -- in a flotation plant, those two minerals
      21   of heavy metals that may appear in a finished       21   tend to respond similarly. And, so, when you --
      22   product; correct?                                   22   when you -- they were using a methyl isobutyl
      23   MS. O'DELL:                                         23   something or another in one of the plants. That
      24         Object to the form.                           24   frothing agent is excellent for talc, but I think
                                                Page 399                                                 Page 401
       1   A       I don't think that there's been a            1   it's also pretty good for chlorite, too. I think
       2   single study that's indicated that.                  2   that by playing around, you might come up with a
       3   MR. FROST:                                           3   frothing agent or an agent that might help pull
       4   Q       And would you agree with me that             4   chlorite out if you wanted to add a separate
       5   blending is a technique that can be used to lower    5   circuit.
       6   total heavy metal counts by using ores from          6   Q        Okay.
       7   different areas that have different                  7   A        But I don't know that that's true.
       8   concentrations of heavy metals?                      8   This is -- this is -- based on what I've read and
       9   MS. O'DELL:                                          9   looked at, you might be able to do that. You'd
      10          Object to the form.                          10   have to try. It'd have to be bench -- bench
      11   A       If I was asked to produce a blended         11   scale testing.
      12   talc that would lower the heavy metals, it would    12   Q        Okay. So you'd agree with me that,
      13   have to be blending Vermont talc with a             13   hypothetically, beneficiation, done properly,
      14   non-Vermont source.                                 14   could remove the chlorite which would drop the
      15          Say we know that the metal numbers are       15   levels of heavy metals contained in the talc?
      16   low in Chinese talc. So if you wanted to have 50    16   MS. O'DELL:
      17   percent Chinese talc, 50 percent Ludlow talc,       17           Object to the form.
      18   then your total metals are gonna go down.           18   A        I would say that it might.
      19   Q       Okay.                                       19   MR. FROST:
      20   A       So blending can do that. But there's        20   Q        And, again, if I were to ask you --
      21   no indication that anything like that was ever      21           And I'll ask it as one question, which
      22   done other than blending Vermont talc with          22   I know is compound, so there'll be an objection.
      23   Vermont talc.                                       23           But if I were to ask you with respect
      24   Q       And your opinion is that blending of        24   to arsenic, cobalt, chromium, nickel --
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       1          I believe that's all of them.                 1   A        It's -- the -- the technique used by
       2   A        Yep. That's it.                             2   Johnson & Johnson would not distinguish between
       3   Q        Okay. You couldn't tell me to any           3   the two, and their -- their specs don't try to
       4   degree of scientific certainty that any              4   distinguish between the two.
       5   individual container would contain enough of         5           They have a -- they have a report --
       6   these particular heavy metals to cause human         6   it's actually quite -- quite interesting -- where
       7   disease; correct?                                    7   they have tried to determine how much of each was
       8   MS. O'DELL:                                          8   present. And I didn't reference it, but I've got
       9          Object to the form.                           9   it somewhere. But there was an attempt probably
      10   A        I'm not an expert in human disease.        10   back in the late 1970s to look at this.
      11   MR. FROST:                                          11   Q        You'd agree with me, based on the
      12   Q        And are you also aware that chromium is    12   sampling results that you rely on for your
      13   a fairly common --                                  13   report, you can't tell whether or not it's cobalt
      14          Well, strike that.                           14   3 versus -- I'm sorry --
      15          Are you aware there's two different          15   A        Chromium.
      16   types of chromium? Well, there's more than, but     16   Q        -- chromium 3 versus chromium 6 in the
      17   there are two different types of chromium that      17   talc; correct?
      18   are generally recognized to be associated with      18   A        They don't report it that way.
      19   rocks?                                              19   MS. O'DELL:
      20   A        Right. Yes.                                20           Object to the form.
      21   Q        And that's chromium 3 and chromium 6?      21   A        They report total chromium.
      22   A        Correct.                                   22   MR. FROST:
      23   Q        Okay. And you're also aware that           23   Q        Okay.
      24   chromium 6 is the one that causes concern;          24   A        Pardon me. I'm not even sure they're
                                                Page 403                                                 Page 405
       1   correct?                                             1   reporting total chromium because that -- that is
       2   MS. O'DELL:                                          2   based on what extraction technique they used.
       3          Object to the form.                           3   Q       Okay. I'm gonna switch gears and turn
       4   A       Yes. Plus 6 chromium is -- is, you           4   to Exhibit 4, which are your invoices. And one
       5   know, considered to be, you know, very bad.          5   thing I noticed as I was going through,
       6   MR. FROST:                                           6   variously, invoices have notations with meeting
       7   Q       Okay. And, in fact, chromium 3 is an         7   with, like, for example, invoice number 5,
       8   essential element to human bodies and everything     8   meeting with potential expert witnesses, Brian
       9   else.                                                9   Fowler and Don Burns.
      10   MS. O'DELL:                                         10   A       Right.
      11          Object to the form.                          11   Q       Who are Brian Fowler and Don Burns?
      12   MR. FROST:                                          12   A       Don Burns is the chief geologist for
      13   Q       It's something human bodies need to         13   Omnia in Vermont, and he and I are friends.
      14   function.                                           14          And Brian Fowler, remember the citation
      15   A       Uh-huh. Yes.                                15   of Chidester, Billings, and Cady?
      16   Q       And you're also aware that cobalt 3 is      16   Q       Uh-huh.
      17   a common element found in rock.                     17   A       Brian Fowler's father-in-law was Marlin
      18   A       Cobalt 3?                                   18   Billings, the Billings in that report. And he is
      19   Q       Sorry. Chromium 3.                          19   a consulting geologist that lives in
      20   A       Yes.                                        20   New Hampshire, right across the line, and he owns
      21   Q       Okay. And you'll agree with me that         21   or owned a company called North American
      22   the chart and the testing results don't designate   22   Preserve -- Reserve that did an awful lot of work
      23   whether or not it's chromium 3 versus chromium 6    23   up there. And -- but, unfortunately, not much of
      24   they're finding in the talc samples; correct?       24   it was related to talc mining, and I didn't know
                                                                           102 (Pages 402 to 405)
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       1   that.                                                1   Q       Okay. And I take it that paper had
       2          And, so, at one point, since I was up         2   nothing to do with talc, this litigation.
       3   there, I said, "I'm gonna look up Brian." Brian      3   A       Absolutely. But he gave me something.
       4   Fowler had worked down here in Alabama. That's       4   Q       It was more of an interesting piece?
       5   how I knew him.                                      5   A       Yeah. Very interesting.
       6          So I looked him up, and he said, you          6   Q       Well, sir, thank you very much. That's
       7   know, "I don't know enough about it to be of any     7   all the questions I have for right now. I'm
       8   help."                                               8   gonna yield my time at this point to my colleague
       9   Q       Okay. So that was the nature of your         9   from Imerys, but I do reserve the right to come
      10   conversation with Brian Fowler is just --           10   back and ask a few questions if I find anything
      11   A       Yeah, sure.                                 11   in my notes.
      12   Q       -- I'm working on this; would you be        12   A       Sure.
      13   interested; and he said, "Unfortunately, I'm not    13          Can I add something? I misspoke
      14   qualified"?                                         14   earlier about Longo.
      15   A       Same with Don burns, and his answer was     15   Q       Okay.
      16   "Hell, no."                                         16   A       I had several copies of reports that he
      17   Q       I was gonna say. So who's Don Burns?        17   did, and I -- I actually had, I want to say,
      18   A       He's the chief geologist for Omnia.         18   about 35 pages of that supplemental report that
      19   Q       Okay.                                       19   summarized, you know, the percent samples that --
      20   A       Their account producer there.               20   that had fibrous talc. And I did rely on that.
      21   Q       And did Mr. Burns express to you why he     21   But I didn't have the full 2,000 pages in front
      22   was not interested in --                            22   of me.
      23   A       He's retiring, didn't want to be            23   Q       Okay.
      24   involved. In fact, he's probably retired now.       24   A       So I did -- I did use him some, but not
                                                Page 407                                                 Page 409
       1   But he was, you know, looking at retirement a few    1   in terms of trying to analyze what he did.
       2   months out. He said -- you know, he's gonna live     2   Q        Okay. So is it fair to say your
       3   in Proctorsville, Vermont, for the rest of his       3   reliance on the Longo testing is with respect to
       4   life, and he said he just didn't want to be          4   the percentage of bottles that he found either
       5   involved. Okay.                                      5   asbestiform -- well, what he characterized as
       6   Q       Okay. And did either Mr. Fowler or           6   asbestiform minerals or fibrous talc?
       7   Mr. Burns provide you with any information that      7   A        It went through his methodology, which
       8   you relied on --                                     8   I thought was pretty interesting since he
       9   A       None.                                        9   actually began to apply numbers to some of the
      10   Q       -- in drafting your opinions in this        10   data.
      11   case?                                               11   Q        Uh-huh.
      12   A       None whatsoever.                            12   A        Which was, I thought, an interesting
      13   Q       And did they provide you any documents      13   thing.
      14   or other information?                               14   Q        Okay. But I think we established
      15   A       None. Well, Brian Fowler gave me a          15   before you didn't do anything to check the
      16   document related to --                              16   work --
      17          You know, New Hampshire's symbol is the      17   A        No, no.
      18   old man in the mountain rock face.                  18   Q        -- or to analyze it.
      19   Q       Uh-huh.                                     19   A        But I think I kind of implied I didn't
      20   A       Well, it collapsed about ten years ago.     20   really look at it very much. But I -- I looked
      21   It's gone. And Brian Fowler's company did the       21   at the first half, first part of his report of
      22   study that showed why the rock face collapsed.      22   the supplemental report.
      23   And he gave me the paper about that. And that's     23   Q        All right. That's all the questions I
      24   the only thing he gave me.                          24   have for right now. We're gonna go off the
                                                                           103 (Pages 406 to 409)
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       1   record and I'll change seats with my colleague.      1   Q       Let me ask you a few things
       2   Thank you very much.                                 2   preliminarily. The one thing I noticed on your
       3   A        Sure.                                       3   CV is that you had a consultancy with Cyprus
       4   VIDEOGRAPHER:                                        4   Mines Corporation --
       5          Going off the record. The time is             5   A       Yes.
       6   5 p.m.                                               6   Q       -- at some point. Can you tell us when
       7              (OFF THE RECORD.)                         7   that was?
       8   VIDEOGRAPHER:                                        8   A       1971 and '72. And this was as a
       9          We're back on the record. The time is         9   consultant through a firm that I worked for.
      10   5:01 p.m.                                           10   Q       And what firm were you working for at
      11                 EXAMINATION                           11   that time?
      12   BY MR. FERGUSON:                                    12   A       Lindgren Exploration Company.
      13   Q        Good afternoon, Dr. Cook. How are you?     13   Q       And could you tell us the general
      14   A        Fine.                                      14   nature of your consultancy with Cyprus Mines
      15   Q        We met briefly before the deposition       15   Corporation?
      16   started.                                            16   A       Exploration for massive sulfites,
      17   A        Yes.                                       17   looking for copper.
      18   Q        My name is Ken Ferguson. Along with        18   Q       So it was an exploration stage rather
      19   Andrew Cary here to my right, we represent          19   than a mining stage like you've been talking
      20   Imerys. You understand that?                        20   about today?
      21   A        Yes.                                       21   A       Yes. It was exploration.
      22   Q        And I'm gonna ask you some questions       22   Q       And how long did that consultancy with
      23   today regarding your testimony and your report.     23   Cyprus Mines continue, more or less?
      24   Please make sure, as Mr. Frost told you, you        24   A       It -- it was full-time pretty much for
                                                Page 411                                                 Page 413
       1   understand what I'm asking before you answer, and    1   a year and a half, and then it was part-time.
       2   then let me know if you don't, and I'll restate      2   And then I came to Auburn and it continued a
       3   the question. Fair enough?                           3   little bit.
       4   A         Fair enough.                               4           But Cyprus, they -- they acquired
       5   Q         Okay. And one thing that I think           5   property where I was working, but in the end they
       6   everybody gets in a little trouble with in this      6   handed it off to Kennecott Copper and, you know,
       7   process, particularly if they haven't been           7   the end result was a failed project. We didn't
       8   through it much before, is talking before the        8   find anything.
       9   person finishes asking the question.                 9   Q        Any other consultancies with Cyprus
      10   A         All right.                                10   Mines Corporation?
      11   Q         Because we all do that in normal          11   A        Not -- not under that name. You know,
      12   conversation. So if you'd do your best to just      12   Cyprus was sold to FI- -- Freeport-McMoRan,
      13   wait till I finish my question, and then -- and     13   somebody like that. And there were Cyprus
      14   then answer, and then I think we can -- we can go   14   employees that moved over to Freeport. But I
      15   a little bit smoother. Fair enough?                 15   never did any more work for them, although I --
      16   A         Fair.                                     16   you know, I was associated with their employees
      17   MS. O'DELL:                                         17   even to this day.
      18           I would just add give me a millisecond      18   Q        And I take it you've never consulted
      19   between the question and the answer, and I'll       19   with Imerys?
      20   have my opportunity to object if I need to.         20   A        No. I have.
      21   THE WITNESS:                                        21   Q        Okay. Tell me the nature of that
      22           Okay.                                       22   consultation.
      23   MR. FERGUSON:                                       23   A        I -- I was a witness for them in a
      24           Fair enough.                                24   sinkhole litigation at Sylacauga.
                                                                           104 (Pages 410 to 413)
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       1   Q        I'm sorry. At what?                        1          I just want him to understand that
       2   A        Sylacauga. It's the name of a town         2   there's not another document other than what he
       3   where Imerys has three operating quarries. They     3   has marked as exhibit -- it's been marked as
       4   make fine ground ultra-white carbonate for paper    4   Exhibit 1 and 2, that that red-line is something
       5   coating and other -- other things.                  5   that you -- you've created.
       6   Q        And when was that?                         6   MR. FERGUSON:
       7   A        It's been within the last ten years.       7          Fair enough. Yes. And I didn't mean
       8   It was a -- this was a relationship that was        8   to imply otherwise. So, yes.
       9   probably a year and a half long. I think I was      9   Q        I just wanted to see what change you
      10   deposed twice.                                     10   made, and there are some computer programs you
      11   Q        And how about Luzenac? Any                11   can do. I think we -- we all do them on
      12   consultancies with Luzenac?                        12   occasion.
      13   A        No.                                       13          So are you with me on page 11?
      14   Q        How about Rio Tinto Minerals?             14   A        I am on page 11.
      15   A        No.                                       15   Q        All right. And you see there's a
      16   Q        Let me change gears a little bit and      16   paragraph that starts "serpentine asbestos"?
      17   ask you about a couple things in your report.      17   A        Yes.
      18   A        Sure.                                     18   Q        Do you see that?
      19   Q        And I'll tell you, I'm kind of            19   A        Yes.
      20   prioritizing since I -- I have limited time. I'd   20   Q        And, in that paragraph, about midway
      21   like to finish up relatively quickly here. And,    21   through, I guess four lines down, you say, "In
      22   so, I may skip around a little bit. It's not to    22   1991, Dr. Alice Blount reported the presence of
      23   confuse you.                                       23   asbestos needles and fibers in Vermont talc which
      24   A        I understand.                             24   she later confirmed to be J&J baby powder."
                                                Page 415                                                Page 417
       1   Q         So just make sure we're on the same       1          And then you cite to Blount 1991 and
       2   page when you answer the questions. Fair enough?    2   her deposition. Is that correct?
       3   A         Sure.                                     3   A       Well, I think that it was -- what I've
       4   Q         And, also, I decided it would be smart    4   referenced there might have been an exhibit in
       5   to -- to copy or print your red-line version of     5   Hopkins' deposition.
       6   your -- your report so I could see what changes     6   Q       Okay. Fair enough.
       7   you made, but it messed up the pagination. So if    7          And but you also, in your citation, say
       8   I get messed up there, you'll have to bear with     8   "Dep Alice Blount" --
       9   me. Fair enough?                                    9   A       Right.
      10   A         Fair.                                    10   Q       -- "Ph.D."
      11   Q         Can you go to page 11 of your report,    11   A       Right. I read her deposition.
      12   please, sir?                                       12   Q       Okay.
      13   MS. O'DELL:                                        13   A       She talked about it.
      14           What -- what red-line? Is that a           14   Q       All right. Now, did you read her 1991
      15   red-line you created?                              15   paper?
      16   MR. FERGUSON:                                      16   A       Yes, I did.
      17           No. It's your -- it's the red-line --      17   Q       And while you say in here that she
      18   yeah, yeah.                                        18   later confirmed the presence of asbestos needles
      19   MS. O'DELL:                                        19   and fibers in what she later confirmed as J&J
      20           Because there was no red-lining --         20   baby powder, there's no reference to J&J baby
      21   MR. FERGUSON:                                      21   powder in her paper itself in 1991, is there?
      22           I understand. I just did a compare.        22   A       I don't think so.
      23   That's all.                                        23   Q       And when you read her deposition --
      24   MS. O'DELL:                                        24   A       I mean, I think she was very careful,
                                                                          105 (Pages 414 to 417)
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       1   really, not to identify what she was working         1   Q       And we're gonna go through these notes
       2   with. I think she gave, you know, numerical or       2   in more detail later so -- so we can understand
       3   letters to her samples.                              3   what they are, but I just wanted to hit this
       4   MS. O'DELL:                                          4   point early on.
       5          In the paper?                                 5          If you'd pass that back to me if you're
       6   THE WITNESS:                                         6   done.
       7          Right.                                        7   A       Sure.
       8          I think that she was trying to, you           8   Q       That's all I wanted to ask you.
       9   know, shield the sources.                            9          And then I wanted to ask you about 3.5,
      10   MR. FERGUSON:                                       10   which I will pass to Miss O'Dell first.
      11   Q        Okay. But in the paper,                    11   MS. O'DELL:
      12   Johnson & Johnson baby powder was not identified?   12          Thank you.
      13   A        Correct.                                   13   MR. FERGUSON:
      14   Q        And you say she later confirmed that a     14   Q       Now, again, is that another page of
      15   sample was Johnson & Johnson baby powder.           15   your notes?
      16   Correct?                                            16   A       Yes.
      17   A        Correct.                                   17   Q       Okay. And, if you wouldn't mind, can
      18   Q        Now, I have marked as -- it was already    18   you hand it -- since we just got it today, I
      19   marked as Exhibit 3 -- a folder with your notes,    19   didn't make copies of it.
      20   and I've taken the liberty -- I hope it's okay --   20   A       Sure.
      21   A        Sure.                                      21   Q       Can you hand it to me and let me ask
      22   Q        -- marking each page. There's a 3.1,       22   you a question or two?
      23   3.2, so we can identify what we're talking about.   23          You have a notation after page 53 that
      24   Fair enough?                                        24   says "date confusion, 1996 purchase versus 1991
                                                Page 419                                                Page 421
       1   A        Fair enough.                                1   paper. Sample I-J&J baby powder."
       2   Q        Okay. And let me show you what I've         2   A       Uh-huh.
       3   marked as Exhibit 3.2.                               3   Q       Is that correct? Did I read that
       4   MS. O'DELL:                                          4   correctly?
       5          Can you do a round robin so I can --          5   A       Right. And I'm not sure that I wasn't
       6   MR. FERGUSON:                                        6   the one confused. But when I -- when I read --
       7          Yeah. If I find --                            7   this was in her deposition. I believe these page
       8   MS. O'DELL:                                          8   numbers refer to her deposition. And I think
       9          -- so I can --                                9   that she corrected some information that she may
      10   MR. FERGUSON:                                       10   have misspoke.
      11          Sure.                                        11   Q       But -- but you certainly, in reading
      12   A        Okay.                                      12   it, were confused about what she was talking
      13   MR. FERGUSON:                                       13   about; correct?
      14   Q        And there's a reference to Alice Blount    14   A       Correct.
      15   at the top of that page; correct?                   15   Q       And you were confused about what she
      16   A        Yes.                                       16   was talking about with regard to the sample that
      17   Q        And what -- what does that say? I just     17   she was trying to identify; correct?
      18   want to make sure I know what it means.             18   MS. O'DELL:
      19   A        It says "Add Alice Blount."                19          Object to the form.
      20   Q        And, then, what does that mean?            20   A       It was the dates. Only -- only the
      21   A        It simply meant that I needed to           21   dates.
      22   include her in my report.                           22   MR. FERGUSON:
      23   Q        I see.                                     23   Q       Okay. And you say in here 1991 versus
      24   A        That's all.                                24   1996; correct?
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       1   A        Correct.                                    1   Q        And -- and, so, I want to understand
       2   Q        Okay. Did that have to do with when         2   that testimony. I think you and Mr. Frost talked
       3   she acquired the sample?                             3   a bit about that. You're -- you're saying that,
       4   A        I think that that had to do with the        4   for example, Mr. Downey noted in his deposition
       5   date that she mentioned in her deposition, which     5   that the talc is asbestos-free. Is that correct?
       6   was incorrect. Now, that's from my memory.           6   A        I think so.
       7   Q        And, then, you've written another note      7   Q        Let's look at a portion of his
       8   by page 57. And what does that note say?             8   deposition together. And if you'd go to your
       9   A        You're asking me to read my own             9   left, I believe, is a white binder that says
      10   writing?                                            10   "Downey."
      11   Q        If you don't mind.                         11   A        Yeah. Okay.
      12   A        Okay.                                      12   Q        You've got it?
      13   Q        I can take a shot at it, but you may       13   A        Yeah. Sure.
      14   have a better shot.                                 14   Q        Okay. And -- and, if you would, turn
      15   A        It says "Confusion concerning sample       15   to Mr. Downey's deposition.
      16   IDs."                                               16   A        Okay.
      17          And, again, it was -- it was me that         17   MS. O'DELL:
      18   was confused. I had to go back and reread what      18           Ken, when you get to wherever you're
      19   she was saying, and there were a couple of          19   going, let me know the number. I can get there,
      20   handwritten exhibits, I think, in her deposition    20   but it may take me just a second.
      21   that -- that I had to look at two or three times.   21   MR. FERGUSON:
      22   Q        And would you agree that there was some    22           Sure. Yep. Yep. I have that. I'm
      23   confusion about when she purchased the particular   23   trying to identify the pages on the computer.
      24   sample that she was referencing and she had         24   Oh, there it is.
                                                Page 423                                                 Page 425
       1   tested?                                              1   Q         Okay. So -- so if you look at page
       2   A        I don't think --                            2   96 --
       3   MS. O'DELL:                                          3   A         Okay.
       4           Object to the form.                          4   Q         So you see at -- starting at line 17 --
       5   A        I don't think she was confused. I           5   A         Uh-huh.
       6   think I was confused.                                6   Q         -- the question by, I believe,
       7   MR. FERGUSON:                                        7   Miss O'Dell, it says: "And 'Imerys Talc
       8   Q        Let's talk about another issue, which       8   America.' I'm just going to go ahead, since I've
       9   is -- can you go to your report at page 41?          9   done that much. 'RTM and Luzenac America was/is
      10   A        Got it.                                    10   responsible for ensuring that the talc sold to
      11   Q        In the -- the -- well, it's one of         11   J&J was" -- since they're currently selling it --
      12   those where I can't tell you when. There's a        12   "is asbestos-free. Can we agree on that?"
      13   heading called "Testing Methodologies For           13           And then the answer, after an
      14   Asbestos Were Inadequate."                          14   objection, is: "We test our product to ensure
      15           Correct?                                    15   that it doesn't contain measurable asbestos, and
      16   A        Yes.                                       16   that's what I can agree to."
      17   Q        Okay. And in, I believe, the first         17           And that's what Mr. Downey answered.
      18   paragraph, the last sentence, it says,              18   Correct?
      19   "Regardless, the specification for cosmetic talc    19   MS. O'DELL:
      20   as indicated in the Hopkins, Downey, and Pier       20           Object to the form.
      21   depositions of 2018 is that the talc is             21   A         That's what he said here. I'm not sure
      22   asbestos-free."                                     22   this is the only point in his deposition that
      23           Correct?                                    23   this topic appears.
      24   A        Yes.                                       24           I would also like to add something to

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                                           Robert Cook, Ph.D.
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       1   that. The concept of measurable asbestos is an       1   asbestos-free, and we've been, you know, in this
       2   interesting one. There's a way to preconcentrate     2   room together for a few hours and, you know,
       3   samples that gives you a lot bigger opportunity      3   even, say, that the air in this room is
       4   to detect small amounts of asbestos. And this        4   asbestos-free. So I can't really agree with the
       5   was pointed out in the -- in the '70s by both        5   way that you've written that."
       6   Pooley, Colorado School of Mines, and even, I        6          Did I read that correctly?
       7   believe, Dartmouth. And this idea of                 7   A       Yeah.
       8   preconcentration --                                  8   Q       Okay. And certainly based on the
       9         Oh, and Alice Blount even -- that was          9   answers that we read --
      10   what she used. It was completely rejected for       10          And I'm not gonna sit here and read the
      11   reasons unknown. And it would have -- it would      11   whole deposition, and you wouldn't want me to.
      12   have allowed a much lower detection limit.          12   A       Yeah. That's a problem.
      13         And, so, it's easy to say, you know,          13   Q       But in terms of what we've read, he did
      14   well, we didn't really detect any. But he could     14   not say that the policy was asbestos-free. He
      15   have added but we might have if we'd used a         15   explained in his answers what his -- what the
      16   preconcentration technique, as recommended. So,     16   policy was or his philosophy of the policy.
      17   you know, I'm not sure what -- what he really       17   MS. O'DELL:
      18   might have been meaning there.                      18          Object to the form.
      19   Q       Okay. Well, but you don't know what he      19   MR. FERGUSON:
      20   meant, but we can read what his testimony was, as   20   Q       Correct, sir?
      21   we did; correct?                                    21   A       I think on the two pages we looked at
      22   MS. O'DELL:                                         22   out of a deposition that's, what, 5- or 600 pages
      23         Object to the form.                           23   long.
      24   A       And we did.                                 24   Q       Can you cite me to the portion --
                                                Page 427                                                 Page 429
       1   MR. FERGUSON:                                        1   A       No.
       2   Q        Okay. Why don't you go to page 97.          2   Q       -- in which Mr. Downey said what you
       3   Let's read one more question and answer.             3   said he said, which is that the policy is
       4   A        Okay.                                       4   asbestos-free?
       5   Q        At page 97, starting at line 20 --          5   A       No.
       6   A        Okay.                                       6   MS. O'DELL:
       7   Q        -- by Miss O'Dell: "Is that fair?           7          Object to the form.
       8   Because you wouldn't agree it's not -- you won't     8   MR. FERGUSON:
       9   agree it's asbestos-free. You agree that it's        9   Q       Okay. You can -- you can put that
      10   below detectable limits; true?"                     10   away. I think we're through with Mr. Downey for
      11           And then Mr. Downey's answer is -- is a     11   the time being.
      12   little long, so just follow it along with me. He    12   A       Okay.
      13   says, on page 98: "Our talc, we have a rigorous     13   Q       Just go ahead and set that to your
      14   testing program that also includes not only the     14   left, because I know it's a big volume.
      15   testing itself but our knowledge of the ore         15   MS. O'DELL:
      16   deposits and the testing that and sampling and      16          Don't let it go far. I'll take it.
      17   mapping that we do continually through the          17   MR. FROST:
      18   process. We are confident that our products are     18          You there, Leigh?
      19   safe, but in terms of a detection limit, I'm not    19   MS. O'DELL:
      20   the expert on that. Julie Pier can speak to         20          Yeah, I've got it. I'm good.
      21   that. But the scientific instruments are not        21   MR. FERGUSON:
      22   available to tell us that our product is, quote,    22          You good?
      23   unquote, asbestos-free. We can't say that in        23   MS. O'DELL:
      24   this room that has air in this room is              24          Yeah. I'm good. Barely.
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                                           Robert Cook, Ph.D.
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       1   MR. FERGUSON:                                        1          Object to the form.
       2           Barely?                                      2   A       I thought that you asked about
       3   MS. O'DELL:                                          3   peer-reviewed publications. I've not cited Longo
       4           Barely.                                      4   in a peer-reviewed publication. The only place
       5   MR. FERGUSON:                                        5   I've ever mentioned him is in my expert report.
       6           You ready for us to go, Leigh?               6   I guarantee it won't be published.
       7   MS. O'DELL:                                          7   MR. FERGUSON:
       8           Yeah, yeah.                                  8   Q       In your report on a number of
       9   MR. FERGUSON:                                        9   occasions, you refer to contemporaneous testing
      10   Q        Dr. Cook, as you and Mr. Frost talked      10   that shows the presence of -- of certain
      11   about, you've published a number of peer-reviewed   11   contaminants in Johnson & Johnson's baby powder.
      12   academic papers; correct?                           12   Correct?
      13   A        Correct.                                   13   A       "Contemporaneous testing."
      14   Q        Is it fair to say that customarily you     14   Q       Yes, sir.
      15   cite peer-reviewed research in your academic        15   A       I mean, is that your word or my word?
      16   papers?                                             16   Q       That's your word.
      17   A        It's not the only thing you cite, but,     17   A       Okay.
      18   sure, that's fair enough.                           18   Q       When you refer to contemporaneous
      19   Q        Okay. And -- and in your academic          19   testing, are you referring to -- to Dr. Longo's
      20   papers, would it be fair to say that you            20   report?
      21   generally do not cite to paid experts for a         21   A       No.
      22   particular party with an interest in the            22   Q       Okay. What are you referring to?
      23   litigation?                                         23   A       No. I think contemporaneous testing
      24   MS. O'DELL:                                         24   means that you're -- you're testing in a -- in a
                                                Page 431                                                 Page 433
       1          Object to the form.                           1   timely manner relative to the processes that are
       2   A        I would hope not to do that.                2   in place. For instance, if you're gonna -- if
       3   MR. FERGUSON:                                        3   you're gonna test the drill cuttings that are
       4   Q        Okay. So in your academic papers, you       4   generated by your blast hole driller, then you
       5   would not cite to a non-peer-reviewed publication    5   need to go ahead and analyze those. It makes no
       6   that is authored by a litigation expert who was      6   sense to wait for a year after the blast has been
       7   hired by a particular side in litigation;            7   made and another blast and another blast and then
       8   correct?                                             8   analyze them. That would not be contemporaneous
       9   MS. O'DELL:                                          9   testing. And that's all I'm saying. You need to
      10          Object to the form.                          10   be testing as you move forward in the milling and
      11   A        If I did, it would not be on purpose.      11   mining process so that you know what the
      12   MR. FERGUSON:                                       12   character of the material is at the time that
      13   Q        But in your report here, that's exactly    13   you're producing it, not a year or ten years
      14   what you did do; correct?                           14   later.
      15   A        I don't know.                              15   Q         And you and Mr. Frost talked toward the
      16   Q        Did you cite to Mr. -- Dr. Longo's         16   end of your questioning about the extent to which
      17   report?                                             17   you relied or didn't rely on Dr. Longo's testing.
      18   A        Oh, I had to. Of course. I mean, I'm       18   Do you recall that conversation?
      19   not sure that I understand why there's a problem    19   A         Yes.
      20   with that.                                          20   Q         Okay. And I'm not gonna go back
      21   Q        But that is different than what you do     21   through that.
      22   in your academic papers.                            22   A         I mean, I've referenced him. And
      23   A        Well, but you --                           23   that -- that was why I said I'd like to say a
      24   MS. O'DELL:                                         24   little -- a little bit more about Longo.

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       1   Because, you know, he has more than one report.      1   MS. O'DELL:
       2   Q        Now, Dr. Longo's reports relate to          2          Fair enough.
       3   whether there is or is not asbestos in baby          3   MR. FERGUSON:
       4   powder; correct?                                     4          Trying to save time there.
       5   A        And fibrous talc.                           5   MS. O'DELL:
       6   Q        Okay. Now, are you aware that the           6          Okay. Well, I'm just being clear.
       7   U.S. Food and Drug Administration actually tested    7   MR. FERGUSON:
       8   a number of body powder products and raw material    8          Fair enough. So we'll start over so I
       9   talc about ten years ago to determine if, in         9   say that -- say that technically correct.
      10   fact, there was asbestos detected in that -- that   10   Q       You are aware, then, that a raw --
      11   product or those products?                          11   cosmetic raw material talc that was supplied by
      12   A        I'm --                                     12   Rio Tinto Mineral/Luzenac America in eight
      13   MS. O'DELL:                                         13   separate lots was supplied to the FDA for
      14           Object to the form.                         14   testing?
      15   A        I'm familiar with the report. And at       15   A       I don't know about the eight separate
      16   the end of the report, it says that these results   16   lots.
      17   are not to be taken to mean there's no asbestos     17   Q       Okay.
      18   in these products.                                  18   A       I don't remember that.
      19   MR. FERGUSON:                                       19   Q       You know they supplied some.
      20   Q        With regard to the findings of that        20   A       Yes.
      21   report, do you know that -- that both               21   Q       And that there was no asbestos
      22   Johnson & Johnson and Imerys supplied product to    22   detected; correct?
      23   be tested by the FDA?                               23   A       Correct.
      24   A        Yes.                                       24   Q       And that there was no asbestos --
                                                Page 435                                                 Page 437
       1   Q        Correct?                                    1   A        With some methods employed.
       2   MS. O'DELL:                                          2   Q        Of course. With the methods they
       3           Object to the form. That's a                 3   employed, the U.S. Food and Drug Administration,
       4   misstatement as to Johnson & Johnson, as you're      4   there was no asbestos detected in the
       5   aware.                                               5   Johnson & Johnson baby powder product that they
       6   MR. FERGUSON:                                        6   had obtained. Correct?
       7           Let me go back.                              7   A        Right.
       8   MS. O'DELL:                                          8   MS. O'DELL:
       9           In terms of supplying it. They               9           Object to the form.
      10   purchased it, but Johnson & Johnson did not         10   A        Yes.
      11   supply.                                             11   MR. FERGUSON:
      12   MR. FERGUSON:                                       12   Q        And is it also true that they obtained
      13           My -- my bad language. Okay?                13   a Johnson & Johnson Shower to Shower product as
      14   Q        Do you understand that the FDA did, in     14   well?
      15   fact, test a Johnson & Johnson baby powder          15   A        I believe that's correct.
      16   product?                                            16   Q        Okay. And, likewise, did they find
      17   A        Correct.                                   17   that the Shower to Shower product had no asbestos
      18   Q        And they also tested some cosmetic raw     18   detected by the methods they utilized?
      19   material talc supplied by Luzenac; correct?         19   A        I think that's correct.
      20   A        I think that's right.                      20   Q        Let's talk a little bit about the other
      21   MS. O'DELL:                                         21   substances that you have talked about today,
      22           Rio Tinto.                                  22   including the so-called heavy metals. First of
      23   MR. FERGUSON:                                       23   all, let me talk to you about arsenic.
      24           Luzenac/Rio Tinto, I think it says.         24   A        Okay.
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                                            Robert Cook, Ph.D.
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       1   Q        You've discussed arsenic today;             1          Object to the form.
       2   correct?                                             2   A       I don't know. But if you tell me that,
       3   A        Correct.                                    3   I would accept it.
       4   Q        Would you agree that the general            4   MR. FERGUSON:
       5   population is exposed to arsenic through --          5   Q       Okay. I could refer you to IARC page
       6   through various modes?                               6   175.
       7   A        Oh, I think so.                             7   A       Okay.
       8   Q        Arsenic is actually transported in the      8   Q       I'll tell you IARC says that.
       9   environment by water; correct?                       9   A       Okay.
      10   MS. O'DELL:                                         10   Q       You're not arguing with IARC on that
      11          Object to the form.                          11   point, are you?
      12   A        Yes. And -- and the -- the -- the          12   A       Nope.
      13   limits on arsenic in water has -- has lowered       13   Q       Okay. And nickel's found in food and
      14   dramatically.                                       14   drinking water; correct?
      15   MR. FERGUSON:                                       15   A       Yes.
      16   Q        And -- and arsenic is found in drinking    16   Q       And, then, chromium was another
      17   water in many places, including in the              17   substance you talked about; correct?
      18   United States, correct, at some level?              18   A       Correct.
      19   A        I think that at some level, yes. I         19   Q       The general population can be exposed
      20   think that you're looking at the low parts per      20   to chromium through inhalation of ambient air or
      21   billion is -- is, you know, where you'd better      21   ingestion; correct?
      22   be. If you're in the parts per million, you're      22   A       Correct.
      23   gonna -- you know, you're out of spec. You're in    23   Q       Now, you've talked about each of these
      24   trouble.                                            24   substances, nickel, chromium, arsenic, and said
                                                Page 439                                                Page 441
       1   Q        Would you agree that many foods even        1   that -- I'm trying to figure out where -- you
       2   contain arsenic?                                     2   said these are known carcinogens, I believe, in
       3   A        Yes.                                        3   each instance. Is that correct?
       4   Q        And that particularly the highest           4   MS. O'DELL:
       5   concentrations of food -- of arsenic in food are     5           Object to the form.
       6   in seafood?                                          6   MR. FERGUSON:
       7   A        I don't know that that's true. I know       7   Q        In your report.
       8   that it's true for probably mercury, but I'm         8   MS. O'DELL:
       9   not -- I'm not sure about arsenic. But I could       9           Object to the form.
      10   certainly see how arsenic could -- could get into   10   A        Yes. You did not include cobalt;
      11   seafood.                                            11   right?
      12   Q        Did you read the 2012 publication          12   MR. FERGUSON:
      13   monograph by IARC on arsenic metals, fibers, and    13   Q        I did not include cobalt.
      14   dusts?                                              14   A        Okay. Right, then.
      15   A        If I read that section, I read it          15   Q        Is that correct?
      16   really early on in the process of going through     16   A        I think so.
      17   all the materials that I was supplied.              17   Q        So nickel, chromium, arsenic you have
      18   Q        Let's talk about another substance that    18   said are known carcinogens; correct?
      19   you've talked about some, which is nickel. Do       19   A        I believe they are.
      20   you recall discussing nickel today?                 20   Q        Now, and I realize you are not an
      21   A        Sure.                                      21   expert on toxicology --
      22   Q        And nickel, in fact, is the 24th most      22   A        Correct.
      23   abundant element; correct?                          23   Q        -- or carcinogenicity or medicine;
      24   MS. O'DELL:                                         24   correct?
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                                            Robert Cook, Ph.D.
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       1   A       Correct.                                     1   Would you agree with me that asbestos minerals
       2   Q       But in your report you said these are        2   are widespread in the environment?
       3   known carcinogens; correct? Is that based on --      3   MS. O'DELL:
       4   A       Well, I think they're spelled out in         4          Object to the form.
       5   IARC that they are.                                  5   A        Asbestos minerals? Yes. In terms of
       6   Q       Now, with regard to IARC, with regard        6   the amphiboles with respect to chrysotile,
       7   to -- and we'll take them separately. With           7   probably it's -- it's more limited in occurrence.
       8   regard to nickel, is there any statement in IARC     8   MR. FERGUSON:
       9   indicating that nickel is in any way associated      9   Q        And why don't -- why don't we go ahead
      10   with ovarian cancer?                                10   and just refer, in case we need to, to the IARC
      11   MS. O'DELL:                                         11   2012 monograph.
      12          Object to the form.                          12          I -- I set it over there to his left,
      13   A       I did not read anything to that effect.     13   Leigh. I believe it's the one right there, if I
      14   MR. FERGUSON:                                       14   recall correctly.
      15   Q       Okay. And with regard to chromium, is       15   A        Okay.
      16   there any indication in the IARC report in 2012     16   Q        Can you, first of all, turn to the
      17   that chromium is in any way associated with         17   monograph itself, which I think is the first item
      18   ovarian cancer?                                     18   in there?
      19   MS. O'DELL:                                         19   A        It is.
      20          Object to the form.                          20   Q        Okay. And would you go to page 222?
      21   A       Again, I didn't read anything that          21   A        I'm getting there. Okay. I've got it.
      22   would indicate that.                                22   Q        Are you there, 222?
      23   MR. FERGUSON:                                       23   A        Right. Uh-huh.
      24   Q       And, likewise, arsenic, is there any        24   Q        Under "Natural Occurrence" --
                                                 Page 443                                                Page 445
       1   indication in the IARC report that arsenic is in     1   A       Uh-huh.
       2   any way associated with ovarian cancer?              2   Q       Do you see that section? And there's
       3   MS. O'DELL:                                          3   the sentence I just quoted, "Asbestos minerals
       4           Object to the form.                          4   are widespread in the environment and are found
       5   A        I didn't read anything like that.           5   in many areas where the original rock mass has
       6   MR. FERGUSON:                                        6   undergone metamorphism."
       7   Q        And you understand that -- that the         7          Correct?
       8   litigation that we're here today about deals with    8   A       Correct.
       9   ovarian cancer; correct?                             9   Q       And further they go on in IARC to say
      10   A        I -- I understand that.                    10   that asbestos minerals are found in the water,
      11   Q        You're welcome to look at it, but I'll     11   soil, and air.
      12   represent to you on pages 5 to 6 of your report     12          Is that accurate?
      13   you -- you have a quote that says, "Hand sorting    13   MS. O'DELL:
      14   at the Chinese mine is used as a first step in      14          In terms of what it states or --
      15   the beneficiation process."                         15   MR. FERGUSON:
      16           Do you recall generally making that         16   Q       Yeah.
      17   comment?                                            17   A       Air monitoring for asbestos is -- was a
      18   A        Sure. Of course.                           18   major industry. So with respect to air,
      19   Q        Well, we can look it up if you want.       19   certainly. Soil, certainly. There's been lots
      20   A        No. I remember writing it. It's true.      20   of work done on that. Water, I don't -- I don't
      21   Q        Okay. Are you critical of hand sorting     21   have a knowledge base relative to water with
      22   as a first step in the beneficiation process?       22   respect to asbestos. I'm sure you can find it in
      23   A        No.                                        23   some waters. I'm not sure that -- that these
      24   Q        Let's talk a little bit about asbestos.    24   waters aren't gonna be directly related to some
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                                           Robert Cook, Ph.D.
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       1   peculiar industrial application, such as maybe      1   Q       Cubic meter. My bad. I know three is
       2   outside of an insulation factory, something like    2   a cubic.
       3   that you might find surface water that has a        3   A       Yep.
       4   little asbestos in it.                              4   Q       Is that correct?
       5   Q        Take a look at page 224.                   5   A       Correct.
       6   A        Okay. Okay. Got it.                        6   Q       Okay. And do you take issue with that?
       7   Q        You see there's a section on water?        7   I know --
       8   A        I see it.                                  8   A       No.
       9   Q        It says, "Asbestos can enter the           9   Q       And then it goes on to say in that
      10   aquatic environment from both natural and          10   paragraph, "Typical concentrations are about
      11   anthropogenic sources."                            11   tenfold higher in urban locations and about 1,000
      12   A        Sure.                                     12   times higher in close proximity to industrial
      13   Q        And has been measured in both ground      13   sources of exposure, asbestos mine or factory,
      14   and surface water samples; correct?                14   demolition site or improperly protected
      15   A        Yes.                                      15   asbestos-containing waste site."
      16   MS. O'DELL:                                        16         That's what IARC says; correct?
      17           Would you mind finishing the paragraph?    17   A       I think there's lots of data on that.
      18   MR. FERGUSON:                                      18   Q       Sorry?
      19           Oh, I'm happy -- I'm happy to read the     19   A       I think there's a lot of data on that
      20   whole paragraph. I don't want to read the whole    20   that would suggest that that's a correct
      21   thing. But it says, "Erosion of asbestos-bearing   21   statement.
      22   rock is the principal natural source.              22   Q       And just a couple more here. In the
      23   Anthropogenic sources include erosion of waste     23   next paragraph, it says, "In indoor air -- e.g.,
      24   piles containing asbestos, erosion of asbestos     24   in homes, schools, and other buildings --
                                                Page 447                                                Page 449
       1   cement pipes, disintegration of                     1   measured concentrations of asbestos are in the
       2   asbestos-containing roofing materials and           2   range of 30 to 6,000 fibers per cubic meter."
       3   industrial wastewater runoff."                      3          Correct?
       4   MS. O'DELL:                                         4   A        Correct.
       5          Okay.                                        5   Q        So the bottom line is there is a level
       6   MR. FERGUSON:                                       6   of background exposure to asbestos for the
       7   Q       Why don't you go to page 225.               7   general population. Correct?
       8   A       Okay.                                       8   MS. O'DELL:
       9   Q       And you see there's a section called        9          Object to the form.
      10   "Exposure of the General Population"?              10   A        I think it's a correct statement.
      11   A       Yes.                                       11   MR. FERGUSON:
      12   Q       And the first sentence there says,         12   Q        I'm sorry?
      13   "Inhalation of asbestos fibers from outdoor air    13   A        I think that's a correct statement.
      14   and, to a lesser degree, an indoor air is the      14   Q        I want to talk to you a little bit
      15   primary route of exposure for the nonsmoking       15   about your notes that we made reference to
      16   general population."                               16   earlier. Just -- I'm not gonna have you read
      17          Correct?                                    17   them into the record.
      18   A       Correct.                                   18   A        Okay.
      19   Q       If you look in the next paragraph, the     19   Q        Thankfully.
      20   second sentence says that low levels of asbestos   20   A        Yeah.
      21   have been measured in outdoor air in rural         21   Q        But I just had a few questions on
      22   locations. Typical concentration, 10 fibers per    22   the -- what I'll hand to you as 3.1. You have
      23   square meter. Correct?                             23   the letter K in the upper left-hand corner, and
      24   A       Cubic meter.                               24   then it says "Page 4, Italian-mined ultramafic
                                                                          113 (Pages 446 to 449)
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       1   origin" with two question marks. Okay? And           1   A        Sorry about that.
       2   we'll let Miss O'Dell take a look at it, and then    2   MR. FERGUSON:
       3   I'll ask you what is meant by that.                  3   Q        And my question to you is --
       4   A        Sure. Not a problem.                        4           And feel free to look at -- take your
       5   Q        Okay. I'm --                                5   time to look at it if you need to.
       6   A        I wish I had put dates on these.            6           At the top, it says, "For expert report
       7   Q        I'm assuming that that is a reference       7   12-29-18." What does that mean? Does that mean
       8   to Dr. Krekeler's report. Is that correct?           8   it's -- well, you tell me what that means. Notes
       9   A        I think it is.                              9   for your expert report?
      10   Q        Okay.                                      10   A        I turned in my -- the first version of
      11   A        I can tell you what -- what the note       11   my expert report prior to this date. And then
      12   means.                                              12   these are notes about things that need to be
      13   Q        All right.                                 13   added since I'm getting the material.
      14   A        There -- there are ophiolites              14   Q        Okay. Fair enough.
      15   associated with the mountain-building process       15           Then 3.8, I'm just trying to figure out
      16   that produced the Alps. And, so, ophiolites are     16   generally what that is.
      17   ultramafic. So you could have had talc              17   A        Sure.
      18   occurrences that were similar to those in Vermont   18   Q        You don't have to fill me in on all the
      19   or you could have had the Val Chisone type, which   19   details but I'm trying to understand what the
      20   we know are actually related, to metamorph those    20   purpose of that document is.
      21   carbonate rocks. And I -- I was making really a     21   A        Sure.
      22   note to myself to go back and take a hard look at   22           Oh, this is something that I did very
      23   the Italian talc occurrences and make darn sure     23   early on. When I first was asked by Miss O'Dell
      24   that there are no ultramafic rocks associated       24   to look at this, one of the things I did was to
                                                Page 451                                                 Page 453
       1   with Val Chisone.                                    1   try to track possible talc sources. I wasn't
       2   Q       Okay.                                        2   aware of -- I mean, I knew that there was Montana
       3   A       And that's all that means.                   3   talc being mined. I didn't know at this point
       4   Q       Could I have that back --                    4   whether or not Montana talc was being used as a
       5   A       Sure.                                        5   cosmetic product, for example.
       6   Q       -- please?                                   6          So this is -- this is just a page where
       7   A       You bet.                                     7   I was jotting down some notes about where talc
       8   Q       Are there any ultramafic rocks in            8   had been mined in the US. That's it.
       9   Val Chisone?                                         9   Q        Thank you.
      10   A       They are not shown in the immediate         10   A        Sure.
      11   proximity to those talc deposits.                   11   Q        And then there's several pages that I
      12   Q       Okay.                                       12   think seem obvious that you had a Downey depo.
      13   A       If they're there, you don't see them on     13   Then you have notes --
      14   the map of the deposits.                            14   A        Right.
      15   Q       So you're not aware that they're there.     15   Q        -- out beside page whatever.
      16   You don't see --                                    16   A        Sure.
      17   A       I don't think that the talc deposits        17   Q        So you've made notes on various
      18   are related to ultramafic rocks.                    18   depositions; correct?
      19   Q       I'm sure all this will be very              19   A        Yes.
      20   interesting, but I'm not going to take the time     20   Q        Did you read a transcript of a trial
      21   to go through each of these.                        21   called Herford?
      22          Let me show you 3.6.                         22   A        I don't remember it.
      23   MS. O'DELL:                                         23   Q        Okay. Or depositions from the Herford
      24          Thank you.                                   24   case?
                                                                           114 (Pages 450 to 453)
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       1   A       What would be a -- a name, a person's        1          Would you describe for us the
       2   name that would be deposed?                          2   methodology that you've used in reaching your
       3   Q       I can't tell you.                            3   opinions in this case?
       4   A       I mean, the -- I think I've actually         4   A       Okay. When -- when -- when you first
       5   seen the Herford name, but I don't -- I don't        5   approached me and we discussed the -- the data
       6   know that I've seen a deposition or a transcript.    6   sets that you thought would be available and, you
       7   Q       Let me show you 3.9. Just let me know        7   know, did I understand mining techniques that
       8   what that is. I'm trying to figure out what it       8   might be related to what we were doing and did I
       9   is you summarized there.                             9   understand the milling processes, did I
      10   A       Okay.                                       10   understand the -- the methodology in testing, you
      11   MS. O'DELL:                                         11   know, I answered affirmatively. So you began to
      12          And you're just talking to -- about          12   supply me with documents.
      13   this here? Because there appears to be --           13          But based on your original description
      14   MR. FERGUSON:                                       14   of the project, I started doing my own background
      15          There are a number of things in there.       15   literature review. And, so, I began to weed that
      16   MS. O'DELL:                                         16   literature review, the knowledge I had with that
      17          That the Hicks deposition's reference,       17   review, in with information that I already had in
      18   which, of course, would have been in this case,     18   my head relative to talc and asbestos and heavy
      19   and some other?                                     19   metals and the mining. Anyway, I began to
      20   MR. FERGUSON:                                       20   develop a database from which I worked.
      21          Right. Yeah.                                 21          And, so, as you began to give me
      22   Q       The Herford notation, what is that?         22   information, I began to categorize it based on
      23   MS. O'DELL:                                         23   the type of information. Is it asbestos sources?
      24          Right in the center of that page.            24   Is it mining? In other words, what does that --
                                                 Page 455                                                Page 457
       1   A        Uh-huh. I don't know. I apparently          1   that document pertain to?
       2   didn't use it at all. When I read the                2          And, in the end, I ended up with maybe
       3   deposition, apparently Hicks mentioned this on       3   six or eight headings that -- that I thought I
       4   page 102, and I made a note to that effect.          4   could categorize information in.
       5          I see here that it has x-ray refraction       5          And, so, I began to look -- to look at
       6   mentioned. But I don't -- I don't know. I            6   the material that I had put in each category and
       7   didn't refer to this. I mean, I don't think I        7   see if there were trends that were beginning to
       8   referred to it in my report.                         8   come out of the -- out of these data sets.
       9   Q        Dr. Cook, I think that's all I have.        9          And, of course, in some, there were.
      10   Thank you -- thank you for your time, sir.          10   And, so, I began to take notes, and those notes
      11   A        Okay. You're welcome.                      11   were in the form originally of -- of a simple
      12   MS. O'DELL:                                         12   outline of headings with statements. And from
      13          Let's go off the record.                     13   that outline and those statements, those
      14   VIDEOGRAPHER:                                       14   statements became paragraphs as more information
      15          Going off the record. The time is 5:46       15   was gained, and ultimately a report came out of
      16   p.m.                                                16   that.
      17              (OFF THE RECORD.)                        17          And, so, I -- I approached it as I
      18   VIDEOGRAPHER:                                       18   would any research project, except that I wasn't
      19          We're back on the record. The time is        19   generating new data. I was evaluating existing
      20   6:21 p.m.                                           20   data. And -- and that's an accepted technique in
      21                 EXAMINATION                           21   terms of using the scientific method to come to a
      22   BY MS. O'DELL:                                      22   conclusion or an opinion.
      23   Q        Dr. Cook, I have a few questions for       23          And, so, you know, ultimately, you see
      24   you.                                                24   these documents here. They're about maybe 650
                                                                           115 (Pages 454 to 457)
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       1   documents here, and this is not half of the          1   Dr. Cook?
       2   documents that I've reviewed so far. And --          2   MR. FROST:
       3   and -- and I hope to continue reviewing documents    3          Oh, yes. Absolutely. That's fine.
       4   that will then add to the database from which my     4   MS. O'DELL:
       5   opinions will be supported.                          5   Q       And you'll see -- I believe it's on
       6   Q        Why did you -- you cited some geologic      6   page 993, but that's where the --
       7   references in articles. I think one of them was      7   A       Right.
       8   Van Gosen. I think you were asked about              8   Q       -- Vermont description occurs.
       9   Chidester earlier today, as well as some             9   A       Sure.
      10   references that related to not only Vermont talc    10   Q       Would that description of the Vermont
      11   deposits but also Italian talc. What was the        11   talc deposits be relevant and applicable to the
      12   purpose of citing those references?                 12   Vermont mines that were used to source
      13   MR. FROST:                                          13   Johnson & Johnson's talcum powder products?
      14           Objection to form.                          14   A       Sure. It's a -- it's a brief
      15   A        Yeah. Well, the Vermont papers had to      15   description of the -- the talc district as a
      16   do with setting the stage for the geologic          16   whole, and from that you can begin to -- to put
      17   framework within which the ultramafic rocks         17   individual deposits. But this is just a -- a
      18   occurred. So they weren't intended to point out     18   general background paper.
      19   any character events, any specific mine. It was     19   Q       Okay. In the methodology, have you --
      20   to -- to give the interested reader some way to     20   you've described, is that methodology you've used
      21   gain background information.                        21   at other points in -- in your career?
      22           And the same is really true about the       22   MR. FROST:
      23   Italian talc deposits. I -- I gave those            23          Objection to form.
      24   references that are really general geologic         24   A       Yes. And, in fact, that's -- that's
                                                Page 459                                                 Page 461
       1   information so that there was a foundation upon      1   the standard method of operation. You're
       2   which the more detailed information could be --      2   presented with a problem. I go to the library
       3   be anchored.                                         3   and -- and get all the material I can get and
       4   Q        Uh-huh. Would it have been -- would it      4   read up on it. And, then, in the case of the
       5   be your normal practice as a professional            5   talc litigation here, you -- you have to treat
       6   geologist as well as a professor to refer to and     6   the documents that you're being given as data.
       7   cite general geological references when              7   And the data you use as you would in any
       8   describing a specific deposit?                       8   scientific investigation. You use it to either
       9   A        Yes. That's -- that's the start of          9   confirm a hypothesis or disprove it. And if you
      10   the -- if it's gonna be a paper, that's the start   10   disprove it, you modify the hypothesis and -- and
      11   of a -- of a paper that might be submitted for      11   work on it again. And, so, and that's exactly
      12   publication. You don't want to start and assume     12   what I did here.
      13   that the reader knows more than he may know. You    13   Q        And, in doing that, did you use the
      14   need to give the reader the opportunity to start    14   same attention to detail that you would use in
      15   at a relatively low general point.                  15   your duties previously as a professor of geology?
      16   Q        You were provided a copy that was          16   MR. FROST:
      17   marked as an exhibit -- I think it was Exhibit      17           Objection to form.
      18   11. Was -- was actually the Van Gosen paper.        18   A        Yes. In fact, the attention to detail
      19   A        Okay.                                      19   is almost overwhelming. There's a lot of -- a
      20   Q        And specifically in the Van Gosen          20   lot of detail here.
      21   paper, I think it goes into Vermont talc deposits   21   MS. O'DELL:
      22   on page 933.                                        22   Q        And would it also be the same type of
      23           And, Jack, I have it marked on mine.        23   methodology that you would use in your duties
      24   Do you mind, just for ease, if hand it to           24   consulting for companies as a professional
                                                                           116 (Pages 458 to 461)
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       1   geologist?                                           1   questions on a couple of different topics.
       2   MR. FROST:                                           2   First, let me show you or direct your attention
       3          Objection.                                    3   back to the deposition of Patrick Downey.
       4   A       Yes, in fact, I've done scoping studies      4   A        Sure.
       5   for Kinross and one other company within the last    5   Q        You were asked some questions by
       6   few years. And this is pretty much what they --      6   Mr. Ferguson about the Downey deposition. And,
       7   what they're looking for is a -- a compilation of    7   if I recall correctly, the suggestion was made
       8   all information available on a particular topic      8   that Mr. Downey did not testify that Imerys
       9   or area put together in a report. And the            9   certified that the talc powder sold to
      10   working hypothesis for a mining company is, in      10   Johnson & Johnson was asbestos-free. Do you
      11   this area, given all the data that's available to   11   remember those questions?
      12   you, would you recommend coming in and spending a   12   A        Yes.
      13   million bucks looking for a new mineral deposit?    13   MR. FERGUSON:
      14          And, so, from that standpoint, it's          14           Object to the form.
      15   exactly what -- what I did here. I mean, it's       15   A        I remember the questions.
      16   the same general intellectual exercise.             16   MS. O'DELL:
      17   MS. O'DELL:                                         17   Q        In -- you know, direct your attention
      18   Q       As a part of -- of -- of -- of your         18   to page 508 of the transcript and to line number
      19   methodology outside litigation, would you           19   15.
      20   routinely rely on testing data as a part of that    20   A        508?
      21   process?                                            21   Q        506. Excuse me. I'm sorry. 506, line
      22   A       Would I -- would I be doing the             22   15.
      23   testing? Sometimes.                                 23   A        Okay.
      24   Q       No, sir. Just -- but rely on data,          24   Q        And the question was asked to
                                                Page 463                                                Page 465
       1   testing data, in regard to your process of --        1   Mr. Downey: "Why were you not able to give a
       2   A       Sure.                                        2   true -- a simple true-or-false answer to the
       3   Q       -- of evaluating.                            3   question of asbestos-free?"
       4   A       Of course. In fact, that's one of --         4           Answer: "Well, I was trying to be
       5   one of the problems is waiting for data to come      5   scientifically accurate, perhaps hypertechnical,
       6   in from the lab.                                     6   but it was the conjunction of the terms
       7   Q       That's right.                                7   'certified' and 'asbestos-free.' That's not the
       8          You mentioned earlier today that you          8   language that we use in certifications. But if
       9   referenced the report of -- reports of Dr. --        9   you're asking me if our product contains
      10   Dr. Longo --                                        10   asbestos, no, it does not."
      11   A       Right.                                      11           And, in fact, did Mr. Downey testify
      12   Q       -- and Rigler.                              12   that the product provided to Johnson & Johnson
      13          Did you rely on the data reported in         13   for its talcum powder products were free of
      14   Dr. Longo's reports in reaching your opinions?      14   asbestos?
      15   A       Yes.                                        15   MR. FERGUSON:
      16   Q       And would, as I've mentioned,               16           Objection to form.
      17   testing --                                          17   MR. FROST:
      18          Or let me just ask you in a non-leading      18           Objection to form.
      19   way.                                                19   A        It certainly sounds that way in -- in
      20          As a professional geologist, would you       20   the deposition.
      21   routinely rely on testing data as a part of         21   MS. O'DELL:
      22   your -- your responsibility?                        22   Q        Is that what you were referring to?
      23   A       Yes.                                        23   A        Yes, that is what I was referring to.
      24   Q       Let me ask you a couple of different --     24   Q        Thanks, Doctor. You can put that to
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       1   the -- to the side.                                  1   documents that you intended to refer to?
       2   A        Do you want it or not?                      2   A       Yes. I almost think I had this
       3   Q        Just put it there. Thanks so much.          3   document that has a different Bates number on it.
       4          If you will now turn to page 5 of your        4   But, yeah, this -- this is -- that's it.
       5   report.                                              5   Q       Okay. Thank you.
       6   A        Okay.                                       6   MR. FROST:
       7   Q        And, at the bottom of the page, in the      7          Can I see the document?
       8   last paragraph on page 5, it's paragraph             8   MS. O'DELL:
       9   beginning "in 2003." And on the second sentence      9   Q       All right. In --
      10   of that paragraph, it says, "Chinese talc           10          Now, I ask -- if I could ask you,
      11   occurrences included in those" -- excuse me --      11   Doctor, to pull out of your -- the stack over
      12   "including those in the Guangxi province have       12   there -- and maybe Lois will help us -- Exhibit
      13   been described in certain Imerys documents."        13   14.
      14          And then several are listed there.           14   A       Okay. Getting close.
      15   A        Right.                                     15   Q       Okay.
      16   MR. FROST:                                          16   A       Okay. Got it.
      17          Objection to form.                           17   Q       And Exhibit 14 refers to -- the subject
      18   MS. O'DELL:                                         18   is characterization of Guan- -- of the Guangxi 1
      19   Q        And I think Johnson & Johnson counsel      19   crude and Cimpact 710 product.
      20   showed you several documents, and I think you       20   A       Right.
      21   indicated that there was an error in the Bates      21   Q       Do you remember the discussion with
      22   reference.                                          22   Johnson & Johnson counsel on that document?
      23   A        Right. There is.                           23   A       Sure.
      24   Q        Let me show you what I'm marking as        24   Q       Let me ask you to turn to, while you're
                                                Page 467                                                 Page 469
       1   Exhibit 32 to your deposition.                       1   holding the document, Doctor -- maybe not put it
       2          (DEPOSITION EXHIBIT NUMBER 32                 2   too far away from you -- to page 8 of -- of your
       3           WAS MARKED FOR IDENTIFICATION.)              3   report. And, at the bottom of page 8 of your
       4   MS. O'DELL:                                          4   report, you include a sentence, "It is known that
       5   Q         Is Exhibit 32 one of the documents that    5   Rio Tinto identified problems with Guangxi talc
       6   you intended to reference at that portion of your    6   ores in 1997 which resulted in the recommendation
       7   report?                                              7   that a Luzenac representative be present at the
       8           I'm sorry. Doctor, can I take that           8   mine during the mining and sorting process."
       9   back just for a second?                              9   A        Right.
      10   A         Sure.                                     10   Q        Do you recall writing that?
      11   Q         I've added another document to it. I      11   A        Right. Yes.
      12   didn't intend to do that. It just was in my         12   Q        Turn to the last page of Exhibit 14 in
      13   stack.                                              13   the Recommendations section. Is the
      14   MR. FROST:                                          14   recommendation that you included in your report
      15           Leigh, can you identify what document       15   contained in the paragraph on page 4 of this
      16   this is?                                            16   document?
      17   MS. O'DELL:                                         17   A        It is.
      18           Sure. It is JNJ00059273.                    18   Q        And there's a sentence -- two sentences
      19   A         Yeah.                                     19   at the bottom. It says, "A Luzenac
      20   MR. BILLINGS-KANG:                                  20   representative" --
      21           Is that JNJ or J&J?                         21          I'm reading from page 4 of Exhibit 14.
      22   MS. O'DELL:                                         22          "A Luzenac representative should be
      23           N.                                          23   available at the mine during the mining and
      24   Q         Is that the document, one of the          24   sorting process in order to confirm that the
                                                                           118 (Pages 466 to 469)
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       1   ore -- order is being handled per the negotiated     1   A        I think it does.
       2   contract parameters. Meeting the ore at the port     2   Q        And is -- is that at least one of the
       3   will never allow us to control the quality and       3   reasons that you referenced that publication in
       4   chemistry of the crude we are ordering."             4   your report?
       5          Is that -- did I read that correctly?         5   A        It is.
       6   A       Right. You did.                              6   Q        Let me ask you, Doctor, to put that
       7   Q       Is that what you were referring to in        7   aside for a moment.
       8   your report?                                         8           You were asked a series of questions
       9   A       Uh-huh. It is.                               9   regarding whether you would publish your expert
      10   Q       Thank you, Doctor. Yeah.                    10   report in the peer-reviewed literature. I think
      11          You also, still speaking of China, were      11   your response was no. Why did you respond to
      12   asked about the sampling method that was used in    12   that question in the negative?
      13   relation to Chinese ore once it reached --          13   MR. FROST:
      14   reached the port in Houston.                        14           Objection to form.
      15   A       Correct.                                    15   A        The -- to start with, as with any work
      16   MR. FROST:                                          16   like this, there is a confidentiality agreement
      17          Objection to form.                           17   that comes in very quickly. And publishing any
      18   MS. O'DELL:                                         18   part of this would -- would violate the agreement
      19   Q       Let me ask you to look at what I'm          19   that -- that I signed.
      20   marking as Exhibit 33.                              20           The -- part of the problem with this is
      21         (DEPOSITION EXHIBIT NUMBER 33                 21   that if you -- if you try to publish something in
      22          WAS MARKED FOR IDENTIFICATION.)              22   a peer-reviewed journal, how is a peer-reviewer
      23   MS. O'DELL:                                         23   ever gonna be able to -- to -- to evaluate a
      24   Q       And it's Imerys 036949.                     24   report like this? He's not gonna have access to
                                                Page 471                                                 Page 473
       1           Is Exhibit 33 the sampling protocol          1   any -- any of the materials. So it wouldn't make
       2   regarding Chinese ore that you were referring to?    2   sense. It would be off limits.
       3   A         Yes.                                       3   MS. O'DELL:
       4   Q         Let me ask you, Dr. Cook --                4   Q       Is that because many of the materials,
       5           I'm gonna put that right here for the        5   documents that you've cited in your report, those
       6   moment. And on an exhibit marked -- I think it       6   would be subject to a confidentiality order and
       7   was exhibit -- yes -- 21. Let me hand it to you.     7   it would be a violation of that order?
       8   It's a paper by Marconi and Verdel?                  8   A       That's -- that's what I mean. I mean,
       9   A         Right.                                     9   I sign a confidentiality agreement not to divulge
      10   Q         And if you'll turn to page --             10   any of this. So --
      11           On the -- on the document itself, the       11   Q       Okay. Let me ask you to turn in your
      12   page numbers, it's -- it's page 112.                12   report, Dr. Cook, to page 31.
      13   A         Okay.                                     13   A       Okay.
      14   Q         Does Table 3 that appears on page 112     14   Q       And, specifically, I would direct your
      15   of this article show test results regarding         15   attention to the table that reports some of the
      16   cosmetic talc?                                      16   nickel analyses that are -- that are contained in
      17   MR. FROST:                                          17   your report.
      18           Objection to the form.                      18   A       Okay.
      19   A         I think it does.                          19   Q       And -- and you were asked questions
      20   MS. O'DELL:                                         20   regarding whether this -- the samples that were
      21   Q         Uh-huh. And if you'll look at the         21   tested were finished product. And let me just
      22   lower third of the table, does it -- the chart      22   back up and ask. Were the samples, many of which
      23   indicate that there were asbestos fibers found in   23   that you report in this chart, were they finished
      24   cosmetic talc samples?                              24   talc product?

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       1   MR. FROST:                                           1          Objection. Move to strike answer as
       2          Objection to form.                            2   nonresponsive and speculative.
       3   A        That is my understanding, based on the      3   MS. O'DELL:
       4   description of the samples in the cited              4          Oppose the motion.
       5   references.                                          5   Q        The -- the -- and, in this table for
       6   MS. O'DELL:                                          6   nickel as well as the table that is compiled for
       7   Q        All right. And, in fact, number 3 in        7   chromium and cobalt, does that include values or
       8   the chart, the description is baby powder.           8   data from annual samples that were provided to
       9   Correct?                                             9   Johnson & Johnson?
      10   A        Correct.                                   10   A        Yes.
      11   Q        And in that -- that has, I think, three    11   MR. FROST:
      12   samples that were tested. And were the findings     12          Objection.
      13   1500 parts per million, 1480 parts per million,     13   MS. O'DELL:
      14   and 1500 parts per million, respectively?           14   Q        And is it your understanding, based on
      15   MR. FROST:                                          15   your review of the data, that that would be
      16          Objection to form.                           16   finished product?
      17   A        That's correct.                            17   A        Yes. Finished in the sense that it's
      18   MS. O'DELL:                                         18   gonna go toward packaging now when they're done
      19   Q        And would it be fair to say that a         19   with the processing.
      20   finding of greater than, you know, 1400 or 1500     20   Q        Okay. Let me ask you to turn to page
      21   parts per million, would it be fair to say that     21   32 of your report that relates to your discussion
      22   that is an extremely high level of -- of nickel?    22   of -- of chromium. And, Dr. Cook, let me ask you
      23   MR. FERGUSON:                                       23   a general question about the test data that's
      24          Objection for form.                          24   reported in this chart.
                                                Page 475                                                 Page 477
       1   MR. FROST:                                           1          In each instance, do the chromium
       2          Objection to form. Also, object to the        2   numbers that were seen in these test results
       3   question since he's already admitted he's not        3   exceed the Johnson & Johnson specification upper
       4   qualified to answer that.                            4   limit of normal for chromium by, you know, orders
       5   THE WITNESS:                                         5   of magnitude?
       6          No, I am. The way she asked the               6   MR. FROST:
       7   question, I am. I've dealt with geochemical          7          Objection to form.
       8   nickel for -- almost for the entire time I was at    8   MR. BILLINGS-KANG:
       9   Auburn.                                              9          Objection to form.
      10          And anything over a hundred parts per        10   A       They are far higher than the 10 ppm.
      11   million, when we're doing our field work, that is   11   MS. O'DELL:
      12   an indication that we've got an unusual rock type   12   Q       Would that also be true regarding the
      13   that we're looking at.                              13   test results that are reported in relation to
      14          And, in fact, the -- the platinum and        14   cobalt in --
      15   nickel exploration that I'm doing right now, if     15   A       Yes.
      16   we could find numbers this high, we'd be            16   Q       You were asked a number of questions
      17   thrilled, because a value of 1500 parts per         17   regarding beneficiation and the process that was
      18   million nickel is almost ore grade for an           18   undertaken to process talc ore. Let me ask you
      19   open-pit operation, and it -- it indicates that     19   specific questions about Vermont.
      20   we're looking at a serpentinized ultramafic rock    20          Having reviewed the descriptions of the
      21   that may have economic nickel or PGMs.              21   beneficiation process at West Windsor, was there
      22   MS. O'DELL:                                         22   anything in that beneficiation process that would
      23   Q       Okay. And do the --                         23   have removed high levels of nickel found in talc
      24   MR. FROST:                                          24   ore?
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       1   MR. FROST:                                           1   fibrous talc.
       2          Objection to form.                            2   Q       And, therefore, to the degree that
       3   A       No. I don't think it was -- would be         3   fibrous talc was mined from the ore body and --
       4   possible.                                            4   and made a part of the ore, then is it your
       5   MS. O'DELL:                                          5   opinion that the beneficiation process would not
       6   Q       Similarly, in relation to cobalt, was        6   remove the fibrous talc, you know, from the
       7   there any part of the beneficiation process at       7   product?
       8   the West Windsor mill in Vermont that would have     8   A       I don't -- I don't see how it could.
       9   addressed high levels of cobalt?                     9          You're referring to West Windsor;
      10   MR. FROST:                                          10   right?
      11          Objection.                                   11   Q       Yes.
      12   A       There's a possibility that if all of        12   A       I don't see how it could.
      13   the cobalt was contained in cobaltite, which is a   13   Q       Would the beneficiation process at
      14   cobalt arsenic -- that's a dense mineral -- it      14   West Windsor have been effective for purposes of
      15   might sink in a flotation cell and be removed       15   removing high levels of arsenic?
      16   that way. But the numbers that I've got are on      16   MR. FROST:
      17   the finished product, not on the -- not on ore      17          Objection to form.
      18   going in.                                           18   A       I think it's possible that some arsenic
      19   MS. O'DELL:                                         19   could have come out in the sink fraction of the
      20   Q       And that would suggest that, in fact,       20   flotation cells.
      21   the beneficiation process did not affect it?        21   MS. O'DELL:
      22   A       It's probably --                            22   Q       If asbestos was mined and removed
      23   MR. FROST:                                          23   during the mining process, is there anything in
      24          Objection to the form.                       24   the beneficiation process at West Windsor that
                                                Page 479                                                 Page 481
       1   MR. FERGUSON:                                        1   would have removed asbestos as part of the
       2           Objection to the form.                       2   processing?
       3   A        That's correct.                             3   A       Well, there -- there are reagents that
       4   MS. O'DELL:                                          4   could suppress chrysotile. I don't know of any
       5   Q        Let me ask it a different way to            5   that would suppress amphibole asbestos. But I
       6   address these.                                       6   didn't see anything in the documents I was
       7           Based on the numbers, the test data          7   supplied that would indicate that there was an
       8   that you reviewed regarding finished talc powder,    8   attempt made or that there was any kind of design
       9   is it your opinion that the beneficiation process    9   that was -- was pointed toward removal of -- of
      10   at West Windsor was not affected to remove high     10   asbestos.
      11   levels of cobalt?                                   11   Q       You were asked a number of questions
      12   MR. FROST:                                          12   about the chart in your report addressing
      13           Objection.                                  13   positive test results for asbestos. Do you
      14   A        I don't think it could.                    14   recall those questions?
      15   MS. O'DELL:                                         15   A       Yes.
      16   Q        Okay. Let me ask you about fibrous         16   Q       And I think that counsel for Johnson &
      17   talc in regard to the beneficiation process. Is     17   Johnson addressed five test results, calling them
      18   it -- do you have an opinion as to whether the      18   into question as industrial talc.
      19   beneficiation process at West Windsor would         19   A       Correct.
      20   remove fibrous talc?                                20   Q       And in -- in those instances --
      21   A        I don't see how it's possible,             21          Strike that.
      22   particularly in the flotation circuit. I think      22          Is there anything that -- that counsel
      23   that the flotation process is not gonna be able     23   presented to you today that would undermine your
      24   to distinguish platy non-fibrous talc from          24   opinions regarding the other test results
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       1   contained in the chart?                              1   Q        Earlier today you were asked a lot of
       2   A       No.                                          2   questions by counsel, and a lot of suggestions
       3   Q       And, generally speaking, if you know,        3   were made that somehow documents, you know, were
       4   how many other positive test results for asbestos    4   withheld by plaintiffs' counsel. Do you recall
       5   are contained in a chart besides the five that he    5   that?
       6   pointed out?                                         6   A        Yes.
       7   A       Oh, there's over a hundred.                  7   MR. FROST:
       8   Q       And are those test results supportive        8           Objection to form.
       9   of your opinion that the talc deposits in Italy      9   MS. O'DELL:
      10   and Vermont contained fibrous asbestos --           10   Q        At the beginning of your engagement in
      11   asbestos mills?                                     11   this case, did you provide a list of -- of
      12   MR. FROST:                                          12   documents, really document requests, that you
      13          Objection to form.                           13   asked that those documents be searched for and,
      14   A       The published information and some of       14   to the degree made available by defendants,
      15   the unpublished reports on Italy suggested there    15   provided to you?
      16   could be some in that talc. And, of course, I've    16   A        Yes.
      17   got lots of data on Vermont that would suggest      17   Q        Do you have any reason to believe
      18   that.                                               18   that -- that documents were withheld from you
      19   MS. O'DELL:                                         19   in -- in rendering your opinions?
      20   Q       You were asked questions about              20   MR. FROST:
      21   selective mining today, and --                      21           Objection to form. Misstates
      22          Before I do that --                          22   questioning and testimony.
      23          Excuse me. Also in regard to the             23   A        I have no reason to believe that --
      24   fibrous talc chart, I think the counsel called      24   that anybody has withheld anything. You know,
                                                Page 483                                                 Page 485
       1   into question maybe one of the line items or the     1   my -- my approach is everybody's on the up and
       2   entries --                                           2   up.
       3          Two. Excuse me.                               3   MS. O'DELL:
       4          -- two of the entries in the fibrous          4   Q        Do you -- did you see, in reaching your
       5   talc chart that you have in your report.             5   opinions in regard to asbestos, did you see not
       6   A        Right.                                      6   only positive test results but did you also look
       7   Q        Is there any data that you've been          7   at negative test results?
       8   presented today or question that would -- data or    8   A        Yes, plenty.
       9   information you've been presented today that         9   Q        And did you consider those results also
      10   would call into question in your mind any of the    10   in --
      11   other positive test result -- results for fibrous   11   A        Yes.
      12   talc?                                               12   Q        Excuse me. Let me finish. Excuse me.
      13   A        No.                                        13           -- in reaching your opinions in this
      14   MR. FROST:                                          14   case?
      15          Objection.                                   15   A        Yes, of course.
      16   MS. O'DELL:                                         16   Q        You were asked some questions about
      17   Q        Are -- are you relying on the data         17   selective mining, and -- and you -- you made a
      18   contained in the asbestos chart to support your     18   statement that you -- it was your opinion that
      19   opinions in this case?                              19   selective mining practices had not been used
      20   A        Yes.                                       20   in -- in mining talc --
      21   Q        Are you relying on the data contained      21   MR. FROST:
      22   in the fibrous talc chart to support your           22           Objection.
      23   opinions?                                           23   MS. O'DELL:
      24   A        Yes.                                       24   Q        -- for purposes of sourcing talcum
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       1   powder products.                                     1          Objection to form.
       2   MR. FROST:                                           2   MR. FERGUSON:
       3           Objection to form.                           3          Objection.
       4   MS. O'DELL:                                          4   A       I wouldn't. I don't see anything in
       5   Q        Do you recall that --                       5   this photograph that would suggest that there was
       6   A        Yes.                                        6   a selection of higher grade material versus lower
       7   Q        -- testimony?                               7   grade.
       8           What's the basis for your opinion that       8   MR. FROST:
       9   appropriate selective mining practices were not      9          Move to strike answer as speculative.
      10   used?                                               10   MS. O'DELL:
      11   A        Well, to start with, they're not           11   Q       Is your answer speculative?
      12   described in any of the documents. And -- and       12   MR. FROST:
      13   the -- the few photographs that we've got of the    13          Objection to form.
      14   mines don't suggest selective mining. It -- it      14   A       It's based on my observation of the
      15   just isn't there.                                   15   photograph. It's conclusion.
      16   Q        And if you'll look on page 8, is --        16   MS. O'DELL:
      17   does -- is the photograph on page 8 one of the --   17   Q       And, in reaching that conclusion, have
      18   the photographs that you considered in reaching     18   you used your, you know, your special expertise
      19   your opinion regarding selective mining?            19   as a mining engineer and, you know, professor of
      20   A        Yes.                                       20   geology that teaches mining practices?
      21   Q        And -- and describe for us, Dr. Cook,      21   MR. FROST:
      22   why that photograph does not depict appropriate     22          Objection to form.
      23   selective mining techniques.                        23   A       Yes.
      24   MR. FROST:                                          24   MS. O'DELL:
                                                Page 487                                                 Page 489
       1           Objection to form.                           1   Q       You were asked a number of questions
       2   A        Okay. This one is fairly simple.            2   regarding samples in the sampling process that
       3   You've got a single loader, but you've got three     3   was utilized over the course of -- of the -- I
       4   piles of broken rock that would suggest that he's    4   guess more than 50 years --
       5   gonna be loading ore from material derived from      5   A       Right.
       6   three separate shots, and these -- these shot        6   Q       -- that we've discussed today.
       7   piles are very close to each other. And there's      7   Quickly, Doctor, just in a setting like the ones
       8   no indication here at all that this has anything     8   described, particularly in Vermont, is a monthly
       9   to do with selective mining. I mean, the only --     9   composite sample representative?
      10   the only way this is selective mining is if         10   MR. FROST:
      11   everything we see in the photograph that's broken   11          Objection to form.
      12   ore is good ore. We're gonna mine all of it.        12   A       It wouldn't be to me.
      13   But -- but this is not what I would expect to       13   MS. O'DELL:
      14   see.                                                14   Q       Why?
      15   MS. O'DELL:                                         15   A       Because --
      16   Q        Is -- is -- based on your knowledge of     16          And -- and we can use arsenic as an
      17   the geology that --                                 17   example. We know that there were -- there were
      18           Let me strike that.                         18   some high arsenic ores that went to the West
      19           Based on your review of the core logs       19   Windsor mill.
      20   in -- that have been produced in this case          20          Suppose you had one day's run at
      21   regarding the Vermont mines, would you expect in    21   Windsor mill that had an arsenic value of 10
      22   a picture like this that all the -- the rocks       22   parts per million. That exceeds the acceptable
      23   would be, you know, pure talc?                      23   limit. How would you know that that ever went
      24   MR. FROST:                                          24   through the mill? It's gonna go through the mill
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       1   and then go into a silo, and, in that silo,          1   your review of the core logs that have been
       2   there's gonna be a layer that is represented by      2   produced in litigation, was there evidence in
       3   that product.                                        3   those core logs of the presence of fibrous talc?
       4          Let's say the next day you've got             4   A        Fibrous talc, yes, is -- was mentioned
       5   perfect talc, hundred percent talc, no arsenic at    5   in some of the core logs.
       6   all. Okay. That's gonna go in and it's gonna         6   Q        And was there also references to the
       7   sit on top of the layer of out-of-spec talc.         7   presence of amphiboles?
       8          Well, if all you have is a daily              8   A        Of amphiboles?
       9   sample, then if you've got one that's 10 parts       9   Q        Yes.
      10   per million arsenic, had you analyzed it that       10   A        Oh, yeah, sure.
      11   day, and the -- the other 29 or 30 samples are      11   Q        And -- and, in some of those cases,
      12   one part per million arsenic, then your composite   12   were -- were the presence of fibrous amphiboles
      13   at the end of the month is gonna be in spec, but    13   noted?
      14   you're gonna have some talc in that silo that       14   A        Yes.
      15   isn't.                                              15   Q        Let me ask you, in regard to asbestos
      16          And that's my objection to the way           16   testing, I think it was -- you referenced a
      17   compositing is done. I think it's definitely        17   document in your report regarding a testing
      18   something that can be done in some situations,      18   procedure where samples were tested every six
      19   but I think here it's -- it's not a good idea.      19   months for asbestos in -- in Vermont. Do you
      20   MR. FROST:                                          20   recall that?
      21          Move to strike answer as speculative.        21   A        Yes.
      22   MS. O'DELL:                                         22   Q        And would sampling and testing -- would
      23   Q        Is that -- is that based on --             23   a six-month sample for talc --
      24   A        That is not a speculation. That is a       24          Strike that.
                                                Page 491                                                 Page 493
       1   statement of fact.                                   1          Let me ask you, is that a
       2   MR. FROST:                                           2   representative way to test talc powder for
       3           Move to strike nonresponsive answer.         3   asbestos?
       4   MS. O'DELL:                                          4   MR. FROST:
       5   Q        Is that based on your evaluation of the     5          Objection to form.
       6   variability of the geology of the deposits in        6   A       A six-month composite?
       7   Vermont?                                             7   MS. O'DELL:
       8   MR. FROST:                                           8   Q       Yes.
       9           Objection to form.                           9   A       Well, I wouldn't be happy with it.
      10   A        Yes. And we already know there's           10   Q       Why?
      11   variation, and I just used arsenic as a good        11   A       Because the sample that's actually run
      12   example. Because if you look at the Hamm mine,      12   weighs less than a gram, and you're -- you're
      13   that's the one mine that we have some good          13   trying to come up with a way to validate the fact
      14   drilling numbers throughout the pit. Clearly        14   that that less than a gram of material is -- is
      15   shows that there are areas of the mine that are     15   gonna be representative of perhaps a thousand
      16   high arsenic, way out of spec --                    16   tons of ore, 2,000 tons. It's -- it's very hard
      17           No. I'm sorry. It was the Rainbow           17   to imagine that you can show that it would be.
      18   mine.                                               18   Q       Under any mathematical model, would
      19           And then there are areas in the mine        19   that small of a sample that's tested be
      20   that are great.                                     20   representative of tens of thousands of tons of
      21   MS. O'DELL:                                         21   ore?
      22   Q        Uh-huh. And in your -- in your             22   MR. FROST:
      23   review --                                           23          Objection to form.
      24           You just mentioned the core logs. In        24   A       I think it would be probably
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       1   impossible. There's some things that you could       1   I want to talk about that. Okay?
       2   do to move it along toward the                       2   A       Sure.
       3   representativeness, but I don't think they were      3   Q       And remind me, which mine was that at?
       4   done.                                                4   A       Okay. That one was Argonaut, that
       5   MS. O'DELL:                                          5   photograph was. But we've got some in the back
       6   Q       Are you -- are your opinions in this         6   that are -- I think there's a Hamm mine picture
       7   case contained in your report that's dated           7   possibly in there.
       8   January 22nd, 2019, as well as your deposition       8   Q       All right. So with regard to the
       9   that you've given here today?                        9   Argonaut mine and your conclusion that -- that
      10   A       Are they --                                 10   appropriate selective mining procedures were not
      11   Q       As well as the deposition?                  11   being carried out, how many photographs did you
      12   A       No. What was the first part of the          12   look at?
      13   question?                                           13   A       I looked at everything we were given.
      14   Q       Are your opinions in this case              14   And it's -- it's only a handful, not --
      15   contained in your --                                15   Q       Well, and does a handful mean five or
      16   A       Oh, are they contained? Sure. Of            16   less?
      17   course.                                             17   A       It's probably more than five but less
      18   Q       Let me finish.                              18   than ten.
      19         -- amended report that's dated January        19   Q       Okay. So -- so somewhere between five
      20   22nd, 2019, as well as your deposition that         20   and ten photographs you looked at. Correct?
      21   you've given here today?                            21   A       Well, I also looked at Google Earth,
      22   A       Yes.                                        22   which, you know, has its own, you know, set of
      23   Q       All right. I have nothing further.          23   photographs that you can look at.
      24   Thank you, Doctor.                                  24   Q       All right. And how many Google Earth
                                                Page 495                                                Page 497
       1   MR. FROST:                                           1   photographs did you look at?
       2         I'd just like two minutes. Actually,           2   A       Well, it depends. You know, they have
       3   no. You guys, why don't you guys stay here? I        3   a historical, you know, button you can push. And
       4   think we'll be quick. I'll take Mr. Ferguson         4   I don't remember how many different dates there
       5   outside.                                             5   were of the Ludlow area. But there were -- there
       6   VIDEOGRAPHER:                                        6   were four or five.
       7         Going off the record.                          7   Q       Okay. So do you have copies of the --
       8              (OFF THE RECORD.)                         8   A       No. I didn't print them.
       9   VIDEOGRAPHER:                                        9   Q       -- photographs?
      10         We're back on the record. The time is         10   A       I didn't save them. But, I mean,
      11   7:10 p.m.                                           11   they're easy to go back to and get.
      12   MR. FERGUSON:                                       12   Q       Okay.
      13         I don't think Mr. --                          13   A       And I'd -- you know, I'd be more than
      14         Oh, I'm sorry.                                14   happy to tell you why I made the comment about
      15         I don't think Mr. Frost has any               15   couldn't see the evidence of the selective
      16   questions. Right, Jack?                             16   mining.
      17   MR. FROST:                                          17          If you look at the photographs that
      18         That's correct.                               18   I --
      19                EXAMINATION                            19   Q       I don't think -- I -- I don't have a
      20   BY MR. FERGUSON:                                    20   question on the table, but --
      21   Q       Okay. Just very briefly, Dr. Cook.          21   A       Oh. I thought you did, but --
      22   So, with regarding to the -- the photographs that   22   Q       I didn't.
      23   you observed that had to do with the selective      23   A       Okay.
      24   mining issue you just discussed with Miss O'Dell,   24   Q       So I'm trying to get the number of
                                                                           125 (Pages 494 to 497)
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       1   photographs.                                        1   It's mined out.
       2   A       Oh, okay.                                   2   MS. O'DELL:
       3   Q       So between five and ten photographs         3          Objection to form.
       4   that you were provided that you looked at.          4   MR. FERGUSON:
       5   A       Correct.                                    5   Q       Excuse me?
       6   Q       Correct?                                    6   A       It's mined out.
       7   A       Yes.                                        7   Q       Okay.
       8   Q       And then some Google Earth                  8   A       And if you're looking at a 2018
       9   photographs --                                      9   photograph, the material that was being mined in,
      10   A       Google Earth.                              10   say, 1995, I mean, you're looking at a part of a
      11   Q       -- that you -- you haven't shared with     11   hole in the ground.
      12   us. Correct?                                       12   Q       Well, let's focus on the five to ten
      13   A       Correct.                                   13   photographs. Okay?
      14   MS. O'DELL:                                        14   A       Okay.
      15          Object to the form.                         15   Q       Okay? Right? The five to ten
      16   MR. FERGUSON:                                      16   photographs you were provided of the Argonaut
      17   Q       And when were the Google Earth             17   mine --
      18   photographs taken? I mean, when --                 18   A       Okay.
      19   A       They go back -- I think the most recent    19   Q       -- from which you concluded that
      20   one was a two -- I think there might have been a   20   selective mining procedures were not being
      21   2018 photograph. And then they go back. It's an    21   applied properly.
      22   irregular number of years that they -- that they   22   A       Correct.
      23   present you with. But I think that maybe --        23   Q       Okay?
      24          They had some that were so far back         24   MS. O'DELL:
                                                Page 499                                                Page 501
       1   that they were useless. The quality of the          1          Object to the form.
       2   photograph was no good. And, so, with that          2   MR. FERGUSON:
       3   thought in mind, I'm gonna say there were           3   Q       And what was the time frame for those
       4   probably three or four of Ludlow area that were     4   photographs?
       5   useful.                                             5   A       I've got them in my report.
       6          And I can't tell you what the oldest         6   Q       Okay.
       7   one was, but it would -- it would be, say, 2003,    7   A       I don't remember the exact dates. But
       8   maybe. Maybe -- maybe one that was pre-2000.        8   they're -- each photograph I've -- I've tried to
       9   Q        But with regard to the photographs that    9   give a date on.
      10   you looked at that were 2003 or post-2003, those   10   Q       Okay. So how long had that mine been
      11   were when that mine was no longer being used to    11   being mined for purposes of cosmetic talc before
      12   source cosmetic talc; correct?                     12   2003? Do you know?
      13   MS. O'DELL:                                        13   A       It's an old mine. It was originally an
      14          Object to the form.                         14   underground mine. And I think that probably as
      15   A        Yeah, that's right. And that's why I      15   long as the West Windsor mill had been in
      16   said I'd be glad to, you know, discuss the ones    16   operation there had been some cosmetic talc
      17   in here, because they're pre-2003.                 17   coming out of Argonaut.
      18   MR. FERGUSON:                                      18   Q       So it's been mined for years and years
      19   Q        So -- so, essentially, the Google Earth   19   and years; correct?
      20   photographs, which are perhaps all post-2003,      20   A       I think so.
      21   don't tell us anything about -- about what was     21   Q       Okay. And the five to ten photographs
      22   going on in the mine during the period of time     22   that you looked at, how long does it take to take
      23   when it was being used to source talc?             23   a photograph? Something less than a second?
      24   A        No. That part of the mine is gone.        24   MS. O'DELL:
                                                                          126 (Pages 498 to 501)
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       1          Object to the form.                           1   A        Well, it might. But I'd say that the
       2   A       Yes. But --                                  2   odds are that in that -- in the hour preceding
       3   MR. FERGUSON:                                        3   when the aerial photograph was taken, there
       4   Q       Okay. So -- so those photographs were        4   wouldn't have been a shot, because these
       5   showing you what the mine looked like during the     5   photographs were not taken by, you know, some
       6   millisecond it took to take each of those            6   tourist flying over. These are aerial
       7   photographs; correct?                                7   photographs that were apparently taken by
       8   MS. O'DELL:                                          8   Johnson & Johnson or probably Imerys personnel to
       9          Object to the form.                           9   document the condition of the mine at that point.
      10   A       Yeah. That's -- that's sort of a            10   It's very common to do this, because that's one
      11   loaded question, because what you see in the        11   of the ways that you can -- can measure your
      12   photographs is the -- the result of mining over a   12   stockpiles is -- is by overflights.
      13   period of time. Sure.                               13   Q        Do you know who took them?
      14          You've got a photograph. I mean,             14   A        No, I don't know who took them. It may
      15   everybody knows it doesn't take very long to take   15   have said somewhere in the document.
      16   a photograph. But if you're taking a photograph     16           They came out of -- they came out of --
      17   of a mine that is -- that is full of shot rock      17   I think some of them actually came out of a
      18   and waste rock and benches that are -- have been    18   Luzenac document.
      19   covered with -- with material that I wouldn't       19   Q        And you don't know, yourself, what
      20   think should be there if you were selectively       20   occurred, whether there had been a blast in the
      21   mining a higher-grade deposit, then the -- the      21   previous hour, two hours?
      22   little millisecond that it takes to take that       22   A        No. What I was gonna say was if it was
      23   photograph is capturing a condition that probably   23   gonna be a blast that day, I don't think I would
      24   represents a number of years.                       24   have been up in a plane over the quarry.
                                                Page 503                                                 Page 505
       1   Q        But when you took the photo -- when you     1   Q       Okay. And have you talked to whoever
       2   looked at the photographs, they represented only     2   took the plane to take the pictures?
       3   a very, very short span of time in a -- in a mine    3   MS. O'DELL:
       4   that's been mined for years and years and years;     4         Object to the form.
       5   correct?                                             5   A       I have no idea who took the pictures.
       6   MS. O'DELL:                                          6   MR. FERGUSON:
       7           Object to the form.                          7   Q       That's all. Thank you, sir.
       8   A        That's what I'm saying is it may not        8   A       Sure.
       9   represent a short span of time. If you take a        9   MS. O'DELL:
      10   look at the photographs, it should be pretty        10         I have nothing further, Doctor.
      11   obvious to you that the mines are not -- they're    11   MR. FROST:
      12   not -- I wouldn't call them clean. There's an       12         I have a real quick follow-up on those
      13   awful lot of rock that is scattered about that --   13   questions.
      14   that you wouldn't see if you were selectively       14   MS. O'DELL:
      15   mining rock to make sure that you weren't getting   15         I may have something further, but not
      16   bad material mixed in with good.                    16   after Mr. Ferguson.
      17   MR. FERGUSON:                                       17                EXAMINATION
      18   Q        And do you know what had been going on     18   BY MR. FROST:
      19   immediately in the previous hour or so before the   19   Q       All right, sir. Look at page 8 of your
      20   photograph was taken?                               20   report, that picture.
      21   A        It would look exactly like the             21   A       Right.
      22   photograph. I mean, mining doesn't -- it            22   Q       So is the airplane parked on the
      23   isn't -- unless they had shot off a blast.          23   ground?
      24   Q        Okay. That happens, doesn't it?            24   A       No. The aerial photographs are in the
                                                                           127 (Pages 502 to 505)
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                                               Page 506                                                    Page 508
       1   exhibit in the back.                                1         CERTIFICATE
       2   Q        Okay. Let's turn to the exhibit in the     2   STATE OF ALABAMA)
       3   back.                                               3   COUNTY OF MOBILE)
                                                               4
       4   A        Yeah.
                                                               5         I do hereby certify that the above and
       5   Q        Would you agree with me that only two
                                                               6   foregoing transcript of proceedings in the matter
       6   of these pictures actually appear to be aerial      7   aforementioned was taken down by me in machine
       7   photos of the mine?                                 8   shorthand, and the questions and answers thereto
       8   A        Right. Sure.                               9   were reduced to writing under my personal
       9   Q        Okay. The rest of the one, two, three,    10   supervision, and that the foregoing represents a
      10   four, five --                                      11   true and correct transcript of the proceedings
      11   A        They illustrate exactly what I was        12   given by said witness upon said hearing.
      12   talking about.                                     13         I further certify that I am neither of
      13   Q        Well, again, my question is only two of   14   counsel nor of kin to the parties to the action,
      14   the photographs are aerial; correct?               15   nor am I in anywise interested in the result of
      15   A        Sure.                                     16   said cause.
      16   Q        The other five appear to be taken from    17         Signed this 2nd day of February, 2019.
                                                              18
      17   the ground?
                                                              19
      18   MS. O'DELL:                                        20
      19          Just count them. Don't agree if you                        LOIS ANNE ROBINSON, RDR
      20   don't --                                           21             COURT REPORTER, NOTARY PUBLIC
      21   A        No.                                                      STATE OF ALABAMA AT LARGE
      22   MR. FROST:                                         22             ACCR# 352; EXPIRES 9/30/19
      23   Q        Well, you can count them, but it's        23
      24   five.                                              24

                                               Page 507                                                    Page 509
       1   A         But since you've pointed out that not     1           ERRATA PAGE
       2   all of them were from the air, the last             2
       3   photograph was from the ground because the plane    3         I, ROBERT COOK, Ph.D., the witness
                                                                   herein, have read the transcript of my testimony,
       4   was grounded because of snow.                       4   and the same is true and correct, to the best of my
       5   Q         Sure. There we go.                            knowledge, with the exceptions of the following
       6           All right. That's all the questions I       5   changes noted below, if any:
       7   have, sir.                                          6   Page/Line Word/Words to be changed Correct Word
       8   MS. O'DELL:                                         7   _________ ________________________ _____________
       9           I have nothing further.                     8   _________ ________________________ _____________
      10   VIDEOGRAPHER:                                       9   _________ ________________________ _____________
                                                              10   _________ ________________________ _____________
      11           We're off the record. The time is
                                                              11   _________ ________________________ _____________
      12   7:20 p.m.                                          12   _________ ________________________ _____________
      13          (DEPOSITION EXHIBITS 34-1 TO 34-13,         13   _________ ________________________ _____________
      14           35, 36, 37, 38, AND 39 WERE MARKED         14   _________ ________________________ _____________
      15           FOR IDENTIFICATION.)                       15   _________ ________________________ _____________
      16        (Deposition concluded at 7:20 p.m.)           16   _________ ________________________ _____________
      17                                                      17   _________ ________________________ _____________
      18                                                      18   _________ ________________________ _____________
                                                              19   _________ ________________________ _____________
      19
                                                              20   _________ ________________________ _____________
      20                                                      21
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      22                                                      22               ROBERT COOK, Ph.D.
      23                                                      23
      24                                                      24

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        1           DECLARATION OF WITNESS
        2
        3          I, the undersigned, declare under penalty
        4   of perjury that I have read the foregoing
        5   transcript, and I have made any corrections,
        6   additions, or deletions that I was desirous of
        7   making; that the foregoing is a true and correct
        8   transcript of my testimony contained herein.
        9          EXECUTED this ______ day of ____________,
       10   2019, at ____________________, ___________________.
                   (City)            (State)
       11
       12
       13
       14
       15
                      _______________________________
       16             ROBERT COOK, Ph.D.
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